   Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 1 of 91




                               Exhibit 54



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
                                               Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 2 of 91



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                                                                                                                              109 th CONGRESS, FIRST SESSION
        United States
         of America                                     PROCEEDINGS AND DEBATES OF THE


      Vol. 151                                                    WASHINGTON, THURSDAY, NOVEMBER 3, 2005                                                                   No. 144


                                                                                              Senate
        The Senate met at 9 a.m. and was                                                          SCHEDULE                                er than they were a year ago. Ameri-
      called to order by the President pro                                           Mr. FRIST. Mr. President, we will                    cans are paying significantly more to
      tempore (Mr. STEVENS).                                                       shortly begin this morning’s session                   fill up their cars, their automobiles
                                                                                   with a rollcall vote on the adoption of                with gas. And as we all know with win-
                                                 PRAYER                            the conference report to accompany                     ter right around the corner, home heat-
        The Chaplain, Dr. Barry C. Black, of-                                      the Agriculture appropriations bill.                   ing costs threaten to literally break
      fered the following prayer:                                                  After that vote, we will resume the def-               the family bank.
        Let us pray.                                                               icit reduction reconciliation bill. All                   Meanwhile, America’s oil companies
        Almighty God, who gathers the wa-                                          time expired last night, and therefore                 are making multibillion dollar profits,
      ters of the sea together as a heap, Your                                     we will begin a series of rollcall votes               record profits. You could not miss the
      counsel stands forever. Lord, keep us                                        in relation to the pending amendments.                 news last week that oil companies
      today both outwardly in our body and                                         We will, in a few moments, enter into                  posted these record-breaking profits
      inwardly in our souls.                                                       an agreement which states the order                    with one company posting the biggest
        Give us the health and strength we                                         for those votes. At this time, there are               profit in U.S. history. So while Ameri-
      need for today’s journey. Help us to                                         approximately 16 pending amendments                    cans have been reeling from Katrina,
      avoid the pitfalls of too much and too                                       that we would need to vote on.                         standing in long lines at the pump at
      little. Prevent us from driving our-                                           Following those votes, additional                    gas stations following Katrina and the
      selves to exhaustion or growing weak                                         amendments may be offered, and there-                  other hurricanes and their cutting
      through too much ease. Keep our minds                                        fore the voting sequence would con-                    back on the necessities of everyday
      at rest and peace as we trust You mo-                                        tinue. This stacked series of votes                    life, what they see are oil profits that
      ment by moment.                                                              could be very lengthy, but we will con-                are booming, going off the chart. And
        Bless our Senators. Save them from                                         tinue voting until we complete the def-                we have constituents naturally calling
      being so busy with things which are                                          icit reduction bill or up until 6 o’clock              and writing and e-mailing saying,
                                                                                   tonight. I hope and believe we can fin-                Why? How could that possibly be?
      seen and temporal that they forget the
                                                                                   ish this afternoon, but that will depend                  Literally, what they see is pumping
      things which are unseen and eternal.
                                                                                   on the number of amendments and how                    gas and watching the little figures
        Bless us all in body, soul, and spirit
                                                                                   many will be offered over the course of                come up higher and higher and higher,
      that we may learn to rest in Your love.
                                                                                   the so-called vote-arama that we will                  seeing money go out of their pocket
      Let Your eye be on those who fear You                                        be in a little bit later today. We have
      and who hope in Your mercy. We pray                                                                                                 and then going home and turning on
                                                                                   asked Senators to remain in and                        the news and seeing that the coffers of
      in Your loving Name.                                                         around the Senate Chamber over the
        Amen.                                                                                                                             oil companies, that same money going
                                                                                   course of the day to avoid missing any                 into the gas tank almost being in the
                                               f                                   recorded votes. These vote-aramas are                  coffers of these large oil companies,
           PLEDGE OF ALLEGIANCE                                                    very trying as the day goes on so I do
                                                                                                                                          and they are asking why.
                                                                                   wish to thank everybody in advance for
        The PRESIDENT pro tempore led the                                                                                                    I think these are legitimate ques-
                                                                                   their patience during what will be a
      Pledge of Allegiance, as follows:                                                                                                   tions, and Americans do have the right
                                                                                   very busy session of voting today.
        I pledge allegiance to the Flag of the                                                                                            to know what is going on. Is this the
                                                                                                     f                                    way the market works and, if so, what
      United States of America, and to the Repub-
      lic for which it stands, one nation under God,                                   ENERGY INDEPENDENCE AND                            are those dynamics? They need to
      indivisible, with liberty and justice for all.                                                ANWR                                  know why those gas prices and those
                                               f                                      Mr. FRIST. Mr. President, over the                  oil and natural gas prices are so much
                                                                                   past couple of weeks prices at the                     higher than they used to be at the
        RESERVATION OF LEADER TIME                                                                                                        same time these profits are off the
                                                                                   pump have been steadily falling—thank
        The PRESIDENT pro tempore. Under                                           goodness. After the shock of paying                    chart.
      the previous order, the leadership time                                      nearly $3, sometimes over, sometimes                      That is why last week I asked Chair-
      is reserved.                                                                 well over $3 a gallon, families are fi-                man DOMENICI and Chairman STEVENS
                                               f                                   nally getting some relief when they are                to hold a joint hearing to be able to an-
                                                                                   filling up their cars or trucks, auto-                 swer those basic questions. Next week,
       RECOGNITION OF THE MAJORITY                                                 mobiles with gas. Gas prices are finally               several executives will be coming in
                     LEADER                                                        back to pre-Katrina levels.                            from some of the biggest oil companies
       The PRESIDENT pro tempore. The                                                 And that is the good news. The bad                  to explain. We may well learn that
      majority leader is recognized.                                               news is that prices are still much high-               there are no sinister reasons behind all


                              ∑ This ‘‘bullet’’ symbol identifies statements or insertions which are not spoken by a Member of the Senate on the floor.

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VerDate Aug 31 2005                        02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00001   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.000   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 3 of 91
      S12286                            CONGRESSIONAL RECORD — SENATE              November 3, 2005
      this, but I think we all agree that our                 is simply not true. It was stated again                They harm vulnerable Americans. And
      free market works best when we all                      and again in the Chamber yesterday                     these cuts simply provide tax breaks
      know and we all follow the rules of the                 and explained, the prospective drilling                for special interests. With so many
      road and all have confidence in that                    site is an area equivalent to the size, if             other serious problems facing middle-
      system.                                                 you took a tennis court, of a single                   class families and our Nation, the deci-
        That is what the focus of those hear-                 postage stamp.                                         sion to focus on this reconciliation leg-
      ings will be. If there are people abusing                 State-of-the-art drilling technology                 islation reflects seriously misplaced
      the free enterprise system to advan-                    has made remarkable advancements to                    priorities. Certainly, together we can
      tage themselves or their businesses at                  preserve and protect the environment.                  do better than this.
      the expense of everyday Americans,                      It is now possible to extract oil using                  The budget of the United States
      they need to be exposed and they                        that horizontal drilling technique from                ought to be a mirror of our Nation’s
      should be ashamed.                                      a site that could reach way out from a                 values. The budget should reflect what
        Next week’s hearings will help shed                   site that is very tiny, as you look at it              we think is important, what we care
      light on this very important matter.                    on the horizon or area. These are called               about and what we don’t. It says a lot
        Meanwhile, the Senate is also work-                   extended reach wells. We talked yester-                about who we are and what we value as
      ing to strengthen and secure America’s                  day about how far out you can go. You                  a people and a nation, this thing we
      energy supply. Indeed, we are doing it,                 can go out horizontally twice as far as                call the budget.
      in part, in the bill that we will be vot-               you can vertically, therefore reducing                   In essence, a budget is a moral docu-
      ing on over the course of today.                        the number of drilling sites.                          ment. Unfortunately, the Republican
        Last summer, the Senate passed a                                                                             budget is an immoral document. That
                                                                Developing the Reserve will create
      comprehensive       energy    plan    that                                                                     is not my term, Mr. President. That is
                                                              hundreds of thousands of jobs for hard-
      looked, in terms of framework, at pro-                                                                         the conclusion of some of our Nation’s
                                                              working Americans. It will contribute
      duction, at consumption, at conserva-                                                                          leading religious leaders who, citing
                                                              billions to the economy and strengthen
      tion, at alternative uses of fuel, at nu-                                                                      scripture and the Bible, have urged all
                                                              America’s energy independence. The
      clear, at hydrogen, at the investment                                                                          of us to oppose this budget reconcili-
                                                              oil in ANWR is critical to our economic
      of science and technology to make fuel                                                                         ation process. As Bishop Mark Hanson,
                                                              and national security. I look forward
      use more efficient, and that was a good                                                                        the presiding bishop of the Evangelical
                                                              to the vote today on developing this
      first step. But we have a lot more to                                                                          Lutheran Church in America, put it,
                                                              tremendous resource. Responsible, en-
      do.                                                                                                            ‘‘This is not the time to cut . . . impor-
        When you go home and you are talk-                    vironmentally sensitive exploration
                                                              will help ease the bottom line for every               tant programs while using the cuts to
      ing to constituents and you say: What
                                                              American family. We are working hard                   pay for tax breaks for those who don’t
      if I told you that most of the oil that
                                                              to deliver real solutions for the real                 need them.’’
      you are pumping into your gas tank
                                                              problems facing the American people                      My Republican friends will portray
      comes from overseas, from foreign
                                                              by taking strong, decisive action. In-                 their budget as a way to reduce the def-
      sources, from countries that are very
                                                              deed, by today’s floor action, we are                  icit. In truth, their budget and these
      specifically hostile to the United
                                                              moving America forward.                                reconciliation bills actually make the
      States, and what if I told you that the
                                                                                f                                    deficit worse. In fact, debt under their
      United States has barely 45 days’ worth
                                                                                                                     budget would go up by about $3 trillion
      of oil on hand in our own Strategic Pe-                          ORDER OF PROCEDURE                            in just 5 years. That is fiscally respon-
      troleum Reserve, the answer is obvi-
                                                                      AMENDMENT NO. 2347 WITHDRAWN                   sible? No. It is irresponsible at any
      ous. You would want to diversify your
      energy sources, you would want to                         Mr. FRIST. Mr. President, I ask for                  time but especially when we should be
      move toward energy independence, and                    the regular order with respect to                      saving to prepare for the baby boomers’
      that is exactly what we need to do.                     amendment No. 2347 and I ask that the                  retirement.
        Now, if I told you that in the United                 amendment be withdrawn. I further                        Let’s review a little bit of the his-
      States we have untapped oil reserves                    ask unanimous consent that the Sen-                    tory. When this administration came
      comparable to all of the oil in Arizona,                ate proceed to votes in relation to the                to power, our Nation had finally put
      California, Oregon, Washington, Idaho,                  pending amendments in the order of-                    our fiscal house in order. After many
      Montana, Wyoming, Colorado, Utah,                       fered; provided further that there be 2                years of deficits and raids on Social Se-
      New Mexico, North Dakota, and South                     minutes equally divided for debate                     curity to pay for other programs,
      Dakota combined, you would want to                      prior to the votes in relation to any of               Democrats, without the help of a single
      find it since it is here and get it to the              the pending amendments, in addition                    Republican vote, stopped that practice.
      American people.                                        to any second degrees offered.                           As a result of our efforts, this Nation
        Well, we do have that resource. It is                   The PRESIDENT pro tempore. Is                        ran a surplus from 1998 through 2001,
      in Alaska under the Arctic National                     there objection? Without objection, it                 and it was projected we would enjoy
      Wildlife Reserve, ANWR. We all know                     is so ordered.                                         surpluses as far as the eye could see. At
      ANWR is the Nation’s single greatest                      Mr. REID. Mr. President, has the ma-                 the time, our future looked so bright
      prospect for future oil. The Govern-                    jority leader completed his statement?                 that many economists, including Alan
      ment estimates that ANWR contains                                         f
                                                                                                                     Greenspan, seriously worried about
      approximately 10.4 billion barrels of                                                                          what would happen to financial mar-
                                                               RECOGNITION OF THE MINORITY                           kets if we eliminated our debt alto-
      technically recoverable oil. At peak
      production at this one site could be                                  LEADER                                   gether. Unfortunately, in these 5 short
      produced more oil than any other U.S.                    The PRESIDENT pro tempore. The                        years, with Washington Republicans in
      State, any other State in this country,                 Democratic leader is recognized.                       control of the House, the Senate, and
      Texas or Louisiana, from this one site.                  Mr. REID. I thank the Chair.                          the White House, we have moved from
        In 1968, the Federal Government esti-                                   f                                    a period of record surpluses to a time
      mated that Prudhoe Bay held 9 billion                                                                          of record deficits. Once again, we are
      barrels of oil. To date, Prudhoe Bay                                 THE BUDGET                                raiding Social Security, and the defi-
      has produced 13 billion barrels and it is                 Mr. REID. Mr. President, I strongly                  cits in each of the last 3 years have
      still producing. Now, more than ever,                   oppose the Republican budget and the                   been higher than at any time before
      we need to recognize the need to                        package of reconciliation bills we will                President Bush took office.
      strengthen America’s oil supply and                     be debating and have debated this past                   This year, Social Security has had
      now we have the opportunity to do                       week. The Republican budget and the                    taken from it—I don’t know the exact
      that. America can’t afford $3 a gallon,                 reconciliation bills are fiscally irre-                amount—about $175 billion to mask the
      and we can’t afford to depend on                        sponsible and simply will increase the                 deficit. The latest Republican budget
      sources many of which are hostile to                    deficit, which is already staggering—$8                before us will make matters even
      the United States.                                      trillion.                                              worse. While the majority has divided
        Some critics complain that drilling                     The budget and these reconciliation                  its budget in a way that obscures its
      in ANWR will hurt the environment. It                   bills are based on the wrong values.                   overall effect, nobody should be fooled.



VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00002   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.001   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 4 of 91
      November 3, 2005                  CONGRESSIONAL RECORD — SENATE                                                                              S12287
      Viewed as a whole, budget reconcili-                      Finally, beyond the fiscal irrespon-                 processed, and domestic producers de-
      ation would increase the deficit by                     sibility of this budget and the dis-                   serve the opportunity to differentiate
      more than $30 billion. After 5 years                    turbing choices it makes, there are                    their products from foreign imports.
      under their budget, our national debt                   other more important priorities the                    While     mandatory     country-of-origin
      would exceed $11 trillion.                              Senate should be addressing. Take, for                 food labeling passed as part of the 2002
         But the problems with their budget                   example, skyrocketing prices of fuel.                  farm law, its implementation con-
      go well beyond its fiscal irrespon-                     Families are struggling to fuel their                  tinues to be delayed and this bill would
      sibility. This budget reflects the wrong                vehicles and heat their homes. Farmers                 delay it an additional 2 years.
      values. It puts more burdens on those                   and businesses are feeling the pinch.                    My other primary concern is that the
      already struggling. And if that isn’t                   Democrats have a plan to respond, to                   bill cuts funding for many important
      bad enough, it takes the sacrifices it                  address price gouging, and ultimately                  conservation programs, such as the
      demands of the less fortunate to par-                   make our Nation energy independent.                    Conservation Security Program. Since
      tially pay for another round of large                   That is more important than harming                    the farm bill was enacted in 2002, the
      tax breaks for the elite of this country.               the vulnerable to provide tax breaks to                USDA conservation programs have
         Let’s look at what is in the bill be-                special interests while increasing the                 taken hits year after year. They have
      fore us.                                                deficit.                                               been used repeatedly as a source of off-
         The budget increases burdens on                        Hurricane survivors are still strug-                 sets to fund other needs. Including this
      America’s seniors by increasing Medi-                   gling. Thousands lack health care cov-                 conference report, the annual appro-
      care premiums, and we have not seen                     erage. More than 200,000 still live in                 priations measures from fiscal year
      what the House is going to give us.                     motel and hotel rooms. Devastated                      2003 through fiscal year 2006 have cut
         It cuts health care, both Medicare                   communities have been forced into                      $1.13 billion in mandatory funds that
      and Medicaid, by a total of $27 billion.                massive layoffs and are unable to pro-                 we dedicated to conservation in the
         It cuts support for our farmers by $3                vide even basic services, such as a place              farm bill.
      billion.                                                for kids to go to school. And many sur-                  I appreciate the hard work of the
         It cuts housing.                                     vivors who have lost everything are                    chairman and the ranking member, but
         It allows drilling in an Alaskan wild-               facing the threats of foreclosure and                  what came back from the House is not
      life refuge, at the behest of the oil and               bankruptcy in homes that do not even                   good for our Nation’s farmers, it is not
      gas industry, even though this year                     exist. Democrats have a plan to address                good for consumers, and it is not good
      they are going to make a $100 billion                   these urgent needs. That is more im-                   for conservation. I will, therefore, be
      profit.                                                 portant than harming the vulnerable                    voting against it.
         If we take a look at what is hap-                    to provide tax breaks to special inter-                  Mr. MCCAIN. Mr. President, today
      pening in the House of Representatives,                 ests and multimillionaires while in-                   the Senate will vote on the conference
      we can see what is likely coming down                   creasing the deficit.                                  report to H.R. 2744, the Agriculture Ap-
      the pike from them:                                       The Iraq war is not going well, as we                propriations bill for fiscal year 2006.
        Student loan cuts, food stamp cuts, cuts in           all know. We were promised by this ad-                 Unfortunately, I cannot support final
      child support enforcement, deeper and more              ministration that it would. Mr. Presi-                 passage of this bill.
      painful cuts in health care.                            dent, 2,036 American soldiers have been                  The conference agreement to H.R.
        Why? Why are we using expedited                       killed in Iraq. Tens of thousands have                 2744 appropriates about $100.9 billion in
      procedures for cuts that will harm mil-                 been wounded, badly injured; 150,000                   spending, an amount that is approxi-
      lions of seniors and working Ameri-                     more are still in harm’s way in Iraq,                  mately $848 million over the adminis-
      cans? Is it to reduce the deficit or to                 while the administration still has no                  tration’s request, $258 million more
      pay for Katrina? No; no on both counts.                 plan to end the conflict and bring them                than the Senate-approved bill and $660
      Is it to prepare for the avian flu? No. It              home. Instead of being greeted as lib-                 million more than the House-passed
      is to provide congressional Republicans                 erators, the violence continues nearly 3               bill. As is the case with many of the
      fiscal cover today so they can turn                     years after the start of this conflict.                appropriations bills that come to the
      around tomorrow to provide tax breaks                   Our Nation badly needs a strategy for                  floor, this bill and its accompanying
      to special interests and multimillion-                  success, and that, too, is more impor-                 report contain earmarks and pork
      aires.                                                  tant than harming the vulnerable to                    projects which have not been author-
        Let me be more specific. The capital                  provide tax breaks to special interests                ized or requested.
      gains and dividend tax breaks in the                    and multimillionaires while increasing                   I believe that some Federal involve-
      Republican budget would provide 53                      the deficit.                                           ment is necessary to assist low-income
      percent of its benefits to those with in-                 I urge my colleagues to defeat this                  families under the Food Stamp Pro-
      comes greater than $1 million. Those                    budget piece by piece. It is fiscally ir-              gram and that we ensure that our
      lucky few would get an average tax                      responsible. It is based on the wrong                  farmers stay out of the red. And to this
      break of about $35,000.                                 values and reflects the wrong prior-                   end, many of the programs under the
        What about those with incomes be-                     ities. I would hope together we could                  Agriculture Department are worth-
      tween, say, $50,000 and $200,000? Well,                 do better. Let’s reject this budget, and               while and I support their funding. I
      they will get an average cut of $112.                   let’s focus on the real needs of the mid-              know that many of my colleagues have
      How about those with incomes of less                    dle class and our Nation.                              spoken before the Senate about the
      than $50,000? Six dollars—$35,000 for                                     f                                    economic struggles of America’s farm-
      those with incomes of more than $1                                                                             ers, but as Congress looks ahead to-
      million, $6 for those earning less than                 APPROPRIATIONS           FOR      AGRI-                wards legislating a new farm bill in the
      $50,000. And to partially pay for these                   CULTURE,        RURAL      DEVELOP-                  near future, we once again conform to
      tax breaks, many Republicans now                          MENT, FOOD AND DRUG ADMIN-                           the practice of diverting taxpayer dol-
      want to cut Medicare, cut Medicaid,                       ISTRATION,         AND      RELATED                  lars into an array of special interest
      cut agriculture, cut housing, cut stu-                    AGENCIES       FOR     THE    FISCAL                 pork projects.
      dent loans, cut child support enforce-                    YEAR ENDING SEPTEMBER 30,                              Let’s take a look at some of the ear-
      ment, cut services on which Katrina                       2006—CONFERENCE         REPORT—Re-                   marks that are in this bill: $350,000 for
      survivors should be relying, cut bene-                    sumed                                                a report on the economic development
      fits needed by our Nation’s most vul-                     Mr. KERRY. Mr. President, while I                    of the sheep industry in the United
      nerable Americans.                                      recognize there are good things in this                States; $1,250,000 for the National
        Now you know why some of our Na-                      bill, today I will be voting against the               Sheep Industry Improvement Center;
      tion’s most respected religious leaders                 Agriculture appropriations conference                  $210,000 to the Little Red River Irriga-
      call this budget immoral. These                         report for two primary reasons. One, it                tion project, Arkansas; $1,800,000 for
      choices do not reflect the best of Amer-                delays the implementation of the                       the Muskingam River Watershed, Mo-
      ican values. That is not what Ameri-                    country- of-origin labeling for beef and               hican River, Jerome and Muddy Fork
      cans would want. America can do bet-                    other foods. U.S. consumers deserve to                 obstruction removal projects, Ohio;
      ter.                                                    know where their food is grown and                     $1,000,000 for a flood prevention project



VerDate Aug 31 2005   03:55 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00003   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.003   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 5 of 91
      S12288                            CONGRESSIONAL RECORD — SENATE              November 3, 2005
      in Kane County, Illinois; $200,000 for a                  Mr. DORGAN. Mr. President, I voted                     In addition, hundreds of thousands of
      grant to administer a private lands                     to reject the conference committee’s                   displaced evacuees are currently in
      wildlife management program in Alas-                    report on the fiscal year 2006 Agri-                   need of critical food assistance due to
      ka; $1,000,000 for a grant to the Ohio                  culture appropriations bill. There is                  Hurricanes Katrina and Rita. As the
      Livestock Expo Center in Springfield,                   much about this bill that I support. It                Nation works to recover and rebuild
      OH; $2,250,000 for a grant to the Wis-                  funds important research in North Da-                  from these devastating natural disas-
      consin Federation of Cooperatives for                   kota and across the country that will                  ters, the widespread need for increased
      pilot Wisconsin-Minnesota health care                   greatly benefit American agriculture.                  assistance demands that Federal Gov-
      cooperative      purchasing     alliance;                 I voted against the conference report                ernment food relief efforts be ex-
      $200,000 for a grant to the Utah State                  because of how it treats an important                  panded, not cut.
      University for a farming and dairy                      issue called country-of-origin labeling.                 I also welcomed increased funding to
      training initiative; and $500,000 for a                 The 2002 farm bill required that fruits,               child nutrition programs, though I was
      grant to the Nueces County, Texas Re-                   vegetables, seafood, and meat sold in                  upset to see that New York State was
      gional Fairground.                                      grocery stores and supermarkets be la-                 not included in the USDA’s Fruit and
        It is a violation of Senate rules to                  beled with its country of origin. This is              Vegetable Program this year. I will
      legislate on an appropriations bill, and                a consumer-friendly, farmer-friendly,                  continue to work with my Senate col-
      this fact is far too often overlooked.                  rancher-friendly law, and I strongly                   leagues on the Agriculture Committee
      Authorizing policy is a function re-                    supported it. After all, if we can look                to ensure that New York is added next
      served for the authorizing committees,                  at a label on our T-shirt and know                     year. New York children deserve to
      not the appropriations committee. As                    where it came from, we should be able                  have access to fresh produce in their
      is done far too frequently, this appro-                 to do the same with the T-bone steak                   lunch lines and in their schools.
      priations bill includes a variety of pol-               on our dinner plate.                                     These positive aspects of the bill won
      icy changes. Examples include:                            Country-of-origin labeling, or COOL,                 my support for the bill as a whole.
        The conference agreement authorizes                   was supposed to begin in September                     However, the bill has several important
      the purchase of land by the Agriculture                 2004. If we had followed the law we                    flaws that I must make note of. I am
      Research Service in Florence, SC.                       passed in the farm bill, American con-                 dismayed by the decision to cut funds
        The conference agreement authorizes                   sumers would today be able to know                     to the Conservation Security Program,
      the lease of 40 acres of Federal ARS                    where their food comes from, and our                   CSP, which provides voluntary incen-
      land to the Colorado State University                   farmers and ranchers would be reaping                  tives for farmers and ranchers to par-
      system.                                                 the benefits. Unfortunately, 2 years                   ticipate in efforts to preserve and en-
        The conference agreement authorizes                   ago, opponents of this commonsense                     hance their farmland, their natural re-
      the ARS to convey 19 acres of Federal                   law hid a provision in a massive spend-                sources and the environment.
      land to Oktibbeha County, MS.                           ing bill that delayed the start date for                 Five watersheds in New York State
        The conference agreement allows for                   COOL until 2006.                                       are currently eligible for CSP sign up
      the granting of easements at the Belts-                   COOL is the law of the land. The Sen-
                                                                                                                     in FY 2005—Ausable, Northern and
      ville, MD, Agricultural Research Cen-                   ate has voted overwhelmingly in favor
                                                                                                                     Southern Long Island, Buffalo and Ni-
      ter.                                                    of it. It should have gone into effect
        The conference agreement amends                                                                              agara—and about 2,860 farms and over
                                                              years ago. So I was outraged to learn
      the Rural Electrification Act of 1936 re-                                                                      436,000 acres are enrolled. Two addi-
                                                              there was another 2-year delay of
      garding Federal loans.                                                                                         tional New York State watersheds have
                                                              COOL in this year’s Agriculture Appro-
        The conference agreement amends                                                                              been proposed to be added to CSP for
                                                              priations bill.
      the Immigration and Nationality Act.                                                                           FY 2006—East Branch Delaware and
                                                                I knew some opponents of COOL
        The conference agreement amends                                                                              Oak Orchard—which would add an esti-
                                                              wanted to delay this important pro-
      the Organic Food Production Act of                                                                             mated 1,800 new farms and almost
                                                              gram. But I expected that when the
      1990.                                                                                                          390,000 acres to the program. Due to the
                                                              conference committee met to write a
        The conference agreement amends                                                                              drastic nature of the cuts to the Con-
                                                              final version of the Agriculture appro-
      the Federal Meat Inspection Act.                                                                               servation Security Program, these con-
                                                              priations bill, we would get a chance to
        The statement of managers that ac-                                                                           tracts to New York State farmers are
                                                              debate this issue and vote on it, in pub-
      companies this conference report also                                                                          in jeopardy.
                                                              lic. Instead, a handful of Republican
      includes hundreds of earmarks and                       Senators and Representatives went be-                    I am also extremely disappointed by
      questionable projects. Here are some                    hind closed doors and decided on their                 several of the provisions that were in-
      examples: $300,000 for beaver manage-                   own to delay the program for an addi-                  cluded in the conference report, par-
      ment in North Carolina; $625,000 for                    tional 2 years.                                        ticularly the decision to once again
      game bird predation work with the                         That is an outrage. I voted no today                 delay mandatory country-of-origin la-
      University of Georgia; $50,000 for con-                 because I think we should send this bill               beling. This provision was inserted be-
      trol of feral hogs in Missouri; $50,000                 back to the conference committee and                   hind closed doors and does not serve
      for animal tracking projects in the                     force the conference committee to vote                 the interests of producers and con-
      State of Washington; $380,000 to con-                   on this issue.                                         sumers in my state of New York.
      tinue control measures for minimizing                     Mrs. CLINTON. Mr. President, today                     The 2002 farm bill required that the
      blackbird damage to sunflowers in                       I discuss the Agricultural Appropria-                  U.S. Department of Agriculture write
      North Dakota and South Dakota;                          tions conference report, which recently                rules and implement mandatory coun-
      $196,000 for geese control in the State                 passed the Senate. Though I was not                    try-of-origin labeling, COOL, of meat
      of New York; $75,000 for research into                  pleased with all aspects of the final re-              products, seafood, fresh and frozen
      peanut production, Dawson, GA; $75,000                  port, I voted in favor of this bill be-                fruits and vegetables, and peanuts by
      for research into seafood waste, Fair-                  cause I support New York farmers and                   September 2004.
      banks, AK; and $250,000 for turf grass                  consumers.                                               My producers want mandatory COOL
      research, Beaver, WV.                                     I am proud to support the increases                  because it will give them a competitive
        Despite high gas prices, despite a                    made to the Food Stamp Program,                        advantage over foreign goods, particu-
      swelling budget deficit, despite our                    which is vital to feeding New York                     larly for the fresh market specialty
      military operations overseas, and de-                   families and children.                                 crops that New York produces. It is
      spite our domestic emergencies, pork                      The Food Stamp Program plays a                       also good for consumers, who will be
      continues to thrive in good times and                   critical role in fighting hunger and                   able to make an informed choice and
      bad. The cumulative effect of these                     ameliorating poverty in both our urban                 buy food produced closer to home. In
      earmarks erode the integrity of the ap-                 and rural communities. This program                    addition, mandatory COOL will en-
      propriations process and, by extension,                 provides critical resources to millions                hance food safety through increased
      our responsibility to the taxpayers. We                 of low-income families with children,                  traceability of our food products and
      can do better for our farmers and the                   seniors and individuals with disabil-                  will better protect animal and human
      American people.                                        ities.                                                 health.



VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00004   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.038   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 6 of 91
      November 3, 2005                  CONGRESSIONAL RECORD — SENATE                                                                              S12289
        Despite practical suggestions from                    these communities, and we are not                      tinue to fight—fight for the important
      small farmers and ranchers for stream-                  making the necessary investments in                    investments that will assure our rural
      lining the country-of-origin labeling                   research and development that will                     communities that we have not forgot-
      process, I am disheartened to see that                  allow those communities to compete                     ten them.
      the decision has instead been made by                   economically.                                            The PRESIDENT pro tempore. Under
      agribusiness, which doesn’t want con-                     I am also concerned that this bill in-               the previous order, the Senate will pro-
      sumers to know where food comes                         cludes yet another delay for country-                  ceed to a vote on the adoption of the
      from.                                                   of-origin labeling. I believe this is a                conference report to accompany H.R.
        While I voted for this bill because I                 commonsense provision that will pro-                   2744.
      feel that it is imperative to keep agri-                vide American consumers with infor-                      Mr. GREGG. Mr. President, have the
      culture and nutrition programs moving                   mation about where their food is com-                  yeas and nays been ordered?
      forward, I hope to continue to work                     ing from—information they need and                       The PRESIDENT pro tempore. They
      with my Senate colleagues to address                    deserve. Common sense dictates that if                 have not.
      some of the shortcomings in the future.                 we can label where our shirts and socks                  Mr. GREGG. I ask for the yeas and
        Mr. CONRAD. Mr President, the fis-                    are made, we can surely label where                    nays.
      cal year 2006 Agriculture appropria-                    our meat and other kinds of food come                    The PRESIDENT pro tempore. Is
      tions conference report was written                     from. I was disappointed to see this                   there a sufficient second?
      under some very difficult spending con-                 provision in the conference report, one                  There is a sufficient second.
      straints compared to the needs of U.S.                  that I believe will prevent our con-                     Mr. FEINGOLD. Mr. President, in
      agriculture. Because the bill contains                  sumers from receiving the information                  September I was pleased to support the
      many positive elements for North Da-                    they need to make an informed                          Senate version of H.R. 2744, the fiscal
      kota agriculture, I intend to vote for                  choice—the choice to buy American                      year 2006 appropriations bill providing
      its passage. However, I am deeply con-                  meat.                                                  funding for the Department of Agri-
      cerned that the appropriators have                        We can do more. Here is what I am                    culture, Food and Drug Administra-
      again adopted a delay in the implemen-                  hearing from my State: During har-                     tion, and related agencies. I want to
      tation of the mandatory country-of-or-                  vest, agricultural producers are some                  thank Senators BENNETT and KOHL for
      igin labeling for U.S. agricultural prod-               of the largest fuel consumers in the                   their hard work in crafting that legis-
      ucts. This provision is broadly sup-                    U.S., and producers are facing enor-                   lation. While I may not have supported
      ported by U.S. farmers and livestock                    mous fuel costs. In Grand Junction,                    every provision, on balance, the Senate
      producers who wish to be able to dif-                   CO, diesel prices are over $3.00.                      bill provided important funding to sup-
      ferentiate their products in the mar-                     I have heard from one Colorado farm-                 port our Nation’s farmers, rural com-
      ketplace. It is also supported by our                   er in Kit Carson County who has esti-                  munities, and conservation programs
      consumers who desire to know where                      mated that, in order to harvest this                   and to provide nutritious food for sen-
      their food is produced. It is unfortu-                  year, he will need an additional $46,000               iors, children, and those in need. While
      nate the conference failed to represent                 to cover fuel costs alone.                             I still support many of the provisions
      those interests.                                          I have also heard from a farmer in                   that remained in the conference report,
        Mr. SALAZAR. Mr. President, I rise                    northeastern Colorado who, in order to                 there were significant changes and new
      to speak about the fiscal year 2006 Ag-                 cover the increasing price of fuel, has                provisions added that prevent me from
      riculture appropriations bill. I want to                applied for additional loans at his                    supporting the final conference report.
      thank Chairman BENNETT and Ranking                      bank—only to be turned down because                      After years of delay, I was encour-
      Member KOHL for their long, hard work                   he is already overextended with exist-                 aged that the Senate bill included
      on this important bill. In the current                  ing loans.                                             funds to implement mandatory coun-
      fiscal environment, it is extremely dif-                  That is why I am so pleased this bill                try-of-origin labeling, COOL, for meat,
      ficult to put together an Agriculture                   now includes my amendment to require                   vegetables, and fruits. Unfortunately
      appropriations bill that meets the                      the Secretary of Agriculture to work                   the conference report delays COOL for
      needs of rural communities across the                   with the Secretary of Energy to                        another 2 years, which is unacceptable
      U.S., and I believe that Senators BEN-                  produce a comprehensive report on the                  for a provision that was part of the 2002
      NETT and KOHL have done an admirable                    impact of high gas prices on our farm-                 farm bill. Country-of-origin labeling is
      job.                                                    ers, ranchers, and rural communities                   vitally important to enable our farm-
        I am very pleased that two of my                      across the country. That data is the                   ers to show their pride in the quality of
      amendments that were adopted during                     first step toward a comprehensive solu-                their products, from ginseng to cheese
      Senate consideration of this bill were                  tion that will help these communities                  to cranberries. Wisconsin farmers are
      included in the final conference re-                    address these terrible prices.                         proud of their work, and many con-
      port—specifically, my first amendment                     When you consider that these in-                     sumers want to support American
      will result in a thorough review of the                 creasing fuel costs come on top of both                products—with country-of-origin label-
      impact the increased cost of gas, nat-                  natural disasters and an overall budget                ing, both farmers and consumers ben-
      ural gas, and diesel is having on farm-                 picture that has resulted in $3 billion                efit.
      ers, ranchers, and rural communities;                   worth of cuts to important agricultural                  The strength of the organic certifi-
      and my second amendment will help to                    programs, it is painfully clear that we                cation and labeling program through
      address ongoing bark beetle infestation                 must do more to help our producers. I                  USDA has been the ability of organic
      problems.                                               believe we must cooperate to provide                   consumers, farmers, processors, and re-
        In addition, I am pleased that Colo-                  our rural residents with increased rural               tailers to work together to create a
      rado State University will receive                      development and sustainable agricul-                   seal that everyone has confidence in.
      funding for several important agricul-                  tural opportunities as well as reason-                 The Harvey court decision challenged
      tural research programs such as infec-                  able commodity supports and eligi-                     some of the procedures in place for or-
      tious disease research, Russian wheat                   bility guidelines to ensure that Federal               ganic farming and food processing.
      aphid research, and beef cattle genetics                supports go to the family farmers who                  This situation should have caused the
      research.                                               are the intended beneficiaries.                        organic community to again come to-
        Unfortunately, I am still concerned                     Our family farmers, ranchers, and                    gether, openly discuss the issues, and
      about the rural communities this con-                   rural business people deserve fair farm,               more than likely propose consensus
      ference report is primarily designed to                 rural development, and conservation                    changes to the law to both ensure the
      assist. I am concerned that we are not                  programs. They also deserve a safe food                reputation of the organic label and
      doing everything we can on behalf of                    supply and other policies that help cre-               allow for the continued record growth
      those farmers, ranchers and agri-busi-                  ate more successful communities. I                     of the organic market. The Senate had
      nesses that continue to play a vital                    will support this bill, which is a step in             included an amendment to require the
      role in our Nation’s rural communities.                 the right direction. However, I do so                  USDA to report on the effects of the
      We are not making the necessary in-                     with the recognition that it is not the                Harvey decision as part of this open
      vestments to keep our young people in                   whole answer, and that we must con-                    process.



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                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 7 of 91
      S12290                            CONGRESSIONAL RECORD — SENATE              November 3, 2005
        Unfortunately, some powerful cor-                     State, and I am proud to say that 97                   fornia. Recent successes in the pro-
      porate interests who see organic foods                  percent of our farms are family owned.                 gram include determining the origin of
      simply through the lens of potential                      As a result, I supported the Specialty               avocado thrips found in Ventura and
      profit were able to have language in-                   Crop Competitiveness Act, legislation                  Orange counties—causing an $8.7 mil-
      serted in conference. While some of the                 to boost the marketing of highly nutri-                lion annual loss to growers—and iden-
      inserted changes might ultimately                       tious fruits, vegetables and other spe-                tifying natural enemies to control the
      have been adopted after open discus-                    cialty crops to American consumers                     thrips and replace pesticides previously
      sions with interested parties, back-                    and international markets. The legisla-                in use. A similar approach is being de-
      room deals in the dead of night are not                 tion provided, for the first time, a dedi-             veloped for the Avocado Lace Bug. In
      the way to go and have the potential                    cated source of funding to promote the                 addition, the program has funded work
      for undermining confidence in the en-                   marketing of specialty crop products.                  on such organisms as Sudden Oak
      tire organic program.                                     Specialty crops are fruits and vegeta-               Death, red imported fire ant, and Medi-
        This closed-door process extended to                  bles, tree nuts, dried fruits, and nurs-               terranean fruitfly;
      other provisions that were changed in                   ery    crops,   including    floriculture.               $20 million for the Farmers’ Market
      conference to the detriment of the                      Farms in the Golden State produce                      Nutrition Program. The program pro-
      final report, including reductions in                   more than half of the Nation’s fruits,                 vides nutritional information and sup-
      conservation funding and the removal                    vegetables and nuts from just 3 percent                plements as well as healthcare refer-
      of a provision proposed by Senator                      of the Nation’s farmland. While Cali-                  rals to low-income mothers and preg-
      HARKIN that would have prevented the                    fornia accounts for about 13 percent of                nant women. The Farmers Market Nu-
      privatization of food stamp offices.                    national cash receipts from agri-                      trition Program provides coupons to
        I am also disappointed that there are                 culture, it receives only about 3 per-                 participants to use to buy produce
      not stronger protections against the                    cent of direct government payments to                  from small farmers, and nutrition in-
      politicization of decisions made by the                 agriculture. These funds, while open to                formation is provided through the local
      Food and Drug Administration. There                     all 50 States, will help California spe-               Farmers Market Nutrition Program
      is no room for politics in science, yet                 cialty crop farmers.                                   agency;
      the FDA has demonstrated an alarming                      As the globalization of markets con-                   $3.076 million for the Sudden Oak
      indifference to scientific integrity in                 tinues, it is becoming increasingly dif-               Death Control Program. Funding will
      its unprecedented decision preventing                   ficult for United States producers to                  be used to continue researching Sudden
      emergency contraception, or Plan B,                     compete against heavily subsidized for-                Oak Death Disease, which infects and
      from being offered over the counter. I                  eign producers in both the domestic                    destroys oak and tanoak trees;
      strongly believe women should have ac-                  and foreign markets. United States                       $401,000 for Ozone Air Quality Re-
      cess to all available contraceptive                     specialty crop producers also continue                 search by the San Joaquin Valleywide
      methods so that they can make choices                   to face serious tariff and nontariff                   Air Pollution Study Agency. A multi-
      regarding their personal health. I have                 trade barriers in many export markets.                 year, intensive air quality study is
      supported scientific integrity in the                   The funding for specialty crops will                   needed to meet the requirements of Re-
      past, and I must express my dis-                        promote the marketing of specialty                     gional Haze State Implementation
      pleasure that stronger language was                     crops and improve access to foreign                    Plans anticipated after 2008. This study
      not included in the final conference re-                markets and competitiveness.                           would build upon the Central Cali-
      port to prevent the FDA from allowing                     I am extremely pleased that we were                  fornia Ozone Study and the California
      politics to affect its decision making.                 able to include $7 million for crops that              Regional Air Quality Study. These new
        By highlighting the problems with                     are so vital to our Nation’s food sup-                 studies will include an ozone filed
      the conference report’s process and pol-                ply.                                                   study, data analysis, modeling per-
      icy I don’t mean to suggest that noth-                    In addition, I would like to thank the               formance evaluations, air quality and
      ing good remains from the Senate bill.                  chairman and ranking member for in-                    meteorological     modeling    improve-
      The conference report still rejects a                   cluding other projects that will benefit               ments, and a retrospective look at pre-
      number of administration proposals to                   California.                                            vious State Implementation Plan mod-
      reduce or eliminate important pro-                        They include: $1.35 million for the                  eling.
      grams such as funds for research at our                 California County Pest Detection Aug-                    This bill is extremely important to
      land-grant colleges and universities,                   mentation Program. These funds will                    ensuring a safe and secure domestic
      conservation partnerships through re-                   help California counties increase high-                food supply. I would like to again
      source conservation and development                     risk pest exclusion inspection activi-                 thank the chairman and the ranking
      councils, and funds to combat Johne’s                   ties of new shipments of plants, seeds,                member for all of their hard work on
      disease in our dairy industry. I was                    fruits, vegetables, and animals. Pest                  this bill.
      also heartened that the conferees in-                   exclusion is critical to a successful ag-                The question is on agreeing to the
      cluded critical funds to address chronic                ricultural industry because it is more                 conference report. The clerk will call
      wasting disease, and an amendment I                     effective and less costly to prevent the               the roll.
      proposed with Senator ALLARD to speed                   introduction and establishment of po-                    The assistant journal clerk called the
      USDA’s development of uniform regu-                     tentially harmful exotic pests from the                roll.
      lations governing captive deer and elk.                 local environment than it is to elimi-                   Mr. DURBIN. I announce that the
      But, on balance, I simply cannot sup-                   nate them;                                             Senator from New Jersey (Mr. CORZINE)
      port the detrimental changes made in                      $24.25 million for the Glassy-winged                 is necessarily absent.
      conference to the Senate bill.                          Sharpshooter/Pierce’s Disease Control                    The PRESIDING OFFICER (Mr.
        Mrs. FEINSTEIN. Mr. President, as a                   Program. The glassy-winged sharp-                      SUNUNU). Are there any other Senators
      member of the Agriculture Appropria-                    shooter is an invasive pest that spreads               in the Chamber desiring to vote?
      tions Subcommittee, I rise today to                     bacteria that kills grapes, almonds and                  The result was announced—yeas 81,
      speak in support of the Agriculture ap-                 tree fruits. This funding will be used to              nays 18, as follows:
      propriations conference report.                         develop the resources to eliminate the
                                                                                                                                 [Rollcall Vote No. 282 Leg.]
        I would particularly like to thank                    spread of the disease;
                                                                $200 million for the Market Access                                        YEAS—81
      the chairman and ranking member of
      the Subcommittee, Senators BENNETT                      Program. This nationwide program                       Akaka             Burr            Cornyn
                                                                                                                     Alexander         Byrd            Craig
      and KOHL, for including $7 million in                   provides funding to promote the export                 Allard            Cantwell        Crapo
      the bill for specialty crop funding.                    of American agricultural products;                     Allen             Carper          Dayton
        Americans tend to forget that Cali-                     $1.929 million for Exotic Pest Disease               Bennett           Chafee          DeMint
      fornia is the largest agricultural pro-                 Research at the University of Cali-                    Biden             Chambliss       DeWine
                                                                                                                     Bingaman          Clinton         Dole
      ducing State in the Nation. Of the top                  fornia. The Exotic Pest and Disease Re-                Bond              Cochran         Domenici
      10 agricultural producing counties na-                  search Program funds research to com-                  Boxer             Coleman         Durbin
      tionwide, 8 are located in California.                  bat a wide variety of exotic organisms                 Brownback         Collins         Feinstein
                                                                                                                     Bunning           Conrad          Frist
      We export more crops than any other                     that have invaded or could invade Cali-



VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00006   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.056   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 8 of 91
      November 3, 2005                  CONGRESSIONAL RECORD — SENATE                                                                                  S12291
      Graham            Lincoln            Salazar            money. We don’t look at it that way on                   sibility. This pay-go amendment intro-
      Gregg             Lott               Santorum
      Hagel             Lugar              Sarbanes
                                                              this side of the aisle. We look at it as                 duced by Ranking Member CONRAD of
      Hatch             Martinez           Schumer            the people’s money, and they should be                   the Budget Committee, of which I am a
      Hutchison         McConnell          Sessions           able to keep it. We should not have a                    cosponsor, seeks to fully reinstate the
      Inhofe            Mikulski           Shelby             rule that arbitrarily takes it from                      pay-as-you-go requirement for direct
      Inouye            Murkowski          Smith
      Isakson           Murray             Snowe              them.                                                    spending and revenue legislation in the
      Jeffords          Nelson (FL)        Specter              For that reason, I oppose the amend-                   Senate through 2010.
      Kennedy           Nelson (NE)        Stabenow           ment.                                                      This is about restoring responsible
      Kohl              Obama              Stevens              I make a point of order that the
      Landrieu          Pryor              Talent
                                                                                                                       budgeting. Previously, pay-go rules ap-
      Lautenberg        Reed               Vitter
                                                              pending amendment is not germane be-                     plied equally to increases in mandatory
      Leahy             Reid               Voinovich          fore the Senate, and I raise a point of                  spending and decreases in revenue. New
      Levin             Roberts            Warner             order under section 305 of the Budget                    spending or tax cuts could only become
      Lieberman         Rockefeller        Wyden              Act.                                                     law if they were offset or found 60 votes
                          NAYS—18                               Mr. CONRAD. Mr. President, pursu-                      in support. This enforced a badly need-
      Baucus            Ensign             Kerry              ant to section 904 of the Congressional                  ed budget discipline. It said, either pay
      Bayh              Enzi               Kyl                Budget Act of 1974, I move to waive the                  for your priorities whether entitlement
      Burns             Feingold           McCain             applicable section of the act for the                    spending or tax cuts or both or find a
      Coburn            Grassley           Sununu
      Dodd              Harkin             Thomas
                                                              consideration of the pending amend-                      supermajority of colleagues willing to
      Dorgan            Johnson            Thune              ment.                                                    override the rule. Simple logic. Simple
                                                                I ask for the yeas and nays, and I ask
                       NOT VOTING—1                                                                                    balance. Common sense. Pay-go worked
                                                              my colleagues to support this budget
                        Corzine                                                                                        well in the 1990s to reduce deficits and
                                                              discipline.
                                                                The PRESIDING OFFICER. Is there a                      it can work well today.
                                                                                                                         Unfortunately,      the     rules     were
        The conference report was agreed to.                  sufficient second?
                                                                There is a sufficient second.                          changed, and the balance was over-
        Mr. BENNETT. Mr. President, I move
                                                                The question is on agreeing to the                     turned. Now, the requirements of budg-
      to reconsider the vote.
                                                              motion.                                                  et discipline apply to only half of the
        Mr. INHOFE. I move to lay that mo-
                                                                The clerk will call the roll.                          budget. Tax breaks are exempt from
      tion on the table.
                                                                The legislative clerk called the roll.                 the logic and balance and common
        The motion to lay on the table was
                                                                Mr. DURBIN. I announce that the                        sense of budget discipline.
      agreed to.
                                                              Senator from New Jersey (Mr. CORZINE)                      The problem is that there is no such
                       f                                      is necessarily absent.                                   thing as half a budget. Budget dis-
      DEFICIT  REDUCTION                     OMNIBUS            The PRESIDING OFFICER. (Ms.                            cipline requires enforcing control over
       RECONCILIATION ACT                    OF 2005—         MURKOWSKI). Are there any other Sen-                     both sides of the ledger. You can’t fill
       RESUMED                                                ators in the Chamber desiring to vote?                   a bath tub just by plugging the drain.
                                                                The yeas and nays resulted—yeas 50,                    You can’t drive a car just by pressing
                      AMENDMENT NO. 2351
                                                              nays 49, as follows:                                     on the brakes.
        The PRESIDING OFFICER. It is now                                  [Rollcall Vote No. 283 Leg.]                   The original pay-go rules were aban-
      in order to consider the Conrad amend-                                       YEAS—50                             doned to provide for a series of un-
      ment. There is 2 minutes equally di-                                                                             funded tax breaks. And since the tax
                                                              Akaka             Durbin                Mikulski
      vided.                                                  Baucus            Feingold              Murray           breaks were unfunded, the Government
        Mr. CONRAD. Mr. President, I ask                      Bayh              Feinstein             Nelson (FL)      had to borrow money to pay for them.
      unanimous consent that Senator BIDEN                    Biden             Harkin                Nelson (NE)
                                                              Bingaman          Inouye                Obama
                                                                                                                       So we borrowed from countries like
      be added as a cosponsor.                                Boxer             Jeffords                               Japan and China. And we borrowed
                                                                                                      Pryor
        The PRESIDING OFFICER. Without                        Byrd              Johnson               Reed             from the Social Security trust fund. In
      objection, it is so ordered.                            Cantwell          Kennedy               Reid             the process, our national debt shot up
        Mr. CONRAD. Mr. President, the best                   Carper            Kerry
                                                                                                      Rockefeller      to $8 trillion, and it is still rising. Last
                                                              Chafee            Kohl
      argument made for my amendment,                         Clinton           Landrieu
                                                                                                      Salazar
                                                                                                                       year, for example, our national com-
      which is to restore fiscal responsi-                    Coburn                                  Sarbanes
                                                                                Lautenberg
                                                              Collins           Leahy                 Schumer          mitments exceeded our national re-
      bility, is the argument made by the                                                             Snowe            sources by more than $550 billion. And
                                                              Conrad            Levin
      chairman of the Budget Committee in                     Dayton            Lieberman             Stabenow         we continue to borrow.
      2002. Here is what he said:                             Dodd              Lincoln               Voinovich          Some have argued that this first
        The second budget discipline, which is pay-           Dorgan            McCain                Wyden
                                                                                                                       chapter of reconciliation is an effort to
      go, essentially says if you are going to add a                               NAYS—49                             reduce the deficit. They tout the reduc-
      new entitlement program, or you are going
                                                              Alexander         Dole                  McConnell        tions in spending, many of which I
      to cut taxes, you must offset that event so             Allard            Domenici              Murkowski
      that it becomes a budget neutral event. If we                                                                    would support. But later this month,
                                                              Allen             Ensign                Roberts
      don’t do this, if we don’t put back in place            Bennett           Enzi                  Santorum
                                                                                                                       the Senate will get to chapter two of
      caps and pay-go, we will have no budget dis-            Bond              Frist                 Sessions         reconciliation, which proposes further
      cipline, and as a result we will dramatically           Brownback         Graham                Shelby           unfunded tax breaks and guarantees
      aggravate the deficit, which, of course, im-            Bunning           Grassley
                                                              Burns             Gregg
                                                                                                      Smith            additional deficits and growing debt.
      pacts a lot of important issues but especially                                                  Specter          So much debt, in fact, that the third
                                                              Burr              Hagel
      impacts Social Security.                                                                        Stevens
                                                              Chambliss         Hatch
                                                                                                      Sununu
                                                                                                                       chapter of budget reconciliation, which
        The budget chairman was right then.                   Cochran           Hutchison
                                                                                                      Talent           no one really wants to talk about, will
                                                              Coleman           Inhofe
      It is the right position now. Support                   Cornyn            Isakson               Thomas           involve raising our country’s debt ceil-
      the restoration of the budget discipline                Craig             Kyl                   Thune            ing to almost $9 trillion.
      of pay-go.                                              Crapo             Lott                  Vitter             Americans deserve better financial
                                                              DeMint            Lugar                 Warner
        The PRESIDING OFFICER. The Sen-                                                                                leadership. The people I talk to in Illi-
                                                              DeWine            Martinez
      ator’s time has expired.                                                                                         nois are not fooled by what is going on.
        The Senator from New Hampshire is                                      NOT VOTING—1                            They know what is happening with
      recognized.                                                               Corzine                                higher deficits and reduced levels of
        Mr. GREGG. Mr. President, I was cor-                    The PRESIDING OFFICER. On this                         government service. They understand
      rect then, and that is why we put pay-                  vote, the yeas are 50, the nays are 49.                  that, in this life, you get what you pay
      go into this resolution. The budget res-                Three-fifths of the Senators duly cho-                   for and if you don’t pay for it today, it
      olution does have pay-go in it, and it is               sen and sworn not having voted in the                    will cost you more tomorrow.
      the appropriate approach to pay-go be-                  affirmative, the motion is rejected.                       Washington could learn a lot from
      cause it recognizes there is a difference               The point of order is sustained and the                  the American people about fiscal re-
      between tax relief and raising spend-                   amendment falls.                                         sponsibility. The people I have met
      ing. The other side of the aisle has al-                  Mr. OBAMA. Madam President, I rise                     with know that if you need to spend
      ways looked on people’s taxes as their                  today to speak in favor of fiscal respon-                more money on something, you also



VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00007   Fmt 0624   Sfmt 0634     E:\CR\FM\A03NO6.005   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 9 of 91
      S12292                            CONGRESSIONAL RECORD — SENATE              November 3, 2005
      need to make more money, and if your                      Pay-go provides a necessary tool at a                Louisiana and the gulf, once by the
      income falls, your spending must fall,                  necessary time. I urge my colleagues to                storm and once by this amendment.
      too. This is the essence of the pay-go                  support this amendment.                                This amendment does not have ac-
      rules we are trying to reinstate in the                         AMENDMENT NO. 2352, AS MODIFIED                countability. It allows Federal funds to
      Senate. Changes in spending must be                       The PRESIDING OFFICER. At this                       be used for religious purposes. It guts
      offset by changes in revenue, and vice                  time there is 2 minutes on the Enzi                    the civil rights protections of our pro-
      versa.                                                  amendment.                                             posal.
        Americans know that when you are                        The Senator from New Hampshire.                        For the sake of the children and for
      already deep in debt, it is not the opti-                 Mr. GREGG. I will yield to Senator                   the sake of the schools, I hope this
      mal time to be gutting your revenue                     ENZI.                                                  amendment will be defeated.
      stream, whether it’s a few hundred dol-                   Mr. CONRAD. The Senate is not in                     AMENDMENT NO. 2404 TO AMENDMENT NO. 2352, AS
      lars in the case of a family or a $70 bil-              order. The Senator deserves a chance                                    MODIFIED
      lion tax break in the case of the Fed-                  to be heard.                                           (Purpose: To provide assistance for elemen-
      eral Government.                                          The PRESIDING OFFICER. The Sen-                        tary and secondary schools and students,
        They also understand the difference                   ate will be in order.                                    and institutions of higher education, af-
      between a home mortgage, a student                        The Senator from Nevada.                               fected by Hurricane Katrina)
      loan, a credit card debt for uninsured                    Mr. ENSIGN. Madam President, at                        Mr. ENSIGN. I send a second-degree
      health care expenses, and an unpaid                     the end of 2 minutes, that time being                  amendment to the Enzi amendment to
      tab at the bar. They know that some                     expired, I intend to send a second-de-                 the desk.
      debts are good investments or may be                    gree amendment to the Enzi amend-                        The PRESIDING OFFICER. The
      unavoidable. But some debts are irre-                   ment to the desk. Let me briefly de-                   clerk will report.
      sponsible the result of spending more                   scribe it. My amendment addresses the                    The legislative clerk read as follows:
      than you can afford on purchases you                    concerns of the Orthodox Union, the                      The Senator from Nevada [Mr. ENSIGN]
      could postpone or do without.                           Catholic Bishops, and the Council on                   proposes amendment No. 2404 to amendment
        The people I have met with know                       American Private Education. My                         No. 2352, as modified.
      that you do not respond to emergencies                  amendment clearly establishes an indi-                   Mr. ENSIGN. I ask unanimous con-
      by indiscriminately cutting all parts of                rect aid program for displaced private                 sent the reading of the amendment be
      the family budget. You make choices                     school students that meets all the con-                dispensed with.
      and forego luxuries before cutting back                 stitutional requirements without plac-                   The PRESIDING OFFICER. Without
      on essentials like food, heating, edu-                  ing unworkable and unnecessary re-                     objection, it is so ordered.
      cation, and healthcare. They under-                     strictions on private schools serving                    (The amendment is printed in today’s
      stand that across the board cuts are                    these displaced families. It ensures ac-               RECORD under ‘‘Text of Amendments.’’)
      neither fair nor responsible. Such cuts                 countability for the funds and, most                     Mr. ENZI. The pending amendment is
      sound bold, but they represent a lack                   important, delivers on the much-need-                  not germane to the measure now before
      of leadership, not an example of it.                    ed relief to ensure the restart and oper-              the Senate. I raise a point of order
        The American people also know that                    ation of schools at all levels in the af-              under section 305 of the Budget Act.
      the whole family must share in sac-                     fected areas.                                            The PRESIDING OFFICER. The Sen-
      rifice—it is not right to pick on any                     The 2002 Zellman decision by the Su-                 ator from Nevada.
      one member of the family, or any one                    preme Court clarified that religious                     Mr. ENSIGN. Pursuant to section
      State in our Union. We are in this to-                  schools which accept Government fund-                  904(c) of the Congressional Budget Act
      gether. Singling out Alaska’s bridge                    ing do not have to modify their teach-                 of 1974, I move to waive section 305 of
      projects or any one State’s earmarked                   ings and curricula in order to receive                 the Budget Act for the consideration of
      funds is the wrong approach. If Con-                    Government funding so long as the                      the Ensign second-degree amendment. I
      gress is going to eliminate frivolous                   Government aid arrives at the school                   ask for the yeas and nays on the mo-
      pork projects, as we should to support                  by virtue of an independent choice                     tion.
      the gulf coast, let’s eliminate all of                  made by the student and parent, and                      The PRESIDING OFFICER. Is there a
      them, in all States, together.                          this amendment complies with that de-                  sufficient second?
        Finally, the people I talk to under-                  cision and meets all of its constitu-                    There appears to be a sufficient sec-
      stand that when you have massive                        tional requirements.                                   ond.
      costs coming down the road, you need                      The PRESIDING OFFICER. The time                        The yeas and nays were ordered.
      to prepare for them. There is no excuse                 of the Senator has expired.                              The PRESIDING OFFICER. The Sen-
      for ignoring the financial consequences                   The Senator from Wyoming.                            ator from New Hampshire.
      of foreseeable expenses whether it is                     Mr. ENZI. I hate to debate a second-                   Mr. GREGG. Madam President, as I
      the rising costs of health care, the re-                degree amendment that has not yet                      understand it, and I am not sure I un-
      tirement of the baby boom generation,                   been sent to the desk.                                 derstand it, I believe there is now still
      or the growing inequality of wealth in                    Mr. CONRAD. Could we have order,                     2 minutes of debate available between
      our society.                                            Madam President.                                       the proponent of the second degree and
        You don’t have to be a deficit hawk                     Mr. ENZI. At the appropriate point                   the proponent in opposition. Is that
      to be disturbed by the growing gap be-                  in time I will be raising the point of                 correct?
      tween revenues and expenses. This                       germaneness. This amendment shows                        The PRESIDING OFFICER. The Sen-
      makes sense to people because the                       the Gordian knot we are trying to cut                  ator is correct.
      same principles that apply to our na-                   through so we can do the right things                    Mr. GREGG. I presume Senator ENZI
      tional budget apply to their family                     for the children of Katrina.                           and Senator ENSIGN can continue their
      budgets as well. Americans are willing                    What we have is constitutional. We                   discussion.
      to share in the hard choices required to                are not trying, in the amendment that                    Mr. KENNEDY. Madam President,
      get us back on track, as long as they                   will be up as the original amendment,                  will the Senator yield?
      know that everyone is pulling their                     to resolve vouchers. We are not trying                   Is this the total time? I thought we
      weight and doing their fair share.                      to resolve faith-based initiatives. What               had a minute on each side on each
        That is why it is so important that                   we are trying to do is do the right                    amendment. Are we now debating the
      we reinstate pay-go in a way that                       thing to treat the kids of Katrina the                 Enzi underlying amendment?
      meaningfully enforces the budget dis-                   right way, and in order to solve this it                 The PRESIDING OFFICER. There is
      cipline both sides of the aisle need to                 has to be a very bipartisan way because                2 minutes on the second-degree amend-
      honestly tackle our short-term and                      we also will have to overcome a point                  ment, the Ensign amendment.
      long-term fiscal challenges.                            of germaneness.                                          Mr. GREGG. Madam President, par-
        Mr. President, it is time for fiscal re-                I yield the remainder of my time to                  liamentary inquiry. And I ask unani-
      sponsibility to return to Washington.                   Senator KENNEDY.                                       mous consent that this time not be ap-
      Adult supervision must return to the                      Mr. KENNEDY. Madam President, we                     plied to the time relative to the debate
      budgeting process.                                      should not penalize the children of                    that is available.



VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00008   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.063   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 10 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12293
        The PRESIDING OFFICER. Without                        on the second-degree amendment and                     for those people who have been dis-
      objection, it is so ordered.                            then go to the first-degree amendment                  placed, for those schools that have
        The Senator from New Hampshire.                       without debate—or even with debate.                    taken in these displaced students. We
        Mr. GREGG. As I understand the sit-                      If we are going to limit the time, we               both want to have the help go. What we
      uation, the 2 minutes of debate has al-                 need to limit the time each time. And                  want to do, though, is allow the private
      ready occurred on the Enzi amend-                       if somebody is going to do a second-de-                schools to function as they have been
      ment. We are now under 2 minutes of                     gree amendment, they ought to do                       functioning in the past. If you are a
      debate on the second-degree amend-                      their debate on the second-degree                      Catholic school, you would be able to
      ment, which is the Ensign amendment.                    amendment, face the vote on the sec-                   function as a Catholic school functions
      Is that correct?                                        ond-degree amendment, and move on.                     and not be penalized for that because
        The PRESIDING OFFICER. The Sen-                       But you ought to get your time to de-                  you have taken in these displaced stu-
      ator is correct.                                        bate your motion at the time of the                    dents and are getting some Federal aid.
        Mr. GREGG. After this amendment is                    vote on the motion, not an hour later.                   The PRESIDING OFFICER. The Sen-
      debated, there will be a vote on the mo-                   The PRESIDING OFFICER. The Sen-                     ator from Wyoming.
      tion to waive the point of order made                   ator from New Hampshire.                                 Mr. ENZI. Madam President, I guess
      by Senator ENZI from Wyoming, the                          Mr. GREGG. Madam President, I                       there have been a lot of constitutional
      motion to waive being made by Sen-                      think the Senator from Wyoming has                     lawyers involved in all of this. I cer-
      ator ENSIGN relative to the second-de-                  made an excellent case. We will try to                 tainly want people to know we also
      gree amendment. Is that correct?                        orchestrate it in that manner, should                  conferred with constitutional lawyers
        The PRESIDING OFFICER. The Sen-                       we get additional second degrees.                      and found a way to be able to do, on a
      ator is correct.                                           At this point, the debate for 2 min-                one-time emergency basis, what needs
        The Senator from Massachusetts.                       utes is on the second-degree amend-                    to be done properly for the kids of
        Mr. KENNEDY. Parliamentary in-                        ment, and Senator ENSIGN has a                         Katrina and for any other major event
      quiry, Madam President: I thought we                    minute, and whoever claims the opposi-                 where we have a large number of dis-
      were having the 2 minutes prior to                      tion has a minute.                                     placed students. But this one just deals
      each vote just over the course of the                      The PRESIDING OFFICER. The Sen-                     with the one-time emergency event. It
      day on these different amendments. It                   ator from Massachusetts.                               is constitutional. It does not, however,
      is my mistake because I thought we                         Mr. KENNEDY. Madam President, as                    as Senator ENSIGN would like to do, re-
      were just voting on the Ensign amend-                   I understand it, Senator ENZI has made                 solve the voucher issue, and it does not
      ment, and then, when we disposed of                     the point of order, has he not, on this                resolve the faith-based initiative issue.
      that, we would have a vote up or down                   amendment?                                             But it does get help to kids, and that is
      on the underlying amendment. But I                         The PRESIDING OFFICER. The Sen-                     what we are trying to do with all the
      guess that is not the way we are going                  ator is correct.                                       education amendments we have today.
      to proceed.                                                The Senator from Wyoming.                             I yield the remainder of my time to
        Mr. GREGG. Madam President, if I                         Mr. ENZI. Parliamentary inquiry: I                  Senator KENNEDY.
      may respond to the Senator from Mas-                    think I would have to withdraw that                      The PRESIDING OFFICER. The Sen-
      sachusetts.                                             point of germaneness and he would                      ator from Massachusetts.
        The PRESIDING OFFICER. The Sen-                       have to withdraw his in order for us to                  Mr. KENNEDY. Madam President, as
      ator from New Hampshire.                                have continuing debate. Is that not                    the chairman of the committee has
        Mr. GREGG. Madam President, I say                     true?                                                  pointed out, we have reviewed and
      to the Senator from Massachusetts, be-                     The PRESIDING OFFICER. All de-                      cleared this with constitutional au-
      cause there was a second degree, the                    bate is expired except under the order.                thorities. This is an indirect way of
      way it worked out, the debate on the                       There is now 2 minutes of debate on                 providing help and assistance to the
      Enzi amendment occurred as part of                      the second-degree amendment.                           children. The alternative is effectively
      that process. So the 2 minutes did                         Mr. ENZI. Madam President, par-                     a voucher program. We have tried to
      occur. However, because this is the                     liamentary inquiry: Does that mean                     stay clear from ideological fixes on
      first exercise here in this undertaking,                my point of order was on my amend-                     this.
      I would suggest that, after the Ensign                  ment and his motion to waive was on                      Let’s treat the children with respect
      amendment is disposed of, if it is favor-               my amendment, not on his?                              and the schools with respect and in the
      ably disposed of, that there won’t be 2                    The PRESIDING OFFICER. The                          generosity with which they have treat-
      minutes, but if it is not favorably dis-                pending motion is to waive the point of                ed these children. I hope the amend-
      posed of we would have another 2 min-                   order against the Ensign second-degree                 ment will be defeated.
      utes of debate on the Enzi amendment.                   amendment.                                               Mr. BINGAMAN. Madam President, I
        Mr. KENNEDY. I thank the chairman                        Mr. ENZI. That will be what the de-                 would like to talk about the Enzi-Ken-
      of the Budget Committee.                                bate is on? I thought debate did not                   nedy amendment to S. 1932, the deficit
        The PRESIDING OFFICER. Without                        happen once the germaneness was en-                    reduction bill. We all want to do the
      objection, it is so ordered.                            tered.                                                 right thing and help the hundreds of
        The Senator from Wyoming.                                The PRESIDING OFFICER. By unan-                     thousands of students displaced by
        Mr. ENZI. Madam President, to clar-                   imous consent, the order was changed.                  Hurricane Katrina. Just a few weeks
      ify this, why would we have the debate                     The Senator from Nevada.                            after the tragic events surrounding
      on the overlying motion before we have                     Mr. ENSIGN. Madam President, now                    Hurricane Katrina, I came to the floor
      the debate on the underlying motion                     that we have been through all that,                    of the Senate and offered an amend-
      and then try to deny a debate on the                    just to restate, the managers of the un-               ment to the Commerce-Justice-State
      overlying motion at the appropriate                     derlying amendment believe their pro-                  appropriations bill to assist students
      time?                                                   posal is constitutional. But the lawyers               and schools impacted by Hurricane
        I would ask the chairman and the                      for the private schools, the ones who                  Katrina. I also cosponsored a bill with
      ranking member to consider this proc-                   have looked at this, believe they could                Senators ENZI and KENNEDY, S. 1715, to
      ess. It will save a lot of time if the per-             not accept the aid in a constitutional                 assist schools and students impacted
      son suggesting a second-degree amend-                   manner, that people will be able to                    by Katrina. But I have tremendous
      ment do the debate on the second-de-                    bring a court case against them and                    concerns about the amendment before
      gree amendment. Did anybody here                        that they would lose if they did not                   us today.
      hear the debate on the first-degree                     change the way they do their instruc-                    This amendment sets up an unwork-
      amendment? That was debate on the                       tion. They have a moral, religious-                    able mechanism to assist displaced stu-
      second-degree amendment.                                based instruction. They believe they                   dents attending private schools. It re-
        So we disposed with the debate on                     would have to change it.                               quires states to funnel Federal dollars
      the second-degree amendment. Now we                        Our amendment clearly makes the                     to local school districts to establish
      ought to have the vote on the second-                   way they receive the funds constitu-                   private accounts to pay the tuition to
      degree amendment, not another debate                    tional. We both want to provide help                   private schools. In contrast, current



VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00009   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.009   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 11 of 91
      S12294                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      law provides a reasonable mechanism                     ment, parents will have an unfounded                   became displaced through no fault of
      for local school districts to assist stu-               expectation that this aid will be there                their own.
      dents attending private schools, called                 next year and perhaps even for years to                  The PRESIDING OFFICER. All time
      equitable participation, without estab-                 come. These families are settling down                 has expired.
      lishing a national voucher program. I                   in new communities, and they may                         The question is on agreeing to the
      support efforts to use equitable partici-               lack the resources, ability, or desire to              motion. The yeas and nays have been
      pation to assist private schools serving                go back to the gulf coast.                             ordered. The clerk will call the roll.
      these displaced students. Unfortu-                        Of course, we want to help families in                 The bill clerk called the roll.
      nately, this amendment fails to use                     their moment of need and distress. I                     Mr. DURBIN. I announce that the
      this mechanism. At the same time, it                    understand my colleague, Senator                       Senator from New Jersey (Mr. CORZINE)
      establishes the first national voucher                  LANDRIEU’s position on this matter,                    is necessarily absent.
      program. Accordingly, along with edu-                   and her sincere desire to help her con-                  The PRESIDING OFFICER. Are there
      cators, school boards, principals, teach-               stituents. I too believe this assistance               any other Senators in the Chamber de-
      er unions, and many civil rights and                    to schools, both public and private, is                siring to vote?
      faith-based organizations, I must op-                   important, needed, and appropriate.                      The result yeas and nays resulted—
      pose this provision.                                    But this amendment could and should                    yeas 31, nays 68, as follows:
        Mr. REED. Madam President, while                      have been structured in a way that                                 [Rollcall Vote No. 284 Leg.]
      the Enzi-Kennedy amendment passed                       contains clear notification require-                                        YEAS—31
      on a voice vote, I want the record to re-               ments and that mirrors current law.                    Allard            Dole            McCain
      flect my opposition to this amendment.                    This legislation is not the direction                Allen             Ensign          McConnell
                                                                                                                     Bennett           Frist           Santorum
        We have all seen the devastation of                   we should be heading. This legislation                 Brownback         Graham          Sessions
      Hurricanes Katrina and Rita, and I cer-                 is a stalking horse for a national                     Bunning           Grassley        Shelby
      tainly understand and share my col-                     voucher program. At the same time, it                  Coburn            Gregg           Sununu
      leagues’ desire to address the needs of                 provides less funding than is needed to                Coleman           Hagel           Thune
                                                                                                                     Craig             Hatch           Vitter
      displaced school children.                              repair and fund our devastated public                  Crapo             Inhofe
        Unfortunately,     this   amendment,                                                                                                           Voinovich
                                                              schools. It provides very little account-              DeMint            Kyl
      which frankly is more than 2 months                     ability for the use of taxpayers’ funds                DeWine            Martinez
      overdue, falls far short of the help                    and provides little or no enforcement                                      NAYS—68
      needed for the affected families and                    of the civil rights protections that                   Akaka             Dorgan          Murkowski
      public schools. It falls short finan-                   would exist if money were sent through                 Alexander         Durbin          Murray
      cially, since it provides less money                    existing funding mechanisms.                           Baucus            Enzi            Nelson (FL)
                                                                                                                     Bayh              Feingold        Nelson (NE)
      than these schools need in order to re-                   I want to thank Senators ENZI, ALEX-                 Biden             Feinstein       Obama
      open and serve the children of the Gulf                 ANDER, KENNEDY, and DODD, because I                    Bingaman          Harkin          Pryor
      Coast. It also falls short constitu-                    know that they have worked very hard                   Bond              Hutchison       Reed
      tionally by making payments to pri-                     to improve this amendment, and I ap-                   Boxer             Inouye          Reid
                                                                                                                     Burns             Isakson
      vate religious schools on behalf of stu-                preciate their efforts. I urge my col-                 Burr              Jeffords
                                                                                                                                                       Roberts
      dents who fled these hurricanes and are                                                                                                          Rockefeller
                                                              leagues to continue to work to address                 Byrd              Johnson
                                                                                                                                                       Salazar
      now attending such schools across the                   the concerns I have raised as this bill                Cantwell          Kennedy
                                                                                                                                                       Sarbanes
                                                                                                                     Carper            Kerry
      country.                                                moves forward.                                         Chafee            Kohl            Schumer
        Now, I understand that these hurri-                     Mr. KOHL. Madam President, I sup-                    Chambliss         Landrieu        Smith
      canes did not differentiate between                     port the Enzi amendment. This amend-                   Clinton           Lautenberg      Snowe
                                                                                                                     Cochran           Leahy           Specter
      public and private school students, and                 ment would provide $1.6 billion in                                                       Stabenow
                                                                                                                     Collins           Levin
      that we need to be able to provide some                 emergency funding to address the des-                  Conrad            Lieberman       Stevens
      assistance for all students affected by                 perate funding needs of schools who                    Cornyn            Lincoln         Talent
      them. However, this amendment is not                    have taken in displaced Katrina stu-                   Dayton            Lott            Thomas
      the answer. As my colleagues are very                                                                          Dodd              Lugar           Warner
                                                              dents and the schools that have been                   Domenici          Mikulski        Wyden
      well aware, we currently have a mecha-                  damaged or destroyed by the hurri-
      nism in current law to provide support                  cane.                                                                   NOT VOTING—1
      to students in private schools. We do it                  Over 2 months ago, hundreds of thou-                                   Corzine
      everyday under Title I and Title V of                   sands of children in the gulf region                     The PRESIDING OFFICER. On this
      NCLB, and under IDEA.                                   were displaced from their homes, their                 vote the yeas are 31, the nays are 68.
        These children should have been                       communities, and their local schools.                  Three-fifths of the Senators duly cho-
      helped over 2 months ago with the                       Neighboring communities have wel-                      sen and sworn not having voted in the
      funding mechanisms we already have                      comed these students with open arms.                   affirmative, the motion is rejected.
      in place. That is why this amendment                    It is only fair to provide school dis-                 The point of order is sustained and the
      is not about getting help to these stu-                 tricts the funds necessary to educate                  amendment falls.
      dents. This is about using these stu-                   and care for dislocated students left in                 Mr. BOND. I move to reconsider the
      dents’ needs as a pawn to further the                   the wake of Hurricane Katrina.                         vote.
      Republican agenda of vouchers.                            I know some are concerned about                        Mr. KENNEDY. I move to lay that
        In addition, we are doing a disservice                funding for displaced students who are                 motion on the table.
      to families displaced by Hurricanes                     attending private schools. However,                      The motion to lay on the table was
      Katrina and Rita by not informing                       this provision is carefully crafted to                 agreed to.
      them that this assistance is just for                   ensure that funding flows directly to                         AMENDMENT NO. 2352, AS MODIFIED
      this school year. No where in this legis-               school districts, much like similar pro-                 Mr. GREGG. Madam President, the
      lation is there a requirement that par-                 visions in Title I and special education.              next amendment is the Enzi amend-
      ents be notified that this assistance is                This program will not set up a national                ment. I ask that we move immediately
      temporary and that it will not be re-                   school voucher program. Rather, it                     to a voice vote.
      newed beyond August 2006. Instead of                    simply ensures, on a temporary, one-                     The PRESIDING OFFICER. The
      being fair to these parents by providing                time basis, that all students in need                  question is on agreeing to the amend-
      them with transparent information,                      and schools that take them in have ac-                 ment.
      this amendment fails to include a pro-                  cess to the relief they need. In this ex-                The amendment (No. 2352), as modi-
      vision to notify parents that this as-                  traordinary circumstance, I believe                    fied, was agreed to.
      sistance is time-limited. We have an                    that this provision takes a balanced                     Mr. GREGG. I move to reconsider the
      obligation to inform parents receiving                  approach, and we will continue to mon-                 vote.
      this assistance that this funding is a                  itor its implementation.                                 Mr. KENNEDY. I move to lay that
      one-time deal. Without clear language                     It is my hope that my colleagues will                motion on the table.
      on this point, language which I sug-                    join me in supporting the Enzi amend-                    The motion to lay on the table was
      gested to the sponsors of the amend-                    ment, thereby supporting students who                  agreed to.



VerDate Aug 31 2005   03:55 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00010   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.079   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 12 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12295
        Mr. GREGG. Madam President, the                         The PRESIDING OFFICER. Without                       tives, and the States at least 45 days prior
      next amendment is the Lincoln amend-                    objection, it is so ordered.                           to—
      ment. I ask unanimous consent that all                    Mr. GREGG. The next amendment is                       (I) extending the DRM coverage period; or
                                                                                                                       (II) if the Secretary determines not to ex-
      votes on additional amendments be 10                    that of Senator LINCOLN.
                                                                                                                     tend such period, the ending date described
      minutes.                                                        AMENDMENT NO. 2356, AS MODIFIED                in subparagraph (A).
        We are going to clarify the issue of                    The PRESIDING OFFICER. There is                        (4) KATRINA SURVIVOR.—
      second-degree amendments that we                        now 2 minutes of debate evenly divided                   (A) IN GENERAL.—The term ‘‘Katrina Sur-
      just went through because, under the                    on the Lincoln amendment.                              vivor’’ means an individual who is described
      rule, all time has to expire on debate                    The Senator from Arkansas.                           in subparagraph (B) or (C).
      on the first degree before you can de-                    Mrs. LINCOLN. Madam President, I                       (B) RESIDENTS AND EVACUEES OF DIRECT IM-
      bate a second degree or offer it. That is                                                                      PACT PARISHES AND COUNTIES.—An individual
                                                              modify my amendment with the lan-                      who, on any day during the week preceding
      why we had the confusion before. We                     guage that is currently at the desk.                   August 28, 2005, had a primary residence in a
      are going to adjust that through this                     The PRESIDING OFFICER. The                           direct impact parish or county.
      unanimous consent request.                              amendment is so modified.                                (C) INDIVIDUALS WHO LOST EMPLOYMENT.—
        I ask unanimous consent that for the                    The amendment, as modified, is as                    An individual whose—
      purposes of today’s votes, all second-                  follows:                                                 (i) worksite, on any day during the week
      degree amendments must be offered                         At the end of subtitle A of title VI, add the        preceding August 28, 2005, was located in a
      prior to beginning the 2 minutes of de-                 following:                                             direct impact parish or county; and
      bate on the underlying first-degree                                                                              (ii) employment with an employer which
                                                              CHAPTER 7—EMERGENCY HEALTH CARE                        conducted an active trade or business on Au-
      amendment. Before the Chair rules, as                     AND OTHER RELIEF FOR SURVIVORS OF                    gust 28, 2005, in a direct impact parish or
      a clarification, this will now mandate                    HURRICANE KATRINA                                    county and with respect to whom such trade
      that second-degree amendments must                          Subchapter A—Emergency Health Care                 or business is inoperable on any day after
      be offered before we begin the 2-minute                                     Relief                             August 28, 2005, and before January 1, 2006, as
      debate on the first degree. We would                    SEC. 6081. DEFINITIONS.                                a result of damage sustained in connection
      then have 2 minutes of debate on the                      In this subchapter:                                  with Hurricane Katrina, is terminated.
      second degree, both in relationship to                    (1) DIRECT IMPACT PARISH OR COUNTY.—                   (D) TREATMENT OF CURRENT MEDICAID BENE-
      the second degree, and then have 2                        (A) IN GENERAL.—The term ‘‘direct impact             FICIARIES.—Nothing in this subchapter shall
      minutes of debate on the first degree                   parish or county’’ means a parish in the               be construed as preventing an individual who
                                                              State of Louisiana, or a county in the State           is otherwise entitled to medical assistance
      prior to the vote in relationship to that
                                                              of Mississippi or Alabama, for which a major           under title XIX of the Social Security Act
      amendment.                                                                                                     from being treated as a Katrina Survivor
        The PRESIDING OFFICER. The Sen-                       disaster has been declared in accordance
                                                              with section 401 of the Robert T. Stafford             under this subchapter.
      ator from North Dakota.                                 Disaster Relief and Emergency Assistance                 (E) TREATMENT OF HOMELESS PERSONS.—For
        Mr. CONRAD. Reserving the right to                    Act (42 U.S.C. 5170) as a result of Hurricane          purposes of this subchapter, in the case of an
      object, I would say to Senators who are                 Katrina and which the President has deter-             individual who was homeless on any day dur-
      in the back of the Chamber, who are                     mined, before September 14, 2005, warrants             ing the week described in subparagraph (B),
      most interested in this question, this is               individual and public assistance from the              the individual’s ‘‘residence’’ shall be deemed
      a good time to hear what is being done                  Federal Government under such Act.                     to be the place of residence as otherwise de-
                                                                (B) EXCLUSION.—Such term does not in-                termined for such an individual under title
      to correct what occurred previously.
                                                              clude a parish in the State of Louisiana or a          XIX of the Social Security Act.
      What occurred previously was, under                                                                              (5) POVERTY LINE.—The term ‘‘poverty
                                                              county in the State of Mississippi or Ala-
      the rule, all time had to expire on the                                                                        line’’ has the meaning given that term in
                                                              bama which the President has determined
      first-degree amendment before a sec-                    warrants only public assistance from the               section 2110(c)(5) of the Social Security Act
      ond-degree amendment could be of-                       Federal Government under such Act as a re-             (42 U.S.C. 1397jj(c)(5)).
      fered. Under the interpretation of the                  sult of Hurricane Katrina.                               (6) SECRETARY.—The term ‘‘Secretary’’
      Chair, that included the 2 minutes of                     (C) AUTHORITY TO RELY ON WEB SITE POSTED             means the Secretary of Health and Human
      debate on the first-degree amendment.                   DESIGNATIONS.—The Secretary of Health and              Services.
                                                              Human Services shall post on the Internet                (7) STATE.—The term ‘‘State’’ has the
      Now what we are doing is modifying
                                                              Web site for the Centers for Medicare & Med-           meaning given that term for purposes of title
      that through unanimous consent agree-                                                                          XIX of the Social Security Act (42 U.S.C 1396
                                                              icaid Services a list of parishes and counties
      ment so if someone offers a second de-                                                                         et seq.).
                                                              identified as direct impact parishes or coun-
      gree, they have to offer it before the 2                ties in accordance with this paragraph. Any              (8) STATE MEDICAID PLAN.—The term ‘‘State
      minutes of debate on the first degree.                  such parish or county that is posted on such           Medicaid plan’’ means a State plan for med-
      Then we will be able to have 2 minutes                  Web site as a direct impact parish or county           ical assistance under title XIX of the Social
      of debate on the second degree, a vote                  shall be treated for purposes of subparagraph          Security Act (42 U.S.C. 1396 et seq.), includ-
      on the second degree. Then, in consid-                  (A) as described in such subparagraph.                 ing any medical assistance provided under a
                                                                (2) DRM ASSISTANCE.—The term ‘‘DRM as-               waiver of such plan.
      eration of the first degree, we will be
                                                              sistance’’ means the short-term, non-cash,             SEC. 6082. DISASTER RELIEF MEDICAID.
      able to have the 2 minutes of debate in
                                                              temporary, in-kind, emergency disaster re-               (a) AUTHORITY TO PROVIDE DISASTER RE-
      conjunction with it. For the interest of
                                                              lief health program established under sec-             LIEF MEDICAID.—
      our colleagues, that is what is being                   tion 6082 to assist Katrina Survivors in ac-             (1) IN GENERAL.—Notwithstanding any pro-
      done.                                                   cordance with that section.                            vision of title XIX of the Social Security
        We should take this moment, as well,                    (3) DRM COVERAGE PERIOD.—                            Act, a State shall, as a condition of partici-
      to say to our colleagues, we have 35                      (A) IN GENERAL.—The term ‘‘DRM coverage              pation in the Medicaid program established
      amendments filed. That would take 12                    period’’ means the period beginning on Au-             under title XIX of the Social Security Act
      hours of straight voting. We have to                    gust 28, 2005, and, subject to subparagraph            (42 U.S.C. 1396 et seq.), provide medical as-
      end today at 6 o’clock, which would                     (B), ending on the date that is 5 months after         sistance to DRM-eligible Katrina Survivors
      mean we would be in tomorrow for at                     the date of enactment of this Act.                     (as defined in subsection (b)) under a State
                                                                (B) AUTHORITY TO EXTEND DRM COVERAGE                 Medicaid plan during the DRM coverage pe-
      least 4 hours. I ask our colleagues to                  PERIOD.—                                               riod in accordance with the following provi-
      show restraint on calling up amend-                       (i) IN GENERAL.—The Secretary may extend             sions of this section.
      ments that have been filed. We have                     the DRM coverage period for an additional 5              (2) AUTHORITY TO PROVIDE DRM ASSISTANCE
      had a good debate on this matter. It                    months. Any reference to the term ‘‘DRM                AS SEPARATE COMPONENT OF REGULAR STATE
      has been an absolutely fair debate in                   coverage period’’ in this subchapter shall in-         MEDICAID PLAN OR UNDER SUCH PLAN.—
      terms of how we have been treated                       clude any extension under this clause.                   (A) IN GENERAL.—A State may provide
      with respect to amendments being of-                      (ii) NOTICE TO CONGRESS AND STATES.—The              DRM assistance without submitting an
      fered. We really don’t need to have 35                  Secretary shall notify the Majority and Mi-            amendment to the State Medicaid plan and
                                                              nority Leaders of the Senate, the Speaker of           as a separate component of the State Med-
      amendments offered to this measure. I
                                                              the House of Representatives, the Minority             icaid plan or, subject to subparagraph (B),
      urge my colleagues to show restraint.                   Leader of the House of Representatives, the            under such plan.
        I will not object.                                    Chairs and Ranking Members of the Com-                   (B) CONDITIONS FOR PROVISION OF DRM AS-
        Mr. GREGG. I also renew my request                    mittee on Finance of the Senate and the                SISTANCE   UNDER   REGULAR   STATE   MEDICAID
      that votes on additional amendments                     Committees on Energy and Commerce and                  PLAN.—A   State may only provide DRM as-
      be 10-minute votes.                                     Ways and Means of the House of Representa-             sistance under the State Medicaid plan if the




VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00011   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.013   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 13 of 91
      S12296                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      State provides such assistance in accordance            ment in a State Medicaid plan as of August               (ii) if applicable, requires home and com-
      with the requirements of this section and the           28, 2005.                                              munity-based services provided under such
      State is able to separately identify and re-              (ii) KATRINA SURVIVORS WHO ARE RECIPIENTS            DRM assistance in accordance with sub-
      port expenditures or other information at-              OF     UNEMPLOYMENT       COMPENSATION.—Any            section (d)(3).
      tributable to the provision of such assist-             Katrina Survivor who, during the DRM cov-                (C) NO DOCUMENTATION.—The State shall
      ance.                                                   erage period, is a recipient of an amount paid         not require documentation evidencing the
        (b) DRM-ELIGIBLE KATRINA SURVIVOR DE-                 under a law of the United States or of a               basis on which the applicant qualifies to be
      FINED.—                                                 State which is in the nature of unemploy-              a DRM-eligible Katrina Survivor or, if appli-
        (1) IN GENERAL.—In this section, the term             ment compensation, including unemploy-                 cable, requires home and community-based
      ‘‘DRM-eligible Katrina Survivor’’ means a               ment assistance provided under section 410 of          services.
      Katrina Survivor whose family income does               the Robert T. Stafford Disaster Relief and               (D) ISSUANCE OF ELIGIBILITY CARD.—
      not exceed the higher of—                               Emergency Assistance Act (42 U.S.C. 5177).               (i) IN GENERAL.—Subject to clause (iii), the
        (A) 100 percent (200 percent, in the case of            (iii) KATRINA SURVIVORS ENROLLED IN DRM              State shall, immediately upon submission of
                                                              ASSISTANCE IN ANOTHER STATE.—Any Katrina               a complete application (including the self-at-
      such a Survivor who is a pregnant woman or
      child) of the poverty line; or                          Survivor determined by another State to be             testation required under subparagraph (B))
                                                              a DRM-eligible Katrina Survivor who was                by an applicant, issue a DRM assistance eli-
        (B) the income eligibility standard which
                                                              enrolled in DRM assistance in that State and           gibility card to the applicant.
      would apply to the Survivor under the State
                                                              who relocates to the State during the DRM                (ii) VALIDITY; NOTICE OF TERMINATION
      Medicaid plan.
                                                              coverage period.                                       DATE.—A DRM assistance eligibility card
        (2) SPECIAL RULE FOR KATRINA SURVIVORS
                                                                (C) KATRINA SURVIVORS PROVIDED MEDICAL               shall be valid as long as the DRM coverage
      WHO ARE RECIPIENTS OF DISABILITY INSURANCE
                                                              ASSISTANCE PRIOR TO DATE OF ENACTMENT.—                period is in effect and shall be accompanied
      BENEFITS.—In the case of a Katrina Survivor
                                                                (i) IN GENERAL.—An individual described in           by notice of the termination date for the
      who is a recipient of disability insurance
                                                              this subparagraph is any Katrina Survivor              DRM coverage period and, if applicable, no-
      benefits under section 202 or 223 of the Social
                                                              who is provided medical assistance under a             tice that such termination date may be ex-
      Security Act (42 U.S.C. 402, 423), paragraph
                                                              State Medicaid plan in accordance with guid-           tended. If the Secretary extends the DRM
      (1) shall be applied to such Survivor by sub-           ance from the Secretary during the period              coverage period, the State shall notify DRM-
      stituting ‘‘300 percent of the supplemental             that begins on August 28, 2005, and ends on            eligible Katrina Survivors enrolled in DRM
      security income benefit rate established by             the date of enactment of this Act.                     assistance of the new termination date for
      section 1611(b)(1) of the Social Security Act             (ii) NONAPPLICATION TO CHILD HEALTH AS-              the DRM coverage period.
      (42 U.S.C. 1382(b)(1))’’ for subparagraph (A) of        SISTANCE.—In the case of an individual who               (iii) APPLICATION TO STATES THAT ELECT TO
      such paragraph.                                         is a Katrina Survivor who is provided child            PROVIDE DRM ASSISTANCE UNDER THE REGULAR
         (3) NO RESOURCES, RESIDENCY, OR CATEGOR-             health assistance under a State child health           STATE MEDICAID PLAN.—In the case of a State
      ICAL ELIGIBILITY REQUIREMENTS.—Eligibility              plan in accordance with guidance from the              that elects under subsection (a)(2) to provide
      under paragraph (1) shall be determined                 Secretary during the period described in               DRM assistance under the State Medicaid
      without application of any resources test,              clause (i), such individual shall not be               plan, the State may issue to an applicant
      State residency, or categorical eligibility re-         deemed to be a DRM-eligible Katrina Sur-               who submits a complete application an eligi-
      quirements.                                             vivor for purposes of receiving DRM assist-            bility card that is similar to the cards issued
         (4) INCOME DETERMINATION.—                           ance under this section. Nothing in the pre-           by the State to enrollees in the State med-
         (A) LEAST RESTRICTIVE INCOME METHODOLO-              ceding sentence shall be construed as prohib-          icaid plan, but only if the State is able to
      GIES;     PROSPECTIVE      DETERMINATION.—The           iting such an individual from submitting an            adapt the card in a manner which clearly
      State shall use the least restrictive meth-             application for DRM assistance.                        identifies that the applicant is eligible for
      odologies applied under the State Medicaid                (c) ELIGIBILITY DETERMINATION; NO CON-               DRM assistance and provides notice of the
      plan under section 1902(r)(2) of the Social Se-         TINUATION OF DRM ASSISTANCE.—                          termination date for the DRM coverage pe-
      curity Act (42 U.S.C. 1396a(r)(2)) in deter-              (1) STREAMLINED ELIGIBILITY PROCESS.—The             riod (and the new termination date applica-
      mining income eligibility for Katrina Sur-              State shall use the following streamlined              ble if the Secretary extends such coverage
      vivors under paragraph (1) and shall deter-             procedures in processing applications and de-          period).
      mine family income for such Survivors only              termining eligibility for DRM assistance for             (E) APPLICATION FOR MEDICAL ASSISTANCE
      prospectively from the date of application.             DRM-eligible Katrina Survivors and eligi-              UNDER REGULAR STATE MEDICAID PLAN.—Con-
         (B) DISREGARD OF UI COMPENSATION AND DIS-            bility for the payment of private health in-           current with the issuance of an eligibility
      ASTER RELIEF ASSISTANCE.—In determining                 surance premiums under section 107(b)(2)(A):           card under subparagraph (D), the State shall
      such income eligibility, the State shall dis-             (A) ONE-PAGE APPLICATION.—A common 1-                provide the applicant with an application for
      regard—                                                 page application form developed by the Sec-            medical assistance under the State Medicaid
         (i) any amount received under a law of the           retary of Health and Human Services in con-            plan.
      United States or of a State which is in the             sultation with the National Association of               (F) PRESUMPTIVE ELIGIBILITY.—
      nature of unemployment compensation by a                State Medicaid Directors. Such form shall—               (i) STATES THAT PROVIDE FOR PRESUMPTIVE
      Katrina Survivor during the DRM coverage                  (i) require an applicant to provide an ex-           ELIGIBILITY UNDER THE REGULAR STATE MED-
      period, including unemployment assistance               pected address for the duration of the DRM             ICAID PLAN.—In the case of a State that, as of
      provided under section 410 of the Robert T.             coverage period and to agree to update that            the date of enactment of this Act, provides
      Stafford Disaster Relief and Emergency As-              information if it changes during such period;          for a period of presumptive eligibility under
      sistance Act (42 U.S.C. 5177); and                        (ii) include notice regarding the penalties          the State Medicaid plan in accordance with
         (ii) any assistance provided (in cash or in          for making a fraudulent application under              section 1920, 1920A, or 1920B of the Social Se-
      kind) to a Katrina Survivor from any public             subsection (h);                                        curity Act (42 U.S.C. 1396r–1, 1396r–1a, 1396r–
      or private entity as a result of Hurricane                (iii) require the applicant to assign to the         1b), the State shall deem an applicant to be
      Katrina.                                                State any rights of the applicant (or any              a DRM-eligible Katrina Survivor eligible for
         (5) DEFINITION OF CHILD.—For purposes of             other person who is a DRM-eligible Katrina             DRM assistance in accordance with this sec-
      paragraph (1), a DRM-eligible Katrina Sur-              Survivor and on whose behalf the applicant             tion, subject to subsection (g), if the appli-
      vivor shall be determined to be a ‘‘child’’ if          has the legal authority to execute an assign-          cant completes an application for such as-
      such Survivor meets the definition of                   ment of such rights) under any group health            sistance, presents it to a provider or facility
      ‘‘child’’ under the State Medicaid plan.                plan or other third-party coverage for health          participating in the State Medicaid plan
         (6) CERTAIN INDIVIDUALS DEEMED TO BE DRM-            care;                                                  that is qualified to make presumptive eligi-
      ELIGIBLE KATRINA SURVIVORS.—                              (iv) require the applicant to—                       bility determinations under such plan (which
         (A) IN GENERAL.—Upon submission of an                  (I) list any health insurance coverage               at a minimum shall consist of facilities iden-
      application from an individual attesting that           which the applicant was enrolled in imme-              tified in section 1902(a)(55) of the Social Se-
      the individual is an individual described in            diately prior to submitting such application;          curity Act (42 U.S.C. 1396a(a)(55)), and it ap-
      any of the categories described in subpara-             and                                                    pears to the provider or facility that the ap-
      graph (B), or, if an individual is an individual          (II) indicate whether the applicant would            plicant is a DRM-eligible Katrina Survivor
      described in subparagraph (C), the State                rather receive DRM assistance from a State             based on the information in the application.
      shall deem the individual to be a DRM-eligi-            in accordance with this section or, if private           (ii) APPLICATION TO STATES THAT DO NOT
      ble Katrina Survivor for purposes of eligi-             health insurance is available, assistance in           PROVIDE PRESUMPTIVE ELIGIBILITY UNDER THE
      bility for DRM assistance during the DRM                paying the premiums for such health insur-             REGULAR STATE MEDICAID PLAN.—In the case
      coverage period.                                        ance under section 6088(b)(2)(A); and                  of a State which does not provide for a pe-
         (B) CATEGORIES DESCRIBED.—For purposes                 (v) be translated by the Secretary into lan-         riod of presumptive eligibility under the
      of subparagraph (A), the categories described           guages other than English, and in cultural             State medicaid plan, the State may elect to
      in this subparagraph are the following:                 contexts, that are most appropriate for the            provide for a period of presumptive eligi-
         (i) KATRINA SURVIVORS ENROLLED IN A                  applicants expected to submit such forms.              bility for DRM assistance by designating
      STATE MEDICAID PLAN AS OF THE BEGINNING OF                (B) SELF-ATTESTATION.—Self-attestation by            qualified providers (as defined in section
      THE DRM COVERAGE PERIOD.—Any Katrina                    the applicant that the applicant—                      1920(b)(2) of such Act (42 U.S.C. 1396r–1(b)(2))
      Survivor who can provide proof of enroll-                 (i) is a DRM-eligible Katrina Survivor; and          as providers that are specifically designated




VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00012   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.010   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 14 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12297
      by the State to make presumptive deter-                 nancy ended during the 60-day period prior               (I) had been receiving home and commu-
      minations in accordance with clause (i) with            to the end of the DRM coverage period, or              nity-based services under a waiver described
      respect to eligibility for such assistance, but         who is pregnant as of the end of such period,          in subparagraph (A) in a direct impact parish
      only if—                                                such Survivor shall continue to be eligible            or county;
         (I) the State elects to provide for a period         for DRM assistance after the end of the DRM              (II) had been receiving support services
      of presumptive eligibility for such assistance          coverage period, including (but not limited            from a primary family caregiver who, as a
      for all Katrina Survivors who may be DRM-               to) for all pregnancy-related and postpartum           result of Hurricane Katrina, is no longer
      eligible Katrina Survivors in accordance                medical assistance available under the State           available to provide services; or
      with subsection (b); and                                Medicaid plan, through the end of the month              (III) had been receiving personal care,
         (II) the qualified providers designated by           in which the 60-day period (beginning on the           home health, or rehabilitative services under
      the State to make determinations of pre-                last day of her pregnancy) ends.                       the State Medicaid plan or under a waiver
      sumptive eligibility for such assistance, at a            (d) SCOPE OF COVERAGE.—                              granted under section 1915 or 1115 of the So-
      minimum, consistent of facilities identified              (1) CATEGORICALLY NEEDY BENEFITS.—The                cial Security Act; or
      in section 1902(a)(55) of the Social Security           State shall treat a DRM-eligible Katrina                 (ii) are disabled (as determined under the
      Act (42 U.S.C. 1396a(a)(55)) that are qualified         Survivor as an individual eligible for medical         State Medicaid plan).
      providers under section 1920(b)(2) of such              assistance under the State plan under title              (B) WAIVER OF RESTRICTIONS.—The Sec-
      Act.                                                    XIX of the Social Security Act on the basis            retary shall waive with respect to the provi-
         (G) CONTINUOUS ELIGIBILITY.—Continuous               of section 1902(a)(10)(A)(i) of the Social Secu-       sion of home and community-based services
      eligibility, without the need for any redeter-          rity Act (42 U.S.C. 1396a(a)(10)(A)(i)), with          under this paragraph any limitations on—
      mination of eligibility, for the duration of            coverage for such assistance retroactive to              (i) the number of individuals who shall re-
      the DRM coverage period.                                items and services furnished on or after Au-           ceive home or community-based services
         (2) NO CONTINUATION OF DRM ASSISTANCE.—              gust 28, 2005 (or in the case of applications          under a waiver described in subparagraph
         (A) IN GENERAL.—Except as provided in                for DRM assistance submitted after January             (A);
      subparagraphs (B) and (C), no DRM assist-               1, 2006, the first day of the 5th month pre-             (ii) budget neutrality requirements appli-
      ance shall be provided after the end of the             ceding the date on which such application is           cable to such waiver; and
      DRM coverage period.                                    submitted).                                              (iii) targeted populations eligible for serv-
         (B) PRESUMPTIVE ELIGIBILITY FOR MEDICAL                (2) EXTENDED MENTAL HEALTH AND CARE CO-              ices under such waiver.
      ASSISTANCE UNDER REGULAR MEDICAID PLAN.—                ORDINATION BENEFITS.—The State may pro-
         (i) IN GENERAL.—If a State, as of the date of        vide, without regard to any restrictions on            The Secretary may waive other restrictions
      enactment of this Act, provides for a period            amount, duration, and scope, comparability,            applicable under such a waiver, that would
      of presumptive eligibility for medical assist-          or restrictions otherwise applicable under             prevent a State from providing home and
      ance under the State Medicaid plan in ac-               the State Medicaid plan (other than restric-           community-based services in accordance
      cordance with section 1920, 1920A, or 1920B of          tions applicable under such plan with respect          with this paragraph.
      the Social Security Act (42 U.S.C. 1396r–1,             to services provided in an institution for               (4) CHILDREN BORN TO PREGNANT WOMEN.—In
      1396r–1a, 1396r–1b), the State shall provide a          mental diseases), to DRM-eligible Katrina              the case of a child born to a DRM-eligible
      DRM-eligible Katrina Survivor who is re-                Survivors extended mental health and care              Katrina Survivor who is provided DRM as-
      ceiving DRM assistance from the State in ac-            coordination benefits which may include the            sistance during the DRM coverage period,
      cordance with this section and who, as of the           following:                                             such child shall be treated as having been
      end of the DRM coverage period, is an indi-               (A) Screening, assessment, and diagnostic            born to a pregnant woman eligible for med-
      vidual for whom a period of presumptive eli-            services (including specialized assessments            ical assistance under the State Medicaid
      gibility would be provided under the State              for individuals with cognitive impairments).           plan and shall be eligible for medical assist-
      Medicaid plan, with presumptive eligibility               (B) Coverage for a full range of mental              ance under such plan in accordance with sec-
      for medical assistance under the State Med-             health medications at the dosages and fre-             tion 1902(e)(4) of the Social Security Act (42
      icaid plan.                                             quencies prescribed by health professionals            U.S.C. 1396a(e)(4)). The Federal medical as-
         (ii) STATE OPTION TO PROVIDE PRESUMPTIVE             for depression, post-traumatic stress dis-             sistance percentage applicable to the State
      ELIGIBILITY.—If a State is a State to which             order, and other mental disorders.                     Medicaid plan shall apply to medical assist-
      clause (i) does not apply, the State may elect            (C) Treatment of alcohol and substance               ance provided to a child under such plan in
      to provide for a period of presumptive eligi-           abuse.                                                 accordance with the preceding sentence.
      bility for medical assistance under the State             (D) Psychotherapy, rehabilitation, and                 (e) TERMINATION OF COVERAGE; ASSISTANCE
      Medicaid plan for a DRM-eligible Katrina                other treatments administered by psychia-              WITH APPLYING FOR REGULAR MEDICAID COV-
      Survivor who is receiving DRM assistance                trists, psychologists, or social workers.              ERAGE.—
      from the State in accordance with this sec-               (E) Subject to restrictions applicable under           (1) NOTICE OF EXPECTED TERMINATION OF
      tion and who, as of the end of the DRM cov-             the State Medicaid plan with respect to serv-          DRM COVERAGE PERIOD.—A State shall pro-
      erage period, is an individual for whom a pe-           ices provided in an institution for mental             vide DRM-eligible Katrina Survivors who are
      riod of presumptive eligibility would be pro-           diseases, in-patient mental health care.               receiving DRM assistance from the State in
      vided under the State Medicaid plan in ac-                (F) Family counseling.                               accordance with this section, as of the begin-
      cordance with section 1920, 1920A, or 1920B of            (G) In connection with the provision of              ning of the 4th month (and, if applicable, 9th
      such Act, if the State were to provide such a           health and long-term care services, arrang-            month) of the DRM coverage period with—
      period of presumptive eligibility under the             ing for, (and when necessary, enrollment in              (A) notice of the expected termination date
      State Medicaid plan.                                    waiver programs or other specialized pro-              for DRM assistance for such period and, if
         (iii) STATE OPTION FOR ALL STATES TO PRO-            grams), and coordination related to, primary           applicable, any extension of the DRM cov-
      VIDE PRESUMPTIVE ELIGIBILITY TO OTHER POP-              and specialty medical care, which may in-              erage period and the expected termination
      ULATIONS OF DRM-ELIGIBLE KATRINA SUR-                   clude personal care services, durable medical          date for the extension of such period;
      VIVORS.—In addition to the populations of               equipment and supplies, assistive tech-                  (B) information regarding eligibility for
      DRM-eligible Katrina Survivors described in             nology, and transportation.                            medical assistance under the State’s eligi-
      clauses (i) and (ii), a State to which clause             (3) HOME AND COMMUNITY-BASED SERVICES.—              bility rules otherwise applicable under the
      (i) or (ii) applies, may elect to provide for a           (A) IN GENERAL.—In the case of a State               State Medicaid plan; and
      period of presumptive eligibility for medical           with a waiver to provide home and commu-                 (C) an application for such assistance and
      assistance under the State Medicaid plan for            nity-based services granted under section              information regarding where to obtain as-
      other DRM-eligible Katrina Survivors who                1115 of the Social Security Act or under sub-          sistance with completing such application in
      are receiving DRM assistance from the State             section (c) or (d) of section 1915 of such Act,        accordance with paragraph (2).
      in accordance with this section as of the end           the State may provide such services to DRM-              (2) APPLICATION ASSISTANCE.—A State shall
      of the DRM coverage period.                             eligible Katrina Survivors who self-attest in          provide DRM-eligible Katrina Survivors who
         (iv) LENGTH OF PERIOD.—A presumptive eli-            accordance with subsection (c)(1)(B)(ii) that          are receiving DRM assistance from the State
      gibility period provided in accordance with             they require immediate home and commu-                 in accordance with this section with assist-
      clause (i), (ii), or (iii) shall be provided until      nity-based services that are available under           ance in applying for medical assistance
      the earlier of—                                         such waiver without regard to whether the              under the State Medicaid plan for periods be-
         (I) the date on which a determination with           Survivors would require the level of care pro-         ginning after the end of the DRM coverage
      respect to the Survivor’s application for               vided in a hospital, nursing facility, or inter-       period, at State Medicaid offices and at loca-
      medical assistance under the State Medicaid             mediate care facility for the mentally re-             tions easily accessible to such Survivors.
      plan is made; or                                        tarded. Such DRM-eligible Katrina Survivors              (3) STATE REPORTS.—A State providing
         (II) the end of the 60-day period that begins        include (but are not limited to) individuals           DRM assistance in accordance with this sec-
      on the first day after the end of the DRM               described in subparagraph (B).                         tion shall submit to the Secretary the fol-
      coverage period.                                          (B) INDIVIDUALS DESCRIBED.—Individuals               lowing reports:
         (C) PREGNANT WOMEN.—In the case of a                 described in this subparagraph are individ-              (A) TERMINATION AND TRANSITION ASSIST-
      DRM-eligible Katrina Survivor who is re-                uals who—                                              ANCE TO REGULAR MEDICAID COVERAGE FOR
      ceiving DRM assistance from a State in ac-                (i) on any day during the week preceding             DRM-ELIGIBLE KATRINA SURVIVORS ELIGIBLE
      cordance with this section and whose preg-              August 28, 2005—                                       FOR SUCH ASSISTANCE.—Not later than the




VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00013   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.010   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 15 of 91
      S12298                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      last day of the 3rd month of the DRM cov-               prior to such date of enactment, shall be dis-         tomary prevailing rate for the item or serv-
      erage period, a report detailing how the                regarded for purposes of determining the un-           ice for the community in which it is pro-
      State intends to satisfy the requirements of            expended amount of any allotment available             vided).
      paragraphs (1) and (2).                                 for expenditure by the State under that sec-             (k) APPLICATION TO INDIVIDUALS ELIGIBLE
        (B) ENROLLMENT.—Not later than 3 months               tion.                                                  FOR MEDICAL ASSISTANCE.—Nothing in this
      after the end of the DRM coverage period, a               (4) DISREGARD OF PAYMENTS.—Payments                  section shall be construed as affecting any
      report regarding—                                       provided to a State in accordance with this            rights accorded to an individual who is a re-
        (i) the number of Katrina Survivors who               subsection shall be disregarded for purposes           cipient of medical assistance under a State
      are determined to be DRM-eligible Katrina               of applying subsections (f) and (g) of section         Medicaid plan who is determined to be a
      Survivors; and                                          1108 of the Social Security Act (42 U.S.C.             DRM-eligible Katrina Survivor, but the pro-
        (ii) the number of DRM-eligible Katrina               1308).                                                 vision of DRM assistance to such individual
      Survivors who are determined to be eligible               (g) VERIFICATION OF STATUS AS A KATRINA              shall be limited to the provision of such as-
      for, and enrolled in, the State Medicaid plan.          SURVIVOR.—                                             sistance in accordance with this section.
        (4) SECRETARIAL OVERSIGHT.—The Sec-                     (1) IN GENERAL.—The State shall make a                 (l) NO ENTITLEMENT TO REGULAR MEDICAL
      retary of Health and Human Services shall               good faith effort to verify the status of an in-       ASSISTANCE SOLELY ON THE BASIS OF RECEIPT
      ensure that a State is complying with the re-           dividual who is enrolled in the State Med-             OF DRM ASSISTANCE OR IN THE ABSENCE OF A
      quirements of paragraphs (1) and (2) and that           icaid plan as a DRM-eligible Katrina Sur-              NEW APPLICATION FOR MEDICAL ASSIST-
      applications for medical assistance under the           vivor under the provisions of this section.            ANCE.—Notwithstanding paragraphs (3) and
      State Medicaid plan from DRM-eligible                   Such effort shall not delay the determina-             (8) of section 1902(a) of the Social Security
      Katrina Survivors for periods beginning after           tion of the eligibility of the Survivor for            Act (42 U.S.C. 1396a(a)), and section 435.930(b)
      the end of the DRM coverage period are proc-            DRM assistance under this section or the               of title 42, Code of Federal Regulations, sub-
      essed in a timely and appropriate manner.               provision of such assistance to the Survivor.          ject to subparagraphs (B) and (C) of sub-
        (5) NO PRIVATE RIGHT OF ACTION AGAINST A                (2) EVIDENCE OF VERIFICATION.—A State                section (c)(2), and subsection (d)(4), nothing
      STATE FOR FAILURE TO PROVIDE NOTICE.—No                 may satisfy the verification requirement               in this section shall be construed as pro-
      private right of action shall be brought                under subparagraph (A) with respect to an              viding an individual who is a DRM-eligible
      against a State for failure to provide the no-          individual by showing that the State pro-              Katrina Survivor who receives DRM assist-
      tices required under paragraph (1) or sub-              viding DRM assistance obtained information             ance in accordance with this section, with an
      section (c)(1) so long as the State makes a             from the Federal Emergency Management                  entitlement to receive medical assistance
      good faith effort to provide such notices.              Agency, the Social Security Administration,
        (f) 100 PERCENT FEDERAL MATCHING PAY-                                                                        under the State Medicaid plan after the end
                                                              the Internal Revenue Service, or the State             of the DRM coverage period—
      MENTS.—                                                 Medicaid Agency for the State from which
        (1) IN GENERAL.—Notwithstanding section                                                                        (1) solely on the basis of the individual’s
                                                              individual is from (if the individual was not          receipt of such DRM assistance; or
      1905(b) of the Social Security Act (42 U.S.C.           a resident of such State on any day during
      1396d(b), the Federal medical assistance per-                                                                    (2) in the absence of a new application sub-
                                                              the week preceding August 28, 2005).                   mitted by such individual for medical assist-
      centage or the Federal matching rate other-               (h) PENALTY FOR FRAUDULENT APPLICA-
      wise applied under section 1903(a) of such Act                                                                 ance under such plan.
                                                              TIONS.—
      (42 U.S.C. 1396b(a)) shall be 100 percent for—                                                                   (m) LIMITATION WITH RESPECT TO APPLICA-
                                                                (1) INDIVIDUAL LIABLE FOR COSTS.—If a                TION TO MEDICARE PRESCRIPTION DRUG BEN-
        (A) providing DRM assistance to DRM-eli-              State, as the result of verification activities
      gible Katrina Survivors during the DRM cov-                                                                    EFIT.—In the case of an individual who is a
                                                              conducted under subsection (g) or otherwise,           DRM-eligible Katrina Survivor who receives
      erage period in accordance with this section;           determines after a fair hearing that an indi-
        (B) costs directly attributable to adminis-                                                                  DRM assistance from a State in accordance
                                                              vidual has knowingly made a false self-attes-          with this section, and who is eligible for part
      trative activities related to the provision of          tation described in subsection (c)(1)(B), the
      such DRM assistance, including costs attrib-                                                                   A of title XVIII of the Social Security Act
                                                              State may, subject to paragraph (2), seek re-          (42 U.S.C. 1395c et seq.) or enrolled in part B
      utable to obtaining recoveries under sub-               covery from the individual for the full
      section (h);                                                                                                   of title XVIII of such Act (42 U.S.C. 1395j et
                                                              amount of the cost of DRM assistance pro-              seq.)—
        (C) costs directly attributable to providing          vided to the individual under this section.
      application assistance in accordance with                                                                        (1) the State payment required under sec-
                                                                (2) EXCEPTION.—The Secretary shall ex-               tion 1935(c) of such Act (42 U.S.C. 1395u–5(c))
      subsection (e)(2); and                                  empt a State from seeking recovery under
        (D) medical assistance provided in accord-                                                                   shall be determined without regard to the
                                                              paragraph (1) if the Secretary determines
      ance with subparagraph (B) of subsection                                                                       provision of DRM assistance to such indi-
                                                              that it would not be cost-effective for the
      (c)(2), and DRM assistance provided in ac-                                                                     vidual; and
                                                              State to do so.
      cordance with subparagraph (C) of that sub-                                                                      (2) such individual shall not be treated as
                                                                (3) REIMBURSEMENT TO THE FEDERAL GOV-
      section, after the end of the DRM coverage                                                                     a subsidy eligible individual for purposes of
                                                              ERNMENT.—Any amounts recovered by a
      period.                                                                                                        eligibility for the low-income subsidies pro-
                                                              State in accordance with this subsection
        (2) INCLUSION OF ASSISTANCE PROVIDED TO                                                                      vided under section 1860D–14 of such Act (42
                                                              shall be returned to the Federal government.
      KATRINA SURVIVORS PRIOR TO DATE OF ENACT-                                                                      U.S.C. 1395w–114) with respect to the pre-
                                                                (i) EXEMPTION FROM ERROR RATE PEN-
      MENT.—Any assistance provided to a Katrina
                                                              ALTIES.—
                                                                                                                     scription drug coverage provided under part
      Survivor under a State Medicaid plan in ac-               (1) IN GENERAL.—All payments attributable            D of title XVIII of such Act (42 U.S.C. 1395w–
      cordance with guidance from the Secretary               to providing DRM assistance in accordance              101 et seq.), or enrollment in such coverage,
      during the period that begins on August 28,             with this section, including during a period           solely on the basis of the provision of DRM
      2005, and ends on the date of enactment of              of presumptive eligibility for such assistance         assistance to such individual.
      this Act, shall be treated as a DRM assist-             in accordance with subsection (c)(1)(F), shall           (n) NO DRM ASSISTANCE IF THE SECRETARY
      ance provided to a DRM-eligible Katrina                 be disregarded for purposes of section 1903(u)         IS MAKING PAYMENTS ON BEHALF OF THE INDI-
      Survivor during the DRM coverage period for             of the Social Security Act (42 U.S.C.                  VIDUAL FOR PRIVATE HEALTH INSURANCE.—A
      purposes of paragraph (1).                              1396b(u)).                                             DRM-eligible Katrina Survivor may not re-
        (3) 100 PERCENT FEDERAL MATCHING PAY-                   (2) APPLICATION OF ERROR RATE PENALTIES              ceive DRM assistance from a State in ac-
      MENTS FOR COSTS FOR PROVIDING CHILD
                                                              FOR PRESUMPTIVE ELIGIBILITY PERIODS FOR
                                                                                                                     cordance with this section during any period
      HEALTH ASSISTANCE PRIOR TO DATE OF ENACT-                                                                      in which the Secretary is making a payment
                                                              MEDICAL ASSISTANCE AFTER THE END OF THE
      MENT; RESTORATION OF ALLOTMENTS USED TO                                                                        for a health insurance premium on behalf of
                                                              DRM COVERAGE PERIOD.—The rules for appli-
      PROVIDE SUCH ASSISTANCE.—With respect to                                                                       such Survivor under section 6088(b)(2)(A)
                                                              cation of such section under the State Med-
      child health assistance for items and services          icaid plan, as in effect on the date of enact-         with respect to that period.
      furnished during the period described in                ment of this Act, shall apply with respect to          SEC. 6083. TARGETED MEDICAID RELIEF FOR
      paragraph (2) to a Katrina Survivor—                    any period of presumptive eligibility for                         MAJOR DISASTER PARISHES AND
        (A) notwithstanding section 2105(b) of the            medical assistance under such plan provided
                                                                                                                                COUNTIES     IN  LOUISIANA, MIS-
      Social Security Act (42 U.S.C. 1397ee(b)), the                                                                            SISSIPPI, AND ALABAMA.
                                                              by a State in accordance with subsection
      Federal matching rate for providing such                (c)(2)(B).                                              (a) 100 PERCENT FEDERAL MATCHING PAY-
      child health assistance under a State child               (j) PROVIDER PAYMENT RATES.—In the case              MENTS FOR MEDICAL ASSISTANCE PROVIDED IN
      health plan and for costs directly attrib-              of any DRM assistance provided in accord-              MAJOR DISASTER PARISH OR COUNTY.—
      utable to all administrative activities that            ance with this section to a DRM-eligible                (1) IN GENERAL.—Notwithstanding section
      relate to the provision of such child health            Katrina Survivor that is covered under the             1905(b) of the Social Security Act (42 U.S.C.
      assistance, shall be 100 percent;                       State Medicaid plan (as applied without re-            1396d(b)), for items and services furnished
        (B) payments to a State for the provision             gard to this section) the State shall pay a            during the period that begins on August 28,
      of such assistance shall not be considered to           provider of such assistance the same pay-              2005, and ends on August 31, 2006, the Federal
      be payments from an allotment for the State             ment rate as the State would otherwise pay             medical assistance percentage for providing
      under section 2104 of such Act (42 U.S.C                for the assistance if the assistance were pro-         medical assistance for such items and serv-
      1397dd); and                                            vided under the State Medicaid plan (or, if            ices under a State Medicaid plan to any indi-
        (C) any payments that were made to a                  no such payment rate applies under the                 vidual, including a Katrina Survivor, resid-
      State for the provision of such assistance              State Medicaid plan, the usual and cus-                ing in a major disaster parish or county (as




VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00014   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.010   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 16 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12299
      defined in subsection (c)), and for costs di-           direct impact parish or county, there shall            payments to State insurance commissioners
      rectly attributable to all administrative ac-           not be taken into account any month any                for the purpose of making payments to
      tivities that relate to the provision of such           part of which is within the DRM coverage pe-           health insurance issuers—
      medical assistance, shall be 100 percent.               riod.                                                     (A) on behalf of individuals that would oth-
        (2) APPLICATION TO CHILD HEALTH ASSIST-                 (b) WRITTEN PLAN ON TRANSITION OF CER-               erwise qualify for DRM assistance from the
      ANCE.—Notwithstanding section 2105(b) of                TAIN FULL-BENEFIT DUAL ELIGIBLE INDIVID-               State under section 6082 but for subsection
      the Social Security Act (42 U.S.C. 1397ee(b)),          UALS     TO  PRESCRIPTION DRUG COVERAGE                (n) of such section for such individual’s share
      for items and services furnished during the             UNDER MEDICARE PART D.—                                of their health insurance premium; and
      period described in subsection (a), the Fed-              (1) IN GENERAL.—Not later than December                 (B) on behalf of qualified employers for the
      eral matching rate for providing child health           1, 2005, the Secretary of Health and Human             employer share of their employee’s health
      assistance for such items and services under            Services (in this subsection referred to as the        insurance premiums, but only with respect
      a State child health plan in a major disaster           ‘‘Secretary’’) shall submit to Congress a              to the days on which the employer meets the
      parish or county, and for costs directly at-            written plan on how the Secretary will pro-            definition under subsection (f).
      tributable to all administrative activities             vide for the transition of coverage of pre-               (c) RULES FOR PAYMENTS TO PROVIDERS.—
      that relate to the provision of such child              scription drugs for full-benefit dual eligible            (1) CONSULTATION.—In making payments to
      health assistance, shall be 100 percent.                individuals (as defined in section 1935(c)(6) of       medicaid providers under subsection (b)(1),
        (b) MORATORIUM ON REDETERMINATIONS.—                  the Social Security Act (42 U.S.C. 1396u–              the Secretary shall consult with the Lou-
      During the DRM coverage period, the States              5(c)(6)) who, on any day during the week pre-          isiana Department of Health and Hospitals,
      of Louisiana, Mississippi, and Alabama shall            ceding August 28, 2005, had a residence in a           the Mississippi Department of Health, and
      not be required to conduct eligibility rede-            direct impact parish or county, from the               the Alabama Department of Public Health in
      terminations under the State’s Medicaid                 Medicaid program under title XIX of such               order to best identify the providers with the
      plan.                                                   Act to the Medicare program under part D of            greatest need of such payments.
        (c) MAJOR DISASTER PARISH OR COUNTY DE-               title XVIII of such Act.                                  (2) PRIORITY.—In making payments to med-
      FINED.—For purposes of subsection (a), a                  (2) REQUIREMENTS.—The plan shall address             icaid providers under subsection (b)(1), the
      major disaster parish or county is a parish of          issues relating to the following:                      Secretary shall give priority to community-
      the State of Louisiana or a county of the                 (A) The application of the rules for auto-           based hospitals, physician practices, and
      State of Mississippi or Alabama for which a             matic assignment into prescription drug                other providers located in a direct impact
      major disaster has been declared in accord-             plans under section 1860D–1(b)(1)(C) of the            parish or county where the health care infra-
      ance with section 401 of the Robert T. Staf-            Social Security Act (42 U.S.C. 1395w–                  structure was destroyed or nearly destroyed.
      ford Disaster Relief and Emergency Assist-              101(b)(1)(C)).                                            (3) DESCRIPTION OF NEED AND HOW FUNDING
      ance Act (42 U.S.C. 5170) as a result of Hurri-           (B) The communication by the Secretary               WILL BE USED.—In order for a medicaid pro-
      cane Katrina and which the President has                and sponsors of prescription drug plans to in-         vider to be eligible for a payment under sub-
      determined, as of September 14, 2005, war-              dividuals described in paragraph (1) of—               section (b)(1), the provider shall provide the
      rants individual or public assistance from                (i) information regarding such rules; and            Secretary with a description of the need for
      the Federal Government under such Act.                    (ii) if such an individual is automatically          the funding and how the funding will be
      SEC. 6084. AUTHORITY TO WAIVE REQUIREMENTS              assigned to a plan, information on the plan.           used.
                   DURING NATIONAL EMERGENCIES                  (C) Beneficiary protections related to the              (4) TIMING FOR FIRST PAYMENT.—The first
                   WITH RESPECT TO EVACUEES FROM              emergency use of out-of-network and nonfor-            payment to medicaid providers under sub-
                   AN EMERGENCY AREA.                         mulary benefits, including under cir-                  section (b)(1) shall be made by not later than
        (a) IN GENERAL.—Section 1135(g)(1) of the             cumstances related to a lack of medical                10 days after the date of enactment of this
      Social Security Act (42 U.S.C. 1320b–5(g)(1))           records and access to prescribing physicians.          Act.
      is amended by adding at the end the fol-                  (D) Any other area determined appropriate               (d) RULES FOR PAYMENTS ON BEHALF OF IN-
      lowing:                                                 by the Secretary.                                      DIVIDUALS FOR PRIVATE HEALTH INSURANCE.—
      ‘‘Any geographical area in which the Sec-               SEC. 6087. RELIEF FOR HOSPITALS LOCATED IN A              (1) STREAMLINED ELIGIBILITY PROCESS.—In
      retary determines there are a significant                            DIRECT IMPACT PARISH OR COUN-             making payments on behalf of individuals
      number of evacuees from an area that is con-                         TY.                                       under subsection (b)(2)(A), the Secretary
      sidered to be an emergency area under the                 (a) INCREASE IN MEDICARE PAYMENTS TO                 shall use the streamlined eligibility process
      preceding sentence shall be considered to be            HOSPITALS FOR BAD DEBT.—During the DRM                 under section 6082(c)(1).
      an ‘emergency area’ for purposes of this sec-           coverage period, section 1861(v)(1)(T)(iv) of             (2) NO PAYMENTS IF THE INDIVIDUAL IS RE-
      tion.’’.                                                the    Social    Security   Act    (42   U.S.C.        CEIVING DRM ASSISTANCE.—No payments may
        (b) EFFECTIVE DATE.—The amendment                     1395x(v)(1)(T)(iv)) shall be applied by sub-           be made on behalf of an individual under sub-
      made by subsection (a) shall take effect as if          stituting ‘‘0 percent’’ for ‘‘30 percent’’ with        section (b)(2)(A) with respect to any period
      enacted on August 28, 2005.                             respect to—                                            in which the individual is receiving DRM as-
      SEC. 6085. EMERGENCY ASSISTANCE FOR STATES                (1) a hospital located in a direct impact            sistance from a State under section 6082.
                  WITH SIGNIFICANT NUMBERS OF                 parish or county; and
                  EVACUEES WITH RESPECT TO THE                                                                          (e) MEDICAID PROVIDERS DESCRIBED.—For
                  FEDERAL   MEDICAL    ASSISTANCE
                                                                (2) any other hospital, but only to the ex-          purposes of subsection (b)(1), medicaid pro-
                  PERCENTAGE FOR FISCAL YEAR                  tent that the bad debt is related to items and         viders described in this subsection are—
                  2006.                                       services furnished to an individual who, on               (1) any provider under such title, including
        (a) IN GENERAL.—If the Federal medical as-            any day during the week preceding August               a supplier of medical assistance consisting of
      sistance percentage (as defined in section              28, 2005, had a residence in a direct impact           durable medical equipment (as defined in
      1905(b) of the Social Security Act (42 U.S.C.           parish or county.                                      section 1861(n) of such Act (42 U.S.C.
      1396d(b))) determined for a State described in            (b) WAIVER OF CERTAIN MEDICARE QUALITY               1395x(n)), that, during a period after August
      subsection (b) for fiscal year 2006 is less than        REPORTING REQUIREMENTS FOR HOSPITALS.—                 28, 2005, as determined by the Secretary—
      the Federal medical assistance percentage               During the DRM coverage period, section                   (A) experiences a significant increase, as
      determined for such State for fiscal year               1886(b)(3)(B)(vii) of the Social Security Act          determined by the Secretary, in their pa-
      2005, the Federal medical assistance percent-           (42 U.S.C. 1395ww(b)(3)(B)(vii)) shall not             tient caseload; or
      age for the State for fiscal year 2005 shall            apply to a hospital that is located in a direct           (B) experiences a significant drop, as deter-
      apply to the State for fiscal year 2006 for             impact parish or county.                               mined by the Secretary, in their patient
      purposes of titles XIX and XXI of the Social            SEC. 6088. DISASTER RELIEF FUND.                       caseload, including a provider that is tempo-
      Security Act (42 U.S.C. 1396 et seq., 1397aa et           (a) ESTABLISHMENT.—There is established              rarily closed during such period; and
      seq.).                                                  in the Treasury of the United States the Dis-             (2) any other provider under such title, in-
        (b) STATE DESCRIBED.—For purposes of sub-             aster Relief Fund (in this section referred to         cluding such a supplier, determined appro-
      section (a), a State described in this sub-             as the ‘‘Fund’’) which—                                priate by the Secretary.
      section is a State that, as of September 30,              (1) shall be administered by the Secretary;             (f) QUALIFIED EMPLOYER DEFINED.—For
      2005, is hosting at least 10,000 Katrina Sur-           and                                                    purposes of subsection (b)(2)(B), the term
      vivors described in section 6081(4)(A), as de-            (2) shall consist of amounts made available          ‘‘qualified employer’’ means any employer—
      termined on the basis of Federal Emergency              under subsection (h).                                     (1) which conducted an active trade or
      Management Authority data.                                (b) USE OF AMOUNTS IN FUND.—Amounts in               business on August 28, 2005, in a direct im-
      SEC. 6086. EMERGENCY ASSISTANCE TO MEDI-                the Fund shall be used by the Secretary for            pact parish or county; and
                  CARE BENEFICIARIES.                         the following:                                            (2) with respect to which the trade or busi-
        (a) EXCLUSION OF DRM COVERAGE PERIOD IN                 (1) PAYMENTS TO PROVIDERS.—The Sec-                  ness described in paragraph (1)—
      COMPUTING MEDICARE PART B LATE ENROLL-                  retary shall make payments directly to med-               (A) is inoperable on any day during the
      MENT PERIOD.—In applying the first sentence             icaid providers described in subsection (e) to         DRM coverage period as a result of damage
      of section 1839(b) of the Social Security Act           offset the costs incurred by such providers as         sustained in connection with Hurricane
      (42 U.S.C. 1395r(b)) in the case of an indi-            a result of Hurricane Katrina.                         Katrina; or
      vidual who, on any day during the week pre-               (2) PAYMENTS FOR PRIVATE HEALTH INSUR-                  (B) is not paying salary or benefits to em-
      ceding August 28, 2005, had a residence in a            ANCE COVERAGE.—The Secretary shall make                ployees on any day during the DRM coverage




VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00015   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.010   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 17 of 91
      S12300                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      period as a result of damage sustained in                 ‘‘(b)      MONTHLY       PAYMENTS.—Notwith-            ‘‘(2) LIMITED WAIVER OF RULES UNDER SEC-
      connection with Hurricane Katrina.                      standing paragraph (3)(C)(i) of subsection (b)         TION 454(4)(A)(I).—
        (g) EXPEDITING IMPLEMENTATION.—The Sec-               of section 403 of the Social Security Act (42            ‘‘(A) IN GENERAL.—Subject to subparagraph
      retary shall promulgate regulations to carry            U.S.C. 603), and in addition to any other              (B), such benefits shall not be considered as-
      out this section which may be effective and             amounts paid to a State under that sub-                sistance for purposes of section 454(4)(A)(i) of
      final immediately on an interim basis as of             section, the total amount paid during a                such Act (42 U.S.C. 654(4)(A)(i)).
      the date of publication of the interim final            month to a State under this section shall not            ‘‘(B) EXCEPTION FOR FAMILIES ALREADY RE-
      regulation. If the Secretary provides for an            exceed the following:                                  CEIVING CHILD SUPPORT SERVICES OR WHO
      interim final regulation, the Secretary shall             ‘‘(1) DIRECT IMPACT STATES.—In the case of           APPLY FOR SUCH SERVICES.—Subparagraph (A)
      provide for a period of public comments on              a State described in subsection (a)(2), such           shall not apply with respect to such benefits
      such regulation after the date of publication.          amount shall not exceed, 1⁄4 of 20 percent of          that are provided to a family who—
      The Secretary may change or revise such                 the State family assistance grant.                        ‘‘(i) at the time such benefits are provided,
      regulation after completion of the period of              ‘‘(2) OTHER STATES.— In the case of a State          are receiving child support services under a
      public comment.                                         described in subsection (a)(3), such amount            State plan under section 454 of such Act (42
        (h) APPROPRIATION.—Out of any money in                shall not exceed the lesser of—                        U.S.C. 654); or
      the Treasury not otherwise appropriated,                  ‘‘(A) the total amount of Hurricane                     ‘‘(ii) applies for child support services
      there is appropriated to the Fund $800,000,000          Katrina Emergency TANF Benefits (as de-                under such a State plan on behalf of a child
      for fiscal year 2005, to remain available until         fined in section 6(c)(1)) provided by the State        who is receiving such benefits.
      expended.                                               to families described in subsection (a)(3); or            ‘‘(c) HURRICANE KATRINA EMERGENCY TANF
        (i) APPLICATION OF APPROPRIATIONS FUND-                 ‘‘(B) 1⁄4 of 20 percent of the State family as-      BENEFITS.—
      ING PROVISIONS.—Amounts provided in this                sistance grant.                                           ‘‘(1) IN GENERAL.—In this section, the term
      section for making payments to medicaid                   ‘‘(c) NO STATE MATCH OR MAINTENANCE OF               ‘Hurricane Katrina Emergency TANF Bene-
      providers under subsection (b)(1) shall be              EFFORT REQUIRED.—Sections 403(b)(6) and                fits’ means any benefit or service that may
      governed by the terms of division F of the              409(a)(10) of the Social Security Act (42              be provided under a State or tribal program
      Consolidated Appropriations Act, 2005 (Pub-             U.S.C. 603(b)(6), 609(a)(10)) shall not apply          funded under part A of title IV of the Social
      lic Law 108–447, 118 Stat. 3112) (or succeeding         with respect to a payment made to a State              Security Act to support families which the
      appropriations measures for a fiscal year)              by reason of this section.                             State or Indian tribe deems to be needy fam-
      that apply to funding for Grants to States                ‘‘(d) INCREASE IN FUNDING TO THE EXTENT              ilies based on their statement, circumstance,
      for Medicaid under Title XIX of the Social              NECESSARY TO ENSURE THAT STATES WILL BE                or inability to access resources and who—
      Security Act.                                           ABLE TO ACCESS THE CONTINGENCY FUND.—                     ‘‘(A) are described in section 3(a)(3); or
      SEC. 6089. NONAPPLICATION OF CERTAIN PROVI-             For the period described in subsection (a)(1),            ‘‘(B) subject to paragraph (2), reside in a
                  SIONS.                                      paragraph (2) of subsection (b) of section 403         State described in section 3(a)(2).
        Notwithstanding any other provision of                of the Social Security Act (42 U.S.C. 603)                ‘‘(2) LIMITATION.—Any benefit or service
      this Act, this Act shall be applied without             shall be applied without regard to the limita-         provided under a State or tribal program
      regard to subsections (a) and (b) of section            tion on the total amount specified in such             funded under part A of title IV of the Social
      6032.                                                   paragraph and funds appropriated pursuant              Security Act in a State described in section
               Subchapter B—TANF Relief                       to such paragraph shall be available for pay-          3(a)(2) to a family who the State or Indian
      SEC. 6090. REIMBURSEMENT OF STATES FOR
                                                              ments authorized under this section and                tribe deems to be a needy family in accord-
                 TANF BENEFITS PROVIDED TO AS-                under such subsection (b).’’.
                                                                                                                     ance with paragraph (1), shall only be consid-
                 SIST FAMILIES OF STATES AF-                    (b) RETROACTIVE EFFECTIVE DATE.—The
                                                              amendment made by subsection (a) shall                 ered to be a Hurricane Katrina Emergency
                 FECTED BY HURRICANE KATRINA.
                                                              take effect as if included in the enactment of         TANF Benefit if the State or Indian tribe
        (a) IN GENERAL.—Section 3 of the TANF                                                                        designates that the benefit or service is to be
      Emergency Response and Recovery Act of                  the TANF Emergency Response and Recov-
                                                              ery Act of 2005.                                       treated as a Hurricane Katrina Emergency
      2005 is amended to read as follows:                                                                            TANF Benefit.
      ‘‘SEC. 3. REIMBURSEMENT OF STATES FOR TANF              SEC. 6091. INCREASE IN AMOUNT OF ADDITIONAL
                                                                           TANF FUNDS AVAILABLE FOR HUR-                ‘‘(d) SIMPLIFIED DATA REPORTING.—
                   BENEFITS PROVIDED TO ASSIST
                   FAMILIES OF STATES AFFECTED BY                          RICANE-DAMAGED STATES.                       ‘‘(1) IN GENERAL.—Each State or Indian
                   HURRICANE KATRINA.                           (a) IN GENERAL.—Section 4 of the TANF                tribe which provides Hurricane Katrina
         ‘‘(a) ELIGIBILITY FOR PAYMENTS FROM THE              Emergency Response and Recovery Act of                 Emergency TANF Benefits shall report to
      CONTINGENCY FUND.—                                      2005 is amended—                                       the Secretary of Health and Human Services
         ‘‘(1) PERIOD OF APPLICABILITY.—Beginning               (1) in subsection (a)(2), by striking ‘‘20 per-      on a monthly basis the following informa-
      with August 29, 2005, and ending with Sep-              cent’’ and inserting ‘‘40 percent’’; and               tion:
      tember 30, 2006, a State described in para-               (2) in subsection (b), in the matter pre-               ‘‘(A) The total amount of expenditures at-
      graph (2) or (3) shall be considered a needy            ceding paragraph (1), by inserting ‘‘(at any           tributable to providing Hurricane Katrina
      State for purposes of section 403(b) of the So-         time during or after the period described in           Emergency TANF Benefits.
      cial Security Act (42 U.S.C. 603(b)).                   section 3(a)(1))’’ after ‘‘may not be imposed’’.          ‘‘(B) The total number of families receiv-
        ‘‘(2) DIRECT IMPACT STATES.—A State de-                 (b) RETROACTIVE EFFECTIVE DATE.—The                  ing such benefits.
      scribed in this paragraph is Louisiana, Mis-            amendments made by subsection (a) shall                   ‘‘(C) To the extent the State determines it
      sissippi, or Alabama.                                   take effect as if included in the enactment of         is able to do so, the total amount of such
        ‘‘(3) OTHER STATES.—                                  the TANF Emergency Response and Recov-                 benefits provided that are—
        ‘‘(A) IN GENERAL.—A State is described in             ery Act of 2005.                                          ‘‘(i) cash;
      this paragraph if the State provides any ben-           SEC. 6092. RULES FOR RECEIPT OF HURRICANE                 ‘‘(ii) child care; or
      efit or service that may be provided under                          KATRINA EMERGENCY TANF BENE-                  ‘‘(iii) other benefits and services.
                                                                          FITS AND APPLICATION TO CHILD                 ‘‘(2) REPORTS TO CONGRESS.—The Secretary
      the State program funded under part A of                            SUPPORT REQUIREMENTS.
      title IV of the Social Security Act (42 U.S.C.                                                                 of Health and Human Services shall submit,
                                                                (a) IN GENERAL.—Section 6 of the TANF                on a monthly basis, a compilation of the re-
      601 et seq.) to a family which—                         Emergency Response and Recovery Act of
        ‘‘(i) has resided in a direct impact State de-                                                               ports submitted in accordance with para-
                                                              2005 is amended to read as follows:                    graph (1) to the Committee on Finance of the
      scribed in paragraph (2);
                                                              ‘‘SEC. 6. RULES FOR RECEIPT OF HURRICANE               Senate and the Committee on Ways and
        ‘‘(ii) has travelled (not necessarily di-                         KATRINA EMERGENCY TANF BENE-
      rectly) to the State from such direct impact                                                                   Means of the House of Representatives.’’.
                                                                          FITS AND APPLICATION TO CHILD
      State as a result of Hurricane Katrina; and                         SUPPORT REQUIREMENTS.
                                                                                                                        (b) RETROACTIVE EFFECTIVE DATE.—The
        ‘‘(iii) if applying for benefits or services on                                                              amendment made by subsection (a) shall
                                                                 ‘‘(a) IN GENERAL.—During the period de-
      or after October 28, 2005, the State has deter-                                                                take effect as if included in the enactment of
                                                              scribed in section 3(a)(1), a State described in
      mined is not receiving cash benefits from                                                                      the TANF Emergency Response and Recov-
                                                              paragraph (2) or (3) of section 3(a) or an In-
      any program funded under such part of any                                                                      ery Act of 2005.
                                                              dian tribe with a tribal family assistance
      other State.                                            plan approved under section 412 of the Social              Subchapter C—Miscellaneous Provisions
        ‘‘(B) APPLICATION TO TERRITORIES.—                    Security Act (42 U.S.C. 612) may provide Hur-          SEC. 6093. DISCLOSURE BASED ON VALID AU-
        ‘‘(i) IN GENERAL.—Notwithstanding section             ricane Katrina Emergency TANF Benefits                            THORIZATION.
      403(b)(7) of the Social Security Act, a terri-          under the State or tribal program funded                 (a) IN GENERAL.—Section 223(d)(5) of the
      tory (as defined in section 1108(c)(1) of such          under part A of title IV of the Social Secu-           Social Security Act (42 U.S.C. 423(d)(5)) is
      Act (42 U.S.C.1308(c)(1)) shall be considered           rity Act (42 U.S.C. 601 et seq.).                      amended by adding at the end the following:
      to be a State described in this paragraph for             ‘‘(b) CERTAIN RULES WAIVED.—                           ‘‘(C) Notwithstanding any other provision
      purposes of this section.                                 ‘‘(1) IN GENERAL.—Hurricane Katrina Emer-            of law, if the Commissioner of Social Secu-
        ‘‘(ii) DISREGARD OF PAYMENTS.—Section                 gency TANF Benefits shall not be considered            rity provides to a custodian of records a
      1108(a) of the Social Security Act (42 U.S.C.           assistance for purposes of sections 407, para-         copy, facsimile, or electronic version of an
      1308(a)) shall be applied without regard to             graphs (2), (3), or (7) of section 408(a), 411, or     authorization obtained from the individual
      any amounts paid to a territory (as so de-              section 454(29) of the Social Security Act (42         to disclose records to the Commissioner,
      fined) in accordance with this section.                 U.S.C. 607, 608(a), 611, 654(29)).                     then such custodian shall not be held liable




VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00016   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.010   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 18 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12301
      under any applicable Federal or State law                  (e) OMB GUIDANCE ON USE OF GOVERNMENT               hanging without the means to be able
      for disclosing any record or other informa-             CREDIT CARDS FOR MICRO-PURCHASES.—                     to take care of their own people. We
      tion in response to such request, on the basis             (1) GUIDANCE REQUIRED.—Not later than 14            provide disaster relief funds through an
      that the authorization relied upon was a                calendar days after the date of enactment of
      copy, facsimile, or electronic version of the           this Act, the Director of the Office of Man-           uncompensated care pool for our pro-
      authorization.’’.                                       agement and Budget shall issue clear and               viders who have, without being asked,
        (b) EFFECTIVE DATE.—The amendment                     concise guidance regarding the use of Gov-             provided the care for those individuals
      made by this section shall apply with respect           ernment credit cards by Federal agencies to            who needed it so desperately. I urge my
      to disclosures of records or other informa-             make micro-purchases under subsections (c),            colleagues to support this. We have
      tion made on or after the date of enactment             (d), and (f) of section 32 of the Office of Fed-       tried time and time again to do what is
      of this Act.                                            eral Procurement Policy Act (41 U.S.C. 428),
      SEC. 6094. EMERGENCY PROCUREMENT AUTHOR-
                                                                                                                     right. We have the opportunity here.
                                                              as modified by this section.
                  ITY IN SUPPORT OF HURRICANE                    (2) ELEMENTS.—The guidance under para-              We have offered it many times. I en-
                  KATRINA RESCUE AND RELIEF EF-               graph (1) shall include—                               courage my colleagues, please do the
                  FORTS.                                                                                             right thing.
                                                                 (A) a list of Government officials with the
        (a) SMALL BUSINESS RESERVATION OFF-                   authority to approve purchases under sub-
      SET.—Section 15(j) of the Small Business Act                                                                     The PRESIDING OFFICER. The Sen-
                                                              section (d) in amounts in excess of $50,000,           ator from New Hampshire.
      (15 U.S.C. 644(j)) is amended by adding at the
                                                              designated by agency, title, and pay grade;
      end the following:                                                                                               Mr. GREGG. Madam President, this
        ‘‘(4) For any contracts involving the use of             (B) the number of credit cards, by agency,
      the special emergency procurement author-               that may be utilized for purchases under sub-          amendment is opposed by the Finance
      ity under section 32A(c) of the Office of Fed-          section (d) in amounts in excess of $50,000;           Committee. The Finance Committee
      eral Procurement Policy Act (41 U.S.C.                     (C) procedures for the immediate review of          has aggressively funded this account
      428a(c)), the dollar ceiling of the small busi-         any purchase under subsection (d) in an                with $1.94 billion in this bill, which will
      ness reservation established in paragraph (1)           amount in excess of $50,000 that was not ap-
                                                              proved by an official specified in that para-
                                                                                                                     cover 1.9 million victims of the hurri-
      shall be adjusted to match the applicable                                                                      cane. Therefore, these additional funds,
      amount of the simplified acquisition thresh-            graph as required by that paragraph;
                                                                 (D) procedures for the audit of all pur-            if this amendment were to pass, would
      old.’’.
        (b) RETENTION OF SMALL BUSINESS SUBCON-               chases made on Government credit cards                 basically put the Finance Committee
      TRACTING.—Section 8(d)(4)(D) of the Small               after the expiration of subsection (d) under           section of the bill out of compliance
      Business Act (15 U.S.C. 637(d)(4)(D)) is                subsection (c); and                                    with the Deficit Reduction Act. There-
      amended—                                                   (E) procedures to ensure that such pur-             fore, we oppose it.
        (1) by striking ‘‘(D) No contract’’ and in-           chases are made with small business con-
                                                              cerns and local small business concerns, to              I make a point of order that the
      serting the following:
        ‘‘(D) SMALL BUSINESS PARTICIPATION.—                  the maximum extent practicable under the               pending amendment is not germane to
        ‘‘(i) IN GENERAL.—No contract’’; and                  circumstances.                                         the measure now before the Senate. I
        (2) by adding at the end the following:                  (3) REPORTS ON PURCHASES.—Not later than            raise that as a point of order under sec-
        ‘‘(ii) EMERGENCY PROCUREMENTS.—                       180 days after the date of the enactment of            tion 305 of the Budget Act.
        ‘‘(I) IN GENERAL.—For any contract which              this Act, the head of each executive agency
                                                              making any purchase under subsection (d) in
                                                                                                                       Mrs. LINCOLN. Madam President,
      otherwise meets the requirements of this
      subsection, and which involves the use of               an amount in excess of $50,000 shall submit            pursuant to section 904 of the Congres-
      special emergency procurement authority                 to the appropriate Congressional committees            sional Budget Act of 1974, I move to
      under section 32A(c) of the Office of Federal           a report on each such purchase made by such            waive the applicable sections of that
      Procurement Policy Act (41 U.S.C. 428a(c)),             agency, including—                                     act for consideration of the pending
      the subcontracting plan required under this                (A) a description of the property or serv-          amendment, and I ask for the yeas and
      subsection shall be negotiated as soon as is            ices so purchased;                                     nays.
      practicable, but not later than 30 days after              (B) a statement of the purpose of such pur-
      the date on which the contract is awarded.              chase;                                                   The PRESIDING OFFICER. Is there a
        ‘‘(II) PAYMENT.—Not greater than 50 per-                 (C) a statement of the amount of such pur-          sufficient second?
      cent of the amounts due under any contract              chase;                                                   There appears to be a sufficient sec-
      described in subclause (I) may be paid, unless             (D) a statement of the name, title, and pay         ond.
      a subcontracting plan compliant with this               grade of the officer or employee of such
      subsection is negotiated by the contractor.’’.          agency making such purchase; and                         The question is on agreeing to the
        (c) LIMITATIONS ON INCREASED MICRO-PUR-                  (E) whether such purchases were made                motion. The clerk will call the roll.
      CHASE      THRESHOLD.—Notwithstanding any               with small business concerns.                            The legislative clerk called the roll.
      other provision of law, the authority granted              (4) APPROPRIATE CONGRESSIONAL COMMIT-
      under section 101 of the Second Emergency               TEES DEFINED.—In this subsection, the term               Mr. DURBIN. I announce that the
      Supplemental Appropriations Act to Meet                 ‘‘appropriate Congressional committees’’               Senator from New Jersey (Mr. CORZINE)
      Immediate Needs Arising From the Con-                   means—                                                 is necessarily absent.
      sequences of Hurricane Katrina, 2005 (Public               (A) the Committees on Appropriations,
      Law 109-62), including the modifications
                                                                                                                       The PRESIDING OFFICER. Are there
                                                              Small Business and Entrepreneurship, Fi-
      under subsection (d), shall—                            nance, and Homeland Security and Govern-               any other Senators in the Chamber de-
        (1) be restricted for use solely within the           mental Affairs of the Senate; and                      siring to vote?
      geographic areas designated by the President               (B) the Committees on Appropriations,                 The yeas and nays resulted—yeas 48,
      as disaster areas due to Hurricane Katrina;             Small Business, and Government Reform of               nays 51, as follows:
        (2) not be exercised in a manner incon-               the House of Representatives.
      sistent with any Federal law providing for              SEC. 6095. TRANSFER OF FUNDS.                                      [Rollcall Vote No. 285 Leg.]
      local preference in disaster relief and recov-            Notwithstanding any other provision of
                                                                                                                                         YEAS—48
      ery contracting; and                                    law, of the amounts made available to the
        (3) terminate 120 days after the date of en-          Department of Homeland Security under the              Akaka             Feingold        Mikulski
                                                              heading ‘‘Disaster Relief’ under the heading           Baucus            Feinstein       Murray
      actment of this Act.
                                                              ‘‘Emergency Preparedness and Response’’ of             Bayh              Harkin          Nelson (FL)
        (d)      MODIFIED     THRESHOLD.—Notwith-
                                                              Public Law 109–62 (119 Stat. 1991), $6.2 billion       Biden             Hutchison       Nelson (NE)
      standing section 101(2) of the Second Emer-                                                                    Bingaman          Inouye          Obama
      gency Supplemental Appropriations Act to                shall be made available to the Secretary to            Boxer             Jeffords        Pryor
      Meet Immediate Needs Arising From the                   carry out this chapter and remain available            Byrd              Johnson         Reed
      Consequences of Hurricane Katrina, 2005                 until expended. The Secretary shall use such           Cantwell          Kennedy         Reid
      (Public Law 109–62), the amount specified in            sums as are necessary to carry out this chap-          Carper            Kerry           Rockefeller
      subsections (c), (d), and (f) of the section 32         ter.                                                   Clinton           Kohl            Salazar
      of the Office of Federal Procurement Policy               Mrs. LINCOLN. Madam President,                       Conrad            Landrieu        Sarbanes
      Act (41 U.S.C. 428) for purchases necessary             this amendment truly reflects the val-                 Cornyn            Lautenberg      Schumer
                                                                                                                     Dayton            Leahy           Snowe
      for support of Hurricane Katrina rescue and             ues that we hold as an American fam-                   Dodd              Levin           Stabenow
      relief operations shall be $50,000, or such an          ily. When one of us is sick or ill, the                Dorgan            Lieberman       Vitter
      amount in excess of $50,000, but not to exceed          rest of us are there to help. The amend-               Durbin            Lincoln         Wyden
      $250,000, as may be approved by the head of
                                                              ment simply provides immediate ac-
      the executive agency concerned (or any dele-                                                                                       NAYS—51
      gate of the head of such executive agency,              cess to Medicaid for displaced individ-
                                                              uals from the gulf coast disaster. It                  Alexander         Brownback       Chambliss
      who shall be an officer or employee of such                                                                    Allard            Bunning         Coburn
      executive agency who is a warranted con-                provides full Federal support to the af-               Allen             Burns           Cochran
      tracting officer for making Federal acquisi-            fected States only in the Medicaid Pro-                Bennett           Burr            Coleman
      tions).                                                 gram so that we don’t leave them                       Bond              Chafee          Collins




VerDate Aug 31 2005   03:55 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00017   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.010   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 19 of 91
      S12302                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      Craig             Hagel              Santorum           Health, not just for 1 year but perma-                  Bingaman          Gregg         Nelson (NE)
      Crapo             Hatch              Sessions                                                                   Bond              Harkin        Obama
      DeMint            Inhofe             Shelby
                                                              nently—permanently. Permanently is a                    Boxer             Hatch         Pryor
      DeWine            Isakson            Smith              long time. The only way you get                         Byrd              Inouye        Reed
      Dole              Kyl                Specter            around it is a supermajority vote of 67                 Cantwell          Jeffords      Reid
      Domenici          Lott               Stevens            votes in the Senate.                                    Carper            Johnson       Roberts
      Ensign            Lugar              Sununu                                                                     Chafee            Kennedy       Rockefeller
      Enzi              Martinez           Talent               I urge colleagues to oppose the                       Clinton           Kerry         Salazar
      Frist             McCain             Thomas             amendment.                                              Cochran           Kohl
                                                                                                                                                      Sarbanes
      Graham            McConnell          Thune                The PRESIDING OFFICER. Is all                         Coleman           Landrieu
                                                                                                                                                      Schumer
      Grassley          Murkowski          Voinovich                                                                  Collins           Lautenberg
      Gregg             Roberts            Warner             time yielded back?                                      Conrad            Leahy         Smith
                                                                Mr. INHOFE. No, I believe I have 30                   Dayton            Levin         Snowe
                       NOT VOTING—1                           seconds remaining.                                      DeWine            Lieberman     Specter
                        Corzine                                                                                       Dodd              Lincoln       Stabenow
                                                                The PRESIDING OFFICER. The Sen-                       Domenici          Lott          Stevens
        The PRESIDING OFFICER. On this                        ator from Oklahoma.                                     Dorgan            Lugar         Talent
      vote, the yeas are 48, the nays are 51.                   Mr. INHOFE. Madam President, what                     Durbin            Mikulski      Voinovich
                                                              the Senator from North Dakota said is                   Enzi              Murkowski     Warner
      Three-fifths of the Senators duly cho-
                                                                                                                      Feingold          Murray        Wyden
      sen and sworn not having voted in the                   exactly right. That is exactly what this                Feinstein         Nelson (FL)
      affirmative, the motion is not agreed                   amendment does. And if you are really
                                                                                                                                    NOT VOTING—1
      to. The point of order is sustained, and                serious about doing something about
                                                                                                                                        Corzine
      the amendment falls.                                    the deficit, this is your chance to do it.
        Mr. GREGG. I move to reconsider                         This morning we passed the Agri-                        The PRESIDING OFFICER. On this
      and I move to lay that motion on the                    culture appropriations conference re-                   vote, the yeas are 32, the nays are 67.
      table.                                                  port which had a very small increase,                   Three-fifths of the Senators duly cho-
        The PRESIDING OFFICER. Without                        but last week we passed the Labor-HHS                   sen and sworn not having voted in the
      objection, it is so ordered.                            appropriations bill with $107 billion                   affirmative, the motion is rejected.
                       CHANGE OF VOTE                         more than the previous year. This has                   The point of order is sustained and the
                                                              to stop, and that is why this is a very                 amendment falls.
        Mr. CORNYN. Mr. President, I ask                                                                                Mr. COCHRAN. Madam President, I
      unanimous consent that my vote on                       significant vote.
                                                                Mr. President, I say to my conserv-                   move to reconsider the vote.
      the motion to waive with respect to                                                                               Mr. GREGG. I move to lay that mo-
      the Lincoln amendment No. 2356, as                      ative friends, this is going to be scored
                                                                                                                      tion on the table.
      modified, be recorded as a ‘‘yea.’’ This                very heavily by conservative organiza-                    The motion to lay on the table was
      does not change the outcome of the                      tions, such as the National Taxpayers                   agreed to.
      vote.                                                   Union. I urge a positive vote.                                       AMENDMENT NO. 2357
        The PRESIDING OFFICER. Without                          The PRESIDING OFFICER. The Sen-                         Mr. NELSON of Florida. Madam
      objection, it is so ordered.                            ator from Mississippi.                                  President, my amendment would pre-
        (The foregoing tally has been                           Mr. COCHRAN. Madam President, I                       vent a hike in Medicare premiums for
      changed to reflect the above order.)                    renew my point of order. The pending                    our 42 million senior citizens. In the
                      AMENDMENT NO. 2355
                                                              amendment contains matter within the                    bill, doctors’ fees are increased in their
                                                              jurisdiction of the Committee on the                    reimbursement. In my amendment,
        Mr. GREGG. Madam President, we
                                                              Budget. I raise a point of order against                that is paid for with drug company
      are now going to the Inhofe amend-
                                                              the amendment under section 306 of the                  money that would be staying the same
      ment.
                                                              Budget Act.                                             under the existing law where the drug
        The PRESIDING OFFICER. The Sen-
      ator from Oklahoma.                                       Mr. INHOFE. Madam President, pur-                     companies have to give discounts under
        Mr. INHOFE. Madam President,                          suant to section 904 of the Congres-                    the Medicaid law as they transition
      there have been many sincere, well-                     sional Budget Act of 1974, I move to                    into Medicaid HMOs. This saves our
      meaning efforts to put fiscal discipline                waive the applicable sections of the act                seniors over $1 billion in increased pre-
      into this legislation. Some people have                 for the consideration of the pending                    miums.
      tried to stop projects only to find out                 amendment. I urge a ‘‘yes’’ vote.                         This amendment is supported and en-
      it does not save any money; it just                       I ask for the yeas and nays.                          dorsed by the AARP. I want to wel-
      causes them to rearrange their                            The PRESIDING OFFICER. Is there a                     come the bipartisan support of the Sen-
      projects.                                               sufficient second?                                      ate for this amendment.
        This amendment actually does that.                      There appears to be a sufficient sec-                   The PRESIDING OFFICER. Who
      This is the only amendment that does.                   ond.                                                    yields time in opposition?
                                                                The question is on agreeing to the                      The Senator from Iowa.
      I will read it for my colleagues:                                                                                 Mr. GRASSLEY. Madam President, I
                                                              motion. The clerk will call the roll.
        All non-defense, non-trust fund discre-                                                                       rise in opposition to the Nelson amend-
      tionary spending shall not exceed the pre-                The bill clerk called the roll.
                                                                Mr. DURBIN. I announce that the                       ment. I think everybody knows that
      vious fiscal year’s level without a two-thirds
      vote.                                                   Senator from New Jersey (Mr. CORZINE)                   the taxpayers pay 75 percent of the
                                                              is necessarily absent.                                  Part B premium and 25 percent is paid
        I retain the remainder of my time.                                                                            by the individual. Whenever we in-
        The PRESIDING OFFICER. Who                              The PRESIDING OFFICER. Are there
                                                              any other Senators in the Chamber de-                   crease doctors’ reimbursement—and we
      yields time in opposition?                                                                                      do that in this bill by 5.3 percent so
        The Senator from Mississippi.                         siring to vote?
                                                                The result was announced—yeas 32,                     that doctors do not lose their money—
        Mr. COCHRAN. Madam President,                                                                                 then, obviously, the 25 percent is going
      the pending amendment contains mat-                     nays 67, as follows:
                                                                                                                      to go up a little bit, just as the 75 per-
      ter within the jurisdiction of the Com-                             [Rollcall Vote No. 286 Leg.]
                                                                                                                      cent goes up a little bit when reim-
      mittee on the Budget. I raise a point of                                     YEAS—32
                                                                                                                      bursement is increased.
      order against the amendment under                       Allard            DeMint                Martinez          The Senator from Florida takes of-
      section 306 of the Budget Act.                          Allen             Dole                  McCain
                                                              Brownback         Ensign
                                                                                                                      fense at the fact that the premium is
                                                                                                      McConnell
        The PRESIDING OFFICER. Is all                         Bunning           Frist                                 going to go up in the year 2007 by $1.69.
                                                                                                      Santorum
      time yielded back on the amendment?                     Burns             Graham                Sessions        It is the way the formula works. I
        Mr. INHOFE. No.                                       Burr              Grassley              Shelby          think every Senator wants to vote to
        The PRESIDING OFFICER. The Sen-                       Chambliss         Hagel                 Sununu
                                                              Coburn            Hutchison                             give the doctors fair reimbursement
      ator from North Dakota.                                                                         Thomas
                                                              Cornyn            Inhofe                                because without doctors senior citizens
                                                                                                      Thune
        Mr. CONRAD. Madam President, the                      Craig             Isakson
                                                                                                      Vitter          cannot be served. So we ought to let
      amendment of the Senator from Okla-                     Crapo             Kyl                                   the formula work.
      homa would freeze spending on vet-                                           NAYS—67                              The offset is very egregious toward
      erans, on homeland security, on edu-                    Akaka             Baucus                Bennett         managed care as well. Also, do not for-
      cation, on National Institutes of                       Alexander         Bayh                  Biden           get that low-income people, people on



VerDate Aug 31 2005   03:55 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00018   Fmt 0624   Sfmt 0634    E:\CR\FM\A03NO6.011   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 20 of 91
      November 3, 2005                  CONGRESSIONAL RECORD — SENATE                       S12303
      Medicaid, do not pay the Part B and                      cent. Deductibles for hospital and                       I think it is a good idea to expand the
      those who are not on Medicaid but                        skilled nursing home visits are also ris-              drug rebate program from Medicare
      below the poverty level have help                        ing.                                                   fee-for-service to all of Medicaid, in-
      through the QI program that we passed                      Medicare beneficiaries spend a siz-                  cluding the managed care programs.
      and the President signed recently to                     able portion of their income on health                 When we first passed this law, 15 years
      continue that program. So I hope my                      care. In 2004, beneficiaries spent about               ago, Medicaid managed care did not
      colleagues will defeat the amendment.                    $3,725—nearly one-quarter—of their in-                 have such a strong presence. It now ac-
        Mr. GREGG. Madam President, I ask                      come on health care costs. Over the                    counts for much of Medicaid services
      for the yeas and nays.                                   last 3 years, Medicare premiums have                   and should be part of this rebate pro-
        The PRESIDING OFFICER. Is there a                      increased by 50 percent. Compare this                  gram.
      sufficient second?                                       to the only 10-percent increase in sen-                  I believe honor thy mother and fa-
        There appears to be a sufficient sec-                  iors’ cost-of-living adjustments, COLA.                ther is not just a good commandment
      ond.                                                     Next year, Part B premiums will in-                    to live by, it is good public policy to
        The question is on agreeing to the                     crease by another 12 percent.                          govern by.
      amendment.                                                 But there is another problem this                      That’s why I feel so strongly about
        The clerk will call the roll.                          amendment addresses. The current                       Medicare. Congress created Medicare
        The assistant legislative clerk called                 Medicare physician payment formula,                    to provide a safety net for seniors. In
      the roll.                                                known as the sustainable growth rate,                  1965, seniors’ biggest fear was the cost
        Mr. DURBIN. I announce that the                        SGR, has serious flaws. The current                    of hospital care. One heart attack
      Senator from New Jersey (Mr. CORZINE)                    formula has generated negative up-                     could have put a family into bank-
      is necessarily absent.                                   dates since 2001. Without congressional                ruptcy. That is what Medicare Part A
        The PRESIDENT pro tempore. Are                         intervention, reimbursement rates for                  is all about.
      there any other Senators in the Cham-                    physicians in the Medicare Program                       Then Congress added Medicare Part
      ber desiring to vote?                                    will decrease by 4.3 percent next year.                B to help seniors pay for doctor visits
        The result was announced—yeas 49,                        I have long supported fixing this                    as an important step to keep seniors
      nays 50, as follows:                                     flawed formula. With the majority of                   healthy and financially secure. Now,
                  [Rollcall Vote No. 287 Leg.]                 my colleagues, I have written letters to               Part B premium increases are racing
                           YEAS—49                             CMS Commissioner Dr. Mark McClelan                     ahead of seniors’ ability to pay. So sen-
      Akaka             Durbin             Murray              and the Director of the Office of Man-                 iors may lose the ability to pay for
      Baucus            Feingold           Nelson (FL)         agement and Budget, Mr. Joshua                         coverage for their doctor’s visits.
      Bayh              Feinstein          Nelson (NE)
                                                               Bolten. I have supported legislation                     This amendment is not an answer to
      Biden             Harkin             Obama                                                                      skyrocketing health care costs, but a
      Bingaman          Inouye             Pryor               trying to address this issue. Without a
      Boxer             Jeffords                               permanent fix, this uncertainty causes                 stopgap measure to give seniors a little
                                           Reed
      Burns             Johnson                                                                                       breathing room. I am working hard on
                                           Reid                considerable angst among the physi-
      Byrd              Kennedy            Rockefeller                                                                several bills to fix the Medicare bill
      Cantwell          Kerry                                  cian community every year. Although I
                                           Salazar                                                                    that was passed last year. I am fighting
      Carper            Kohl
                                           Sarbanes
                                                               believe Congress needs to enact a long-
      Clinton           Landrieu                                                                                      to protect seniors’ Social Security
                                           Schumer             term solution, this amendment sup-
      Collins           Lautenberg                                                                                    COLAs from increases in both Part B
      Conrad            Leahy              Snowe               ports a 1 percent increase in the physi-
                                           Stabenow                                                                   and Part D premiums.
      Dayton            Levin                                  cian reimbursement rate for the next
                                           Talent                                                                       I am fighting to close the coverage
      DeWine            Lieberman                              year.
      Dodd              Lincoln            Wyden                                                                      gap to provide a real drug benefit for
                                                                 But this increase in physician pay-
      Dorgan            Mikulski                                                                                      seniors. I am fighting to allow the Gov-
                                                               ments will also increase overall spend-
                          NAYS—50                                                                                     ernment to negotiate with drug compa-
                                                               ing on Medicare Part B. This will in
                                                                                                                      nies to lower the cost of prescription
      Alexander         Dole               McCain              turn increase Medicare premiums,
      Allard            Domenici           McConnell                                                                  drugs to save money for the Govern-
                                                               which are set at 25 percent of Part B
      Allen             Ensign             Murkowski                                                                  ment and for seniors. I am fighting to
      Bennett           Enzi               Roberts
                                                               expenses. While I strongly support the
                                                                                                                      end the giveaways to insurance compa-
      Bond              Frist              Santorum            payment change, I believe it is equally
      Brownback         Graham                                                                                        nies and use those savings to improve
                                           Sessions            important that Medicare beneficiaries
      Bunning           Grassley           Shelby                                                                     Medicare.
      Burr              Gregg                                  not have their premiums unexpectedly                     And I could go on.
                                           Smith
      Chafee            Hagel                                  increased.                                               I am fighting to protect physician re-
                                           Specter
      Chambliss         Hatch
                                           Stevens
                                                                 This amendment ensures that Medi-                    imbursement rates by supporting legis-
      Coburn            Hutchison                              care beneficiaries will not have to pay
      Cochran                              Sununu                                                                     lation and writing to government offi-
                        Inhofe
      Coleman           Isakson            Thomas              unexpectedly higher premiums in 2007                   cials who have the authority to make
      Cornyn            Kyl                Thune               because of the payment changes for
      Craig             Lott               Vitter                                                                     changes to the flawed formula.
                                                               2006 in the Senate’s budget reconcili-                   And I will continue to fight.
      Crapo             Lugar              Voinovich
      DeMint            Martinez           Warner              ation bill. This amendment prevents us                   This amendment is a good step down
                                                               from having to make a King Solomon-                    in our constant attempt to reign in
                       NOT VOTING—1                            like decision. With this amendment, we                 Medicare premium costs for seniors
                        Corzine                                do not have to consider ‘‘cutting the                  while protecting reimbursement rates
        The amendment (No. 2357) was re-                       baby in half.’’ We do not have to decide               for physicians.
      jected.                                                  between this modest increase to physi-                   Seniors cannot afford 17-percent in-
        Ms. MIKULSKI. Mr. President, I rise                    cian reimbursement and a further hike                  creases in their Medicare premiums.
      today to join my colleagues in support                   to our senior citizens—especially for                  Physicians cannot afford to have their
      of Senator NELSON’s amendment to                         those who are forced to live on a fixed                reimbursement rates cut. I urge my
      protect seniors against the outrageous                   income.                                                colleagues to join me in expressing
      increases in their Medicare costs.                         In addition, the increase necessary to               support for this amendment.
        Health care costs are skyrocketing                     provide for physician reimbursement                      Mr. GREGG. Mr. President, I move to
      and seniors are paying a greater share                   will not have to come from taxpayers.                  reconsider the vote.
      out of their pockets for health care                     The offset for this amendment is an ex-                  Mr. BOND. I move to lay that motion
      each year. Medicare premium increases                    pansion of a drug rebate program cur-                  on the table.
      are outpacing inflation. Prescription                    rently in place since 1990. Drug manu-                   The motion to lay on the table was
      drug costs are shooting through the                      facturers currently pay a rebate to par-               agreed to.
      roof.                                                    ticipate in Medicaid. The Nelson                                    AMENDMENT NO. 2358
        Other out-of-pocket medical expenses                   amendment would offset the cost of                       Mr. GREGG. Mr. President, we are
      are also increasing. Seniors are facing                  protecting Medicare beneficiaries from                 making progress, but it is slow. The
      higher copays and deductibles. Last                      the Part B premium increase by pro-                    next amendment is the amendment of
      year’s    Medicare     bill     increased                viding Medicaid managed care plans                     Senator CANTWELL, which is obviously
      deductibles for doctors’ visits by 10 per-               access to these drug rebates.                          the big polar bear.



VerDate Aug 31 2005   03:55 Nov 04, 2005   Jkt 049060    PO 00000   Frm 00019   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.021   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 21 of 91
      S12304                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
        The PRESIDENT pro tempore. The                        ing in ANWR will do nothing to reduce                  and Conoco-Phillips—have been rel-
      Senator is recognized.                                  our energy price and supply problems                   atively silent this year about their in-
        Ms. CANTWELL. My amendment                            in the near term and very little to re-                terest in ANWR.
      strikes the language allowing for drill-                duce our dependence on foreign sup-                      Little oil industry interest, less job
      ing in the Arctic National Wildlife Ref-                plies of oil. With transportation ac-                  creation than anticipated, minimal re-
      uge. The underlying bill is a sweet-                    counting for nearly 70 percent of oil                  coverable oil deposits, no impact on
      heart deal for oil companies that have                  use in this country, the Bush adminis-                 current energy prices and negligible
      made a record $30 billion in profits last               tration and many of my colleagues on                   impact on future prices, no reduction
      quarter. The bill gives oil companies a                 the other side of the aisle have refused               in foreign oil dependence, and a web of
      free ride with back-door language that                  to tackle the issue of automobile fuel                 infrastructure across the Coastal
      allows them to circumvent environ-                      efficiency. According to the American                  Plain—does that justify pillaging the
      mental laws, legal standards and Fed-                   Council for an Energy-Efficient Econ-                  Arctic Refuge? I think it is irrespon-
      eral agency oversight that every other                  omy, if the Corporate Average Fuel                     sible to do so.
      business in America has to comply                       Economy, CAFE, standards are raised                      Therefore, I urge my colleagues to
      with.                                                   by just 5 percent annually until 2012,                 support the Cantwell amendment and
        This wildlife area has been protected                 and by just 3 percent thereafter, more                 work with us to enact policies that
      since the Eisenhower days, and for                      than 1.5 million barrels of oil per day                provide economic relief for residential
      good reason. There is an average of                     could be saved by 2010, and 67 billion                 and business consumers and set our
      over 500 oil spills a year on the Alaska                barrels of oil over the next 40 years—                 country on a path to energy security.
      North Slope and over 4,000 spills in the                more than 10 times what could be re-                     Ms. MIKULSKI. Mr. President, I rise
      last 10 years. Let’s not pollute one of                 covered in ANWR. In 1998, the U.S. Ge-                 to oppose drilling in the Arctic Na-
      the great last refuges of America, and                  ological Survey estimated that there is                tional Wildlife Refuge. Opening the ref-
      let’s take the polluting language out of                no more than 5.2 billion barrels of eco-               uge is not the answer to solving our
      this bill. The Department of Energy                     nomically recoverable oil in ANWR, a                   country’s energy needs. We cannot drill
      says drilling in ANWR will do nothing                   number that is equivalent to what the                  our way out of our energy problems.
      in the near term and very little in the                 United States consumes in about 6                        We need to focus on real solutions
      long term, reducing gas prices by only                  months.                                                not gimmicks—solutions that decrease
      one penny. America wants a better en-                     Any recoverable oil that might be                    our dependence of foreign oil, protect
      ergy plan than putting a sweetheart                     below the Refuge would not begin flow-                 the environment and help consumers at
      deal in the budget language.                            ing for at least 10 years and would                    a time when the costs to fill up their
        I urge my colleagues to strike this                   never meet more than a small percent-                  gas tanks and heat their homes are at
      language.                                               age of our oil needs at any given time.                all time highs.
        Mr. DODD. Mr President, I join with                   So, therefore, it would have no impact                   If we open the Arctic Refuge for oil
      my colleagues in strong opposition to                   on my constituents and your constitu-                  and gas drilling, it would provide only
      opening the Arctic National Wildlife                    ents for at least a decade. Further, the               about a 6-month supply of oil and
      Refuge, ANWR, to oil drilling. I believe                Energy Information Administration,                     would not even be available for 10 or
      including it in a reconciliation package                EIA, has said that because the price of                more years. That means that drilling
      is a backdoor attempt to achieve a                      oil is set by the world market, ANWR                   in the wildlife refuge would not affect
      shortsighted, environmentally irre-                     would have a negligible impact on gas-                 our current oil and gasoline prices nor
      sponsible outcome. It is little more                    oline prices.                                          will it reduce our country’s dependence
      than a scheme to raise $2.5 billion that                  The United States dependence on for-                 on foreign oil. Even in 10 or so years
      will ultimately be used to cover a por-                 eign oil is growing, with current im-                  when we might get the oil, drilling in
      tion of the cost of tax cuts for the                    ports at 58 percent. We currently have                 the Arctic National Wildlife Refuge
      wealthy. Further, it will have a great                  about 3 percent of the world’s oil re-                 will help little if at all.
      and lasting cost to the environment                     serves but consume more than a quar-                     Rather than trying to get a couple of
      with few benefits in terms of affordable                ter of the world’s oil supply. We simply               months of oil supply in 10 years, we
      energy.                                                 cannot drill our way out of our prob-                  need to address the most pressing
        Let me lay out a few reasons why I                    lems. Last year, EIA stated that at                    issues facing our country now: our
      oppose drilling in ANWR.                                peak production, oil from ANWR would                   growing dependence on foreign oil, sky-
        The area we are talking about is                      account for just a fraction of our con-                high oil and gas prices, and global
      home to nearly 200 species of wildlife,                 sumption—no more than 4 percent.                       warming. This is what I have been
      including polar, grizzly, and black                     Further, there is no guarantee that any                fighting for—real solutions to real
      bears, rare musk oxen, and millions of                  oil produced domestically from ANWR                    problems that would help today’s con-
      migratory birds. Each year, thousands                   would make it to the rest of the coun-                 sumers and tomorrow’s energy needs.
      of caribou travel to the Coastal Plain                  try. There is no assurance that it will                  That is why I fought to include an
      of the Arctic Refuge to give birth to                   not all be exported to foreign coun-                   amendment to the Commerce, Justice,
      their calves. It has been protected for                 tries. It is simply too big a risk to take             Science Appropriations bill that would
      decades, during Republican and Demo-                    when there are other, less intrusive                   provide a million dollars to the Federal
      cratic administrations. It is not as if                 ways to truly alleviate our dependence                 Trade Commission to immediately in-
      we have said no to oil and gas explo-                   on oil—fuel efficiency, renewable and                  vestigate claims of price gouging.
      ration in the entire North Slope. It is                 alternative sources of energy, and, dare               While oil companies and refineries re-
      only the remaining 5 percent—the                        I say it, conservation, something the                  port record profits, American con-
      Coastal Plain of the Arctic Refuge—                     Bush administration would have you                     sumers shouldn’t have to scrimp to buy
      that we want placed off limits. If we                   now believe it wholly endorses.                        gasoline to go to work, or church or to
      open this pristine land now, we can                       ANWR drilling proponents are always                  buy groceries. I also cosponsored a bill
      never turn the clock back. Setting the                  quick to contend that 735,000 jobs                     that would place a federal ban on price
      process in motion will entail a web of                  would be created by opening this area                  gouging for oil, gasoline and other pe-
      oil platforms, pipelines, production fa-                to oil extraction. Those estimates are                 troleum products during times of en-
      cilities, power facilities, support struc-              based on figures from 15 years ago that                ergy emergencies. To drive this point
      tures, and roads across the entire area.                the forecasters have since acknowl-                    home, I sent a letter to the chair-
      The administration contention that de-                  edged were based on flawed assump-                     woman of the FTC, expressing my con-
      velopment would be confined to a 2,000-                 tions. In October 2005, the Congres-                   cern over the consolidation of oil refin-
      acre footprint is simply false because                  sional Research Service reported that                  eries, resulting in the lack of competi-
      the recoverable oil is spread out in                    full development of the Arctic Refuge                  tion.
      small deposits across the entire Coast-                 would result in 60,000 jobs. Even the                    I also recently sent a letter to Presi-
      al Plain.                                               three oil companies that stand to reap                 dent Bush urging him to convene a
        I firmly believe we need to ensure our                the most profits by expanding their                    White House summit of oil and gas
      country’s economic security, but drill-                 presence in Alaska—ExxonMobil, BP,                     company CEOs to insist that they



VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00020   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.023   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 22 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12305
      lower their sky-high gas and home                       cries out for good jobs. We wonder why                    tary inquiry if that amendment is sub-
      heating oil prices. These are some of                   we don’t have them. Then we ignore                        ject to the Byrd rule.
      the President’s closets political sup-                  our own source of supply which would                        The PRESIDING OFFICER. In the
      porters and friends They are also the                   create them.                                              opinion of the Chair, it is not.
      same men and women who the Presi-                         Any time I have left I yield to the                       Mr. STEVENS. Madam President, as
      dent called on to write the administra-                 Senator from Alaska.                                      long as this amendment is not changed
      tion’s energy policy in 2001. If the                      The PRESIDENT pro tempore. The                          and comes back to this floor in the
      President can call them in to help                      Senator has 5 seconds.                                    conference report, it will not be subject
      themselves, he should call them back                      Ms. MURKOWSKI. Mr. President,                           to the Byrd rule.
      to help ordinary Americans. Another                     this is the Senate’s opportunity and                        The PRESIDING OFFICER. The lan-
      letter called on the oil and gas com-                   the country’s opportunity to address                      guage as stated is not subject to a
      pany CEOs to temporarily halt unnec-                    our national security, our energy secu-                   point of order.
      essary exports of any home heating oil                  rity, and our environmental security.                       Who yields time?
      products that they are currently send-                  Defeat this amendment.                                      Mr. WYDEN. Madam President, I call
      ing abroad. We cannot expect Ameri-                       Mr. GREGG. Mr. President, I ask for                     up the Wyden-Collins amendment.
      cans to pay over $1,000 to heat their                   the yeas and nays                                           The PRESIDING OFFICER. The
      homes this winter when U.S. compa-                        The PRESIDENT pro tempore. Is                           amendment is pending.
      nies are exporting billions of gallons of               there a sufficient second? There is a                       Mr. WYDEN. Madam President, you
      refined heating oil and propane.                        sufficient second.                                        cannot look the public in the eye after
        We need to find solutions for tomor-                    The question is on agreeing to the                      all the speeches about how the oil is
      row’s energy needs as well as those fac-                amendment. The clerk will call the                        needed here at home and pass legisla-
      ing Americans today. I introduced a                     roll.                                                     tion that is an invitation to export
      bill that would provide tax incentives                    The assistant journal clerk called the                  Alaskan oil to countries such as China.
      for energy efficient hybrid and fuel cell               roll.                                                     The history is, if you do not ban these
      vehicles, which was included in the En-                   Mr. DURBIN. I announce that the                         exports, this oil is going to go to Asia.
      ergy bill. I also voted for a proviso in                Senator from New Jersey (Mr. CORZINE)
      the Senate energy bill that would have                                                                            That was confirmed not long ago by oil
                                                              is necessarily absent.                                    company executives who came before
      required utilities to generate 10 per-                    The PRESIDING OFFICER (Ms. MUR-
      cent of their energy from renewable                                                                               the Senate Commerce Committee.
                                                              KOWSKI.) Are there any other Senators
      sources. In addition, I supported a pro-                                                                          Without this amendment, there is no
                                                              in the Chamber desiring to vote?                          assurance that even one drop of Alas-
      vision in the bill that requires the Fed-                 The result was announced—yeas 48,
      eral Government to get at least 7.5 per-                                                                          kan oil will get to hurting Americans.
                                                              nays 51, as follows:                                      I hope the Senate agrees to this amend-
      cent of our energy from renewable                                   [Rollcall Vote No. 288 Leg.]
      sources by 2013. I also supported an                                                                              ment to, at the very least, put a Band-
                                                                                   YEAS—48                              Aid on a flawed policy.
      amendment that would require the
      U.S. to reduce foreign oil imports by 40
                                                              Baucus             Dorgan                Mikulski           I yield to my cosponsor, the Senator
                                                              Bayh               Durbin                Murray
      percent in 20 years                                     Biden              Feingold              Nelson (FL)
                                                                                                                        from Missouri.
        Just last week, oil companies re-                     Bingaman           Feinstein             Nelson (NE)        Mr. TALENT. Madam President, I
      ported record third quarter profits,                    Boxer              Harkin                Obama            congratulate my friend from Oregon
                                                              Byrd               Jeffords              Pryor            for his fine work.
      some more than 85 percent higher than                   Cantwell           Johnson               Reed
      last year. As Americans struggle to fill                Carper             Kennedy               Reid               Briefly, as a very strong supporter of
      their gas tanks and pay high home                       Chafee             Kerry                 Rockefeller      exploring for oil in the Arctic, one of
      heating bills, the oil and gas companies                Clinton            Kohl                  Salazar          the big reasons we are doing it is to en-
                                                              Coleman            Lautenberg            Sarbanes
      are filling their pockets with historic                 Collins            Leahy                 Schumer
                                                                                                                        hance our national security and our
      profits. And now, here we are, in the                   Conrad             Levin                 Smith            own domestic oil supply, which is why
      Senate, giving them the opportunity to                  Dayton             Lieberman             Snowe            I support the amendment I am cospon-
                                                              DeWine             Lincoln               Stabenow         soring.
      drill in federally protected land.                      Dodd               McCain                Wyden
        This is not a time to reward oil and                                                                              Mr. WYDEN. Madam President, I ask
      gas companies with the promise of                                            NAYS—51                              for the yeas and nays.
      more profits. We need to give these                     Akaka              Dole                  Lugar              The PRESIDING OFFICER. Is there a
      companies the opportunity to be patri-                  Alexander          Domenici              Martinez
                                                              Allard             Ensign                McConnell
                                                                                                                        sufficient second? There is a sufficient
      ots—not profiteers. They need to join                   Allen              Enzi                  Murkowski        second. The yeas and nays were or-
      us by holding down prices, investing in                 Bennett            Frist                 Roberts          dered.
      renewable energy, serving the needs of                  Bond               Graham                Santorum           Mr. STEVENS. Is there time in oppo-
      Americans and conserving as much as                     Brownback          Grassley              Sessions
                                                              Bunning            Gregg                 Shelby           sition?
      possible. Together, America can do bet-                 Burns              Hagel                 Specter            The PRESIDING OFFICER (Mr.
      ter.                                                    Burr               Hatch                 Stevens          GRAHAM). There is 1 minute in opposi-
        The PRESIDENT pro tempore. The                        Chambliss          Hutchison             Sununu
                                                                                                                        tion.
      time of the Senator has expired.                        Coburn             Inhofe                Talent
                                                              Cochran            Inouye                Thomas             Mr. STEVENS. In principle, I am op-
        Who yields time in opposition? The                    Cornyn             Isakson               Thune            posed, but as long as it does not violate
      Senator from New Mexico.                                Craig              Kyl                   Vitter           the Byrd rule, I will not vote against
        Mr. DOMENICI. Mr. President, let me                   Crapo              Landrieu              Voinovich
                                                              DeMint             Lott                  Warner           it.
      say to the Senate it is finally time. It
      is finally time that we decide to do                                                                                I yield back the time.
                                                                                NOT VOTING—1
      something about our oil dependency. It                                                                              The PRESIDING OFFICER. The
                                                                                 Corzine
      is time that we do something for the                                                                              question is on agreeing to the amend-
      American people about the rising, esca-                   The amendment (No. 2358) was re-                        ment numbered 2362.
      lating price of gasoline at the pump.                   jected.                                                     The yeas and nays have been ordered.
        As I see it, this is a rare opportunity                 Mr. STEVENS. Madam President, I                           The clerk will call the roll.
      to produce substantial quantities of                    move to reconsider the vote.                                The assistant legislative clerk called
      crude oil from our own homeland, from                     Mr. FRIST. I move to lay that mo-                       the roll.
      one of our States. Not only will it                     tion on the table.                                          Mr. DURBIN, I announce that the
      produce oil, it will produce the equiva-                  The motion to lay on the table was                      Senator from New Jersey (Mr. CORZINE)
      lent of what the State of Texas has in                  agreed to.                                                is necessarily absent.
      reserves. To say it has very little is to                                AMENDMENT NO. 2362                         The PRESIDING OFFICER. Are there
      say the full State of Texas has very lit-                 Mr. STEVENS. Madam President,                           any other Senators in the Chamber de-
      tle reserves.                                           parliamentary    inquiry:  The   next                     siring to vote?
        It will produce jobs, up to 736,000.                  amendment is the Wyden amendment                            The result was announced—yeas 83,
      You see them on this list. America                      on export of oil. I make a parliamen-                     nays 16, as follows:



VerDate Aug 31 2005   03:55 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00021   Fmt 0624    Sfmt 0634     E:\CR\FM\G03NO6.095   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 23 of 91
      S12306                            CONGRESSIONAL RECORD — SENATE               November 3, 2005
                  [Rollcall Vote No. 289 Leg.]                                  AMENDMENT NO. 2359                    crops to grow. To illustrate, cotton
                           YEAS—83                               The PRESIDING OFFICER. Who                           program payments represent 39 percent
      Akaka             Ensign             Murkowski           yields time on the amendment?                          of western farmers’ cash costs of pro-
      Baucus            Enzi               Murray                The Senator from Iowa.                               duction. Corn and wheat program pay-
      Bayh              Feingold           Nelson (FL)           Mr. GRASSLEY. Mr. President, how                     ments represent 49 percent and 50 per-
      Biden             Feinstein          Nelson (NE)
      Bingaman          Frist
                                                               much time do I have?                                   cent of Midwestern farmers’ cash costs,
                                           Obama
      Bond              Graham             Pryor
                                                                 The PRESIDING OFFICER. One                           respectively.
      Boxer             Grassley           Reed                minute.                                                  Thus, in order to achieve economies
      Burns             Hagel                                    Mr. GRASSLEY. Mr. President, this
      Byrd              Harkin
                                           Reid                                                                       of scale and remain competitive, Ari-
      Cantwell          Hatch
                                           Roberts             is a bipartisan amendment, the Grass-                  zona farms must be large. According
                                           Rockefeller
      Carper            Hutchison                              ley-Dorgan amendment, with a lot of                    the Economic Research Service, over 30
                                           Salazar
      Chafee            Inouye
                                           Santorum            cosponsors. We have a problem in the                   percent of cotton production occurs on
      Chambliss         Isakson                                existing bill that will hurt family
      Clinton           Jeffords
                                           Sarbanes                                                                   farms operating on an average of 3,500
      Coburn            Johnson
                                           Schumer             farmers. It cuts farm payments across                  acres. Are we to believe that none of
                                           Shelby              the board for 100 percent of the farm-
      Cochran           Kennedy
                                           Smith
                                                                                                                      these large farms are owned by Arizona
      Coleman           Kerry                                  ers. It cuts conservation programs, so
      Collins           Kohl               Snowe                                                                      families? I know for a fact that they
      Conrad            Lautenberg         Specter             it harms the environment to a greater                  are.
      Crapo             Leahy              Stabenow            extent. What we do is solve a problem                    The average farming operation in Ar-
      Dayton            Levin              Stevens             and help every family farmer in the                    izona consists of about 7,000 acres.
      DeMint            Lieberman          Talent
                                           Thomas
                                                               process.                                               Using a farm in near Buckeye, AZ as
      DeWine            Lincoln
      Dodd              Lott               Thune                 Ten percent of the farmers in the                    an example, this family farm is run by
      Dole              Lugar              Vitter              United States get 72 percent of the ben-               four brothers. Several children are
      Domenici          Martinez           Voinovich           efit out of the farm program. That is                  managers of the operation, including
      Dorgan            McConnell          Warner
      Durbin            Mikulski           Wyden
                                                               unfair. The farm programs have always                  performing marketing and financial
                                                               been targeted toward medium- and                       services. About a third of the farm
                          NAYS—16                              small-sized farmers. So we put in a                    grows cotton, about a third grows feed
      Alexander         Burr               Landrieu            hard cap of $250,000. Mr. President,                   grains, and the remaining third alfalfa.
      Allard            Cornyn             McCain
      Allen             Craig
                                                               $250,000 is all one farm entity can get                The annual budget is $5 million, and
                                           Sessions
      Bennett           Gregg              Sununu
                                                               from the farm program. We redis-                       the brothers draw an annual salary of
      Brownback         Inhofe                                 tribute that money so we do not have                   about $50,000 each when the farm gen-
      Bunning           Kyl                                    that 2.5-percent cut. We restore some                  erates sufficient income. This farm
                       NOT VOTING—1                            money for conservation and things of                   would be hit hard by the payment limi-
                        Corzine                                that nature.                                           tations in the Grassley-Dorgan amend-
                                                                 So I hope you will support our                       ment. Its operators would be forced to
         The amendment (No. 2362) was agreed                   amendment. The last time it was up,                    cut the amount of acres on which they
      to.                                                      we got 66 votes for it.                                grow cotton. In years when prices de-
         Mr. GREGG. I move to reconsider the                     Mr. KYL. Mr. President, reducing                     cline at harvest, their cash flow would
      vote.                                                    overall Federal spending on farm pro-                  be restricted and their ability to qual-
         Mr. LEVIN. I move to lay that mo-                     grams is important if we are to succeed                ify for financing would be severely
      tion on the table.                                       in reducing the Federal budget deficit.                hampered.
         The motion to lay on the table was                    The     current    budget-reconciliation                 The Grassley-Dorgan amendment, in
      agreed to.                                               package includes $39 billion in savings,               equating large with bad, ultimately fa-
         The PRESIDING OFFICER. The Sen-                       including $3 billion from agriculture                  vors growers of corn, wheat, and soy-
      ator from New Hampshire.                                 programs. To achieve these savings,                    beans at the expense of farmers of cot-
         Mr. GREGG. Mr. President, we now                      the Senate Agriculture Committee cuts                  ton, rice, and peanuts. To further illus-
      go to Senator GRASSLEY’s amendment.                      farm spending by implementing an-                      trate what I am talking about, let us
         Mr. CONRAD. Mr. President, will the                   across-the-board 2.5 percent reduction                 apply the limitations in the amend-
      Senator withhold for one moment?                         in payments for all farm commodities.                  ment: a farm that produces cotton or
         Mr. GRASSLEY. Yes.                                    I wholeheartedly support these cuts in                 rice would, at today’s world prices and
         The PRESIDING OFFICER. The Sen-                       farm spending.                                         average yields, hit the limit on pay-
      ator from North Dakota.                                    However, I cannot support waiving                    ments at about 400 to 600 acres. This
         Mr. CONRAD. Mr. President, col-                       the Budget Act to consider the Grass-                  acreage is generally deemed to be too
      leagues, we now have a list of the num-                  ley Dorgan amendment to impose more                    small to sustain the investment in the
      ber of amendments that have been filed                   restrictive payment limits on farm                     specialized equipment necessary for
      and that are pending and that Senators                   commodities. This amendment is being                   cotton and rice production. In con-
      have noticed to us they intend to insist                 offered as a substitute to the cost sav-               trast, a corn farmer with an expected
      to have a vote on. That is 25 in number.                 ings achieved by the fair, across-the-                 yield of 190 bushels per acre, would not
      That would take 8 hours. We have to                      board reductions currently in the pack-                hit the limit on payments until just
      stop at 6 o’clock. There is no way we                    age. Substituting the Grassley-Dorgan                  over 3,100 acres. Clearly, very few corn
      would complete business today if every                   payment limits is eerily reminiscent of                farmers will ever feel the effects of the
      one of our colleagues insists on a vote                  the flawed formula in the highway bill:                Grassley-Dorgan amendment.
      on their amendment.                                      Instead of all States bearing the bur-                   It has been further estimated that
         So I am asking on our side—I am                       den equally, the farm cuts would be                    the more restrictive eligibility rules
      asking, please—if you have an amend-                     achieved on the backs of Arizona farm-                 that are part of the amendment, com-
      ment filed that you really don’t need a                  ers and other farmers of capital inten-                bined with the limits on direct pay-
      vote on or that you could possibly                       sive crops in the West and South.                      ments, would reduce direct payments
      work out, let’s work very hard in the                      The advocates of the Grassley-Dor-                   to Arizona growers by $24.6 million.
      next few hours to try to work it out. I                  gan amendment claim that reducing                      This represents a reduction of 62 per-
      would implore colleagues to not force a                  payment limits preserves the family                    cent, the highest of any State. Iowa
      vote on every amendment they have                        farm. What they meant to say is that it                would see a loss of just 4 percent and
      filed.                                                   preserves family farms in North Da-                    North Dakota, 10 percent.
         I thank the Chair.                                    kota, Iowa, and other Midwestern                         I am not going to argue that the
         The PRESIDING OFFICER. The Sen-                       States that grow certain commodities:                  farm law is off limits for the purpose of
      ator from New Hampshire.                                 namely grains and oilseeds such as                     finding savings for the American tax-
         Mr. GREGG. Mr. President, I would                     corn, wheat, and soybeans. Family                      payer. However, I encourage my col-
      like to second the request of the Sen-                   farmers in Arizona farm cotton. It is a                leagues to look closely at the ways we
      ator from North Dakota. I think it is a                  highly capital intensive crop, in fact,                achieve that savings. It is simply not
      very appropriate statement.                              one of the two most expensive program                  fair to use a faulty perception of what



VerDate Aug 31 2005   03:55 Nov 04, 2005   Jkt 049060    PO 00000   Frm 00022   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.019   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 24 of 91
      November 3, 2005                  CONGRESSIONAL RECORD — SENATE                       S12307
      constitutes a family farm to favor one                                       NAYS—53                              we ought to be doing instead of piece-
      farming region of the country at the                    Akaka              Crapo                 Lieberman        meal doing it this way. I ask Members
      expense of another. Yet, that is exactly                Alexander          DeMint                Lincoln          to vote against the amendment.
                                                              Allen              Dodd                  Lott
      what the Grassley-Dorgan amendment                      Baucus             Dole                                          AMENDMENT NO. 2365, AS MODIFIED
                                                                                                       Martinez
      would do. Thus, I cannot support a mo-                  Bennett            Domenici              McCain             Mr. BINGAMAN. Mr. President, I call
      tion to waive the Budget Act with re-                   Biden              Feinstein             McConnell        up the modified version of the amend-
      spect to this amendment and must vote                   Bond               Frist                 Murkowski
                                                              Boxer              Graham                                 ment, and I ask unanimous consent
      against it.                                                                                      Nelson (FL)
                                                              Bunning            Gregg
                                                                                                       Pryor            that that be the pending amendment.
        The PRESIDING OFFICER. The Sen-                       Burns              Hutchison
                                                                                                       Roberts            The PRESIDING OFFICER. Without
                                                              Burr               Inhofe
      ator from New Hampshire.                                Carper             Inouye
                                                                                                       Rockefeller      objection, the amendment is modified.
        Mr. GREGG. Mr. President, I yield to                  Chambliss          Isakson               Sessions           The amendment, as modified, is as
                                                              Coburn             Jeffords              Shelby
      the Senator from Georgia.                                                                        Stevens
                                                                                                                        follows:
                                                              Cochran            Kohl
        The PRESIDING OFFICER. The Sen-                       Coleman            Kyl                   Talent             On page 188, after line 24, add the fol-
      ator from Georgia is recognized for 1                   Cornyn             Landrieu              Vitter           lowing:
      minute.                                                 Craig              Leahy                 Warner           SEC. 6037. LIMITATION ON SEVERE REDUCTION
                                                                                NOT VOTING—1                                        IN THE MEDICAID FMAP FOR FISCAL
        Mr. CHAMBLISS. Mr. President, in                                                                                            YEAR 2006.
      2002, this body, along with the House                                      Corzine
                                                                                                                          (a) LIMITATION ON REDUCTION.—In no case
      and along with the President, made a                      The PRESIDING OFFICER. On this                          shall the FMAP for a State for fiscal year
      commitment to farmers and ranchers                      vote, the yeas are 46, the nays are 53.                   2006 be less than the greater of the following:
      all across America with the signing                     Three-fifths of the Senators duly cho-                      (1) 2005 FMAP DECREASED BY THE APPLICABLE
      and implementation of the 2002 farm                     sen and sworn not having voted in the                     PERCENTAGE POINTS.—The FMAP determined
      bill. This was an issue back then, in                                                                             for the State for fiscal year 2005, decreased
                                                              affirmative, the motion is rejected.
      2002, in the farm bill. It will be an issue                                                                       by—
                                                              The point of order is sustained and the                     (A) 0.1 percentage points in the case of
      in the farm bill in 2007.                               amendment falls.                                          Delaware and Michigan;
        Today, when our farmers are hit with                                   AMENDMENT NO. 2365                         (B) 0.3 percentage points in the case of
      high fuel prices, with low commodity                      The PRESIDING OFFICER. The Sen-                         Kentucky; and
      prices, and with disasters all across the               ator from New Mexico.                                       (C) 0.5 percentage points in the case of any
      country in different sections, this is                    Mr. BINGAMAN. Mr. President, this                       other State.
      not the time to say to our farmers, who                 amendment deals with the fact that                          (2) COMPUTATION WITHOUT RETROACTIVE AP-
                                                                                                                        PLICATION OF REBENCHMARKED PER CAPITA IN-
      feed all of America, we are going to                    under current law, 31 of our States are
                                                                                                                        COME.—The FMAP that would have been de-
      change the program in midstream. This                   seeing significant cuts in Federal sup-                   termined for the State for fiscal year 2006 if
      issue will be dealt with in the farm bill               port for Medicaid because of a reduc-                     the per capita incomes for 2001 and 2002 that
      in 2007.                                                tion in the percentage the Federal Gov-                   was used to determine the FMAP for the
        Mr. President, I raise a point of order               ernment will pay, the FMAP, as we al-                     State for fiscal year 2005 were used.
      under section 305 of the Budget Act                     ways refer to it, the Federal matching                      (b) SCOPE OF APPLICATION.—The FMAP ap-
      that the pending amendment is not                       rate. Alaska is held harmless in the un-                  plicable to a State for fiscal year 2006 after
      germane to the measure now before the                   derlying bill. They will not suffer a                     the application of subsection (a) shall apply
                                                              cut. My amendment would say that for                      only for purposes of titles XIX and XXI of
      Senate.                                                                                                           the Social Security Act (including for pur-
        The PRESIDING OFFICER (Mr.                            the other 30 States, the cut should not                   poses of making disproportionate share hos-
      BUNNING). The Senator from Iowa.                        be more than five-tenths of 1 percent                     pital payments described in section 1923 of
                                                              next year. The amendment is more                          such Act (42 U.S.C. 1396r–4) and payments
        Mr. GRASSLEY. Mr. President, pur-
                                                              than offset. In fact, the offset is sup-                  under such titles that are based on the en-
      suant to section 904(c) of the Congres-
                                                              ported strongly by Secretary Leavitt’s                    hanced FMAP described in section 2105(b) of
      sional Budget Act of 1974, I move to                                                                              such Act (42 U.S.C. 1397ee(b))) and shall not
                                                              Medicaid Commission. It is supported
      waive section 305 of the Budget Act for                                                                           apply with respect to payments under title
                                                              strongly by the National Governors As-
      the consideration of amendment No.                                                                                IV of such Act (42 U.S.C. 601 et seq.).
                                                              sociation. It would save the States over
      2359, and I ask for the yeas and nays.                                                                              (c) DEFINITIONS.—In this section:
                                                              $3 billion if this offset is agreed to as
        The PRESIDING OFFICER. Is there a                                                                                 (1) FMAP.—The term ‘‘FMAP’’ means the
                                                              part of this amendment.                                   Federal medical assistance percentage, as
      sufficient second?                                        I urge my colleagues to support the                     defined in section 1905(b) of the Social Secu-
        There is a sufficient second.                         amendment. This map shows the                             rity Act (42 U.S.C. 1396d(b)).
        The question is on agreeing to the                    States in red that would get a more                         (2) STATE.—The term ‘‘State’’ has the
      motion. The clerk will call the roll.                   fair share of Medicaid funds, if the                      meaning given such term for purposes of
        The legislative clerk called the roll.                amendment passes.                                         title XIX of the Social Security Act (42
                                                                The PRESIDING OFFICER. The Sen-                         U.S.C. 1396 et seq.).
        Mr. DURBIN. I announce that the                                                                                   (d) REPEAL.—Effective as of October 1, 2006,
      Senator from New Jersey (Mr. CORZINE)                   ator from Iowa.
                                                                Mr. GRASSLEY. Mr. President, I ask                      this section is repealed and shall not apply
      is necessarily absent.                                                                                            to any fiscal year after fiscal year 2006.
                                                              Members to vote no on this amend-
        The PRESIDING OFFICER (Mr.                            ment. There is an odd situation here.                     SEC. 6038. EXTENSION OF PRESCRIPTION DRUG
      GRAHAM). Are there any other Senators                                                                                         REBATES TO ENROLLEES IN MED-
                                                              We have had a formula in the legisla-                                 ICAID MANAGED CARE ORGANIZA-
      in the Chamber desiring to vote?                        tion for 40 years. That formula regu-                                 TIONS.
        The yeas and nays resulted—yeas 46,                   larly has some States getting more re-                       (a) IN GENERAL.—Section 1927(j)(1) (42
      nays 53, as follows:                                    imbursement, some States getting less.                    U.S.C. 1396r–8(j)(1)) is amended by striking
                  [Rollcall Vote No. 290 Leg.]                Next year your State might go up. The                     ‘‘dispensed’’ and all that follows through the
                                                              next year it might go down. That is the                   period and inserting ‘‘are not subject to the
                          YEAS—46                                                                                       requirements of this section if such drugs
      Allard            Feingold           Reid
                                                              way it has been working. All of a sud-                    are—
      Bayh              Grassley           Salazar            den, some States are receiving a reduc-                      ‘‘(A) dispensed by health maintenance or-
      Bingaman          Hagel              Santorum           tion, and they want to keep it where it                   ganizations that contract under section
      Brownback         Harkin             Sarbanes           is. I have never had a situation where,
      Byrd              Hatch
                                                                                                                        1903(m); and
                                           Schumer
      Cantwell          Johnson                               when the formula worked to the ben-                          ‘‘(B) subject to discounts under section
                                           Smith
      Chafee            Kennedy                               efit of the State, their reimbursement                    340B of the Public Health Service Act (42
                                           Snowe
      Clinton           Kerry              Specter            went up, that you come in here and ask                    U.S.C. 256b).’’.
      Collins           Lautenberg                                                                                         (b) EFFECTIVE DATE.—The amendment
      Conrad            Levin
                                           Stabenow           for us to reduce the reimbursement.
                                           Sununu                                                                       made by subsection (a) shall take effect on
      Dayton            Lugar                                 No, you accept the formula. If you
                                           Thomas                                                                       the date of enactment of this Act and apply
      DeWine            Mikulski
                                           Thune
                                                              want to change the formula, Senator                       to rebate agreements entered into or re-
      Dorgan            Murray                                BAUCUS and I have a good plan to
      Durbin            Nelson (NE)        Voinovich                                                                    newed under section 1927 of the Social Secu-
      Ensign            Obama              Wyden              change the formula. It would smooth                       rity Act (42 U.S.C. 1396r–8) on or after such
      Enzi              Reed                                  out the peaks and valleys. That is what                   date.




VerDate Aug 31 2005   03:55 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00023   Fmt 0624    Sfmt 0634     E:\CR\FM\A03NO6.037   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 25 of 91
      S12308                            CONGRESSIONAL RECORD — SENATE               November 3, 2005
      SEC. 6039. EXTENSION OF THE MEDICARE PART A                Mr. LOTT. Mr. President, I call up                     There appears to be a sufficient sec-
                   AND B PAYMENT HOLIDAY.
                                                               amendment No. 2360.                                    ond.
        Section 6112(b)(1) of this Act is amended by
                                                                 The PRESIDING OFFICER. The                             The question is on agreeing to the
      striking ‘‘September 22, 2006’’ and inserting
      ‘‘September 21, 2006’’.                                  amendment is pending.                                  amendment. The clerk will call the
                                                                 Mr. LOTT. Mr. President, I will take                 roll.
        Mr. GREGG. Mr. President, I ask                        a couple minutes to discuss the amend-                   The legislative clerk called the roll.
      unanimous consent that the Byrd                          ment. First of all, my cosponsor on                      Mr. DURBIN. I announce that the
      amendment, which was to be the next                      this amendment is Senator LAUTEN-                      Senator from New Jersey (Mr. CORZINE)
      amendment, be moved to be after the                      BERG.                                                  is necessarily absent.
      Landrieu amendment.                                        This is an amendment that adds pro-                    The PRESIDING OFFICER. Are there
        The PRESIDING OFFICER. Without                         visions of S. 1516, the Passenger Rail                 any other Senators in the Chamber de-
      objection, it is so ordered.                             Investment and Improvement Act of                      siring to vote?
        Mr. GREGG. Mr. President, I ask for                    2005. It was reported out of the Com-                    The result was announced—yeas 93,
      the yeas and nays.                                       merce Committee in July and has been                   nays 6, as follows:
        The PRESIDING OFFICER. Is there a
                                                               ready to be considered by the Senate,                              [Rollcall Vote No. 292 Leg.]
      sufficient second?
                                                               but repeated efforts to have it brought                                     YEAS—93
        There appears to be a sufficient sec-
                                                               up in the regular order were not                       Akaka             Dodd            Lugar
      ond.
        The question is on agreeing to the                     cleared.                                               Alexander         Dole            Martinez
                                                                 We are running out of time. The ad-                  Allard            Domenici        McCain
      amendment.                                                                                                      Allen             Dorgan          McConnell
        The clerk will call the roll.                          ministration has made it clear that                    Baucus            Durbin          Mikulski
        The bill clerk called the roll.                        without reform, they are not going to                  Bayh              Enzi            Murkowski
        Mr. DURBIN. I announce that the                        be supportive of future funds through                  Bennett           Feingold        Murray
                                                               the appropriations process for Amtrak.                 Biden             Feinstein       Nelson (FL)
      Senator from New Jersey (Mr. CORZINE)                                                                           Bingaman          Frist           Nelson (NE)
      is necessarily absent.                                   This is genuine reform with a lot of                   Bond              Graham          Obama
        The PRESIDING OFFICER (Mr. MAR-                        input from management and labor, the                   Boxer             Grassley        Pryor
      TINEZ). Are there any other Senators in                  administration, and both sides of the                  Brownback         Hagel           Reed
                                                                                                                      Bunning           Harkin          Reid
      the Chamber desiring to vote?                            aisle.                                                 Burns             Hatch           Roberts
        The result was announced—yeas 54,                        I believe this is the last chance for                Burr              Hutchison       Rockefeller
      nays 45, as follows:                                     the Senate to act on this important                    Byrd              Inhofe          Salazar
                                                               legislation, making it possible for us to              Cantwell          Inouye          Santorum
                  [Rollcall Vote No. 291 Leg.]                                                                        Carper            Isakson         Sarbanes
                           YEAS—54                             have it included in some legislation,                  Chafee            Jeffords        Schumer
      Akaka             Dorgan             Lincoln
                                                               before we finish this year, to reform                  Chambliss         Johnson         Shelby
      Baucus            Durbin             Mikulski            Amtrak.                                                Clinton           Kennedy         Smith
      Bayh              Feingold           Murkowski             Mr. GREGG. Mr. President, I yield 1                  Coburn            Kerry           Snowe
      Biden             Feinstein          Murray                                                                     Cochran           Kohl            Specter
                                                               minute to the Senator from New                         Coleman           Kyl             Stabenow
      Bingaman          Harkin             Nelson (FL)
      Boxer             Hutchison          Nelson (NE)         Hampshire.                                             Collins           Landrieu        Stevens
      Byrd              Inhofe             Obama                 Mr. SUNUNU. Mr. President, I appre-                  Conrad            Lautenberg      Talent
      Cantwell          Inouye             Pryor               ciate the work the Senator from Mis-                   Cornyn            Leahy           Thomas
      Carper            Jeffords           Reed                                                                       Craig             Levin           Thune
                                                               sissippi and the Senator from New Jer-                 Crapo             Lieberman       Vitter
      Chafee            Johnson            Reid
      Clinton           Kennedy            Rockefeller         sey have done on this bill.                            Dayton            Lincoln         Warner
      Coburn            Kerry              Salazar               It is absolutely true that this does                 DeWine            Lott            Wyden
      Collins           Kohl               Sarbanes            represent some significant additional                                       NAYS—6
      Conrad            Landrieu           Schumer             reforms for Amtrak. In discussions
      Cornyn            Lautenberg         Snowe                                                                      DeMint            Gregg           Sununu
      Dayton            Leahy              Specter             with Senator LOTT from Mississippi                     Ensign            Sessions        Voinovich
      Dodd              Levin              Stabenow            and others, I do believe there is an op-                                NOT VOTING—1
      Domenici          Lieberman          Wyden               portunity to do a lot more. Unfortu-
                                                                                                                                        Corzine
                          NAYS—45                              nately, the House has not really under-
                                                               taken any reform effort at all, and that                 The amendment (No. 2360) was agreed
      Alexander         DeWine             McCain
      Allard            Dole               McConnell           is certainly one of the concerns that I                to.
      Allen             Ensign             Roberts             have, that this not be a dead-end proc-                  Mr. LOTT. Mr. President, I move to
      Bennett           Enzi               Santorum
                                                               ess, that we do more in this bill to deal              reconsider the vote.
      Bond              Frist              Sessions                                                                     Mr. LAUTENBERG. I move to lay
      Brownback         Graham             Shelby              with long distance routes that lose $200
      Bunning           Grassley           Smith               or $300 per passenger on every single                  that motion on the table.
      Burns             Gregg              Stevens                                                                      The motion to lay on the table was
                                                               car that rides on those long distance
      Burr              Hagel              Sununu                                                                     agreed to.
      Chambliss         Hatch              Talent              routes and labor constraints that the
                                                                                                                                      AMENDMENT NO. 2370
      Cochran           Isakson            Thomas              management of Amtrak has said they
      Coleman           Kyl                Thune               want to have modified and adjusted so                    The PRESIDING OFFICER. There is
      Craig             Lott               Vitter
                                                               they can operate more effectively and                  2 minutes now equally divided prior to
      Crapo             Lugar              Voinovich                                                                  a vote on the McCain amendment.
      DeMint            Martinez           Warner              more efficiently. These items are not
                                                                                                                        Who yields time?
                       NOT VOTING—1                            in this legislation, although it does
                                                                                                                        The Senator from Arizona.
                                                               represent a step forward.                                Mr. MCCAIN. Mr. President, this
                        Corzine
                                                                 I look forward to continuing to work
        The amendment (No. 2365), as modi-                                                                            amendment does one very simple thing.
                                                               to improve the legislation, but I cer-
      fied, was agreed to.                                                                                            It would move the DTV transition date
                                                               tainly cannot support its adoption on
        Mr. BINGAMAN. Mr. President, I                                                                                forward by 1 year, making the comple-
                                                               this reconciliation bill.
      move to reconsider the vote.                               The PRESIDING OFFICER. The Sen-                      tion date April 7, 2008. My colleagues
        Mr. GREGG. I move to lay that mo-                      ator’s time has expired.                               will be asked to believe the earlier date
      tion on the table.                                         Mr. LOTT. Mr. President, I note that                 is not doable. Do not believe it. We
        The motion to lay on the table was                     Senator BURNS has also been active in                  have the ability. We have the tech-
      agreed to.                                               this process.                                          nology. It can be accomplished. It is
                      AMENDMENT NO. 2360                         I ask unanimous consent that other                   supported by every first responder or-
        The PRESIDING OFFICER. There is                        Senators’ names be allowed to be added                 ganization in America, every single
      2 minutes equally divided on the Lott                    as cosponsors to the amendment.                        one. The National Governors Associa-
      amendment No. 2360.                                        The PRESIDING OFFICER. Without                       tion: We support the amendment, based
        Mr. GREGG. Mr. President, the next                     objection, it is so ordered.                           upon certain clearing of channels. Peo-
      amendment is the Lott amendment,                           Mr. LOTT. Mr. President, I ask for                   ple’s lives are at stake. The only people
      the Amtrak amendment.                                    the yeas and nays.                                     who are against this amendment are
        The PRESIDING OFFICER. The Sen-                          The PRESIDING OFFICER. Is there a                    the National Association of Broad-
      ator from Mississippi.                                   sufficient second?                                     casters. We will see if they win again.



VerDate Aug 31 2005   03:55 Nov 04, 2005   Jkt 049060    PO 00000   Frm 00024   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.021   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 26 of 91
      November 3, 2005                  CONGRESSIONAL RECORD — SENATE                       S12309
        The PRESIDING OFFICER. Who                               Mr. GREGG. Mr. President, I move to                  introduced a strategy for transitioning
      yields time?                                             reconsider the vote.                                   dual eligibles from Medicaid to Medi-
        The Senator from Alaska.                                 Mr. CONRAD. I move to lay that mo-                   care which lays out in great detail the
        Mr. STEVENS. Mr. President, this                       tion on the table.                                     steps CMS will take to ensure the con-
      amendment would close off the analog                       The motion to lay on the table was                   tinuity of coverage of this valuable
      broadcasting too close to the auction                    agreed to.                                             group of beneficiaries. Therefore, the
      of spectrum. We currently have an                          Mr. GREGG. Mr. President, I want to                  leadership of the Finance Committee
      April 2009 date. The auction date is                     point out for the edification of our col-              strongly opposes this amendment.
      January of 2009. It is just too close to-                leagues that we still have a lot of                      I make a point of order that the
      gether. The leases cannot be processed.                  amendments to go. The estimate is in                   pending amendment is not germane to
      There is no way those auction proceeds                   the high teens or potentially low                      the measure now before the Senate,
      can be available until licenses are                      twenties. At the pace we are going, we                 and I raise a point of order under sec-
      issued. This amendment would end                         are not going to get them all done                     tion 305 of the Budget Act.
      analog broadcasts before the funds are                   today, and we are going to be here on                    Mrs. MURRAY. Mr. President, pursu-
      available for the converter box fund or                  Friday.                                                ant to section 904 of the Congressional
      the translator conversion fund author-                     I ask, Mr. President, if we can be ad-               Budget Act, I move to waive the appli-
      ized by S. 1932. We need help in this                    vised as to how long the last three                    cable sections of that act for purposes
      transition. The amendment makes                          votes have taken. If we could hear from                of the pending amendment, and I ask
      spectrum available to public safety                      the clerks, approximately how long?                    for the yeas and nays.
      groups before they can put it to use be-                 We do not have to be precise.                            The PRESIDING OFFICER. Is there a
                                                                 How long have the votes taken?
      cause we are informed public safety                                                                             sufficient second?
                                                                 The PRESIDING OFFICER. An hour
      groups must have at least 3 years to                                                                              There is a sufficient second.
                                                               6 minutes for three votes.                               The question is on agreeing to the
      prepare for the use of spectrum.                           Mr. GREGG. At this pace, we are
        We are going to get them the spec-                                                                            motion.
                                                               here Friday.
      trum. They will not be able to use it                      I hope Members will think about                        The clerk will call the roll.
      until we have the money to bring about                                                                            The assistant Journal clerk called
                                                               their amendments, if they have some
      the transition. I believe our whole com-                                                                        the roll.
                                                               they are still talking about, and give
      mittee should oppose this amendment.                                                                              Mr. DURBIN. I announce that the
                                                               serious consideration to allowing a
        The PRESIDING OFFICER. The Sen-                                                                               Senator from New Jersey (Mr. CORZINE)
                                                               voice vote or allowing it to be worked
      ator’s time has expired.                                                                                        is necessarily absent.
                                                               out.                                                     The PRESIDING OFFICER. Are there
        The yeas and nays were previously
                                                                       AMENDMENT NO. 2368, WITHDRAWN
      ordered on the amendment.                                                                                       any other Senators in the Chamber de-
        The question is on agreeing to the                       I ask unanimous consent that the                     siring to vote?
      amendment.                                               Corzine amendment, No. 2368, be with-                    The yeas and nays resulted—yeas 43,
        The clerk will call the roll.                          drawn.                                                 nays 56, as follows:
        The bill clerk called the roll.                          The PRESIDING OFFICER. Is there
                                                                                                                                  [Rollcall Vote No. 294 Leg.]
        Mr. DURBIN. I announce that the                        objection? Without objection, it is so
                                                                                                                                           YEAS—43
      Senator from New Jersey (Mr. CORZINE)                    ordered.
                                                                                                                      Akaka             Feingold        Mikulski
      is necessarily absent.                                                    AMENDMENT NO. 2372
                                                                                                                      Baucus            Feinstein       Murray
        The PRESIDING OFFICER. Are there                         Mr. GREGG. Mr. President, we are                     Bayh              Harkin          Nelson (FL)
      any other Senators in the Chamber de-                    now on to Senator MURRAY’s amend-                      Biden             Inouye          Obama
                                                               ment.                                                  Bingaman          Jeffords        Pryor
      siring to vote?                                                                                                 Boxer             Johnson
                                                                 Mrs. MURRAY. Mr. President, I ask                                                      Reed
        The result was announced—yeas 30,                                                                             Byrd              Kennedy         Reid
      nays 69, as follows:                                     unanimous      consent    that  Senator                Cantwell          Kerry           Rockefeller
                  [Rollcall Vote No. 293 Leg.]                 CORZINE be added as a cosponsor.                       Carper            Kohl
                                                                                                                                                        Salazar
                                                                 The PRESIDING OFFICER. Without                       Clinton           Landrieu
                           YEAS—30                                                                                                                      Sarbanes
                                                                                                                      Conrad            Lautenberg
                                                               objection, it is so ordered.                           Dayton            Leahy
                                                                                                                                                        Schumer
      Bayh              Feingold           Lieberman
      Biden             Feinstein          McCain
                                                                 Mrs. MURRAY. Mr. President, in a                     Dodd              Levin           Stabenow
                                                               few short weeks some of our most vul-                  Dorgan            Lieberman       Wyden
      Boxer             Graham             Mikulski
      Carper            Harkin             Nelson (FL)         nerable Americans, our sickest and                     Durbin            Lincoln
      Clinton           Jeffords           Rockefeller         poorest, so-called dual eligibles, are                                     NAYS—56
      Coburn            Kennedy            Salazar
      Collins           Kerry              Schumer             going to be shifted from Medicaid to                   Alexander         DeWine          McConnell
      DeWine            Kyl                Stabenow            Medicare. We have a train wreck com-                   Allard            Dole            Murkowski
      Dodd              Lautenberg         Sununu              ing. Medicare is going to randomly as-                 Allen             Domenici        Nelson (NE)
      Ensign            Levin              Warner                                                                     Bennett           Ensign          Roberts
                                                               sign these people to a plan which they                 Bond              Enzi            Santorum
                          NAYS—69                              may not know about and which might                     Brownback         Frist           Sessions
      Akaka             DeMint             McConnell           not cover their lifesaving drugs. Doc-                 Bunning           Graham          Shelby
      Alexander         Dole               Murkowski                                                                  Burns             Grassley
                                                               tors, hospitals, and pharmacists are                   Burr              Gregg
                                                                                                                                                        Smith
      Allard            Domenici           Murray                                                                                                       Snowe
      Allen             Dorgan             Nelson (NE)         scrambling. These prescription drug                    Chafee            Hagel
                                                                                                                                                        Specter
      Baucus            Durbin             Obama               policies themselves have not defined                   Chambliss         Hatch
                                                                                                                                                        Stevens
      Bennett           Enzi               Pryor               the drugs they are going to cover. My                  Coburn            Hutchison
                                                                                                                      Cochran           Inhofe          Sununu
      Bingaman          Frist              Reed
      Bond              Grassley           Reid
                                                               amendment simply gives a 6-month                       Coleman           Isakson         Talent
                                                               transition for those people so they do                 Collins           Kyl             Thomas
      Brownback         Gregg              Roberts
                                                                                                                      Cornyn            Lott            Thune
      Bunning           Hagel              Santorum            not get lost in this switch. I support
      Burns             Hatch              Sarbanes                                                                   Craig             Lugar           Vitter
                                                               Medicare coverage for these dual eligi-                Crapo             Martinez        Voinovich
      Burr              Hutchison          Sessions
      Byrd              Inhofe             Shelby              bles, but I cannot—and I don’t think we                DeMint            McCain          Warner
      Cantwell          Inouye             Smith               should—support turning these people                                     NOT VOTING—1
      Chafee            Isakson            Snowe               away at the drugstore.
      Chambliss         Johnson            Specter                                                                                      Corzine
                                                                 This amendment does not delay the
      Cochran           Kohl               Stevens
      Coleman           Landrieu           Talent              implementation of the Medicare drug                      The PRESIDING OFFICER (Mr. AL-
      Conrad            Leahy              Thomas              benefit. It simply assures thousands of                EXANDER). On this question, the yeas
      Cornyn            Lincoln            Thune               our most vulnerable Americans that                     are 43, the nays are 56. Three-fifths of
      Craig             Lott               Vitter                                                                     the Senators duly chosen and sworn
      Crapo             Lugar              Voinovich
                                                               they will not be lost in the transition
      Dayton            Martinez           Wyden               from Medicaid to Medicare coverage.                    not having voted in the affirmative,
                                                                 I thank Senator ROCKEFELLER and                      the motion is rejected. The point of
                       NOT VOTING—1
                                                               my cosponsors, and I urge adoption of                  order is sustained. The amendment
                        Corzine                                                                                       falls.
                                                               this amendment.
        The amendment (No. 2370) was re-                         Mr. GREGG. Mr. President, CMS has                      Mr. GREGG. I move to reconsider the
      jected.                                                  a plan in place, and 6 months ago CMS                  vote.



VerDate Aug 31 2005   03:55 Nov 04, 2005   Jkt 049060    PO 00000   Frm 00025   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.045   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 27 of 91
      S12310                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
        Mr. SANTORUM. I move to lay that                      the first $1 billion over that amount                  support of Republican and Democrat
      motion on the table.                                    would go to deficit reduction, the next                Senators. I urge agreement of the
        The motion to lay on the table was                    $500 million would go to interoper-                    amendment.
      agreed to.                                              ability, the next $1.2 billion, in that                  The PRESIDING OFFICER. The Sen-
              AMENDMENT NO. 2366 WITHDRAWN                    order, goes to a coastal program under                 ator from Pennsylvania.
        The PRESIDING OFFICER. The                            Commerce jurisdiction, and the re-                       Mr. SPECTER. Mr. President, I am
      pending question is the Landrieu                        mainder, if at all, would go to deficit                opposed to this amendment because the
      amendment numbered 2366.                                reduction. This could, in fact, enhance                fees for L visas would raise funds but
        Mr. GREGG. I yield to the Senator                     deficit reduction.                                     would do nothing to fill very important
      from Louisiana for the purpose of send-                   Of course, it is very important to                   jobs in the United States. The existing
      ing a modification to the desk.                         coastal States, including Louisiana, to                plan submitted by the Judiciary Com-
        Mr. VITTER. Mr. President, with                       beef up the coastline and to protect us                mittee imposes a fee, but it extends the
      Senator LANDRIEU’s consent, I request                   in the future from major storms like                   H–1B visa and recaptures the visas
      the Landrieu amendment be with-                         Hurricane Katrina.                                     which were not used in the last 5 years.
      drawn, and we call up the Stevens-                        I yield the remaining time to Senator                There are very careful safeguards so
      Vitter-Landrieu-Domenici amendment.                     LANDRIEU.                                              that U.S. jobs are not lost.
        The PRESIDING OFFICER. Without                          The PRESIDING OFFICER. The Sen-
                                                                                                                       I understand the position of the dis-
      objection, it is so ordered.                            ator from Louisiana.
                                                                Ms. LANDRIEU. Mr. President, I                       tinguished Senator from West Virginia,
                      AMENDMENT NO. 2412
                                                              thank my colleague from Louisiana                      the position of the unions, but I believe
        The PRESIDING OFFICER. The                                                                                   their concerns are misplaced and that
      clerk will report the amendment.                        and particularly thank the leadership
                                                              of Senator STEVENS and Senator                         there is a real need for these positions
        The assistant legislative clerk read                                                                         of highly skilled professionals, Ph.D.s,
      as follows:                                             DOMENICI and so many who have joined
                                                              the effort. It has been a great effort.                advanced degrees. Therefore, with due
        The Senator from Louisiana [Mr. VITTER],                                                                     respect to my colleague from West Vir-
      for Mr. STEVENS, for himself, Mr. VITTER,               We thank our colleagues.
                                                                Mr. GREGG. Mr. President, I ask for                  ginia, I ask for a ‘‘no’’ vote.
      Ms. LANDRIEU, and Mr. DOMENICI, proposes an
      amendment numbered 2412.                                a voice vote.                                            The PRESIDING OFFICER. All time
                                                                The PRESIDING OFFICER. The                           has expired. The question is on agree-
        Mr. GREGG. Mr. President, I ask
                                                              question is on agreeing to the amend-                  ing to the amendment.
      unanimous consent that the reading of
      the amendment be dispensed with.                        ment.                                                    Mr. BYRD. I ask for the yeas and
        The PRESIDING OFFICER. Without                          The amendment (No. 2412) was agreed                  nays.
      objection, it is so ordered.                            to.                                                      The PRESIDING OFFICER. Is there a
        The amendment is as follows:                            Mr. CONRAD. Mr. President, just to                   sufficient second?
      (Purpose: To modify the distribution of ex-             update our colleagues, we now have 19                    There is a sufficient second.
         cess proceeds from the auction authorized            amendments still pending. On our cur-                    The yeas and nays were ordered.
         by section 309(j)(15)(C)(v) of the Commu-            rent course, that is going to take at
                                                                                                                       The clerk will call the roll.
         nications Act of 1934)                               least 61⁄2 hours. That would take us to
                                                              8:30. I ask colleagues, please, if you can               The assistant legislative clerk called
         On page 95, strike lines 13 through 21, and
      insert the following:                                   withhold on your amendment, do so. If                  the roll.
         (f) USE OF EXCESS PROCEEDS.—Any pro-                 you have a chance to work out the                        Mr. DURBIN. I announce that the
      ceeds of the auction authorized by section              amendment, please work hard and dili-                  Senator from New Jersey (Mr. CORZINE)
      309(j)(15)(C)(v) of the Communications Act of           gently to work it out. I urge col-                     is necessarily absent.
      1934, as added by section 3003 of this Act,                                                                      The PRESIDING OFFICER. Are there
      that exceed the sum of the payments made
                                                              leagues, we have a drop-dead time at 6
      from the Fund under subsection (c), the                 o’clock tonight. We cannot go beyond                   any other Senators in the Chamber de-
      transfer from the Fund under subsection (d),            that with business. We have less than 4                siring to vote?
      and any amount made available under sec-                hours to go through 19 amendments.                       The result was announced—yeas 14,
      tion 3006 (referred to in this subsection as            The only way this is going to happen is                nays 85, as follows:
      ‘‘excess proceeds’’), shall be distributed as           if colleagues will give up on some of                              [Rollcall Vote No. 295 Leg.]
      follows:                                                their amendments. Otherwise, we are
         (1) The first $1,000,000,000 of excess proceeds                                                                                 YEAS—14
                                                              here tomorrow. Once we are here to-
      shall be transferred to and deposited in the                                                                   Akaka             Durbin          Rockefeller
      general fund of the Treasury as miscella-
                                                              morrow, we all know what happens: we                   Byrd              Feingold        Sessions
      neous receipts.                                         will be here a long time tomorrow.                     Dayton            Inhofe          Stabenow
         (2) After the transfer under paragraph (1),                           AMENDMENT NO. 2367                    Dodd              Jeffords        Vitter
                                                                                                                     Dorgan            Landrieu
      the next $500,000,000 of excess proceeds shall            The PRESIDING OFFICER. The Sen-
      be transferred to the interoperability fund             ator from West Virginia is recognized.                                     NAYS—85
      described in subsection (c)(3).                           Mr. BYRD. Mr. President, the rec-                    Alexander         Dole            McConnell
         (3) After the transfers under paragraphs (1)         onciliation bill would increase immi-                  Allard            Domenici        Mikulski
      and (2), the next $1,200,000,000 of exceess pro-                                                               Allen             Ensign          Murkowski
                                                              grant work visas by 350,000 per year,
      ceeds shall be transfered to the assistance                                                                    Baucus            Enzi            Murray
      program described in subsection (c)(5).                 about one-third of the current level. It               Bayh              Feinstein       Nelson (FL)
         (4) After the transfers under paragraphs (1)         is a massive and destabilizing increase                Bennett           Frist           Nelson (NE)
      through (3), any remaining excess proceeds              that does not belong on the reconcili-                 Biden             Graham          Obama
                                                                                                                     Bingaman          Grassley
      shall be transferred to and deposited in the            ation bill.                                            Bond              Gregg
                                                                                                                                                       Pryor
      general fund of the Treasury as miscella-                 My amendment would strike the in-                                                      Reed
                                                                                                                     Boxer             Hagel
      neous receipts.                                                                                                                                  Reid
                                                              crease in immigrant work visas and                     Brownback         Harkin
                                                                                                                                                       Roberts
        The PRESIDING OFFICER. There is                       impose a $1,500 immigrant application                  Bunning           Hatch
                                                                                                                     Burns             Hutchison       Salazar
      2 minutes of debate evenly divided.                     fee on multinational corporations.                     Burr              Inouye          Santorum
        Mr. VITTER. Mr. President, I present                  With my amendment, the Judiciary                       Cantwell          Isakson         Sarbanes
      this on behalf of Mr. STEVENS, the                      Committee would exceed its reconcili-                  Carper            Johnson         Schumer
                                                                                                                     Chafee            Kennedy         Shelby
      main author, as well as myself, Ms.                     ation savings targets and do so without                Chambliss         Kerry           Smith
      LANDRIEU, Mr. DOMENICI, Mr. BINGA-                      increasing immigrant work visas. We                    Clinton           Kohl            Snowe
      MAN, Mr. LOTT, Mr. INOUYE, Mr. CRAIG,                   authorized over half a million H–1B                    Coburn            Kyl             Specter
      and others. This will not change our                    visas in 2000. Last year, we authorized                Cochran           Lautenberg      Stevens
                                                                                                                     Coleman           Leahy           Sununu
      budget numbers or our goal of deficit                   another $100,000 over 5 years. Do we                   Collins           Levin           Talent
      reduction in any way. In fact, it could                 really need another 150,000 visas on top               Conrad            Lieberman       Thomas
      enhance it.                                             of that? When is enough enough?                        Cornyn            Lincoln         Thune
        This amendment says if and when—                        My amendment has the support of                      Craig             Lott            Voinovich
                                                                                                                     Crapo             Lugar
      and only if and when—the spectrum                       the unions. It has the support of immi-                                                  Warner
                                                                                                                     DeMint            Martinez
                                                                                                                                                       Wyden
      auction produces more than is forecast,                 grant enforcement groups. It has the                   DeWine            McCain




VerDate Aug 31 2005   02:02 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00026   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.050   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 28 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12311
                       NOT VOTING—1                           agree with the House 40-percent cut in                 for every Government dollar spent,
                        Corzine                               this program and we won’t hold up to it                $4.38 is recovered for families in child
        The amendment (No. 2367) was re-                      when it goes to the conference. It is a                support payments. With good reason.
      jected.                                                 sense-of-the-Senate resolution.                        Reforms over the last decade have
        Mr. GREGG. I move to reconsider the                     The bill approved by Ways and Means                  made this program even more effective.
      vote.                                                   would slash funding for child support                  Since 1996, there has been an 82-percent
        Mr. CONRAD. I move to lay that mo-                    enforcement efforts by 40 percent over                 increase in collections, from $12 billion
      tion on the table.                                      the next 10 years. The Congressional                   to $22 billion.
        The motion to lay on the table was                    Budget Office estimates that, as a re-                   Child Support Enforcement is essen-
      agreed to.                                              sult of these cuts, more than $24 billion              tial to helping families to achieve self-
        Mr. GREGG. Mr. President, the next                    in delinquent payments will go uncol-                  sufficiency. For families in poverty
      item is the Harkin amendment, a sense                   lected. And the biggest negative im-                   who receive child support, those pay-
      of the Senate. I ask unanimous consent                  pacts will be felt by children living in               ments account for an average of 30 per-
      that we have 2 minutes equally divided                  poverty and children in low-income                     cent of their income. Next to a moth-
      on this amendment.                                      households.                                            er’s earnings, child support is the larg-
        The PRESIDING OFFICER. Without                          And let’s be clear: Why is the House                 est income source for poor families re-
      objection, it is so ordered.                            doing this? Why is it cutting this es-                 ceiving assistance. Child support pay-
        Mr. GREGG. For the information of                     sential program that benefits some of                  ments are used to pay for food, child
      the Senate, we are now off of the origi-                the most vulnerable, disadvantaged,                    care, shelter, and the most basic essen-
      nal list, having completed that. So we                  neglected children in our society? They                tials of life.
      are into a period where, between my-                    are doing this in order to make room                     If we were smart, if we were compas-
      self and the Senator from North Da-                     for another $70 billion in tax cuts—tax                sionate, if we were looking at ways to
      kota, we have organized a series of                     cuts overwhelmingly benefiting our                     get maximum bang for the buck, we
      amendments to come forward. These                       wealthiest citizens.                                   would be increasing funding for this es-
      will continue to be 10-minute votes,                      Indeed, that is what this entire rec-                sential program. But the action of the
      and they are going to be hard 10 min-                   onciliation process is all about. For 25               other body, slashing Child Support En-
      utes. That means that at the end of 10                  years, the budget reconciliation proc-                 forcement by 40 percent to make way
      minutes, I am going to ask the vote to                  ess was used to reduce the deficit. But,               for more tax cuts, is just unconscion-
      be closed. Secondly, I ask unanimous                    today, the majority party has a dif-                   able. It is bad public policy, bad values,
      consent that for all amendments which                   ferent idea. They are using reconcili-                 and bad priorities.
      are brought forward from here on,                       ation to increase the deficit. They are                  A strong bipartisan vote for this res-
      there be 2 minutes equally divided be-                  cutting child support enforcement,                     olution will send a strong message to
      tween the proponent and the opponent.                   food assistance for the poor, foster care              the House conferees that this cut is un-
        The PRESIDING OFFICER. Without                        benefits, Medicaid, and other programs                 acceptable to the Senate and that this
      objection, it is so ordered.                            for the most disadvantaged Americans.                  body will not accept a slash-and-burn
        The Senator from North Dakota.                        At the same time they are ramming                      attack on a program that lifts more
        Mr. CONRAD. Mr. President, let us                     through another $70 billion in tax cuts                than 1 million people out of poverty
      repeat the message loud and clear:                      for the most privileged.                               every year. I urge my colleagues to
      These next three votes are going to be                    There is no other word for it: This is               support this resolution.
      strict 10-minute votes. At the end of 10                simply immoral. Last year, more than                     The PRESIDING OFFICER. The
      minutes, the manager and I are going                    17 million children received financial                 clerk will report the amendment.
      to call the vote. That is the only pos-                 support through the Child Enforcement                    The assistant legislative clerk read
      sible, conceivable way we can get done                  System, including nearly two-thirds of                 as follows:
      today.                                                  all children in single-parent households                 The Senator from Iowa [Mr. HARKIN], for
        Mr. GREGG. Of course, we may actu-                    with incomes below twice the poverty                   himself, Mr. KOHL, Mr. OBAMA, and Mr.
      ally get a voice vote in here, hopefully.               line.                                                  BAYH, proposes an amendment numbered
        The PRESIDING OFFICER. The Sen-                         Child support helped to lift more                    2363.
      ator from Iowa is recognized.                           than 1 million Americans out of pov-                     The amendment is as follows:
                      AMENDMENT NO. 2363                      erty in 2002. As a result of cuts passed                 At the appropriate place, insert the fol-
      (Purpose: To affirm that the Federal funding            by the House, many of those people—                    lowing:
        levels for the rate of reimbursement of               mostly children—would be plunged                       SEC. ll. SENSE OF THE SENATE.
        child support administrative expenses                 back into poverty. Not only is this                      (a) FINDINGS.—The Senate makes the fol-
        should not be reduced below the levels pro-           cruel, it is also counterproductive. It is             lowing findings:
        vided under current law, that States                  penny wise and pound foolish, because                    (1) On October 26, 2005, the Committee on
        should continue to be permitted to use                                                                       Ways and Means of the United States House
        Federal child support incentive payments
                                                              those families that are shoved into
                                                              poverty by the House’s action will end                 of Representatives approved a budget rec-
        for child support program expenditures                                                                       onciliation package that would significantly
        that are eligible for Federal matching pay-           up on food stamps, Medicaid, Tem-
                                                                                                                     reduce the Federal Government’s funding
        ments, and to express the sense of the Sen-           porary Assistance for Needy Families,                  used to pay for the child support program es-
        ate that it does not support additional fees          and other forms of public assistance.                  tablished under part D of title IV of the So-
        for successful child support collection)                This chart shows the State-by-State                  cial Security Act (42 U.S.C. 651 et seq.) and
        Mr. HARKIN. Mr. President, my                         impact of the cut in child support col-                would restrict the ability of States to use
      amendment is a sense-of-the-Senate                      lection. In my State of Iowa, alone,                   Federal child support incentive payments for
      resolution that the Senate go on record                 children would lose some $239 million                  child support program expenditures that are
      opposing the House’s $9 billion cut to                  over the next 10 years. This is a proven               eligible for Federal matching payments.
      child support enforcement programs. It                  program, an effective program. It re-                    (2) The child support program enforces the
                                                                                                                     responsibility of non-custodial parents to
      is not reasonable to cut a program that                 duces poverty. It gets resources to chil-              support their children. The program is joint-
      last year served 17,300,000 children.                   dren who desperately need them. It is                  ly funded by Federal, State and local govern-
      This is money that goes out to States                   cost effective. Research has shown that                ments.
      for child support enforcement to go                     the decline in families relying on                       (3) The Office of Management and Budget
      after deadbeat dads to get them to pay                  TANF in recent years is directly linked                gave the child support program a 90 percent
      the money for child support. As a mat-                  to improvements in the Child Support                   rating under the Program Assessment Rat-
      ter of fact, this is one of the best                    Enforcement Program. For all these                     ing Tool (PART), making it the highest per-
      things that has happened out of welfare                 reasons, this program has enjoyed                      forming social services program.
                                                                                                                       (4) The President’s 2006 budget cites the
      reform. For every $1 we spend, we are                   broad bipartisan support.                              child support program as ‘‘one of the highest
      getting back $4.38, not to the Govern-                    In the past, President Bush himself                  rated block/formula grants of all reviewed
      ment but to the families and the kids                   has praised this program, calling it one               programs government-wide. This high rating
      who need it. This is just a sense-of-the-               of our highest performing social serv-                 is due to its strong mission, effective man-
      Senate resolution that says we do not                   ices programs. And he is right because                 agement, and demonstration of measurable




VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00027   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.028   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 29 of 91
      S12312                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      progress toward meeting annual and long                 responsibility of noncustodial parents                 on debate for reconciliation bills that
      term performance measures.’’                            to support their children. For every                   increase the deficit. The Congress will
        (5) In 2004, the child support program spent          public dollar that is spent on collec-                 never succeed in balancing the budget,
      $5,300,000,000 to collect $21,900,000,000 in sup-
                                                              tion, more than $4 is collected to sup-                cutting the deficit, as long as the rec-
      port payments. Public investment in the
      child support program provides more than a              port children. That is a good return on                onciliation process can be used to
      four-fold return, collecting $4.38 in child sup-        our investment in families. Moreover,                  shield controversial tax-and-spending
      port for every Federal and State dollar that            these families are then less likely to                 decisions from debate and amendment.
      the program spends.                                     require public assistance and more                     If Senators want to ensure offsets for
        (6) In 2004, 17,300,000 children, or 60 percent       likely to avoid or escape poverty. This                deficit-increasing measures, then we
      of all children living apart from a parent, re-         is a program that works.                               must protect our rights to debate and
      ceived child support services through the                 The evidence is compelling. For ex-                  amend within the budget process. The
      program. The percentage is higher for poor              ample, in 2004, enforcement efforts
      children—84 percent of poor children living
                                                                                                                     more tax cuts that can be forced
                                                              helped collect almost $22 billion in                   through now without offsets, the
      apart from their parent receive child support
                                                              child support. Our aggressive State and                tougher the budget decisions and the
      services through the program. Families as-
      sisted by the child support program gen-                Federal efforts have translated into $1                worse the pain in the coming months
      erally have low or moderate incomes.                    billion in collected child support pay-                and years. The budget cuts that seem
        (7) Children who receive child support from           ments in Illinois alone this year. That                tough now will grow enormous, and
      their parents do better in school than those            means 386,000 Illinois families will be                they will be unbearable, if tax cuts
      that do not receive support payments. Older             better equipped to provide for their                   continue without offsets. I urge adop-
      children with child support payments are                children.                                              tion of the amendment.
      more likely to finish high school and attend              Preliminary budget estimates sug-
      college.                                                gest the cuts proposed by the Ways and                   I ask unanimous consent that Sen-
        (8) The child support program directly de-            Means Committee will translate into                    ator HARKIN be added as a cosponsor.
      creases the costs of other public assistance            $7.9 billion in lost collections within 5                The PRESIDING OFFICER. Without
      programs by increasing family self-suffi-                                                                      objection, it is so ordered.
                                                              years, increasing to a loss of over $24
      ciency. The more effective the child support
      program in a State, the higher the savings in           billion within 10 years. This proposal is                Mr. BYRD. I send the amendment to
      public assistance costs.                                not even pennywise, and it is certainly                the desk.
        (9) Child support helps lift more than                pound foolish. Today, the State of Illi-                 The PRESIDING OFFICER. The
      1,000,000 Americans out of poverty each year.           nois reports a 32 percent child support                clerk will report.
        (10) Families that are former recipients of           collection rate. Let’s not take a step                   The assistant legislative clerk read
      assistance under the temporary assistance               backwards in the progress that has                     as follows:
      for needy families program (TANF) have                  been made by stripping the States of
      seen the greatest increase in child support                                                                      The Senator from West Virginia [Mr.
                                                              necessary Federal support. Moreover,                   BYRD], for himself and Mr. HARKIN, proposes
      payments. Collections for these families in-            the welfare of too many is at stake.
      creased 94 percent between 1999 and 2004,                                                                      an amendment numbered 2414.
      even though the number of former TANF
                                                              Child support is the second largest in-
                                                              come source for qualifying low-income                    Mr. BYRD. Mr. President, I ask unan-
      families did not increase during this period.                                                                  imous consent that reading of the
        (11) Families that receive child support are          families. We cannot balance our budget
                                                              on the backs of families who rely on                   amendment be dispensed with.
      more likely to find and hold jobs, and less
      likely to be poor than comparable families              child support to remain out of poverty.                  The PRESIDING OFFICER. Without
      without child support.                                    This Congress claims that strength-                  objection, it is so ordered.
        (12) The child support program saved costs            ening the family is a priority. Senator                  The amendment is as follows:
      in the TANF, Medicaid, Food Stamps, Sup-                HARKIN’s amendment is a firm expres-                     At the appropriate place, insert the fol-
      plemental Security Income, and subsidized               sion that we are serious about this                    lowing:
      housing programs.                                       worthwhile investment.
        (13) The Congressional Budget Office esti-                                                                   SEC. ll. SUSPENSION OF DEBATE LIMITATION
                                                                I urge my colleagues to support this                            ON RECONCILIATION LEGISLATION
      mates that the funding cuts proposed by the             amendment.                                                        THAT CAUSES A DEFICIT OR IN-
      Committee on Ways and Means of the House                  Mr. GREGG. Mr. President, the Sen-                              CREASES THE DEFICIT.
      of Representatives would reduce child sup-              ator from Iowa has been kind enough
      port collections by nearly $7,900,000,000 in the                                                                 (a) IN GENERAL.—For purposes of consider-
      next 5 years and $24,100,000,000 in the next 10
                                                              to represent that he will accept a voice               ation in the Senate of any reconciliation bill
      years.                                                  vote on this. I move that we proceed to                or resolution, or amendments thereto or de-
                                                              a voice vote.                                          batable motions and appeals in connection
        (14) That National Governor’s Association
                                                                The PRESIDING OFFICER. The                           therewith, under section 310(e) of the Con-
      has stated that such cuts are unduly burden-
                                                              question is on agreeing to amendment                   gressional Budget Act of 1974, section 305(b)
      some and will force States to reevaluate sev-
                                                              No. 2363.                                              (1), (2), and (5), section 305(c), and the limita-
      eral services that make the child support
                                                                The amendment (No. 2363) was agreed                  tion on debate in section 310(e)(2) of that
      program so effective.
                                                                                                                     Act, shall not apply to any reconciliation
        (15) The Federal Government has a moral               to.
                                                                Mr. GREGG. Mr. President, I move to                  bill or resolution, amendment thereto, or
      responsibility to ensure that parents who do
                                                                                                                     motion thereon that includes reductions in
      not live with their children meet their finan-          reconsider the vote.                                   revenue or increases in spending that would
      cial support obligations for those children.              Mr. CONRAD. I move to lay that mo-                   cause an on-budget deficit to occur or in-
        (b) SENSE OF THE SENATE.—It is the sense              tion on the table.
      of the Senate that the Senate will not accept                                                                  crease the deficit for any fiscal year covered
                                                                The motion to lay on the table was                   by such bill or resolution.
      any reduction in funding for the child sup-             agreed to.
      port program established under part D of                                                                         (b)     GERMANENESS       REQUIRED.—Notwith-
                                                                Mr. GREGG. Mr. President, the next                   standing subsection (a), no amendment that
      title IV of the Social Security Act (42 U.S.C.
      651 et seq.), or any restrictions on the ability        item of business will be Senator BYRD’s                is not germane to the provisions of such rec-
      of States to use Federal child support incen-           amendment.                                             onciliation bill or resolution shall be re-
      tive payments for child support program ex-               The PRESIDING OFFICER. The Sen-                      ceived.
      penditures that are eligible for Federal                ator from North Dakota.
      matching payments, during this Congress.                  Mr. CONRAD. Mr. President, the                         The PRESIDING OFFICER. The Sen-
                                                              Senator from Iowa set a very good ex-                  ator from New Hampshire.
        Mr. OBAMA. Mr. President, I rise
      today to speak in favor of the Harkin                   ample. We encourage other Senators to                    Mr. GREGG. Mr. President, the prac-
      amendment, which expresses the sense                    follow that example.                                   tical effect of this amendment would
      of the Senate that this body will not                     The PRESIDING OFFICER. The Sen-                      be to essentially vitiate the reconcili-
      accept the cuts to the child support                    ator from West Virginia is recognized.                 ation process. It would mean we would
      program that have been proposed by                                   AMENDMENT NO. 2414                        end up with an event that could be fili-
      the Committee on Ways and Means in                      (Purpose: To provide for the suspension of             bustered. The whole purpose of rec-
      the House of Representatives. I am                        the debate limitation on reconciliation              onciliation is to have a time limit and
      proud to be a cosponsor of this amend-                    legislation that causes a deficit or in-             to get to a vote. Therefore, this amend-
      ment.                                                     creases the deficit)                                 ment would undermine completely the
        The child support program is an ef-                    Mr. BYRD. Mr. President, my amend-                    concept of reconciliation which, as is
      fective and efficient way to enforce the                ment will suspend the time limitations                 hopefully going to be proven by this




VerDate Aug 31 2005   03:55 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00028   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.033   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 30 of 91
      November 3, 2005                  CONGRESSIONAL RECORD — SENATE                       S12313
      bill and others, is a very constructive                    Mr. GREGG. I move to reconsider                        The assistant legislative clerk called
      way to get legislation through this in-                  and I move to lay that motion on the                   the roll.
      stitution and move forward with the                      table.                                                   Mr. DURBIN. I announce that the
      business of the people.                                    The motion to lay on the table was                   Senator from New Jersey (Mr. CORZINE)
        Therefore, I make a point of order                     agreed to.                                             is necessarily absent.
      that the pending amendment contains                                       AMENDMENT NO. 2391                      The PRESIDING OFFICER (Mr.
      matter within the jurisdiction of the                      Mr. GREGG. The next amendment is                     COLEMAN). Are there any other Sen-
      Committee on the Budget, and I raise a                   Senator LAUTENBERG’s.                                  ators in the Chamber desiring to vote?
      point of order against the amendment                       The PRESIDING OFFICER. The Sen-                        The yeas and nays resulted—yeas 43,
      under section 306 of the Budget Act.                     ator from New Jersey is recognized.                    nays 56, as follows:
        Mr. BYRD. Mr. President, I move to                       Mr. LAUTENBERG. I have offered an                                [Rollcall Vote No. 297 Leg.]
      waive the act in connection with this                    amendment to ensure that people un-                                         YEAS—43
      amendment.                                               derstand what they are signing up for                  Akaka             Feingold        Murray
        Mr. GREGG. I ask for the yeas and                      when the new Medicare drug benefit                     Baucus            Feinstein       Nelson (FL)
      nays.                                                                                                           Bayh              Harkin          Nelson (NE)
                                                               comes to life and that is beginning in                 Biden             Inouye
        The PRESIDING OFFICER. Is there a                                                                                                               Obama
                                                               2006. There is such a mix of things that               Bingaman          Johnson         Pryor
      sufficient second?                                       the recipient beneficiaries, I am sure,                Boxer             Kennedy         Reed
        There appears to be.                                   will be very confused as to what the                   Byrd              Kerry           Reid
        The yeas and nays were ordered.                                                                               Cantwell          Kohl            Rockefeller
                                                               cost is going to be on the gap of cov-                 Carper            Landrieu
        Mr. GREGG. Mr. President, I ask                        erage, whether they have to pay it all                 Clinton           Lautenberg
                                                                                                                                                        Salazar
      unanimous consent that votes on this                                                                                                              Sarbanes
                                                               out of their pockets. I want to make                   Conrad            Leahy
                                                                                                                                                        Schumer
      and all further amendments be 10 min-                    sure they understand what it is they                   Dayton            Levin
                                                                                                                      Dodd              Lieberman       Stabenow
      utes.                                                    are applying for and the pitfalls or the                                                 Wyden
                                                                                                                      Dorgan            Lincoln
        The PRESIDING OFFICER. Without                         advantages thereof.                                    Durbin            Mikulski
      objection, it is so ordered.                               This is very simple. We ask them to
        The question is on agreeing to the                                                                                                NAYS—56
                                                               sign a note when they apply for the                    Alexander         DeWine          McCain
      motion.                                                  plan so that they are saying they are                  Allard            Dole            McConnell
        The clerk will call the roll.                          fully aware of the consequences of                     Allen             Domenici        Murkowski
        The assistant Journal clerk called                                                                            Bennett           Ensign
                                                               their signature. This should be passed,                                                  Roberts
      the roll.                                                                                                       Bond              Enzi            Santorum
                                                               Mr. President, because it helps the sen-               Brownback         Frist
        Mr. DURBIN. I announce that the                                                                                                                 Sessions
                                                               ior citizens understand what it is they                Bunning           Graham
      Senator from New Jersey (Mr. CORZINE)                                                                           Burns             Grassley
                                                                                                                                                        Shelby
                                                               are getting into.                                                                        Smith
      is necessarily absent.                                                                                          Burr              Gregg
                                                                 The PRESIDING OFFICER. The Sen-                                                        Snowe
        The PRESIDING OFFICER. Are there                                                                              Chafee            Hagel
                                                                                                                                                        Specter
                                                               ator from New Hampshire.                               Chambliss         Hatch
      any other Senators in the Chamber de-                                                                                                             Stevens
                                                                 Mr. GREGG. Mr. President, I am sure                  Coburn            Hutchison
      siring to vote?                                                                                                 Cochran           Inhofe          Sununu
                                                               this amendment is well-intentioned, as
        The yeas and nays resulted—yeas 44,                                                                           Coleman           Isakson         Talent
                                                               are all amendments from the Senator                                                      Thomas
      nays 55, as follows:                                                                                            Collins           Jeffords
                                                               from New Jersey, but essentially it cre-               Cornyn            Kyl             Thune
                  [Rollcall Vote No. 296 Leg.]                                                                                                          Vitter
                                                               ates an unnecessary level of paperwork                 Craig             Lott
                           YEAS—44                                                                                    Crapo             Lugar           Voinovich
                                                               for the enrollee in the plan, and in ad-
      Akaka             Feingold           Mikulski                                                                   DeMint            Martinez        Warner
                                                               dition, as a practical matter, it enters
      Baucus            Feinstein          Murray                                                                                      NOT VOTING—1
      Bayh              Harkin             Nelson (FL)
                                                               into a portion of the Medicare trust
      Biden             Inouye             Nelson (NE)         fund which we have not addressed in                                      Corzine
      Bingaman          Jeffords           Obama               this reconciliation bill, which is the                   The PRESIDING OFFICER. On this
      Boxer             Johnson            Pryor
      Byrd              Kennedy
                                                               Part D section of the trust fund, that                 vote, the yeas are 43, the nays are 56.
                                           Reed
      Cantwell          Kerry                                  being the new drug program the theory                  Three-fifths of the Senators duly cho-
                                           Reid
      Carper            Kohl
                                           Rockefeller         being that program should be allowed                   sen and sworn not having voted in the
      Clinton           Landrieu                               to get rolling before it gets amended.
      Conrad            Lautenberg
                                           Salazar                                                                    affirmative, the motion is rejected.
      Dayton            Leahy
                                           Sarbanes              There are a number of regulations                    The point of order is sustained, and the
                                           Schumer             coming out from CMS relative to mak-
      Dodd              Levin                                                                                         amendment falls.
                                           Stabenow
      Dorgan            Lieberman                              ing sure the beneficiaries are ade-                      Mr. GREGG. Mr. President, I move to
      Durbin            Lincoln            Wyden
                                                               quately protected under their plan, and                reconsider the vote.
                          NAYS—55                              I believe they pick up the issues that                   Mr. BENNETT. I move to lay that
      Alexander         DeWine             McConnell           are raised by the Senator from New                     motion on the table. The motion to lay
      Allard            Dole               Murkowski           Jersey.                                                on the table was agreed to.
      Allen             Domenici           Roberts
      Bennett           Ensign
                                                                 That being said, I make a point of                     Mr. GREGG. I ask unanimous con-
                                           Santorum
      Bond              Enzi               Sessions
                                                               order that the pending amendment is                    sent that 10 minutes be given to the
      Brownback         Frist              Shelby              not germane to the measure now before                  Senators from Hawaii, to be divided as
      Bunning           Graham             Smith               the Senate, and I raise that point of                  they deem appropriate.
      Burns             Grassley
      Burr              Gregg
                                           Snowe               order under section 305 of the Budget                    The PRESIDING OFFICER. Without
                                           Specter             Act.
      Chafee            Hagel                                                                                         objection, it is so ordered.
                                           Stevens
      Chambliss         Hatch
                                           Sununu
                                                                 Mr. LAUTENBERG. Mr. President,                         The Senator from Hawaii.
      Coburn            Hutchison                              pursuant to the relevant sections of                     (The remarks of Mr. INOUYE, Mr.
      Cochran           Inhofe             Talent
      Coleman           Isakson            Thomas              the Congressional Budget Act of 1974, I                AKAKA and Mr. BYRD are printed in to-
      Collins           Kyl                Thune               move to waive those sections for con-                  day’s RECORD under ‘‘Morning Busi-
      Cornyn            Lott               Vitter
                                                               sideration of the pending amendment.                   ness.’’)
      Craig             Lugar              Voinovich
      Crapo             Martinez           Warner
                                                                 Mr. GREGG. Mr. President, I ask for                    The PRESIDING OFFICER. What is
      DeMint            McCain                                 the yeas and nays.                                     the will of the Senate? The Senator
                                                                 The PRESIDING OFFICER. Is there a                    from North Dakota.
                       NOT VOTING—1
                                                               sufficient second?                                       Mr. CONRAD. Mr. President, I ask
                        Corzine
                                                                 There appears to be a sufficient sec-                the Chair of the committee if it would
        The PRESIDING OFFICER. On this                         ond.                                                   be appropriate now to go to the Cant-
      vote, the yeas are 44, the nays are 55.                    Mr. GREGG. Mr. President, I would                    well amendment?
      Three-fifths of the Senators duly cho-                   simply announce that this is a 10-                       Mr. GREGG. Absolutely.
      sen and sworn not having voted in the                    minute vote and it will be 10.                           Mr. CONRAD. Mr. President, I direct
      affirmative, the motion is not agreed                      The PRESIDING OFFICER. The                           my colleagues’ attention to the Cant-
      to. The point of order is sustained and                  question is on agreeing to the motion.                 well amendment and indicate that we
      the amendment falls.                                     The clerk will call the roll.                          are now trying to make an analysis of



VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060    PO 00000   Frm 00029   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.055   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 31 of 91
      S12314                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      where we are with respect to the fund-                       The amendment follows:                                                   NAYS—51
      ing of the bill, where we are with re-                    On page 101, strike lines 12 through 19 and             Akaka             Dole            Martinez
      spect to the requirements the Senate is                                                                           Alexander         Domenici        McConnell
                                                              insert the following:
                                                                                                                        Allard            Ensign          Murkowski
      under under reconciliation, to make                       (d) RECEIPTS.—                                          Allen             Enzi            Roberts
      certain that all of this fits together.                   (1) IN GENERAL.—Notwithstanding any                     Bennett           Frist           Santorum
      That is the reason for the delay at this                other provision of law, of the amount of ad-              Bond              Graham          Sessions
      moment, to make certain that the                        justed bonus, rental, and royalty receipts de-            Brownback         Grassley        Shelby
                                                              rived from oil and gas leasing and operations             Bunning           Gregg           Smith
      numbers work correctly.                                                                                           Burns             Hagel           Specter
        With that, we will go to the Cantwell                 authorized under this section—
                                                                                                                        Burr              Hatch           Stevens
      amendment.                                                (A) 50 percent shall be paid to the State of            Chambliss         Hutchison       Sununu
                                                              Alaska; and                                               Coburn            Inhofe          Talent
        The PRESIDING OFFICER. The Sen-
                                                                (B) the balance shall be deposited into the             Cochran           Inouye          Thomas
      ator from Washington.                                   Treasury as miscellaneous receipts.                       Cornyn            Isakson         Thune
                      AMENDMENT NO. 2400                        (2) JUDICIAL REVIEW.—                                   Craig             Kyl             Vitter
        Ms. CANTWELL. Mr. President, I                          (A) IN GENERAL.—Any civil action brought                Crapo             Lott            Voinovich
      rise to offer a perfecting amendment.                   by the State of Alaska to compel an increase              DeMint            Lugar           Warner
      In order to raise the $2.4 billion                      in the percentage of revenues to be paid                                 NOT VOTING—1
      claimed in the underlying bill, it as-                  under paragraph (1) shall be filed not later                                Corzine
      sumes a 50–50 split of oil leasing reve-                than 90 days after the date of enactment of
                                                              this Act.                                                   The amendment (No. 2400) was re-
      nues between the State of Alaska and                                                                              jected.
                                                                (B) LIMITATION.—
      the Federal Treasury.                                     (i) IN GENERAL.—If a civil action is filed by             Mr. MCCONNELL. I move to recon-
        But my colleagues may be surprised                    the State of Alaska under subparagraph (A),               sider the vote.
      to learn that whether or not this 50–50                 until such time as a final nonappealable                    Mr. SANTORUM. I move to lay that
      legislative language is upheld in court                 order is issued with respect to the civil ac-             motion on the table.
      is a matter of some uncertainty. The                    tion and notwithstanding any other provi-                   The motion to lay on the table was
      State of Alaska has long maintained it                  sion of law—                                              agreed to.
      is due 90 percent of these revenues, so                   (I) production of oil and gas from the Arc-
                                                                                                                         AMENDMENTS NOS. 2350, 2378, 2418, 2411, 2413, EN
      instead of the Federal Government get-                  tic National Wildlife Refuge is prohibited;
                                                                                                                                          BLOC
      ting $2.4 billion, it would only get $480                 (II) no action shall be taken to establish or
                                                              implement the competitive oil and gas leas-                 Mr. GREGG. Mr. President, I ask
      million.                                                                                                          unanimous consent the following
                                                              ing program authorized under this title; and
        If you don’t believe me, the State of                                                                           amendments, which are acceptable to
                                                                (III) no leasing or other development lead-
      Alaska just passed a resolution this                    ing to the production of oil or gas from the              both sides, upon being sent to the desk,
      spring, saying it would insist on the 90–               Arctic National Wildlife Refuge shall be un-              be agreed to, en bloc, and the motions
      10 split. I ask my colleagues to be                     dertaken.                                                 to reconsider be laid upon the table.
      faithful in telling the taxpayers the                     (ii) FINAL ORDER.—If the court issues a                   The PRESIDING OFFICER. Without
      real story. Let’s support maintaining                   final nonappealable order with respect to a               objection, it is so ordered.
      the 50–50 and not moving forward until                  civil action filed under subparagraph (A)
                                                                                                                          The amendments, en bloc, were
      we are certain that is $2.4 billion of                  that increases the percentage of revenues to
                                                              be paid to the State of Alaska—                           agreed to, as follows:
      revenue for the Federal Government.                                                                                              AMENDMENT NO. 2350
                                                                (I) production of oil and gas from the Arc-
        The PRESIDING OFFICER. The Sen-                                                                                 (Purpose: To amend the definition of inde-
                                                              tic National Wildlife Refuge is prohibited;
      ator from Alaska.                                       and                                                         pendent student to include students who
        Mr. STEVENS. Mr. President, this                        (II) no leasing or other development lead-                are homeless children and youths and un-
      bill already contains the first portion                 ing to the production of oil or gas from the                accompanied youths for purposes of the
      of this amendment: Notwithstanding                      Arctic National Wildlife Refuge shall be un-                need analysis under the Higher Education
      any other provision of law, the existing                dertaken.                                                   Act of 1965)
      law applies to this area of Alaska.                       The PRESIDING OFFICER. The                                On page 647, between lines 11 and 12, insert
        This is a vindictive amendment. It                    question is on agreeing to the amend-
                                                                                                                        the following:
      says if my State decides to pursue a                                                                                (3) in subsection (d)—
                                                              ment.                                                       (A) in paragraph (2), by striking ‘‘is an or-
      legal right that all production in
                                                                Ms. CANTWELL. I ask for the yeas                        phan or ward of the court’’ and inserting ‘‘is
      ANWR would stop. There would be no
                                                              and nays.                                                 an orphan, in foster care, or ward of the
      further production. I don’t understand                                                                            court or was in foster care’’;
      this amendment because we have been                       The PRESIDING OFFICER. Is there a
                                                              sufficient second? There is a sufficient                    (B) in paragraph (6), by striking ‘‘or’’ after
      a State since 1958. We have not filed                                                                             the semicolon;
      that suit. That resolution passed the                   second.                                                     (C) by redesignating paragraph (7) as para-
      State legislature almost every year,                      The clerk will call the roll.                           graph (8); and
      and it is an act of the State legislature,                The legislative clerk called the roll.                    (D) by inserting after paragraph (6) the fol-
      but the Federal law governs this area                     Mr. DURBIN. I announce that the                         lowing:
      and it says a 50–50 split, which applies                Senator from New Jersey (Mr. CORZINE)                       ‘‘(7) has been verified as both a homeless
                                                                                                                        child or youth and an unaccompanied youth,
      to all States.                                          is necessarily absent.                                    as such terms are defined in section 725 of
        I yield to the Senator from New Mex-                    The PRESIDING OFFICER (Mr.                              the McKinney-Vento Homeless Assistance
      ico what time we have left.                             CORNYN). Are there any Senators in the                    Act (42 U.S.C. 11434a), during the school year
        Mr. DOMENICI. Mr. President, we                       Chamber desiring to vote?                                 in which the application for financial assist-
      had a very critical vote. You all lis-                    The result was announced—yeas 48,                       ance is submitted, by—
      tened to it. This is nothing but an                     nays 51, as follows:                                        ‘‘(A) a local educational agency liaison for
      amendment to try to come in the back                                                                              homeless children and youths, as designated
      door and kill ANWR. It is absolutely                               [Rollcall Vote No. 298 Leg.]                   under section 722(g)(1)(J)(ii) of the McKin-
      wrong. We ought not even be consid-                                           YEAS—48                             ney-Vento Homeless Assistance Act (42
                                                                                                                        U.S.C. 11432(g)(1)(J)(ii));
      ering it. The very same people who                      Baucus             Dorgan                McCain
                                                              Bayh               Durbin                Mikulski           ‘‘(B) a director of a homeless shelter, tran-
      wanted to kill it for 30 years are mak-                                                                           sitional shelter, or independent living pro-
                                                              Biden              Feingold              Murray
      ing this last-ditch effort. The amend-                  Bingaman           Feinstein             Nelson (FL)      gram; or
      ment should not even be on the floor,                   Boxer              Harkin                Nelson (NE)        ‘‘(C) a financial aid administrator; or’’.
      and we ought to kill it. If it doesn’t                  Byrd               Jeffords              Obama                           AMENDMENT NO. 2378
                                                              Cantwell           Johnson               Pryor
      take 10 minutes we ought to do it in 8                  Carper             Kennedy               Reed                   (Purpose: To fund justice programs)
      minutes.                                                Chafee             Kerry                 Reid               At the end of title VIII, insert the fol-
        The PRESIDING OFFICER. The                            Clinton            Kohl                  Rockefeller      lowing:
      clerk will report the amendment.                        Coleman            Landrieu              Salazar
                                                                                                                        SEC. ll. JUSTICE PROGRAMS.
        The legislative clerk read as follows:                Collins            Lautenberg            Sarbanes
                                                              Conrad             Leahy                 Schumer            (a) IN GENERAL.—The Secretary          of the
        The Senator from Washington [Ms. CANT-                Dayton             Levin                 Snowe            Treasury—
      WELL] proposes an amendment numbered                    DeWine             Lieberman             Stabenow           (1) for fiscal year 2006, out of the funds in
      2400.                                                   Dodd               Lincoln               Wyden            the Treasury not otherwise appropriated,




VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000    Frm 00030   Fmt 0624   Sfmt 0634     E:\CR\FM\G03NO6.069   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 32 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12315
      shall pay to the Attorney General, by De-               not otherwise appropriated shall pay to the            and inserting ‘‘Subject to subsection (d), the
      cember 31, 2005, the amounts listed in sub-             Librarian of the Congress the amounts pro-             assistance authorized under section 2101(a) of
      section (b) that are to be provided for fiscal          vided by November 1 of each such fiscal year.          this title shall be afforded under 1 of the
      year 2006; and                                            (b) AMOUNTS PROVIDED.—The amounts re-                following plans, at the election of the
        (2) for each subsequent fiscal year provided          ferred to in subsection (a), which shall be in         veteran—’’;
      in subsection (b) out of funds in the Treasury          addition to funds appropriated for each fiscal            (2) by amending subsection (b) to read as
      not otherwise appropriated shall pay to the             year, are: $1,300,000 for fiscal year 2006,            follows:
      Attorney General the amounts provided by                $1,300,000 for fiscal year 2007, $1,300,000 for fis-      ‘‘(b) Subject to subsection (d), and except
      November 1 of each such fiscal year.                    cal year 2008, $1,300,000 for fiscal year 2009,        as provided in section 2104(b) of this title,
        (b) AMOUNTS PROVIDED.—The amounts re-                 and $1,300,000 for fiscal year 2010, to fund the       the assistance authorized by section 2101(b)
      ferred to in subsection (a), which shall be in          Copyright Royalty Judges Program as au-                of this title may not exceed the actual cost,
      addition to funds appropriated for each fiscal          thorized under section 803(e)(1)(B) of title 17,       or in the case of a veteran acquiring a resi-
      year, are—                                              United States Code.                                    dence already adapted with special features,
        (1) $8,000,000 for fiscal year 2006, $17,000,000        (c) OBLIGATION OF FUNDS. The Librarian of            the fair market value, of the adaptations de-
      for fiscal year 2007, $15,000,000 for fiscal year       the Congress shall—                                    termined by the Secretary under such sec-
      2008, $10,000,000 for fiscal year 2009, and               (1) receive funds under this section for fis-        tion 2101(b) to be reasonably necessary.’’; and
      $10,000,000 for fiscal year 2010, to fund the           cal years 2006 through 2010; and                          (3) by adding at the end the following new
      Bulletproof Vest Partnership Program as au-               (2) accept such funds in the amounts pro-            subsection:
      thorized under section 4 of Public Law 108–             vided which shall be obligated for the pur-               ‘‘(d)(1) The aggregate amount of assistance
      372.                                                    poses stated in this section by March 1 of             available to a veteran under sections 2101(a)
        (2) $3,700,000 for fiscal year 2006, $6,300,000       each fiscal year.                                      and 2102A of this title shall be limited to
      for fiscal year 2007, $5,000,000 for fiscal year                       AMENDMENT NO. 2418
                                                                                                                     $50,000.
      2008, $5,000,000 for fiscal year 2009, and                                                                        ‘‘(2) The aggregate amount of assistance
      $5,000,000 for fiscal year 2010, to fund DNA            (Purpose: To amend chapter 21 of title 38,             available to a veteran under sections 2101(b)
      Training and Education for Law Enforce-                   United States Code, to enhance adaptive              and 2102A of this title shall be limited to the
      ment, Correctional Personnel, and Court Of-               housing assistance for disabled veterans             lesser of—
      ficers as authorized by section 303 of Public             and to reduce the amount appropriated for               ‘‘(A) the sum of the cost or fair market
      Law 108–405.                                              the Medicaid Integrity Program by                    value described in section 2102(b) of this title
        (3) $8,000,000 for fiscal year 2006, $12,000,000        $1,000,000 for each of fiscal years 2007             and the actual cost of acquiring the adapta-
      for fiscal year 2007, $10,000,000 for fiscal year         through 2010)                                        tions described in subsection (a); and
      2008, $10,000,000 for fiscal year 2009, and               On page 90, between lines 19 and 20, insert             ‘‘(B) $10,000.
      $10,000,000 for fiscal year 2010, to fund DNA           the following:                                            ‘‘(3) No veteran may receive more than 3
      Research and Development as authorized by                  Subtitle D—Adaptive Housing Assistance              grants of assistance under this chapter.’’.
      section 305 of Public Law 108–405.                                                                                (c) CLERICAL AMENDMENT.—The table of
                                                              SEC. 2031. SHORT TITLE.                                sections at the beginning of such chapter of
        (4) $500,000 for fiscal year 2006, $500,000 for
                                                                This subtitle may be cited as the ‘‘Spe-             such title is amended by inserting after the
      fiscal year 2007, $500,000 for fiscal year 2008,
                                                              cially Adapted Housing Grants Improve-                 item relating to section 2102 the following:
      $500,000 for fiscal year 2009, and $500,000 for
                                                              ments Act of 2005’’.                                   ‘‘2102A. Assistance for veterans residing tem-
      fiscal year 2010, to fund the National Foren-
                                                              SEC. 2032. ADAPTIVE HOUSING ASSISTANCE FOR                             porarily in housing owned by
      sic Science Commission as authorized by sec-
                                                                          DISABLED    VETERANS  RESIDING                             family member.’’.
      tion 306 of Public Law 108–405.                                     TEMPORARILY IN HOUSING OWNED
        (5) $1,000,000 for fiscal year 2006, $1,000,000                                                              SEC. 2033. GAO REPORTS.
                                                                          BY A FAMILY MEMBER.
      for fiscal year 2007, $1,000,000 for fiscal year                                                                 (a) INTERIM REPORT.—Not           later than 3
                                                                (a) ASSISTANCE AUTHORIZED.—Chapter 21 of
      2008, $1,000,000 for fiscal year 2009, and                                                                     years after the date of enactment of this
                                                              title 38, United States Code, is amended by
      $1,000,000 for fiscal year 2010, to fund DNA                                                                   Act, the Comptroller General of the United
                                                              inserting after section 2102 the following new
      Identification of Missing Persons as author-                                                                   States shall submit to Congress an interim
                                                              section:
      ized by section 308 of Public Law 108–405.                                                                     report on the implementation of section
        (6) $8,000,000 for fiscal year 2006, $27,000,000      ‘‘§ 2102A. Assistance for veterans residing            2102A of title 38, United States Code (as
      for fiscal year 2007, $26,000,000 for fiscal year          temporarily in housing owned by a family            added by section 2(a)), by the Department of
      2008, $25,000,000 for fiscal year 2009, and                member                                              Veterans Affairs.
      $25,000,000 for fiscal year 2010, to fund Capital          ‘‘(a) ASSISTANCE AUTHORIZED.—If a disabled            (b) FINAL REPORT.—Not later than 5 years
      Litigation Improvement Grants as author-                veteran described in subsection (a)(2) or              after the date of enactment of this Act, the
      ized by sections 421, 422, and 426 of Public            (b)(2) of section 2101 of this title resides, but      Comptroller General of the United States
      Law 108–405.                                            does not intend to permanently reside, in a            shall submit to Congress a final report on
        (7) $2,500,000 for fiscal year 2006, $3,000,000       residence owned by a member of such vet-               the implementation of such section 2102A by
      for fiscal year 2007, $2,500,000 for fiscal year        eran’s family, the Secretary may assist the            the Department of Veterans Affairs.
      2008, $2,500,000 for fiscal year 2009, and              veteran in acquiring such adaptations to                 On page 166, strike lines 12 through 15 and
      $2,500,000 for fiscal year 2010, to fund the Kirk       such residence as are determined by the Sec-           insert the following:
      Bloodsworth Post-Conviction DNA Testing                 retary to be reasonably necessary because of             ‘‘(A) for fiscal year 2006, $50,000,000;
      Grant Program as authorized by sections 412             the veteran’s disability.                                ‘‘(B) for each of fiscal years 2007 and 2008,
      and 413 of Public Law 108–405.                             ‘‘(b) LIMITATION ON AMOUNT OF ASSIST-               $49,000,000;
        (8) $1,000,000 for fiscal year 2006, $1,000,000       ANCE.—Subject to section 2102(d) of this title,          ‘‘(C) for each of fiscal years 2009 and 2010,
      for fiscal year 2007, $1,000,000 for fiscal year        the assistance authorized under subsection             $74,000,000; and
      2008, $1,000,000 for fiscal year 2009, and              (a) may not exceed—                                      ‘‘(D) for fiscal year 2011 and each fiscal
      $1,000,000 for fiscal year 2010, to fund In-               ‘‘(1) $10,000, in the case of a veteran de-         year thereafter, $75,000,000.
      creased Resources for Enforcement of Crime              scribed in section 2101(a)(2) of this title; or                       AMENDMENT NO. 2411
      Victims Rights, Crime Victims Notification                 ‘‘(2) $2,000, in the case of a veteran de-          (Purpose: To authorize the continued provi-
      Grants as authorized by section 1404D of the            scribed in section 2101(b)(2) of this title.             sion of certain adult day health care serv-
      Victims of Crime Act of 1984 (42 U.S.C.                    ‘‘(c) LIMITATION ON NUMBER OF RESIDENCES              ices or medical adult day care services
      10603d).                                                SUBJECT TO ASSISTANCE.—A veteran eligible                under a State Medicaid plan)
        (c) OBLIGATION OF FUNDS.—The Attorney                 for assistance authorized under subsection               On page 188, after line 24, add the fol-
      General shall—                                          (a) may only be provided such assistance               lowing:
        (1) receive funds under this section for fis-         with respect to 1 residence.                           SEC. 6037. AUTHORITY TO CONTINUE PROVIDING
      cal years 2006 through 2010; and                           ‘‘(d) REGULATIONS.—Assistance under this                        CERTAIN ADULT DAY HEALTH CARE
        (2) accept such funds in the amounts pro-             section shall be provided in accordance with                       SERVICES OR MEDICAL ADULT DAY
      vided which shall be obligated for the pur-             such regulations as the Secretary may pre-                         CARE SERVICES.
      poses stated in this section by March 1 of              scribe.                                                  The Secretary shall not—
      each fiscal year.                                          ‘‘(e) TERMINATION OF AUTHORITY.—The au-               (1) withhold, suspend, disallow, or other-
      SEC.ll. COPYRIGHT PROGRAM.                              thority to provide assistance under sub-               wise deny Federal financial participation
        (a) IN GENERAL.—The Secretary          of the         section (a) shall expire at the end of the 5-          under section 1903(a) of the Social Security
      Treasury—                                               year period beginning on the date of enact-            Act (42 U.S.C. 1396b(a)) for adult day health
        (1) for fiscal year 2006, out of the funds in         ment of the Specially Adapted Housing                  care services or medical adult day care serv-
      the Treasury not otherwise appropriated,                Grants Improvements Act of 2005.’’.                    ices, as defined under a State medicaid plan
      shall pay to the Librarian of the Congress,                (b) LIMITATIONS ON ADAPTIVE HOUSING AS-             approved on or before 1982, if such services
      by December 31, 2005, the amounts listed in             SISTANCE.—Section 2102 of such title is                are provided consistent with such definition
      subsection (b) that are to be provided for fis-         amended—                                               and the requirements of such plan; or
      cal year 2006; and                                         (1) in subsection (a), by striking ‘‘The as-          (2) withdraw Federal approval of any such
        (2) for each subsequent fiscal year provided          sistance authorized by section 2101(a)’’ and           State plan or part thereof regarding the pro-
      in subsection (b) out of funds in the Treasury          all that follows through ‘‘any one case—’’             vision of such services.




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                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 33 of 91
      S12316                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
                     AMENDMENT NO. 2413                       fitted with a material called Zylon.                   more in revenue than was mandated by
         (Purpose: To provide additional ProGAP               The Justice Department has since an-                   the Budget Resolution instructions. I
               assistance to certain students)                nounced that Zylon fails to provide the                thank our colleagues for supporting
        On page 369, between lines 11 and 12, insert          intended level of ballistic resistance.                our amendment and agreeing to use
      the following:                                          Unfortunately, an estimated 200,000                    that additional money to fund some of
        ‘‘(D) the Secretary—                                  vests outfitted with that material have                these important priorities that con-
        ‘‘(i) shall determine if an increase in the
      amount of a grant under this section is need-
                                                              been purchased—many with Bullet-                       tinue to lack adequate Federal re-
      ed to help encourage students to pursue                 proof Vest Partnership funds—and now                   sources.
      courses of study that are important to the              must be replaced. Law enforcement                                   AMENDMENT NO. 2413
      current and future national, homeland, and              agencies nationwide are struggling to                    Mr. WARNER. Mr. President, I rise
      economic security needs of the United                   find the funds necessary to replace de-                today in support of an amendment to
      States; and                                             fective vests with ones that will actu-                S. 1932, the deficit reduction bill. I am
        ‘‘(ii) after making the determination de-             ally stop bullets and save lives. Our                  pleased to be joined in this bipartisan
      scribed in clause (i), may increase the max-            amendment will help them replace
      imum and minimum award level established
                                                                                                                     effort with Senators LIEBERMAN, ROB-
                                                              those faulty vests.                                    ERTS, DURBIN, and ALLEN. I am grateful
      under subparagraph (A) by not more than 25                Our amendment also provides over
      percent, for students eligible for a grant                                                                     to each of them for working closely
      under this section who are pursuing a degree
                                                              $216,000,000 for programs authorized by                with me in crafting this amendment. In
      with a major in mathematics, science, tech-             the Justice For All Act of 2004, a land-               addition, I would like to thank Chair-
      nology, engineering, or a foreign language              mark law that enhances protections for                 man ENZI and Senator KENNEDY for
      that is critical to the national security of            victims of Federal crimes, increases                   working closely with me in support of
      the United States; and                                  Federal resources available to State                   this amendment.
        ‘‘(E) not later than September 30 of each             and local governments to combat                          Under the deficit reduction bill, cer-
      fiscal year, the Secretary shall notify Con-            crimes with DNA technology, and pro-
      gress, in writing, of the Secretary’s deter-
                                                                                                                     tain educational programs are author-
                                                              vides safeguards to prevent wrongful                   ized or reauthorized that provide Fed-
      mination with respect to subparagraph (D)(i)
      and of any increase in award levels under
                                                              convictions and executions. The bipar-                 eral dollars to help low-income stu-
      subparagraph (D)(ii).                                   tisan amendment that Senator SPEC-                     dents with the costs associated with
                     AMENDMENT NO. 2378
                                                              TER and I propose will, among other                    higher education. These programs in-
        Mr. LEAHY. Mr. President, I am                        things, allow for training of criminal                 clude: (1) Pell grants—in fiscal year
      thrilled that the Senate has agreed to                  justice and medical personnel in the                   2005 $12.787 billion was spent on Pell
      accept by unanimous consent to the                      use of DNA evidence, including evi-                    grants by the Federal Government; (2)
      Budget Reconciliation Act, S. 1932, a                   dence for post-conviction DNA testing.                 ProGAP grants—a new mandatory
      bipartisan amendment offered by Sen-                    It will promote the use of DNA tech-                   spending program consisting of ap-
      ator SPECTER and myself to allocate                     nology to identify missing persons.                    proximately $1.45 billion a year that is
      the extra $278,000,000 in revenue pro-                  With these funds, State and local au-                  designed to provide supplemental
      vided from the Judiciary Committee                      thorities will be better able to imple-                grants to low-income Pell grant recipi-
      markup on reconciliation to supple-                     ment and enforce crime victims’ rights                 ents, regardless of their majors; and (3)
      ment funding for the Bulletproof Vest                   laws, including Federal victim and wit-                SMART grants—a new mandatory
      Partnership, programs authorized by                     ness assistance programs. State and                    spending program consisting of $450
      the Justice For All Act, and the Copy-                  locals can apply for grants to develop                 million a year that is designed to pro-
      right Royalty Judges Program.                           and implement victim notification sys-                 vide supplemental grants to low-in-
        I thank my good friend and col-                       tems so that they can share informa-                   come Pell grant recipients in their
      league, Senator SPECTER, for his lead-                  tion on criminal proceedings in a time-                third and fourth year of college who
      ership on and commitment to seeing                      ly and efficient manner. The amend-                    are pursuing majors in math, science,
      that these important programs are                       ment will also help improve the qual-                  engineering, and foreign languages.
      funded as much as we can during these                   ity of legal representation provided to                  These initiatives are commendable. I
      tough fiscal times. As Chairman and                     both indigent defendants and the pub-                  support them. Each program will sig-
      Ranking Member of the Judiciary                         lic in State capital cases.                            nificantly increase dollars targeted to
      Committee, Senator SPECTER and I                          Last, but certainly not least, our                   low-income individuals who wish to
      have joined forces before to champion                   amendment provides $6,500,000 over 5                   pursue higher education to help them
      funding for these programs. I am privi-                 years for the Copyright Royalty Judges                 with the costs associated with their
      leged to partner with him again in that                 Program at the Library of Congress.                    schooling.
      pursuit.                                                The Copyright Royalty Distribution                       But while I support these programs, I
        The Judiciary Committee markup on                     Reform Act of 2004 created a new pro-                  also fervently believe that when the
      its    reconciliation  title   provided                 gram in the Library to replace most of                 Congress expends taxpayer money, it
      $278,000,000 more in revenue than was                   the current statutory responsibilities                 ought to do so in a manner that meets
      mandated by the budget resolution in-                   of the Copyright Arbitration Royalty                   our Nation’s needs.
      structions. We now seek to include ad-                  Panels program. The Copyright Roy-                       The fact of the matter is that should
      ditional provisions within the jurisdic-                alty Judges Program will determine                     this bill become law, the Federal Gov-
      tion of our committee into the Senate                   distributions of royalties that are dis-               ernment will spend, next year alone,
      reconciliation package. Our bipartisan                  puted and will set or adjust royalty                   approximately $14.5 billion on grants to
      amendment funds a number of Judici-                     rates, terms and conditions, with the                  help low-income students attend higher
      ary programs that enjoyed broad bipar-                  exception of satellite carriers’ compul-               education. I repeat $14.5 billion.
      tisan support when Congress author-                     sory licenses. Our amendment would                       Of this $14.5 billion, though, without
      ized them. These mandatory spending                     help pay the salaries and related ex-                  this amendment, only $450 million each
      changes would simply spend some of                      penses of the three royalty judges and                 year will be specifically targeted to-
      the additional revenue that we raised                   three administrative staff required by                 wards encouraging students to enter
      through increases in immigration fees                   law to support this program.                           courses of study that are critical to our
      during our markup.                                        The Specter-Leahy amendment will                     national security. That amounts to
        Our proposal would provide $60,000,000                give to programs that help protect po-                 only about 3 percent of the total
      over the next 5 years for such initia-                  lice officers and victims of violent                   amount spent. I repeat, 3 percent. That
      tives as the Bulletproof Vest Partner-                  crime, allow State and local govern-                   is astonishing to me.
      ship Program, which helps law enforce-                  ments to combat crimes with DNA                          It is astonishing to me because a key
      ment agencies purchase or replace body                  technology, and provide safeguards to                  component of America’s national,
      armor for their rank-and-file officers.                 prevent wrongful convictions and exe-                  homeland, and economic security in
      Recently, concerns over body armor                      cutions. Chairman SPECTER and I are                    the post 9/11 world of global terrorism
      safety surfaced when a Pennsylvania                     proud that the Judiciary Committee                     is having home-grown, highly-trained
      police officer was shot and critically                  was able to agree to a reconciliation                  scientific minds to compete in today’s
      wounded through his new vest out-                       package that will provide $278 million                 one-world market. Yet alarmingly,



VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00032   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.048   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 34 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12317
      America faces a huge shortage of these                  nomic benefit, has declined steadily                   centives to encourage individuals to
      technical minds.                                        relative to the rest of the world for                  pursue studies critical fields. The
        Strikingly, America faced a similar                   decades, and now stands at only 52 per-                amendment accomplishes this goal by
      situation nearly 50 years ago. On Octo-                 cent of the total.                                     allowing the Secretary of Education to
      ber 4, 1957, the Soviet Union success-                    In the past, this country has been                   award larger ProGAP grants to stu-
      fully launched the first manmade sat-                   able to compensate for its shortfall in                dents majoring in programs of math,
      ellite—Sputnik—into        space.   The                 homegrown, highly trained, technical                   science, engineering and foreign lan-
      launch shocked America, as many of us                   and scientific talent by importing the                 guages that are key to our national
      had assumed that we were preeminent                     necessary brain power from foreign                     and homeland security.
      in the scientific fields. While prior to                countries. However, with increased                       While I believe studying the liberal
      that unforgettable day America en-                      global competition, this is becoming                   arts is an important component to hav-
      joyed an air of post World War II invin-                harder and harder. More and more of                    ing an enlightened citizenry, we simply
      cibility, afterwards our Nation recog-                  our imported brain power is returning                  must do more to address this glaring
      nized that there was a cost to its com-                 home to their native countries. And re-                shortage in other critical fields.
      placency. We had fallen behind.                         grettably, as they return home, many                     America can ill afford a 21st century
        In the months and years to follow, we                 American high-tech jobs are being                      Sputnik. This amendment will make
      would respond with massive invest-                      outsourced with them.                                  sure that additional monies get focused
      ments in science, technology and engi-                    Simply put, in today’s one world                     on training the highly skilled minds
      neering.                                                market, while we in America are sleep-                 that are needed in the 21st century to
        In 1958, Congress passed the National                 ing at night, the other half of the world              protect our national, economic, and
      Defense Education Act to inspire and                    is thinking and contriving of every pos-               homeland security.
      induce individuals to advance in the                    sible way to compete against us eco-                     I urge my colleagues to support this
      fields of science and math. In addition,                nomically. Moreover, while we are                      amendment.
      President Eisenhower signed into law                    sleeping at night, there are persons in                  Mr. GREGG. The game plan is to go
      legislation that established the Na-                    this world who are awake, working                      to the Santorum or Baucus amend-
      tional Aeronautics and Space Adminis-                   hard in support of efforts aimed at tak-               ment.
      tration, NASA. And a few years later,                   ing our security and our freedoms away                   I suggest the absence of a quorum.
      in 1961, President Kennedy set the Na-                  from us.                                                 The PRESIDING OFFICER. The
      tion’s goal of landing a man on the                       Fortunately, we can do something                     clerk will call the roll.
      Moon within the decade.                                 here today to help us become better                      The bill clerk proceeded to call the
        These investments paid off. In the                    prepared. Certainly, the SMART grant                   roll.
      years following the Sputnik launch,                     program is an important step in the                      Mr. CONRAD. Mr. President, I ask
      America not only closed the scientific                  right direction. But while the SMART                   unanimous consent that the order for
      and technological gap with the Soviet                   grant program is one small step for                    the quorum call be rescinded.
      Union, we surpassed them. Our renewed                   man, it is not a giant leap for America.                 The PRESIDING OFFICER. Without
      commitment to science and technology                    More has to be done. Remember, even                    objection, it is so ordered.
      not only enabled us to safely land a                    with the SMART grant program, next                                  AMENDMENT NO. 2383
      man on the Moon in 1969, it spurred re-                 year only 3 percent of the $14.5 billion                 Mr. CONRAD. The next amendment
      search and development which helped                     targeted towards low-income students                   in order is the Baucus amendment.
      ensure that our modern military has                     will be focused on meeting our security                  The PRESIDING OFFICER. The Sen-
      always had the best equipment and                       needs.                                                 ator from Montana.
      technology in the world. These post-                      That is why I am offering this                         Mr. BAUCUS. I call up amendment
      Sputnik investments also laid the                       amendment       today.    The    Warner,               2383 and ask for its immediate consid-
      foundation for the creation of some of                  Lieberman, Roberts, Durbin, and Allen                  eration.
      the most significant technologies of                    amendment is simple. It simply allows                    The PRESIDING OFFICER. The
      modern life, including personal com-                    the Secretary of Education to provide                  clerk will report.
      puters, and the Internet.                               to low-income Pell grant recipients                      The legislative clerk read as follows:
        Why is any of this important to us                    who pursue majors at the college and                     The Senator from Montana [Mr. BAUCUS]
      today? Because as the old saying goes:                  university level in critical national                  proposes an amendment numbered 2383.
      he or she who fails to remember his-                    and homeland security fields of math,                    Mr. BAUCUS. Mr. President, I ask
      tory is bound to repeat it.                             science, engineering, and foreign lan-                 unanimous consent the reading of the
        The truth of the matter is that today                 guages, an additional sum of money on                  amendment be dispensed with.
      America’s education system is coming                    top of their normal ProGAP grants.                       The PRESIDING OFFICER. Without
      up short in training the highly tech-                   The amendment gives incentives and                     objection, it is so ordered.
      nical American minds that we now                        inducements to students who accept                       The amendment is as follows:
      need and will continue to need far into                 the challenge of pursuing the more rig-                (Purpose: To exclude discounts provided to
      the future.                                             orous and demanding curriculum of                        mail order and nursing facility pharmacies
        The fact is that over the last two                    these studies that are critical to our                   from the determination of average manu-
      decades the number of young Ameri-                      Nation.                                                  facturer price and to extend the discounts
      cans pursuing bachelor degrees in                         The amendment achieves its goal                        offered under fee-for-service Medicaid for
      science and engineering has been de-                    without adding a single new dollar to                    prescription drugs to managed care organi-
      clining. In fact, the proportion of col-                the underlying bill.                                     zations)
      lege-age students earning degrees in                      The Warner, Lieberman, Roberts,                        On page 110, after line 24, add the fol-
      math, science, and engineering is now                   Durbin, and Allen amendment does not                   lowing:
      substantially higher in 16 countries in                 change the Pell grant program or the                     (4) EXCLUSION OF DISCOUNTS PROVIDED TO
                                                                                                                     MAIL ORDER AND NURSING FACILITY PHAR-
      Asia and Europe than it is in the                       SMART grant program in any way. It                     MACIES FROM THE DETERMINATION OF AVERAGE
      United States. If these current trends                  merely changes the formula of pay-                     MANUFACTURER PRICE.—
      continue, then, according to the Na-                    ments to students who will receive                      (A)         IN        GENERAL.—Section
      tional Science Board, less than 10 per-                 ProGAP grants. This change is des-                     1927(k)(1)(B)(ii)(IV)   (42    U.S.C.  1396r–
      cent of all scientists and engineers in                 perately needed to put our nation on                   8(k)(1)(B)(ii)(IV)), as added by paragraph
      the world will be working in America                    the road to meeting the ever increasing                (1)(C), is amended to read as follows:
      by 2010.                                                competition from India, China, and                       ‘‘(IV) Chargebacks, rebates provided to a
        This shortage in America of highly                    other nations where more and more of                   pharmacy (excluding a mail order pharmacy,
                                                                                                                     a pharmacy at a nursing facility or home,
      trained, technical minds is already                     their students are pursuing studies in                 and a pharmacy benefit manager), or any
      having very real consequences for us as                 the scientific area.                                   other direct or indirect discounts.’’.
      a country. For example, the U.S. pro-                     The amendment builds upon the                          (B) EFFECTIVE DATE.—Paragraph (3) shall
      duction of patents, probably the most                   SMART grant program by enabling the                    apply to the amendment made by subpara-
      direct link between research and eco-                   Secretary to provide even greater in-                  graph (A).




VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00033   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.058   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 35 of 91
      S12318                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
        (5) EXTENSION OF PRESCRIPTION DRUG DIS-                                AMENDMENT NO. 2417                      (d) DISTRIBUTION OF FUNDS.—
      COUNTS TO ENROLLEES OF MEDICAID MANAGED                   Mr. GREGG. I send to the desk an                       (1) IN GENERAL.—The Secretary shall dis-
      CARE ORGANIZATIONS.—                                    amendment by Senator LEVIN.                            tribute funds under this section to each com-
        (A) IN GENERAL.—Section 1903(m)(2)(A) (42               The PRESIDING OFFICER. The                           munity participating in a demonstration
      U.S.C. 1396b(m)(2)(A)) is amended—                                                                             project through the State, or States, in
        (i) in clause (xi), by striking ‘‘and’’ at the
                                                              clerk will report.                                     which each community is located.
      end;                                                      The legislative clerk read as follows:                 (2) OTHER PARTICIPANTS.—Not later than 60
        (ii) in clause (xii), by striking the period at        The Senator from New Hampshire [Mr.                   days after receiving funds under paragraph
      the end and inserting ‘‘; and’’; and                    GREGG] for Mr. LEVIN, proposes an amend-               (1), a State receiving funds under this sec-
        (iii) by adding at the end the following:             ment numbered 2417.                                    tion shall make the funds available to the
        ‘‘(xiii) such contract provides that pay-               Mr. GREGG. I ask unanimous con-                      local governments and emergency response
      ment for covered outpatient drugs dispensed             sent the reading of the amendment be                   providers participating in a demonstration
      to individuals eligible for medical assistance          dispensed with.                                        project selected by the Secretary.
      who are enrolled with the entity shall be                                                                        (e) FUNDING.—Amounts made available
      subject to the same rebate agreement en-
                                                                The PRESIDING OFFICER. Without                       from the interoperability fund under section
      tered into under section 1927 as the State is           objection, it is so ordered.                           3005(c)(3) shall be available to carry out this
      subject to and that the State shall have the              The amendment is as follows:                         section without appropriation.
      option of collecting rebates for the dis-               (Purpose: To establish an International Bor-             (f) REPORTING.—Not later than December
      pensing of such drugs by the entity directly              der Community Interoperable Communica-               31, 2005, and each year thereafter in which
      from manufacturers or allowing the entity                 tions Demonstration Project)                         funds are appropriated for a demonstration
      to collect such rebates from manufacturers                On page 95, after line 21, insert the fol-           project, the Secretary shall provide to the
      in exchange for a reduction in the prepaid              lowing:                                                Committee on Homeland Security and Gov-
      payments made to the entity for the enroll-             SEC. 3005A. COMMUNICATION SYSTEM GRANTS.
                                                                                                                     ernmental Affairs of the Senate and the
      ment of such individuals.’’.                                                                                   Committee on Homeland Security of the
                                                                (a) DEFINITIONS.—In this section—
        (B)     CONFORMING       AMENDMENT.—Section                                                                  House of Representatives a report on the
                                                                (1) the term ‘‘demonstration project’’
      1927(j)(1) (42 U.S.C. 1396r–8(j)91)) is amended                                                                demonstration projects under this section.
                                                              means the demonstration project established
      by inserting ‘‘other than for purposes of col-          under subsection (b)(1);                                 Mr. GREGG. I ask unanimous con-
      lection of rebates for the dispensing of such             (2) the term ‘‘Department’’ means the De-            sent it be agreed to and the motion to
      drugs in accordance with the provisions of a            partment of Homeland Security;                         reconsider be laid upon the table.
      contract under section 1903(m) that meets                 (3) the term ‘‘emergency response pro-                 The PRESIDING OFFICER. Without
      the requirements of paragraph (2)(A)(xiii) of           vider’’ has the meaning given that term in
      that section’’ before the period.                                                                              objection, it is so ordered.
                                                              section 2(6) the Homeland Security Act of                The amendment (No. 2417) was agreed
        (C) EFFECTIVE DATE.—The amendments                    2002 (6 U.S.C. 101(6)); and
      made by this paragraph take effect on the                                                                      to.
                                                                (4) the term ‘‘Secretary’’ means the Sec-
      date of enactment of this Act and apply to                                                                       Mr. GREGG. I suggest the absence of
                                                              retary of Homeland Security.
      rebate agreements entered into or renewed                 (b) IN GENERAL.—                                     a quorum.
      under section 1927 of the Social Security Act             (1) ESTABLISHMENT.—There is established                The PRESIDING OFFICER. The
      (42 U.S.C. 1396r–8) on or after such date.              in the Department an ‘‘International Border            clerk will call the roll.
        Mr. BAUCUS. Mr. President, this                       Community Interoperable Communications                   The bill clerk proceeded to call the
      amendment modifies the way retail                       Demonstration Project’’.                               roll.
      pharmacies are paid for brand-name ge-                    (2) MINIMUM NUMBER OF COMMUNITIES.—The                 Mr. CONRAD. Mr. President, I ask
                                                              Secretary shall select not fewer than 2 com-           unanimous consent that the order for
      neric drugs under Medicaid. The under-                  munities to participate in a demonstration
      lying bill makes some important, posi-                                                                         the quorum call be rescinded.
                                                              project.                                                 The PRESIDING OFFICER. Without
      tive changes but has the unintended                       (3) LOCATION OF COMMUNITIES.—Not fewer
      consequence of forcing the independ-                                                                           objection, it is so ordered.
                                                              than 1 of the communities selected under
                                                                                                                                  AMENDMENT NO. 2348
      ents—that is, the independent drug-                     paragraph (2) shall be located on the north-
      stores and the chains—in a disadvan-                    ern border of the United States and not                  Mr. CONRAD. Mr. President, the next
      taged position compared with mail-                      fewer than 1 of the communities selected               amendment in order is the Schumer
      order drug companies and long-term                      under paragraph (2) shall be located on the            amendment.
                                                              southern border of the United States.                    The PRESIDING OFFICER. The Sen-
      care drug companies, the point being                      (c) PROJECT REQUIREMENTS.—The dem-
      that the last category, because they                                                                           ator from New York.
                                                              onstration projects shall—                               Mr. SCHUMER. Mr. President, I offer
      are large-sized, have greater pur-                        (1) address the interoperable communica-
      chasing power to be able to acquire                                                                            amendment 2348.
                                                              tions needs of police officers, firefighters,
                                                                                                                       The PRESIDING OFFICER. The
      drugs on a discount basis, whereas the                  emergency medical technicians, National
                                                              Guard, and other emergency response pro-               clerk will report.
      earlier category, the independent phar-
                                                              viders;                                                  The bill clerk read as follows:
      macist and the chains themselves who
                                                                (2) foster interoperable communications—              The Senator from New York [Mr. SCHU-
      do not have the same purchasing                                                                                MER], for himself and Mr. ROCKEFELLER, pro-
                                                                (A) among Federal, State, local, and tribal
      power, will be forced to pay higher                     government agencies in the United States in-           poses an amendment numbered 2348.
      prices compared to the larger. It is a                  volved in preventing or responding to ter-               Mr. SCHUMER. Mr. President, I ask
      complicated subject.                                    rorist attacks or other catastrophic events;           unanimous consent the reading of the
        This is an amendment designed to                      and
                                                                                                                     amendment be dispensed with.
      even the playing field so the smaller                     (B) with similar agencies in Canada and
                                                              Mexico;
                                                                                                                       The PRESIDING OFFICER. Without
      guys get a break. It will not be to the                                                                        objection, it is so ordered.
      disadvantage of the larger guys, be-                      (3) identify common international cross-
                                                              border frequencies for communications                    The amendment is as follows:
      cause with their larger size, they will                 equipment, including radio or computer mes-            (Purpose: To strike the provisions increasing
      be able to get discounts that will more                 saging equipment;                                         the Medicaid rebate for generic drugs)
      than offset the amendment provided                        (4) foster the standardization of interoper-           On page 125, strike lines 3 through 14.
      for the smaller guys.                                   able communications equipment;                           Mr. ROCKEFELLER. Mr. President, I
        Mr. GREGG. I ask unanimous con-                         (5) identify solutions that will facilitate
                                                              communications interoperability across na-
                                                                                                                     will speak for a moment about the
      sent for a voice vote.                                                                                         Schumer-Rockefeller generics amend-
                                                              tional borders expeditiously;
        The PRESIDING OFFICER. The                                                                                   ment to the budget reconciliation bill.
                                                                (6) ensure that emergency response pro-
      question is on agreeing to the amend-                   viders can communicate with each another                 The amendment that Senator SCHU-
      ment.                                                   and the public at disaster sites or in the             MER and I are offering today would
        The amendment (No. 2383) was agreed                   event of a terrorist attack or other cata-             eliminate the provision in this bill that
      to.                                                     strophic event;                                        increases the generics Medicaid rebate
        Mr. GREGG. I move to reconsider the                     (7) provide training and equipment to en-            from 11 percent to 17 percent. Increas-
      vote.                                                   able emergency response providers to deal
                                                                                                                     ing the rebate for generics would jeop-
                                                              with threats and contingencies in a variety
        Mr. CONRAD. I move to lay that mo-                    of environments; and                                   ardize consumer access to lower-cost
      tion on the table.                                        (8) identify and secure appropriate joint-           prescription drugs and that’s why this
        The motion to lay on the table was                    use equipment to ensure communications ac-             provision needs to be stricken from
      agreed to.                                              cess.                                                  this bill.



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00034   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.052   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 36 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12319
        The reconciliation bill before us has                 effort to cut costs, what has happened                  Boxer             Jeffords      Nelson (NE)
                                                                                                                      Byrd              Johnson       Obama
      a number of flaws—it cuts Medicaid by                   in this bill is, in effect, we have elimi-              Cantwell          Kennedy       Pryor
      $7.5 billion despite Hurricane Katrina                  nated the ability of generic drugs to be                Carper            Kerry         Reed
      and the high health care costs working                  sold using Medicaid. That will raise                    Clinton           Kohl          Reid
      families continue to face. It imposes                   costs dramatically.                                     Collins           Landrieu      Rockefeller
                                                                                                                      Conrad            Lautenberg    Salazar
      even greater premiums on Medicare                         Over half the prescription drugs used                 Dayton            Leahy         Sarbanes
      beneficiaries when Part B premiums                      in Medicaid are generic. They are only                  Dodd              Levin
                                                                                                                                                      Schumer
      have already gone up by more than $10                   16 percent of the cost, but because we                  Dorgan            Lieberman
                                                                                                                                                      Snowe
                                                                                                                      Durbin            Lincoln
      per month in each of the last 2 years.                  have raised the fees so dramatically on                 Feingold          McCain
                                                                                                                                                      Specter
      And, it fails to address many of the                    what a generic drug company must pay                    Feinstein         Mikulski      Stabenow
                                                                                                                                                      Wyden
      problems we know will occur when the                    a pharmacy to handle the drug, it is                    Harkin            Murray
      Medicare drug benefit is implemented                                                                            Inouye            Nelson (FL)
                                                              now going to be the same as a prescrip-
      on January 1, 2006. But, that’s not all.                tion drug. Even though the prescrip-                                        NAYS—50
        This bill also includes a provision—                  tion drug costs a whole lot more and,                   Alexander         DeWine        Martinez
      which was added to the Finance Com-                     therefore, it is a much lower base,                     Allard            Dole          McConnell
                                                                                                                      Bennett           Domenici      Murkowski
      mittee reconciliation bill the night be-                pharmacies are not going to use the ge-                 Bond              Ensign        Roberts
      fore the markup—that would increase                     neric. In the long run, that will cost                  Brownback         Enzi          Santorum
      the rebate amount that generic manu-                    the Medicaid Program billions of dol-                   Bunning           Frist         Sessions
      facturers pay to State Medicaid pro-                                                                            Burns             Graham
                                                              lars.                                                   Burr              Grassley
                                                                                                                                                      Shelby
      grams from 11 percent to 17 percent.                      This is a huge mistake. It was not                                                    Smith
                                                                                                                      Chafee            Gregg
                                                                                                                                                      Stevens
      That’s an increase of 55 percent.                       done by design. They raised all the fees                Chambliss         Hagel
                                                                                                                                                      Sununu
        At a time when access to generic                      and figured that will bring this amount                 Coburn            Hatch
                                                                                                                                                      Talent
      drugs represents the greatest oppor-                                                                            Cochran           Hutchison
                                                              of money in the next year.                              Coleman           Inhofe        Thomas
      tunity for prescription drug cost sav-                    Can anyone imagine we are saying, in                  Cornyn            Isakson       Thune
      ings, this bill seeks to limit such ac-                                                                         Craig             Kyl           Vitter
                                                              Medicaid, where we need to save
                                                                                                                      Crapo             Lott          Voinovich
      cess. Not only will this policy result in               money, we are not going to use generic                  DeMint            Lugar         Warner
      greater costs to Medicaid over the long                 drugs? My amendment corrects that
      term, but it could also threaten access                 situation and is within the fiscal con-                               NOT VOTING—1
      to lower-cost drugs for all Americans.                  fines of the bill.                                                        Corzine
        In the recent past, when Missouri and                   The PRESIDING OFFICER. The Sen-                         The amendment (No. 2348) was re-
      New Jersey considered implementing                      ator from Iowa.                                         jected.
      generic drug rebate increases for the                     Mr. GRASSLEY. Mr. President, we                         Mr. MCCONNELL. I move to recon-
      purpose of achieving savings, they ac-                  do not need an amendment to improve                     sider the vote.
      tually found they would have incurred                   this situation because this bill has in it                Mr. CRAIG. I move to lay that mo-
      greater costs as a result of reduced ac-                already very significant incentives for                 tion on the table.
      cess to affordable generic drugs.                       generic utilization through the way we                    The motion to lay on the table was
        New Jersey officials estimated that                   reimburse generics and the dispensing                   agreed to.
      increasing rebates on generics used in                  fee we require.                                           The PRESIDING OFFICER. The Sen-
      their Pharmaceutical Assistance for                                                                             ator from New Hampshire.
                                                                A very significant thing is to remem-
      the Aged and Disabled and Senior Gold                                                                             Mr. GREGG. Mr. President, I ask
                                                              ber that brand drugs account for 67 per-
      programs would have increased state                                                                             unanimous consent that the Senator
                                                              cent of Medicaid prescriptions, but
      costs $18 million in the first year. Mis-                                                                       from Nebraska have 2 minutes to intro-
                                                              they also account for 81 percent of the
      souri’s SeniorRx Program estimated                                                                              duce an amendment and then withdraw
                                                              Medicaid rebates. This is reasonable
      that increasing generic rebates would                                                                           it.
                                                              policy for us, then, to create parity be-                 The PRESIDING OFFICER. The Sen-
      have increased state costs by $8.5 mil-                 tween brand and generic rebates. This
      lion dollars in the first year alone.                                                                           ator from Nebraska.
                                                              amendment would upset that parity.                                   AMENDMENT NO. 2391
        According to a 1998 study by the Con-                   The amendment before the Senate
      gressional Budget Office, generic drugs                                                                           Mr. HAGEL. Mr. President, I call up
                                                              also simply strikes generic rebates; it                 amendment No. 2391 and ask for its im-
      save consumers approximately $8–10                      does not pay for it. So I strongly op-
      billion each year. Why would we under-                                                                          mediate consideration.
                                                              pose bringing the Committee on Fi-                        The PRESIDING OFFICER. The
      cut access to generics when low-cost                    nance out of compliance with our budg-
      prescription drugs should be a priority?                                                                        clerk will report.
                                                              et instructions. This amendment would                     The legislative clerk read as follows:
        I question the merits of such a far-
                                                              do that. I ask Members to oppose the                      The Senator from Nebraska [Mr. HAGEL],
      reaching policy that was added in the
                                                              amendment.                                              for himself and Mr. SUNUNU, proposes an
      dead of night seemingly for the purpose
                                                                Mr. GREGG. I ask for the yeas and                     amendment numbered 2391.
      of achieving greater budget savings. I
                                                              nays.                                                     Mr. HAGEL. I ask unanimous con-
      understand the temptation to act in
                                                                The PRESIDING OFFICER. Is there a                     sent that reading of the amendment be
      reconciliation to accomplish long-
                                                              sufficient second?                                      dispensed with.
      standing policy goals as well as to ad-
                                                                There is a sufficient second.                           The PRESIDING OFFICER. Without
      dress requests from special interest
                                                                The yeas and nays were ordered.                       objection, it is so ordered.
      groups.
                                                                The PRESIDING OFFICER. The                              The amendment is as follows:
        We should resist such temptation
      when we have not done our home-                         question is on agreeing to the amend-                   (Purpose: To require Fannie Mae and Freddie
                                                              ment.                                                     Mac to register under the Securities Act of
      work—when we don’t know the real ra-                                                                              1933)
      tionale or effects of this policy or the                  The clerk will call the roll.
                                                                The legislative clerk called the roll.                  At the appropriate place, insert the fol-
      interaction with other policies. We can                                                                         lowing:
      do better.                                                Mr. DURBIN. I announce that the
                                                                                                                      SEC. ll. REGISTRATION OF GSE SECURITIES.
        We can be more thoughtful—and we                      Senator from New Jersey (Mr. CORZINE)                     (a) FANNIE MAE.—
      have a responsibility to be very careful                is necessarily absent.                                    (1) MORTGAGE-BACKED SECURITIES.—Section
      when we’re dealing with pocketbook                        The PRESIDING OFFICER. Are there                      304(d) of the Federal National Mortgage As-
      issues that affect working families, our                any other Senators in the Chamber de-                   sociation Charter Act (12 U.S.C. 1719(d)) is
      states, as well as long-term costs to                   siring to vote?                                         amended by striking the fourth sentence and
                                                                The result was announced—yeas 49,                     inserting the following: ‘‘Securities issued by
      the Federal Government.
                                                              nays 50, as follows:                                    the corporation under this subsection shall
        I thank the Chair and urge my col-                                                                            not be exempt securities for purposes of the
      leagues to vote ‘‘yes’’ on the Schumer-                           [Rollcall Vote No. 299 Leg.]                  Securities Act of 1933.’’.
      Rockefeller generic drug amendment.                                        YEAS—49                                (2)   SUBORDINATE      OBLIGATIONS.—Section
        Mr. SCHUMER. Mr. President, this is                   Akaka             Baucus                Biden           304(e) of the Federal National Mortgage As-
      a very simple amendment. In a sincere                   Allen             Bayh                  Bingaman        sociation Charter Act (12 U.S.C. 1719(e)) is




VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00035   Fmt 0624   Sfmt 0634    E:\CR\FM\A03NO6.054   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 37 of 91
      S12320                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      amended by striking the fourth sentence and             Corporation that have been issued by the                 The PRESIDING OFFICER. The
      inserting the following: ‘‘Obligations issued           Corporation directly to the approved seller            amendment is withdrawn.
      by the corporation under this subsection                in exchange for the mortgage loans under-                The Senator from New Hampshire.
      shall not be exempt securities for purposes of          lying such mortgage-backed securities.’’.                Mr. GREGG. I ask unanimous con-
      the Securities Act of 1933.’’.                            (c) NO EFFECT ON OTHER LAW.—Nothing in
                                                              this section or the amendments made by this
                                                                                                                     sent that the only amendments re-
         (3) SECURITIES.—Section 311 of the Federal
      National Mortgage Association Charter Act               section shall be construed to affect any ex-           maining in order be two by Senator
      (12 U.S.C. 1723c) is amended—                           emption from the provisions of the Trust In-           REED, one by Senator LIEBERMAN, one
         (A) in the section heading, by striking ‘‘AS-        denture Act of 1939 provided to the Federal            by Senator SANTORUM, and one by Sen-
      SOCIATION’’;                                            National Mortgage Association or the Fed-              ator SNOWE.
         (B) by inserting ‘‘(a) IN GENERAL.—’’ after          eral Home Loan Mortgage Corporation.                     The PRESIDING OFFICER. In my
      ‘‘SEC. 311.’’;                                            (d) REGULATIONS.—The Securities and Ex-              personal capacity as a Senator from
         (C) in the second sentence, by inserting             change Commission may issue such regula-
                                                                                                                     Texas, I object.
      ‘‘by the Association’’ after ‘‘issued’’; and            tions as may be necessary or appropriate to
                                                              carry out this section and the amendments
                                                                                                                       Mr. GREGG. The Chair objects.
         (D) by adding at the end the following:                                                                       Mr. CONRAD. The Chair objects.
         ‘‘(b) TREATMENT OF CORPORATION SECURI-               made by this section.
                                                                (e) EFFECTIVE DATE.—The amendments                     Mr. GREGG. And one by Senator
      TIES.—
         ‘‘(1) IN GENERAL.—Any stock, obligations,            made by this section shall become effective 1          CORNYN.
      securities, participations, or other instru-            year after the date of enactment of this Act.            The PRESIDING OFFICER. Without
      ments issued or guaranteed by the corpora-                Mr. HAGEL. Mr. President, the sig-                   objection, it is so ordered.
      tion pursuant to this title shall not be ex-            nificance of Fannie Mae and Freddie                      Mr. CONRAD. Mr. President, reserv-
      empt securities for purposes of the Securities          Mac to our economy cannot be over-                     ing the right to object, the last one is
      Act of 1933.                                            stated. Together they guarantee al-                    a Cornyn amendment?
         ‘‘(2) EXEMPTION FOR APPROVED SELLERS.—
                                                              most 46 percent of all mortgage loans                    Mr. GREGG. It appears there may be.
      Notwithstanding any other provision of this                                                                      Mr. CONRAD. I think we can accept
      title or the Securities Act of 1933, trans-             in the United States. They also back
                                                              over $3.9 trillion in mortgage-backed                  it.
      actions involving the initial disposition by                                                                     Mr. GREGG. We will now go to Sen-
      an approved seller of pooled certificates that          securities and have amassed over $1.7
                                                                                                                     ator SANTORUM.
      are acquired by that seller from the corpora-           trillion in outstanding debt. This
                                                                                                                       The PRESIDING OFFICER. The Sen-
      tion upon the initial issuance of the pooled            amendment would require Fannie and
      certificates shall be deemed to be trans-                                                                      ator from Pennsylvania.
                                                              Freddie to register their debt in securi-
      actions by a person other than an issuer, un-                                                                                AMENDMENT NO. 2419
                                                              ties with the Securities and Exchange
      derwriter, or dealer for purposes of the Secu-                                                                 (Purpose: To amend title XVIII of the Social
                                                              Commission, like any other company.                      Security Act to make a technical correc-
      rities Act of 1933.
         ‘‘(3) DEFINITIONS.—For purposes of this sub-
                                                              Both are currently exempt from having                    tion regarding purchase agreements for
      section, the following definitions shall apply:         to do so and, because of this, both are                  power-driven wheelchairs under the Medi-
         ‘‘(A) APPROVED SELLER.—The term ‘ap-                 exempt from the accounting require-                      care program, to provide for coverage of
      proved seller’ means an institution approved            ments of Sarbanes-Oxley. The Senate                      ultrasound screening for abdominal aortic
      by the corporation to sell mortgage loans to            Banking Committee, under the leader-                     aneurysms under part B of such program,
      the corporation in exchange for pooled cer-             ship of Chairman SHELBY, passed a                        to improve patient access to, and utiliza-
      tificates.                                              comprehensive, strong, GSE regulatory                    tion of, the colorectal cancer screening
         ‘‘(B) POOLED CERTIFICATES.—The term                  reform bill earlier this year. We need                   benefit under such program, and to provide
      ‘pooled certificates’ means single class mort-                                                                   for the coverage of marriage and family
                                                              to take this bill up in this Congress.                   therapist services and mental health coun-
      gage-backed securities guaranteed by the
                                                                      AMENDMENT NO. 2391, WITHDRAWN                    selor services under part B of such title)
      corporation that have been issued by the cor-
      poration directly to the approved seller in               I ask unanimous consent that Sen-                      Mr. SANTORUM. Mr. President, I
      exchange for the mortgage loans underlying              ator SUNUNU be allowed to speak for 1                  send an amendment to the desk and
      such mortgage-backed securities.                        minute, after which I ask that amend-                  ask for its immediate consideration.
         ‘‘(4) MORTGAGE RELATED SECURITIES.—A                 ment No. 2391 be withdrawn.                              The PRESIDING OFFICER. The
      single class mortgage-backed security guar-               The PRESIDING OFFICER. Without                       clerk will report.
      anteed by the corporation that has been                 objection, it is so ordered.                             The legislative clerk read as follows:
      issued by the corporation directly to the ap-             The Senator from New Hampshire.
      proved seller in exchange for the mortgage                                                                      The Senator from Pennsylvania [Mr.
                                                                Mr. SUNUNU. Mr. President, I join                    SANTORUM], for himself, Mr. BUNNING, Mr.
      loans underlying such mortgage-backed se-               the Senator from Nebraska in sup-                      THOMAS, Mr. VOINOVICH, Mr. LIEBERMAN, Mr.
      curities or directly by the corporation for
                                                              porting this amendment. We absolutely                  DODD, and Mr. ROCKEFELLER, proposes an
      cash shall be deemed to be a mortgage re-
      lated security, as defined in section 3(a) of           need strong, credible, effective regula-               amendment numbered 2419.
      the Securities Exchange Act of 1934.’’.                 tion of Fannie Mae and Freddie Mac.                      (The amendment is printed in today’s
         (b) FREDDIE MAC.—Section 306(g) of the               These are enormous, complex financial                  RECORD under ‘‘Text of Amendments.’’)
      Federal Home Loan Mortgage Corporation                  institutions. We want to ensure their                    Mr. SANTORUM. Mr. President, this
      Act (12 U.S.C. 1455(g)) is amended to read as           safety and soundness. We want to en-                   is a four-part amendment. The first
      follows:                                                sure they stay focused on their char-                  part would provide for a screening for
         ‘‘(g) TREATMENT OF SECURITIES.—
         ‘‘(1) IN GENERAL.—Any securities issued or
                                                              tered mission, which is to provide li-                 aortic aneurysms, offered by Senator
      guaranteed by the Corporation shall not be              quidity in our secondary mortgage                      BUNNING and Senator DODD. The second
      exempt securities for purposes of the Securi-           market. It sends the wrong message if                  part of the amendment would allow for
      ties Act of 1933.                                       we treat them differently from other                   the purchase of electronic mobility
         ‘‘(2) EXEMPTION FOR APPROVED SELLERS.—               big investment services companies. It                  equipment for our seniors, something
      Notwithstanding any other provision of this             sends the wrong message if we don’t                    Senator VOINOVICH has been working
      title or the Securities Act of 1933, trans-             have a credible regulator. We need to                  on, as opposed to having a long-term
      actions involving the initial disposition by            pass legislation that includes this kind               lease. The third part is offered by Sen-
      an approved seller of pooled certificates that          of a provision, SEC registration for                   ator THOMAS, which has to do with
      are acquired by that seller from the Corpora-
      tion upon the initial issuance of the pooled
                                                              their stocks and bonds. It is common                   rural mental health care under Medi-
      certificates shall be deemed to be trans-               sense. We have passed legislation in the               care. And finally, the piece I have been
      actions by a person other than an issuer, un-           Banking Committee that is increas-                     offering is on colorectal screenings. We
      derwriter, or dealer for purposes of the Secu-          ingly unlikely, given the opposition,                  passed that benefit back in 1997. As a
      rities Act of 1933.                                     lack of cooperation of the GSEs in                     result of that payment of the benefit
         ‘‘(3) DEFINITIONS.—For purposes of this sub-         working on this legislation. Their al-                 for screenings, we have only seen a 1-
      section, the following definitions shall apply:         lied interest groups have weighed in                   percent increase in screenings. This is
         ‘‘(A) APPROVED SELLER.—The term ‘ap-                 against the legislation. I think it does               an attempt to try to increase that by
      proved seller’ means an institution approved
                                                              a disservice to the capital markets and                allowing for the payment of the pre-
      by the Corporation to sell mortgage loans to
      the Corporation in exchange for pooled cer-
                                                              to the consumers if we fail to have a                  doctor visit as well as the part B de-
      tificates.                                              strong, credible regulator. I certainly                ductible.
         ‘‘(B) POOLED CERTIFICATES.—The term                  support the amendment, but I will                        I ask unanimous consent to add Sen-
      ‘pooled certificates’ means single class mort-          yield back to the Senator from Ne-                     ator LANDRIEU as a cosponsor of the
      gage-backed securities guaranteed by the                braska.                                                amendment.



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00036   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.057   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 38 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12321
        The PRESIDING OFFICER. Without                        letter I got from the U.S. Psychiatric                   Crapo               Inhofe       Smith
                                                                                                                       DeMint              Isakson      Snowe
      objection, it is so ordered.                            Rehabilitation Association expressing                    Dole                Kyl          Specter
        Mr. CONRAD. Mr. President, I ask                      thanks for the targeted case manage-                     Domenici            Lott         Stevens
      unanimous consent to be listed as a co-                 ment provisions:                                         Ensign              Lugar        Sununu
      sponsor of the amendment.                                                                                        Enzi                Martinez     Talent
                                                                Your measured steps and considerations of              Frist               McCain
        The PRESIDING OFFICER. Without                        TCM will preserve the needed services to                                                  Thomas
                                                                                                                       Graham              McConnell    Thune
      objection, it is so ordered.                            those who cannot attain housing, employ-                 Grassley            Murkowski
                                                                                                                                                        Vitter
        Mr. GREGG. Mr. President, I ask for                   ment, or health care on their own. [We] ap-              Gregg               Roberts
                                                                                                                                                        Voinovich
      a voice vote.                                           preciate your work in helping to ensure that             Hagel               Santorum
                                                                                                                       Hatch                            Warner
                                                              mentally disabled Americans have the oppor-                                  Sessions
        The PRESIDING OFFICER. The                                                                                     Hutchison           Shelby
      question is on agreeing to amendment                    tunity to access Medicaid services.
      No. 2419.                                                 It seems to me this is something that                                  NOT VOTING—2
        The amendment (No. 2419) was agreed                   ought to be of the heart and the brain                   Coburn              Corzine
      to.                                                     of anybody on the other side of the
                                                                                                                         The amendment (No. 2409) was re-
        Mr. GREGG. Mr. President, I move to                   aisle.
                                                                                                                       jected.
      reconsider the vote and to lay that mo-                   The PRESIDING OFFICER. The Sen-
      tion on the table.                                      ator’s time has expired.                                   Mr. GREGG. I move to reconsider the
        The motion to lay on the table was                      The Senator from Rhode Island has 7                    vote.
      agreed to.                                              seconds.                                                   Mr. SANTORUM. I move to lay that
        Mr. GREGG. We now go to Senator                         Mr. REED. Mr. President, this bill                     motion on the table.
      REED.                                                   will hurt programs that exist today                        The motion to lay on the table was
        The PRESIDING OFFICER. The Sen-                       that help children, people with AIDS, a                  agreed to.
      ator from Rhode Island.                                 host of people. I received this informa-                 AMENDMENTS NOS. 2380, AS MODIFIED, 2420, AND
                      AMENDMENT NO. 2409                      tion not from the Clinton administra-                                       2386
        Mr. REED. Mr. President, I ask that                   tion but from providers in my own                          Mr. GREGG. Mr. President, I now
      amendment No. 2409 be called up for                     community, Christian Brothers who                        send three amendments to the desk and
      immediate consideration.                                deal with children, social workers who                   ask that they be considered and agreed
        The PRESIDING OFFICER. The                            deal with adults.                                        to en bloc, and the motions to recon-
      clerk will report.                                        Mr. GREGG. Mr. President, I ask                        sider be laid on the table—one for Sen-
        The bill clerk read as follows:                       unanimous consent that Senator SMITH                     ator LIEBERMAN and two for Senator
        The Senator from Rhode Island [Mr.                    be added to the list of amendments                       SUNUNU.
      REED], for himself, Mr. BAUCUS, Mrs. MUR-               that will be considered.
      RAY, Mr. KENNEDY, Mr. BINGAMAN, Mr.                                                                                The PRESIDING OFFICER. Is there
                                                                Mr. CONRAD. Reserving the right to                     objection? Without objection, it is so
      CORZINE, Mrs. CLINTON, and Mr. OBAMA, pro-
                                                              object, we don’t yet know what the                       ordered.
      poses an amendment numbered 2409.
                                                              Smith amendment is. Can we get that
        The amendment is as follows:                          first?                                                     The amendments were agreed to, as
        (Purpose: To strike provisions relating to                                                                     follows:
                                                                Mr. GREGG. I withdraw that.
          reforms of targeted case management)                                                                                  AMENDMENT NO. 2380, AS MODIFIED
                                                                Mr. REED. Mr. President, I ask for
        Strike section 6031 of the bill.                      the yeas and nays.                                         On page 368, between line 5 and 6, insert
        Mr. REED. This amendment strikes                        The PRESIDING OFFICER. Is there a                      the following:
      section 6031 of the reconciliation act                  sufficient second?                                       SEC. 6116. QUALITY MEASUREMENT SYSTEMS
      which pertains to case management                         There appears to be.                                              AMENDMENTS.
      services. States have the ability to                      The question is on agreeing to                           Section 1860E–1, as added by section
      identify groups such as children and                    amendment No. 2409.                                      6110(a)(2), is amended—
      adults with AIDS, children in foster                      The clerk will call the roll.                            (1) in subsection (b)(1)—
      care, other vulnerable groups, and find                   The bill clerk called the roll.                          (A) in subparagraph (B)—
      comprehensive services. These services                                                                             (i) in clause (vi), by striking ‘‘and’’ at the
                                                                Mr. MCCONNELL. The following Sen-                      end;
      include educational and social as well                  ator was necessarily absent: the Sen-                      (ii) in clause (vii), by striking the period at
      as medical services. The underlying                     ator from Oklahoma (Mr. COBURN).                         the end and inserting ‘‘; and’’; and
      reconciliation bill will force these serv-                Mr. DURBIN. I announce that the                          (iii) by adding at the end the following new
      ices to be paid for by third parties, the               Senator from New Jersey (Mr. CORZINE)                    clause:
      State or others. That will decrease the                 is necessarily absent.                                     ‘‘(viii) measures that address conditions
      use of these services and actually end                    The PRESIDING OFFICER. Are there                       where there is the greatest disparity of
      up costing more to the States, and it                                                                            health care provided and health outcomes
                                                              any other Senators in the Chamber de-
      will disrupt many of the very appro-                                                                             between majority and minority groups.’’;
                                                              siring to vote?                                          and
      priate programs we have. In fact, many                    The result was announced—yeas 46,                        (B) in subparagraph (E)—
      of these programs save money by deal-                   nays 52, as follows:                                       (i) in clause (v), by striking ‘‘and’’ at the
      ing with these people.                                              [Rollcall Vote No. 300 Leg.]                 end;
        I would point out that this legisla-                                                                             (ii) by redesignating clause (vi) as clause
                                                                                   YEAS—46
      tion does not require an offset, nor                                                                             (vii); and
                                                              Akaka             Durbin                Mikulski
      does it require a supermajority vote                                                                               (iii) by inserting after clause (v) the fol-
                                                              Baucus            Feingold              Murray
      since we are striking language in the                   Bayh              Feinstein                              lowing new clause:
                                                                                                      Nelson (FL)
      underlying bill.                                        Biden             Harkin                Nelson (NE)
                                                                                                                         ‘‘(vi) allows quality measures that are re-
        I reserve any time I have.                            Bingaman          Inouye                Obama            ported to be stratified according to patient
        The PRESIDING OFFICER. The Sen-                       Boxer             Jeffords              Pryor            group characteristics; and’’;
                                                              Byrd              Johnson               Reed               (2) in subsection (c)(4)—
      ator from Iowa.                                         Cantwell          Kennedy                                  (A) in subparagraph (B), by striking ‘‘and’’
                                                                                                      Reid
        Mr. GRASSLEY. Mr. President, I am                     Carper            Kerry
                                                                                                      Rockefeller      at the end;
      shocked anybody from the other side of                  Chafee            Kohl
                                                              Clinton           Landrieu
                                                                                                      Salazar            (B) in subparagraph (C), by striking the pe-
      the aisle would raise any questions                     Conrad            Lautenberg
                                                                                                      Sarbanes         riod at the end and inserting ‘‘; and’’; and
      against the policy we have in our bill.                 Dayton            Leahy                 Schumer            (C) by adding at the end the following new
                                                                                                      Stabenow         subparagraph:
      This is not a Republican policy. This is                DeWine            Levin
                                                              Dodd              Lieberman             Wyden              ‘‘(D) The report commissioned by Congress
      not a Bush administration policy. This                  Dorgan            Lincoln
      is a policy that was offered by the pre-                                                                         from the Institute of Medicine of the Na-
                                                                                   NAYS—52                             tional Academy of Sciences, titled ‘Unequal
      vious administration, the Clinton ad-
                                                                                                                       Treatment: Confronting Racial and Ethnic
      ministration. The targeted case man-                    Alexander         Brownback             Cochran
                                                                                                                       Disparities in Health Care’.’’; and
      agement provision of this bill merely                   Allard            Bunning               Coleman
                                                              Allen             Burns                 Collins            (3) in subsection (d)(2), by inserting ‘‘ex-
      codifies that policy that was offered by                Bennett           Burr                  Cornyn           perts in minority health,’’ after ‘‘govern-
      the Clinton administration. I have a                    Bond              Chambliss             Craig            ment agencies,’’.




VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00037   Fmt 0624   Sfmt 0634     E:\CR\FM\G03NO6.096     S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 39 of 91
      S12322                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
                     AMENDMENT NO. 2420                         The 2003 Institute of Medicine report,                 Mr. REED. Mr. President, I call up
      (Purpose: To convert the Digital Transition             Unequal Treatment, recommended that                    amendment No. 2396.
        and Public Safety Fund program payment                the ‘‘collection, reporting, and moni-                   The PRESIDING OFFICER. Without
        amounts into limitations, and for other               toring of patient care data by health                  objection, it is so ordered. The clerk
        purposes)                                                                                                    will report.
                                                              plans and federal, and state payors
        On page 94, line 7, after ‘‘(1)’’ insert ‘‘not to                                                              The assistant journal clerk read as
                                                              should be encouraged’’ to move to-
      exceed’’.
        On page 94, line 13, after ‘‘(2)’’ insert ‘‘not       wards eliminating health disparities.                  follows:
      to exceed’’.                                              My amendment to section 6110 S. 1932                   The Senator from Rhode Island [Mr. REED]
        On page 94, line 19, after ‘‘(3)’’ insert ‘‘not       addresses this IOM recommendation to                   proposes an amendment numbered 2396.
      to exceed’’.                                            more specifically encourage the collec-                  The amendment is as follows:
        On page 95, line 1, after ‘‘(4)’’ insert ‘‘not to     tion and reporting of health care qual-                   (Purpose: To strike subtitle C of title II
      exceed’’.
        On page 95, line 4, after ‘‘(5)’’ insert ‘‘not to     ity data for both majority and minor-                        relating to FHA asset disposition)
      exceed’’.                                               ity groups as Medicare Value-Based                       On page 86, strike line 22 and all that fol-
        On page 95, beginning in line 10, strike              Purchasing Programs are being devel-                   lows through page 90, line 19.
      ‘‘The amounts payable’’ and insert ‘‘Any                oped and established.                                    Mr. REED. Mr. President, my amend-
      amounts that are to be paid’’.                            My amendment encourages the Sec-                     ment would restore the ability of HUD
        On page 95, line 12, after the period insert          retary of the Department of Health and
      ‘‘Any amount in the Fund that is not obli-                                                                     to preserve and rehabilitate affordable
      gated under subsection (c) by that date shall
                                                              Human Services to focus on diseases                    housing.
      be transferred to the general fund of the               where there are disparities between                      The FHA upfront grant and below-
      Treasury.’’.                                            majority and minority groups. Diseases                 market sales programs are designed to
                     AMENDMENT NO. 2386                       such as infant mortality, diabetes,                    help local governments purchase FHA
      (Purpose: To ensure that amounts are not                heart disease, breast cancer, cervical                 foreclosed multifamily properties in
        obligated out of the Digital Transition and           cancer, HIV/AIDS, childhood immuni-                    order to preserve and rehabilitate these
        Public Safety Fund until the proceeds of              zations, and adult immunizations are                   units into affordable housing.
        the auction are actually deposited by the             all disproportionately problematic in                    Currently, the money for this pro-
        FCC)                                                  minority patient groups. They must be                  gram comes from the FHA General In-
        On page 95, line 12, after the period insert          considered in any systematic attempt                   surance Fund, not from appropriations.
      ‘‘The Secretary may not obligate any                    to measure and improve health care
      amounts from the Fund until the proceeds of
                                                                                                                     This gives HUD significant flexibility
                                                              quality.                                               in providing these funds if the need
      the     auction     authorized       by    section
      309(j)(15)(C)(v) are actually deposited by the
                                                                My amendment also encourages the                     arises.
      Commission pursuant to subsection (b).’’.               collection of specific data on patient                   The proposal before us today will re-
        Mr. LIEBERMAN. Mr. President, a                       characteristics that are key to meas-                  strict HUD from using the FHA Gen-
      very important provision is being                       uring and collecting data on health                    eral Insurance Fund to support both
      passed in this year’s reconciliation bill               care quality. Collecting information on                the below-market sales program and
      establishing    Medicare    Value-Based                 gender, race/ethnicity, language spo-                  the upfront grant program. It is a pro-
      Purchasing Programs. Value-based pur-                   ken, and insurance status are encour-                  gram of about $50 million a year.
      chasing brings a pay-for-performance                    aged. Without this information, we will                  My amendment would strike the lan-
      provision to Medicare. Senator GRASS-                   not have any way of knowing whether                    guage prohibiting the use of these
      LEY and Senator BAUCUS and the Fi-                      or not disparities between majority                    funds to allow them the flexibility to
      nance Committee staff on both sides of                  and minority groups are decreasing.                    continue this program. Because it
      the aisle have pushed forward an initia-                  In the existing provisions of section                strikes language, no supermajority
      tive that has been needed for a long                    6110, the Secretary of the Department                  vote is necessary, and no offset is nec-
      time in American health care. I ap-                     of Health and Human Services will                      essary.
      plaud them for their efforts.                           work with various expert groups in de-                   I retain the remainder of my time.
        A recent study published in the New                   velopment and implementing quality                       The PRESIDING OFFICER. The Sen-
      England Journal of Medicine found                       measurement systems. However, ex-                      ator from Alabama.
      that less than 55 percent of patients in                perts in minority health are not cur-                    Mr. SHELBY. Mr. President, I rise in
      America receive appropriate medical                     rently included in the legislation. My                 opposition to the Reed amendment. In
      care. This means that if you go to the                  amendment ensures that experts in mi-                  the Banking Committee, as part of the
      doctor and have pneumonia there is a                    nority health will be included in devel-               reconciliation process, we save, in this
      good chance you may not receive the                     oping and implementing a health care                   instance, $270 million. This proposal
      right antibiotic; or CPR might be per-                  quality measurement system.                            simply makes the FHA’s use of rehab
      formed on a patient with the incorrect                    Lastly, my amendment would reward                    grants and below-market sales subject
      number of breaths; or you may not re-                   hospitals, physicians, clinics, and home               to appropriations.
      ceive the best surgery for your heart                   health care providers, among other                       If these programs are, in fact, bene-
      condition. Americans are not system-                    groups that demonstrate improvement                    ficial—some of them are—appropria-
      atically receiving appropriate medical                  in quality of care for patient subgroups               tions can still be granted in the future,
      treatment. And receiving appropriate                    and minorities.                                        and using the appropriations process
      medical treatment should not be a                         I thank Senators GRASSLEY and BAU-                   allows the Congress to better oversee
      matter of luck.                                         CUS and the Finance Committee staff                    the use of these dollars and to ensure
        We know that it is too easy for                       for working with us to try to focus nec-               that our resources are well spent.
      Americans to get inappropriate med-                     essary attention on the health care                      I urge my colleagues to oppose this
      ical care. But there are patient groups                 needs of all Americans. This would                     amendment. This $270 million is a lot
      throughout our country that are in                      mark the first time our Federal Gov-                   of savings that we can put forth today.
      even more medical danger. Disparities                   ernment made a commitment to im-                         Mr. GREGG. Mr. President, I ask for
      in health care quality in minority                      proving the quality of health care that                the yeas and nays.
      groups are well documented. This                        minority groups—our constituents—                        The PRESIDING OFFICER (Mr.
      would mean that a Hispanic or African-                  are receiving. I believe this ground-                  CHAFEE). Is there a sufficient second?
      American male is less likely to receive                 breaking legislation to bring pay-for-                   There appears to be a sufficient sec-
      the right medication for a heart condi-                 performance accountability to Medi-                    ond.
      tion than a White male. These findings                  care is an important step forward and I                  If all time is yielded back, the ques-
      are not related to income, insurance                    believe it will be much more powerful                  tion is on agreeing to the amendment.
      status, age, or what hospital a person                  and have much greater impact if we                     The clerk will call the roll.
      goes to, among other factors. Special                   tackle how to eliminate racial and eth-                  The assistant journal clerk called the
      attention must be paid to minority pa-                  nic disparities in health care.                        roll.
      tient groups in our current efforts to                    Mr. GREGG. Mr. President, we now                       Mr. DURBIN. I announce that the
      improve the quality of medical care in                  turn to Senator REED for his second                    Senator from New Jersey (Mr. CORZINE)
      the U.S.                                                amendment.                                             is necessarily absent.



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00038   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.060   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 40 of 91
      November 3, 2005                  CONGRESSIONAL RECORD — SENATE                       S12323
        The PRESIDING OFFICER. Are there                         The PRESIDING OFFICER. Without                       proved applications under this section based
      any other Senators in the Chamber de-                    objection, it is so ordered.                           on their applications and the availability of
      siring to vote?                                            The amendment is as follows:                         funds.
        The result was announced—yeas 48,                      (Purpose: To provide for a demonstration                 (4) PAYMENTS TO STATES.—The Secretary
                                                                 project regarding medicaid coverage of               shall pay to each State, from its allocation
      nays 51, as follows:                                                                                            under paragraph (3), an amount each quarter
                  [Rollcall Vote No. 301 Leg.]                   low-income HIV-infected individuals)
                                                                                                                      equal to the enhanced Federal medical as-
                           YEAS—48                               On page 188, after line 24, add the fol-
                                                                                                                      sistance percentage described in section
                                                               lowing:
      Akaka             Dorgan             Lincoln                                                                    2105(b) of the Social Security Act (42 U.S.C.
                                                               SEC. 6037. DEMONSTRATION PROJECT REGARD-
      Baucus            Durbin             Mikulski                        ING MEDICAID COVERAGE OF LOW-
                                                                                                                      1397ee(b)) of expenditures in the quarter for
      Bayh              Feingold           Murray                          INCOME   HIV-INFECTED  INDIVID-            medical assistance provided to HIV-infected
      Biden             Feinstein          Nelson (FL)                     UALS.                                      individuals who are eligible for such assist-
      Bingaman          Harkin             Nelson (NE)                                                                ance under a State Medicaid program in ac-
      Bond              Inouye             Obama
                                                                 (a) REQUIREMENT TO CONDUCT DEMONSTRA-
      Boxer             Jeffords           Pryor               TION PROJECT.—                                         cordance with the demonstration project es-
      Byrd              Johnson            Reed                  (1) IN GENERAL.—The Secretary shall estab-           tablished under this section.
      Cantwell          Kennedy            Reid                lish a demonstration project under which a               (e) EVALUATION AND REPORT.—
      Carper            Kerry              Rockefeller         State may apply under section 1115 of the                (1) EVALUATION.—The Secretary shall con-
      Chafee            Kohl               Salazar             Social Security Act (42 U.S.C. 1315) to pro-           duct an evaluation of the demonstration
      Clinton           Landrieu           Sarbanes            vide medical assistance under a State med-             project established under this section. Such
      Conrad            Lautenberg         Schumer                                                                    evaluation shall include an analysis of the
                                                               icaid program to HIV-infected individuals
      Dayton            Leahy              Specter                                                                    cost-effectiveness of the project and the im-
      DeWine            Levin              Stabenow
                                                               described in subsection (b) in accordance
      Dodd              Lieberman          Wyden               with the provisions of this section.                   pact of the project on the Medicare, Med-
                                                                 (2) LIMITATION ON NUMBER OF APPROVED AP-             icaid, and Supplemental Security Income
                          NAYS—51                              PLICATIONS.—The Secretary shall only ap-               programs established under titles XVIII,
      Alexander         Dole               McCain              prove as many State applications to provide            XIX, and XVI, respectively, of the Social Se-
      Allard            Domenici           McConnell           medical assistance in accordance with this             curity Act (42 U.S.C. 1395 et seq., 1396 et seq.,
      Allen             Ensign             Murkowski           section as will not exceed the limitation on           1381 et seq.).
      Bennett           Enzi               Roberts             aggregate      payments     under     subsection         (2) REPORT TO CONGRESS.—Not later than
      Brownback         Frist              Santorum
      Bunning           Graham             Sessions
                                                               (d)(2)(A).                                             December 31, 2010, the Secretary shall sub-
      Burns             Grassley           Shelby                (3) AUTHORITY TO WAIVE RESTRICTIONS ON               mit a report to Congress on the results of the
      Burr              Gregg              Smith               PAYMENTS TO TERRITORIES.—The Secretary                 evaluation of the demonstration project es-
      Chambliss         Hagel              Snowe               shall waive the limitations on payment                 tablished under this section.
      Coburn            Hatch              Stevens             under subsections (f) and (g) of section 1108            (f) EFFECTIVE DATE.—This section shall
      Cochran           Hutchison          Sununu              of the Social Security Act (42 U.S.C. 1308) in         take effect on January 1, 2006.
      Coleman           Inhofe             Talent              the case of a State that is subject to such            SEC. 6038. ADDITIONAL INCREASE IN REBATE
      Collins           Isakson            Thomas                                                                                FOR SINGLE SOURCE AND INNO-
                                                               limitations and submits an approved applica-
      Cornyn            Kyl                Thune                                                                                 VATOR MULTIPLE SOURCE DRUGS.
      Craig             Lott               Vitter              tion to provide medical assistance in accord-
                                                               ance with this section.                                  Section 1927(c)(1)(B)(i)(VI) (42 U.S.C. 1396r–
      Crapo             Lugar              Voinovich
      DeMint            Martinez           Warner                (b)    HIV-INFECTED       INDIVIDUALS      DE-       8(c)(1)(B)(i)(VI)), as    added    by   section
                                                               SCRIBED.—For purposes of subsection (a),               6002(a)(3), is amended by striking ‘‘17’’ and
                       NOT VOTING—1                            HIV-infected individuals described in this             inserting ‘‘17.8’’.
                        Corzine                                subsection are individuals who are not de-               Mr. SMITH. The amendment I am of-
        The amendment (No. 2396) was re-                       scribed in section 1902(a)(10)(A)(i) of the So-        fering authorizes $450 million for State
                                                               cial       Security      Act      (42     U.S.C.
      jected.                                                  1396a(a)(10)(A)(i))—
                                                                                                                      demonstration projects to provide Med-
        Mr. GREGG. Mr. President, I move to                      (1) who have HIV infection;                          icaid coverage to low-income individ-
      reconsider the vote.                                       (2) whose income (as determined under the            uals living with HIV. It is similar to S.
        Mr. ENSIGN. I move to lay that mo-                     State Medicaid plan with respect to disabled           311, Early Treatment for HIV Act. I in-
      tion on the table.                                       individuals) does not exceed 200 percent of            troduced this earlier this year with
        The motion to lay on the table was                     the poverty line (as defined in section                strong support of 33 of my colleagues.
      agreed to.                                               2110(c)(5) of the Social Security Act (42              As Medicaid generally covers only
        Mr. GREGG. I ask unanimous con-                        U.S.C. 1397jj(c)(5)); and                              those disabled by full-blown AIDS, the
      sent that Senator SMITH be allowed to                      (3) whose resources (as determined under
                                                               the State Medicaid plan with respect to dis-
                                                                                                                      amendment would vastly improve the
      offer an amendment.                                                                                             treatment available to some of our
                                                               abled individuals) do not exceed the max-
        Mr. CONRAD. Reserving the right to                                                                            most vulnerable citizens.
                                                               imum amount of resources a disabled indi-
      object.                                                  vidual described in section 1902(a)(10)(A)(i) of         With more States having difficulty
        The PRESIDING OFFICER. The Sen-                        such Act may have and obtain medical as-               maintaining their AIDS drug assist-
      ator from North Dakota.                                  sistance under such plan.                              ance program, it is imperative that we
        Mr. CONRAD. Could we also put in                         (c) LENGTH OF PERIOD FOR PROVISION OF                provide alternative methods of deliv-
      order my amendment?                                      MEDICAL ASSISTANCE.—A State shall not be               ering treatment to those individuals
        Mr. GREGG. And at a later date, Sen-                   approved to provide medical assistance to an
                                                               HIV-infected individual in accordance with             with HIV who are living in poverty. It
      ator CONRAD be put on the list of Sen-                                                                          is simply the right thing to do. I ask
      ators who can offer an amendment.                        the demonstration project established under
                                                               this section for a period of more than 5 con-          for my colleagues’ support for this fis-
        The PRESIDING OFFICER. Is there                        secutive years.                                        cally and morally defensible policy.
      objection?                                                 (d) LIMITATIONS ON FEDERAL FUNDING.—                   Mr. GREGG. I ask for a voice vote.
        Without objection, it is so ordered.                     (1) APPROPRIATION.—                                    The PRESIDING OFFICER. Is all
        The Senator from Oregon.                                 (A) IN GENERAL.—Out of any funds in the              time yielded back?
                      AMENDMENT NO. 2390                       Treasury not otherwise appropriated, there               Mr. GREGG. Yes.
        Mr. SMITH. I ask unanimous consent                     is appropriated to carry out this section,               The PRESIDING OFFICER. The
      to call up amendment No. 2390. I also                    $450,000,000 for the period of fiscal years 2006
                                                               through 2010.
                                                                                                                      question is on agreeing to the amend-
      ask unanimous consent that Senator                                                                              ment.
                                                                 (B) BUDGET AUTHORITY.—Subparagraph (A)
      FEINGOLD be added as a cosponsor to                      constitutes budget authority in advance of               The amendment (No. 2390) was agreed
      my amendment. I am already pleased                       appropriations Act and represents the obli-            to.
      that Senator CLINTON is a cosponsor.                     gation of the Federal Government to provide              Mr. GREGG. Mr. President, I move to
        The PRESIDING OFFICER. The                             for the payment of the amounts appropriated            reconsider the vote and lay that mo-
      clerk will report.                                       under that subparagraph.                               tion on the table.
        The assistant legislative clerk read                     (2) LIMITATION ON PAYMENTS.—In no case                 The motion to lay on the table was
      as follows:                                              may—                                                   agreed to.
        The Senator from Oregon [Mr. SMITH], for                 (A) the aggregate amount of payments                               AMENDMENT NO. 2371
      himself, Mrs. CLINTON, and Mr. FEINGOLD,                 made by the Secretary to eligible States
                                                               under this section exceed $450,000,000; or               Ms. SNOWE. Mr. President, I call up
      proposes an amendment numbered 2390.                                                                            amendment 2371 and ask for its imme-
                                                                 (B) payments be provided by the Secretary
        Mr. SMITH. Mr. President, I ask                        under this section after September 30, 2010.           diate consideration.
      unanimous consent that the reading of                      (3) FUNDS ALLOCATED TO STATES.—The Sec-                The PRESIDING OFFICER. The
      the amendment be dispensed with.                         retary shall allocate funds to States with ap-         clerk will report.



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060    PO 00000   Frm 00039   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.059   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 41 of 91
      S12324                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
        The assistant journal clerk read as                   to now up to $720 billion for the Part D               requires that the HHS Secretary do so
      follows:                                                Program.                                               for covered part D drugs for each fall-
        The Senator from Maine [Ms. SNOWE], for                  As we see in this first chart, the                  back prescription drug plan—plans
      herself, Mr. WYDEN, Mr. MCCAIN, Ms.                     brand-named prices are consistently                    where the Federal Government is as-
      STABENOW, and Mrs. CLINTON, proposes an                 outpacing inflation because they have                  suming the risk—and upon the request
      amendment numbered 2371.                                no competition. As we can see with the                 of an approved prescription drug plan
        Ms. SNOWE. Mr. President, I ask                       generic drugs, where there is competi-                 or a medicare advantage prescription
      unanimous consent that the reading of                   tion, the price is lower. We want to                   drug plan.
      the amendment be dispensed with.                        give the Secretary of Health and                         What the amendment does not do is
        The PRESIDING OFFICER. Without                        Human Services the ability to nego-                    require the Secretary to set drug prices
      objection, it is so ordered.                            tiate prices, particularly for those sen-              or formularies. I have heard the argu-
        The amendment is as follows:                          iors who will not have access to more                  ment that this amendment will result
      (Purpose: To amend title XVIII of the Social            than two prescription drug plans or                    in price controls. That argument has
        Security Act to provide the authority for             where the plans ask for negotiating au-                been made time and time again by drug
        negotiating fair prices for medicare pre-             thority.                                               companies who would rather profit
        scription drugs)                                         This is not price setting. This is price            from the Federal Government paying
        After section 6115, insert the following:             saving. In fact, we have explicit lan-                 too much for drugs than allow the Fed-
      SEC. 6116. NEGOTIATING FAIR PRICES FOR MEDI-            guage in the legislation that says this                eral Government to use its purchasing
                  CARE PRESCRIPTION DRUGS.                                                                           power to negotiate for the best deals on
                                                              is not about price setting. It does not
        (a) IN GENERAL.—Section 1860D–11 (42                                                                         drug prices.
                                                              give the Secretary that authority. It
      U.S.C. 1395w–111) is amended by striking sub-                                                                    The reality is that this amendment
      section (i) (relating to noninterference) and           allows him to save money for the Part
                                                              D Program that is expected and pro-                    specifically states that the Secretary
      inserting the following:
        ‘‘(i) AUTHORITY TO NEGOTIATE PRICES WITH              jected to increase in cost by more than                may not require a particular formulary
      MANUFACTURERS.—                                         8.5 percent as called for by the Congres-              or institute a price structure for the
        ‘‘(1) IN GENERAL.—Subject to paragraph (4),           sional Budget Office. That is the CBO’s                reimbursement of covered part D
      in order to ensure that beneficiaries enrolled          very own numbers.                                      drugs.
      under prescription drug plans and MA–PD                    Finally, 80 percent of seniors in                     I have also heard the argument that
      plans pay the lowest possible price, the Sec-           America have called for the Secretary                  the Secretary won’t be able to nego-
      retary shall have authority similar to that                                                                    tiate better drug prices than private
      of other Federal entities that purchase pre-
                                                              to have this authority.
                                                                 Mrs. FEINSTEIN. Mr. President, I                    plans currently do. I come from a State
      scription drugs in bulk to negotiate con-                                                                      with the largest purchasing power in
      tracts with manufacturers of covered part D             rise today to voice my support for
                                                              amendment No. 2371 offered by Sen-                     the country for drugs in its Medicaid
      drugs, consistent with the requirements and
      in furtherance of the goals of providing qual-          ators SNOWE and WYDEN, which I am                      program and it is clear that the size of
      ity care and containing costs under this                pleased to cosponsor. The amendment                    California’s market has helped Califor-
      part.                                                   ensures that the Health and Human                      nia’s ability to negotiate more com-
        ‘‘(2) MANDATORY RESPONSIBILITIES.—The                 Services, HHS Secretary has an active                  petitive drug prices in Medicaid.
      Secretary shall be required to—                                                                                  But don’t take my word for it. In
                                                              role in managing the costs of the
        ‘‘(A) negotiate contracts with manufactur-                                                                   2004, CBO stated, ‘‘giving the Secretary
      ers of covered part D drugs for each fallback           newly-created Medicare prescription
                                                                                                                     an additional tool—the authority to
      prescription drug plan under subsection (g);            drug program, part D, by striking lan-
                                                                                                                     negotiate prices with manufacturers of
      and                                                     guage in the Medicare Modernization
                                                                                                                     such drugs—would put greater pressure
        ‘‘(B) participate in negotiation of contracts         Act of 2003 that prohibits the HHS Sec-
      of any covered part D drug upon request of
                                                                                                                     on those manufacturers and could
                                                              retary from using the bulk purchasing
      an approved prescription drug plan or MA–                                                                      produce some additional savings.’’
                                                              power of the Federal Government to
      PD plan.                                                                                                       With respect to sole source drugs, CBO
                                                              obtain prescription drugs at the lowest
        ‘‘(3) RULE OF CONSTRUCTION.—Nothing in                                                                       went on to say, ‘‘there is potential for
                                                              possible cost to taxpayers.
      paragraph (2) shall be construed to limit the                                                                  some savings if the Secretary were to
      authority of the Secretary under paragraph
                                                                 On the eve of the vote on the final
                                                                                                                     have the authority to negotiate prices
      (1) to the mandatory responsibilities under             Medicare bill, my colleague Senator
                                                                                                                     with manufacturers of single-source
      paragraph (2).                                          WYDEN and I agreed that this prohibi-
                                                                                                                     drugs that do not face competition
        ‘‘(4) NO PARTICULAR FORMULARY OR PRICE                tion language, also referred to as ‘‘the
                                                                                                                     from therapeutic alternatives.’’
      STRUCTURE.—In order to promote competi-                 noninterference clause,’’ was a major                    Prescription drug prices for existing
      tion under this part and in carrying out this           flaw in the overall bill. Although we
      part, the Secretary may not require a par-                                                                     drugs—these are not new drugs, but old
                                                              both voted in favor of the bill because                ones—have been rising at two to three
      ticular formulary or institute a price struc-           it afforded seniors and the disabled the
      ture for the reimbursement of covered part D                                                                   times the inflation rates, according to
      drugs.’’.
                                                              first-ever opportunity to voluntarily                  the Government Accountability Office.
        (b) EFFECTIVE DATE.—The amendment                     sign up for a drug benefit in Medicare,                So I ask the question: Why are we not
      made by this section shall take effect as if            we agreed to work to repeal this prohi-                doing everything in our power to en-
      included in the enactment of section 101 of             bition language in the bill. I have been               sure the Federal Government is getting
      the Medicare Prescription Drug, Improve-                pleased to join with Senators SNOWE                    the lowest prices for drugs?
      ment, and Modernization Act of 2003 (Public             and WYDEN on legislation the past two
      Law 108–173).
                                                                                                                       The Snowe-Wyden amendment en-
                                                              Congresses to do just that.                            sures fiscal responsibility in an entitle-
        Ms. SNOWE. Mr. President, I ask                          Since casting my vote on the final                  ment program whose escalating costs
      unanimous consent that Senator CLIN-                    Medicare bill which, at the time, I be-                pose a very serious problem for future
      TON be added as a cosponsor.                            lieved was for a $400 billion bill, we                 generations. I am pleased to be a co-
        The PRESIDING OFFICER. Without                        have all learned that more accurate es-                sponsor of this amendment and urge
      objection, it is so ordered.                            timates of the cost of the overall bill                my colleagues to support the amend-
        Ms. SNOWE. Mr. President, I am of-                    were withheld from Congress and that                   ment.
      fering this amendment on behalf of my-                  the true cost of the bill will now exceed                The PRESIDING OFFICER. The Sen-
      self and Senator WYDEN, who has of-                     $720 billion over the next 10 years. Now,              ator’s time has expired.
      fered considerable leadership on this                   more than ever, Congress must do ev-                     Ms. SNOWE. The former Secretary of
      issue over the years providing afford-                  erything it can to ensure that the gov-                HHS said: I would like to have had the
      able medications to our seniors, along                  ernment and taxpayer dollars are get-                  opportunity to negotiate.
      with Senator MCCAIN and Senator                         ting the best deal out there on the cost                 Let us give this power to the Sec-
      STABENOW. So many of us in Congress                     of drugs covered by Medicare.                          retary to save money for the program
      have worked to make prescription drug                      That is what this amendment will do.                and to save money for seniors.
      coverage a part of the Medicare Pro-                    The amendment strikes the so-called                      The PRESIDING OFFICER. Who
      gram, but the fact remains that the                     ‘‘noninterference’’ clause, gives the                  yields time in opposition?
      costs are rising since the time we first                HHS Secretary authority to negotiate                     Mr. GREGG. I yield to the Senator
      created this program, from $523 billion                 prices with drug manufacturers, and                    from Iowa.



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00040   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.106   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 42 of 91
      November 3, 2005                  CONGRESSIONAL RECORD — SENATE                       S12325
        The PRESIDING OFFICER. The Sen-                        Ensign              Kyl                   Shelby            The amendment (No. 2408) was re-
                                                               Enzi                Lott                  Smith
      ator from Iowa.                                          Frist               Lugar                 Stevens
                                                                                                                         jected.
        Mr. GRASSLEY. Mr. President, the                       Grassley            Martinez              Sununu            Mr. GREGG. Mr. President, I move to
      fact is that the Government does not                     Gregg               McConnell             Talent          reconsider the vote, and I move to lay
                                                               Hagel               Murkowski             Thomas          that motion on the table.
      negotiate prices, it sets prices. The sec-               Hatch               Nelson (NE)           Thune
      ond thing is that we set in place in the                 Hutchison           Roberts               Vitter            The motion to lay on the table was
      Medicare bill plans to negotiate prices,                 Inhofe              Santorum              Voinovich       agreed to.
      and we know now from experience, and                     Isakson             Sessions              Warner            Mr. GREGG. At this point, I believe
      I did not know it when this amendment                                       NOT VOTING—1                           the Senator from North Dakota has an
      was offered before, that these plans are                                     Corzine                               amendment to offer.
      negotiating prices that are much lower                     The PRESIDING OFFICER. On this                                       AMENDMENT NO. 2422
      for beneficiaries and the taxpayers                      vote, the ayes are 51, the nays are 48.                     Mr. CONRAD. Mr. President, I call up
      than we even anticipated when we                         Three-fifths of the Senators duly cho-                    amendment 2422.
      passed the bill 2 years ago.                             sen and sworn not having voted in the                       The PRESIDING OFFICER. The
        One thing that ought to be taken                       affirmative, the motion is rejected.                      clerk will report.
      into consideration is the fact that                      The point of order is sustained, and the                    The Journal clerk read as follows:
      there is no savings from this amend-                     amendment falls.                                            The Senator from North Dakota [Mr.
      ment. I would like to quote from The                       Mr. GREGG. I move to reconsider the                     CONRAD], for himself and Mr. SALAZAR, pro-
      Washington Post, February 17: Govern-                    vote, and I move to lay that motion on                    poses an amendment numbered 2422.
      ments are notoriously bad for setting                    the table.                                                  Mr. CONRAD. I ask unanimous con-
      prices, and the U.S. Government is no-                     The motion to reconsider was laid on                    sent the reading of the amendment be
      toriously bad at setting prices in the                   the table.                                                dispensed with.
      medical realm.                                             Mr. GREGG. I would now like to turn                       The PRESIDING OFFICER. Without
        We need to defeat this amendment as                    to the amendment of Senator CORNYN.                       objection, it is so ordered.
      we defeated it a few months ago.                           The PRESIDING OFFICER. The Sen-                           The amendment is as follows:
        Ms. SNOWE. I ask unanimous con-                        ator from Texas.
                                                                                                                         (Purpose: To ensure Medicaid enrollees have
      sent to add Senator KERRY and Senator                                      AMENDMENT NO. 2408
                                                                                                                           access to small, independent pharmacies
      DODD as cosponsors.                                        Mr. CORNYN. I call up amendment                           located in rural and frontier areas)
        The PRESIDING OFFICER. Without                         No. 2408 and ask for its immediate con-                     On page 121, after line 25, add the fol-
      objection, it is so ordered.                             sideration.                                               lowing:
                                                                 The PRESIDING OFFICER. The                                ‘‘(5) RULES APPLICABLE TO CRITICAL ACCESS
        Mr. GRASSLEY. Mr. President, the
                                                               clerk will report.                                        RETAIL PHARMACIES.—
      amendment is not germane to the                            The assistant legislative clerk read
      measure before the Senate so I raise a                                                                               ‘‘(A) REIMBURSEMENT LIMITS.—Notwith-
                                                               as follows:                                               standing paragraph (2)(A), in the case of a
      point of order under section 305 of the                    The Senator from Texas [Mr. CORNYN] pro-                critical access retail pharmacy (as defined in
      Budget Act.                                              poses an amendment numbered 2408.                         subparagraph (C)), the upper payment
        Ms. SNOWE. Mr. President, I move to                      Mr. CORNYN. I ask unanimous con-                        limit—
      waive that.                                              sent that further reading of the amend-                     ‘‘(i) for the ingredient cost of a single
        I ask for the yeas and nays.                                                                                     source drug, is the lesser of—
                                                               ment be dispensed with.
        The PRESIDING OFFICER. Is there a                                                                                  ‘‘(I) 108 percent of the average manufac-
                                                                 The PRESIDING OFFICER. Without
      sufficient second?                                                                                                 turer price for the drug; or
                                                               objection, it is so ordered.                                ‘‘(II) the wholesale acquisition cost for the
        There appears to be a sufficient sec-                    The amendment is as follows:                            drug; and
      ond.                                                          (Purpose: To eliminate the converter box               ‘‘(ii) for the ingredient cost of a multiple
        The question is on agreeing to the                                      subsidy program)                         source drug, is the lesser of—
      motion.                                                       On page 94, strike line 7 through 12.                  ‘‘(II) 140 percent of the weighted average
        The clerk will call the roll.                            Mr. CORNYN. Mr. President, in 1928,                     manufacturer price for the drug; or
        The assistant legislative clerk called                 Herbert Hoover ran for President based                      ‘‘(II) the wholesale acquisition cost for the
      the roll.                                                on the slogan ‘‘a chicken in every pot                    drug.
                                                                                                                           ‘‘(B) APPLICATION OF OTHER PROVISIONS.—
        Mr. DURBIN. I announce that the                        and a car in every garage.’’
                                                                                                                         The preceding provisions of this subsection
      Senator from New Jersey (Mr. CORZINE)                      Under the provisions of this bill, the                  shall apply with respect to reimbursement to
      is necessarily absent.                                   American taxpayer is being asked to                       a critical access retail pharmacy in the same
        The PRESIDING OFFICER. Are there                       subsidize television—digital television                   manner as such provisions apply to reim-
      any other Senators in the Chamber de-                    to be specific—to the tune of $3 billion.                 bursement to other retail pharmacies except
      siring to vote?                                            I congratulate the leadership and                       that, in establishing the dispensing fee for a
        The yeas and nays resulted—yeas 51,                    particularly Chairman GREGG for the                       critical access pharmacy the Secretary, in
      nays 48, as follows:                                     good work he has done trying to save                      addition to the factors required under para-
                                                               the beleaguered American taxpayer                         graph (4), shall include consideration of the
                  [Rollcall Vote No. 302 Leg.]                                                                           costs associated with operating a critical ac-
                                                               quite a bit of money and to reduce the
                           YEAS—51                             Federal deficit. What we are being                        cess retail pharmacy.
      Akaka             Dorgan             Lincoln                                                                         ‘‘(C) CRITICAL ACCESS RETAIL PHARMACY DE-
                                                               asked to do here, what the taxpayers
      Bayh              Durbin             McCain                                                                        FINED.—For purposes of subparagraph (A),
      Biden             Feingold           Mikulski            are being asked to suffer is a transfer                   the term ‘critical access retail pharmacy’
      Bingaman          Feinstein          Murray              of money from their pocket basically                      means an retail pharmacy that is not within
      Boxer             Graham             Nelson (FL)         to the living rooms of the television-                    a 20-mile radius of another retail phar-
      Brownback         Harkin             Obama               watching public so we can transition                      macy.’’.
      Byrd              Inouye             Pryor
      Cantwell          Jeffords           Reed                from analog to digital TV. But to make                      (2) INCREASE IN BASIC REBATE FOR SINGLE
      Carper            Johnson            Reid                things even more ironic, what this $3                     SOURCE    DRUGS AND INNOVATOR MULTIPLE
      Chafee            Kennedy            Rockefeller         billion is supposed to do is to provide                   SOURCE    DRUGS.—Section 1927(c)(1)(B)(i)(VI)
      Clinton           Kerry              Salazar
                                                               converters so they can take the digital                   (42 U.S.C. 1396r–8(c)(1)(B)(i)(VI), as added by
      Coburn            Kohl               Sarbanes                                                                      section 6002(a)(3), is amended by striking
      Collins           Landrieu           Schumer             signal and transition it back to the                      ‘‘17’’ and inserting ‘‘18.1’’.
      Conrad            Lautenberg         Snowe               analog and reverse the action of this
      Dayton            Leahy              Specter             Congress. It makes no sense. We can do                      Mr. CONRAD. Mr. President, in the
      DeWine            Levin              Stabenow
                                                               better than this.                                         interest of time, very briefly, this is to
      Dodd              Lieberman          Wyden
                                                                 I urge my colleagues to support the                     help rural remote pharmacies with
                          NAYS—48                              amendment.                                                modestly enhanced reimbursement. I
      Alexander         Bunning            Cornyn                Mr. GREGG. Mr. President, I ask for                     very much thank my colleagues on
      Allard            Burns              Craig               a voice vote.                                             both sides of the aisle who have agreed
      Allen             Burr               Crapo                                                                         to support this amendment. I espe-
      Baucus            Chambliss          DeMint
                                                                 The PRESIDING OFFICER. If all
      Bennett           Cochran            Dole                time is yielded back, the question is on                  cially thank the chairman of the Fi-
      Bond              Coleman            Domenici            agreeing to the amendment.                                nance Committee for his support.



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060    PO 00000    Frm 00041   Fmt 0624    Sfmt 0634    E:\CR\FM\G03NO6.108   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 43 of 91
      S12326                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
        Mr. GREGG. I urge the amendment                       him the intent of the bill regarding dis-                Mr.   GRASSLEY. Senator ROCKE-
      be agreed to.                                           pensing fees and respond to some of his                FELLER,   I share your concerns about
        The PRESIDING OFFICER. Is all                         concerns. I agree that States will need                the Section 1115 waivers recently nego-
      time yielded back?                                      to review and increase the fees that                   tiated by CMS and several States, in-
        Mr. GREGG. Yes.                                       they pay pharmacies for dispensing                     cluding Florida and Vermont. I am also
        The PRESIDING OFFICER. The                            Medicaid prescriptions. We want to be                  concerned about pending waivers being
      question is on agreeing to the amend-                   sure that Medicaid recipients can con-                 negotiated in South Carolina, Ken-
      ment.                                                   tinue to have access to prescription                   tucky, Georgia and West Virginia.
        The amendment (No. 2422) was agreed                   medications from their local phar-                     Medicaid is a joint Federal-State part-
      to.                                                     macies. Coming from a rural State, I                   nership in all respects, including its fi-
                      AMENDMENT NO. 2392                      know that many of my constituents                      nancing, and both Congress and bene-
        Mr. GREGG. Mr. President, I wish to                   rely on pharmacies for health care                     ficiaries should be aware of the extent
      reiterate my statement which was in-                    services and the pharmacist may be the                 to which CMS is negotiating waivers
      advertently omitted from yesterday’s                    only health care professional for many                 with States that modify the Federal-
      RECORD with regard to amendment No.                     miles.                                                 State financing relationship or the
      2392 that we will support an effort to                    The overall assumptions made in the                  Federal guarantee of health benefits.
      pass legislation to make the technical                  bill is that States will increase their                CMS has taken several steps to im-
      change deleted from our bill in a more                  dispensing fees to account for the fact                prove the waiver information available
      appropriate vehicle.                                    that States would probably be paying                   on its website since early 2002. How-
                PHARMACY DISPENSING FEES                      pharmacists a lower amount for the                     ever, as you pointed out at the Finance
        Mr. REED. Mr. President, I engage                     drug product that more accurately re-                  Committee hearing last week, CMS
      my colleague, the Chairman of the Sen-                  flects the cost of the drug product that               does not post notification on their
      ate Finance Committee, in a colloquy                    is being dispensed. The amount of the                  website when they have received for-
      about his intent regarding Medicaid                     dispensing fee increase will depend on                 mal or informal communication from a
      pharmacy dispensing fees in the Med-                    many factors in each State.                            State regarding a waiver and the
      icaid pharmacy reimbursement reform                       We expect that each State will regu-                 ‘‘State Waiver Programs and Dem-
      section of the Budget Reconciliation                    larly undertake surveys of current                     onstrations’’ portion of the website is
      Act.                                                    pharmacy dispensing costs to deter-                    not updated by CMS on a regular basis.
        As I understand the intent of these                   mine their dispensing fees, and that                     Mr. BAUCUS. Senator GRASSLEY, I
      provisions, States are required to pay                  such costs would include those that are                think it is more than just a question of
      dispensing fees to pharmacies for Med-                  listed in the bill. States would set their             transparency. It is also a question of
      icaid prescriptions, but there are no                   dispensing fees based on those surveys.                legality. In many cases, the content of
      specific minimum fees set forth in the                  We also expect that States will pay                    the waivers that CMS is negotiating
      bill. States are given some guidance re-                pharmacies a reasonable return for dis-                fundamentally alters the Federal guar-
      garding the factors to use when setting                 pensing Medicaid prescriptions.                        antee of Medicaid benefits. This is not
      the fees, but there are no requirements                   Our expectation is that States will do               the intended purpose of Medicaid dem-
      to do anything more than take those                     all they can to encourage the dis-                     onstration authority. Section 1115
      factors into ‘‘consideration’’ when set-                pensing of generic drugs in Medicaid. It               waiver authority allows the Secretary
      ting fees.                                              is my expectation that States will set                 of the Department of Health and
        I am concerned that the States will                   significantly higher fees for generics                 Human Services to waive certain provi-
      not be able to accurately account for                   than for brands, such as one and a half                sions of the Medicaid program if the
      these factors when setting these dis-                   or twice the brand name fee. If an inno-               changes are determined to ‘‘promote
      pensing fees. As a consequence, phar-                   vator multiple source drug is less than                the objectives’’ of Medicaid. I am con-
      macies will be paid significantly less                  or equal to the cost of a generic, then                cerned that the current waivers being
      for the drug product that they provide                  the State should pay the generic dis-                  approved by CMS go well beyond CMS’
      to Medicaid recipients. This could                      pensing fee for that drug.                             authority and that Congress should be
      make it difficult for Medicaid recipi-                    Mr. REED. I thank the Chairman for                   more vigilant in its oversight.
      ents to continue to obtain their pre-                   his clarification regarding dispensing                   Mr. GRASSLEY. Senator BAUCUS, I
      scription medications from their neigh-                 fees. I look forward to working with                   certainly appreciate your views on this
      borhood pharmacy, and many phar-                        you as this process moves forward to                   issue. You and I have worked hard over
      macies may have to close or reduce                      ensure that any reforms in the Med-                    the last couple of years to improve
      hours. The total payment to phar-                       icaid pharmacy payment system will                     Medicaid waiver transparency, and I
      macies for the drug product and dis-                    provide adequate reimbursement to                      think we have made some progress.
      pensing fee must be adequate to pay                     pharmacies for dispensing Medicaid                     But, I understand your desire to do
      pharmacies to buy the drug, dispense                    prescriptions since beneficiary access                 more. I want to continue working with
      the medication, and have a reasonable                   to lifesaving medications depends on                   you to ensure that the Senate Finance
      return. It is my understanding that                     pharmacies to dispense them.                           Committee fulfills its oversight obliga-
      States would have to pay double or tri-                                  MEDICAID WAIVERS                      tion in this area. I also think that the
      ple the dispensing fees currently being                   Mr. ROCKEFELLER. Last month,                         Medicaid waiver amendment that Sen-
      paid to he pharmacies just to break                     the Centers for Medicare and Medicaid                  ator ROCKEFELLER is offering has
      even.                                                   Services—CMS, approved a comprehen-                    merit, and I would like to continue
        I am also concerned that States do                    sive Section 1115 waiver for the State                 working with him to improve the waiv-
      not have any guidance or direction in                   of Florida, the latest in a string of                  er information available on CMS’
      the bill on how to set their dispensing                 waivers that allows States to dramati-                 website.
      fees for generic drugs in relation to                   cally reshape the financing and entitle-                 Mr.     ROCKEFELLER.         Chairman
      brand name drugs. While the bill does                   ment guarantees established by law in                  GRASSLEY, I thank you for your will-
      say that States should set dispensing                   the Medicaid program. These far-reach-                 ingness to work with me. This is a
      fees for non innovator multiple source                  ing Medicaid waivers are generally ne-                 matter of good government. The Gov-
      drugs higher than innovator multiple                    gotiated in secret without input from                  ernment Accountability Office has pub-
      source drugs that are therapeutically                   the very beneficiaries who would be af-                lished several reports which indicate
      equivalent and bioequivalent, I urge                    fected by such drastic changes to the                  that the Department of Health and
      that the language require that fees for                 program. That is why I have filed an                   Human Services has failed to follow its
      generic drugs in general be set higher                  amendment to this budget reconcili-                    own policy on providing opportunities
      than fees for brand name drugs. This                    ation bill that will require CMS to post               for the public to learn about and com-
      will encourage the dispensing of ge-                    public notification on their website                   ment on pending waiver requests. Con-
      neric drugs which can be one-fifth the                  within 5 business days whenever a                      gress has a responsibility to assert its
      cost of a brand name drug.                              State submits a waiver concept paper                   oversight authority on Section 1115
        Mr. GRASSLEY. I thank the Senator                     for feedback or a formal waiver pro-                   waivers because Medicaid is too impor-
      for his concerns and want to clarify for                posal for discussion and review.                       tant a program to allow it to be waived



VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00042   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.111   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 44 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12327
      away through secret negotiations and                      Within the system, pharmaceutical                    the wrong priorities and irresponsible
      without input from those who will be                    distributors are able to reduce the cost               policies.
      affected or their advocates.                            by minimizing the overall number of                      As a result, we now have encountered
        MEDICAID PHARMACY, REIMBURSEMENT FOR                  transactions required to distribute pre-               years of record deficits that have con-
                    PRESCRIPTIONS                             scription drugs, over-the-counter prod-                tributed to $3 trillion added to our
        Mr. VOINOVICH. Mr. Chairman, I ap-                    ucts, and medical supplies. Nationally,                country’s debt. Moreover, under Presi-
      plaud your leadership on the Medicare                   wholesalers serve more than 130,000                    dent Bush’s watch, American debt to
      and Medicaid portion of this reconcili-                 customers. The typical distributor pur-                foreigners has doubled. Japan holds
      ation package and am committed to                       chases products from an average of 850                 $680 billion of our debt, China holds
      working with you to achieve reduc-                      vendors. These distributors take own-                  $240 billion, and the Carribean Banking
      tions in mandatory spending programs                    ership of the products and responsi-                   Centers hold over $100 billion. Increas-
      under your jurisdiction as instructed in                bility for warehousing and distributing                ingly, our fate is in the hands of their
      the congressional budget resolution. I                  individual orders to retail pharmacies                 central banks and investors.
      believe that it is necessary to maintain                and other sites of care on a daily basis.                We must take action so that we don’t
      fiscal constraint and recognize the dif-                This efficient model ensures that phar-                put this burden on our Nation’s future
      ficult task involved in achieving that                  macies have pharmaceutical products                    generations. The budget reconciliation
      end while ensuring that the country’s                   available for their patients.                          process was designed for such a situa-
      health care safety net remains avail-                     I look forward to working with                       tion: to give Congress the tools nec-
      able for our citizens who truly need it                 Chairman GRASSLEY to maintain this                     essary for deficit reduction. Reconcili-
      the most.                                               current drug distribution system and                   ation could have offered us the oppor-
        As we move forward in advancing                       to ensure that when the legislation be-                tunity to work across the aisle to take
      that goal, I understand that there are                  fore us is enacted into law, it clearly                responsible steps toward reducing the
      several changes included in the rec-                    excludes prompt-pay discounts from                     deficit.
      onciliation package being considered                    the pharmacy reimbursement method-                       Instead, my colleagues on the other
      today that address Medicaid pharmacy                    ology that will be used to pay phar-                   side of the aisle are pushing for the
      reimbursement for prescription drugs                    macies for drugs dispensed to Medicaid                 wrong priorities. Take for example
      dispensed in the pharmacy setting. I                    beneficiaries.                                         their opposition to Senator CONRAD’s
      know you and your staff worked very                             MEDICARE BAD DEBT, COLLECTION                  commonsense amendment on fiscal re-
      hard to craft the Medicaid provisions                     Mrs. LINCOLN. I will discuss today                   sponsibility. His amendment, called
      contained in this legislation and that                  with my distinguished colleague from                   paygo, would have reinstated a rule
      we both share the common goal of en-                    Idaho, Senator CRAPO, to discuss the                   meant to stop Congress from worsening
      suring that Medicaid beneficiaries con-                 change in Medicare bad debt policy as                  the deficit. It was my hope that it
      tinue to have access to cost-effective                  proposed in this budget reconciliation                 would have once again served as a
      prescription drugs reimbursed at an ap-                 bill. I feel there is a need to differen-              check against irresponsible spending or
      propriate rate.                                         tiate between debt owed by individuals                 new rounds of tax cuts at a time when
        In that light, I understand that it is                and debt owed by States. The sponsors                  the Nation cannot afford them.
      not your intent to inadvertently dis-                   of this policy argue that it will encour-                My colleagues across the aisle say
      rupt the highly efficient drug distribu-                age skilled nursing facilities to be                   that tough choices are needed to get
      tion system responsible for assuring                    more efficient in the collection of bad                our fiscal house in order. I agree—we
      access to needed drugs across the Na-                   debt. However, how can the facility be                 should balance the federal budget just
      tion’s pharmacies. I think we both be-                  more efficient if the state simply re-                 as every American must balance theirs,
      lieve that the drug distribution system                 fuses to pay the Medicare copayments                   unless a natural disaster or other na-
      can best be preserved if prompt-pay                     through its Medicaid program? In 2003,                 tional crisis demands it. Anytime Con-
      discounts paid to distributors are ex-                  nursing homes in my home state of Ar-                  gress wants to raise spending—or lower
      cluded from the new Medicaid phar-                      kansas never received the $589,263 in                  revenue—Congress should pause and be
      macy reimbursement methodology.                         coinsurance owed to them from the                      required to stand up to vote and defend
      Was this the Chairman’s intention?                      Medicaid program. This body should                     its action. That is what this amend-
        Mr. GRASSLEY. I do recognize the                      examine the root of this problem be-                   ment would have required, but Repub-
      valuable role drug distributors play in                 fore implementing the bad debt policy                  licans voted against fiscal responsi-
      the delivery of prescription medication                 in this bill. It is my hope that the con-              bility.
      and our Nation’s health care and did                    ference committee considers this when                    Today, we are debating the spending
      intend to exclude prompt pay discounts                  examining this policy.                                 reconciliation bill for fiscal year 2006,
      from the methodology.                                     Mr CRAPO. Senator LINCOLN makes a                    but it is only half of the equation. This
        I say to my colleague from Ohio that                  good point. While I support the Fi-                    bill makes $39 billion in cuts to critical
      I will work with him to ensure that my                  nance Committee’s goal of encouraging                  spending programs. Many of these cuts
      intention to exclude the discounts is                   accountability and incentivizing the                   will directly hurt low- and middle-in-
      preserved through the conference and                    collection of Medicare bad debt by                     come Americans. The bill takes away
      enacted into law.                                       skilled nursing facilities, I do see the               Americans’ access to health care and
        Mr. VOINOVICH. I thank the chair-                     need to differentiate between debt                     affordable housing and jeopardizes
      man and look forward to working with                    owed by individuals and debt owed by                   their pensions. The bill attacks impor-
      him in this effort. I know he agrees                    States. I believe this conference should               tant conservation efforts by cutting
      with me that Congress should not es-                    consider this point as well.                           funding and opening up the Arctic Na-
      tablish a Medicaid pharmaceutical re-                     Ms. MIKULSKI. Mr. President, I                       tional Wildlife Refuge to drilling. But
      imbursement system that might dis-                      would like to take this opportunity to                 the bill stays silent on lowering energy
      courage manufacturers from paying                       say how deeply concerned I am over                     prices for working families who can no
      distributors prompt-pay discounts if                    the wrong priorities in the spending                   longer afford to pay their monthly gas
      wholesalers pay their bill prior to their               reconciliation bill that is before us                  bills. Simply put, it leaves too many
      contractual obligation—a practice that                  today.                                                 Americans out in the cold.
      has occurred for the past 30 years.                       The United States faces a Federal                      In several weeks, the Senate will be
        We both understand that the drug                      deficit of $331 billion for fiscal year 2005           taking up a tax reconciliation bill.
      distribution system has consistently                    alone, according to the Congressional                  That bill will cut taxes by $70 billion,
      ensured that every pharmacy in the                      Budget Office. This is a complete turn-                with an average giveaway of $35,500 for
      Nation has access to prescription drugs                 around from when President Bush took                   those making more than $1 million
      in a timely manner. This system is                      office just under five years ago. He in-               each year. Those with incomes between
      highly complex but provides an ex-                      herited record budget surpluses and                    $50,000 and $200,000 would get just over
      tremely efficient delivery model that                   turned them into record deficits. Un-                  $100 on average. The difference is strik-
      reduces health care costs to the overall                fortunately, that has not stopped Re-                  ing, but not so much as the fact that
      health care system.                                     publicans from pushing relentlessly for                this will all be done under the Senate’s



VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00043   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.077   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 45 of 91
      S12328                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      procedure of reconciliation—which was                   lower the rate on dividend income and                  and which population to cover, and,
      designed to lower the deficit, not raise                capital gains. Just extending these pro-               nearly every state now offers TCM
      it. These tax cuts will undermine the                   visions through 2010 is likely to cost                 services. We should not jeopardize an
      cuts that the bill is making today to                   nearly $23 billion.                                    essential bridge to services for these
      critical spending programs and will add                   The bill before us today includes a se-              populations.
      an additional $31 billion to the deficit.               ries of spending reductions that target                  By focusing cuts on Medicaid and
      This is irresponsible. It’s just another                pharmaceutical pricing and reimburse-                  other essential Federal programs, the
      example of how the President and his                    ment, curtail the definition of ‘tar-                  reconciliation    package     will    most
      allies in Congress have the wrong pri-                  geted case management’ under Med-                      harshly impact those who cannot advo-
      orities, and not the best interest of                   icaid, and eliminate the ‘HMO slush                    cate for themselves—abused and ne-
      America, at heart.                                      fund’ under the Medicare Moderniza-                    glected children in foster care, at-risk
        What is most frustrating is the                       tion Act of 2003 and the Federal Hous-                 youth, single parents, the disabled, per-
      knowledge that the final budget will                    ing Administration’s affordable hous-                  sons with mental illness, and vulner-
      likely be even worse than what we pass                  ing preservation programs. A provision                 able elderly.
      in the Senate. The House of Represent-                  to update reimbursements for doctors                     I understand that the intent of the
      atives plans to cut $50 billion in crit-                will have a direct impact on seniors in                TCM provision was to codify a HHS
      ical services, including student loans,                 the form of higher Medicare part B pre-                policy from January 2001. Again, I ap-
      food stamps, child support enforce-                     miums.                                                 plaud the Chairman for attempting to
      ment, foster care, and health care.                       Republicans have tried to disguise                   clarify this provision, however, I am
      Again, these cuts will not go to low-                   these cuts by restoring funding for the                deeply concerned that the provision,
      ering the deficit. Instead, they will fi-               State     Health    Insurance   Program                when implemented, will severely re-
      nance another round of tax cuts at a                    SCHIP for States such as Rhode Island,                 strict the providers’ ability to serve
      time when we also have staggering en-                   allowing parents of severely disabled                  our most vulnerable Medicaid bene-
      ergy costs, a war in Iraq, many un-                     children to ‘buy-into’ Medicaid, and by                ficiaries.
      funded education needs, an exploding                    increasing student financial aid.                        The second amendment would strike
      population of seniors, and an unprece-                    Meanwhile, the House reconciliation                  the Banking Committee’s portion of
      dented relief and rebuilding effort                     bill is truly an even worse deal for low-              the reconciliation bill that eliminates
      stemming from Katrina.                                  income and vulnerable Americans, as it                 the ability of HUD to use the FHA Gen-
        I believe we must work together to                    would impose new copayments on Med-                    eral Insurance Fund to provide grants
      realign priorities so they reflect those                icaid beneficiaries and allow States to                to help preserve FHA-foreclosed multi-
      of the American people. Working to-                     scale back coverage. It also would                     family properties as affordable hous-
      gether, we can do better. I strongly                    tighten rules designed to limit the                    ing. Given the current affordable hous-
      urge my colleagues to vote against this                 ability of elderly people to shed assets               ing crises in our country, the grants
      misguided bill.                                         in order to qualify for nursing home                   are more important than ever and
        Mr. REED. Mr. President, I strongly                   care. And, for the first time, people                  should be maintained. I am dis-
      oppose the so-called Deficit Reduction                  with home equity of $500,000 would be                  appointed that these and other amend-
      Omnibus Reconciliation Act of 2005.                     ineligible for nursing home care under                 ments that would have addressed many
      This reconciliation bill and the admin-                 Medicaid.                                              of the deficiencies of the bill failed.
      istration’s budget are fiscally irrespon-                 The House bill also includes $844 mil-                 One such amendment was Senator
      sible and reflect misguided priorities.                 lion in cuts to food stamps, overturns a               CANTWELL’s amendment to protect the
      As a matter of fact, the reconciliation                 critical court ruling, Rosales v.                      Artic National Wildlife Refuge from
      bill at the end of the day will further                 Thompson, which allows for Federal                     drilling. Earlier this year, the Senate
      increase the deficit by more than $35                   support of abused and neglected chil-                  Budget Committee included in the fis-
      billion over the next 5 years.                          dren in foster care who reside with                    cal year 2006 budget resolution provi-
        In 2 weeks, both the Senate Finance                   family members, weakens States’ abil-                  sions that paved the way to arctic
      and the House Ways and Means Com-                       ity to establish and enforce child sup-                drilling. Senator CANTWELL offered an
      mittees are expected to report a second                 port orders, and raises interest rates                 amendment to strike language author-
      reconciliation bill that will cut taxes                 and fees that students pay on their col-               izing artic drilling from the reconcili-
      by $70 billion. This $70 billion reduction              lege loans.                                            ation bill, which would undo this ex-
      in tax revenue will more than elimi-                      The House package takes almost $20                   ploitation of the budget process and
      nate the effect of the cuts to critical                 billion out of child support and student               permit an open debate of the issue. Un-
      programs in the reconciliation bill that                loans alone, compounding the effect on                 fortunately, her amendment failed. The
      we are considering this week. With the                  struggling working families.                           bill not only opens up the Artic to oil
      enactment of two reconciliation bills,                    I commend Chairman GRASSLEY and                      and gas development, but does so in a
      there is a real effort by this adminis-                 the rest of the Finance Committee for                  way that does not accord this pristine
      tration and the majority to perform a                   their diligence in attempting to craft a               wilderness protection under existing
      bait and switch on the American peo-                    reconciliation measure that would not                  mineral leasing laws and regulations,
      ple.                                                    directly impact Medicaid beneficiaries.                existing environmental protections,
        Significant portions of the reduction                 By contrast, the House, targeted bene-                 and existing rules of administrative
      that are achieved in this reconciliation                ficiaries through increased Medicaid                   procedure and judicial review. In short,
      bill are achieved by cuts in programs                   cost sharing among other program                       it affords the Arctic Refuge less protec-
      on which low- and moderate-income                       changes.                                               tion than current law affords other ref-
      Americans rely. The Senate reconcili-                     In an effort to further minimize the                 uge or public land that is open to oil
      ation package includes a total of $39.1                 impact of the reconciliation bill on                   and gas development. Drilling in the
      billion in spending cuts over 5 years, of               these populations, I offered two amend-                Artic will not help us address our na-
      which $10 billion will come from Med-                   ments. The first amendment would re-                   tion’s energy problems. It is yet an-
      icaid and Medicare. The House rec-                      store Targeted Case Management serv-                   other giveaway to big oil companies.
      onciliation package could have cuts as                  ices, TCM, to assist eligible high-need                  The reconciliation bill also includes
      high as $50 billion over the same pe-                   Medicaid beneficiary groups, such as                   a provision that would extend agricul-
      riod, with $9.5 billion coming out of                   children in foster care, children and                  tural commodity payments until 2011.
      Medicaid.                                               adults with HIV/AIDS, children with                    Extending existing subsidy programs
        In contrast, the benefits of the sec-                 developmental disabilities and mental                  will continue policies that are bad for
      ond reconciliation bill that this body                  retardation, individuals with substance                the environment. While the bill ex-
      will soon undertake will go overwhelm-                  abuse disorders and mental illness, and                tends the life of subsidy programs and
      ingly to high-income individuals. The                   at-risk tribal populations, access to                  three conservation programs until 2011,
      tax reconciliation bill is expected to                  needed medical, social, educational,                   it does not extend the life of four other
      extend many provisions from the 2003                    and other services. States have flexi-                 conservation programs past 2007. These
      tax cut that expire in 2008 to 2010 that                bility whether to offer TCM services                   programs, which restore wetlands,



VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00044   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.080   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 46 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12329
      grasslands, and other wildlife habitat                  they enter when they serve as a Gov-                   anew, and in a bipartisan fashion, we
      and protect farmland and ranchland                      ernment contractor.                                    gave him everything he asked for.
      are critical to meeting some of the Na-                    America has countless firms that fit                  Billions of dollars later, Iraq is still
      tion’s most significant environmental                   that bill. They come from across the                   struggling to rebuild.
      challenges.                                             gulf coast region and from across the                    As Michael O’Hanlon and Nina Kamp
        In the wake of Hurricanes Katrina                     country. This amendment simply helps                   of the Brookings Institution described
      and Rita, escalating home energy                        assure that they will have a clear op-                 Iraq last month in the New York
      prices, and stagnant wage growth, tak-                  portunity to shoulder the burden of re-                Times:
      ing money from important federal pro-                   building, by clearing away those firms                   On balance, the indicators are troubling.
      grams in order to pave the way for bil-                 that have abused the public trust.                     Electricity production remains stuck at pre-
      lions of dollars in tax cuts shows how                     Last Friday, the President an-                      war levels even as demand soars, and the
      out of touch the majority and adminis-                  nounced that he would ask this Con-                    power is off in Baghdad more often than it is
      tration are with hardworking Ameri-                     gress to reallocate $17.1 billion in hur-              on. Unemployment is stubbornly high. Infant
      cans.                                                   ricane emergency funding, taking it                    mortality rates are still among the Middle
                                                                                                                     East’s highest. And Iraq is the most violent
        The bill before us is lamentable, and                 away from the Federal Emergency
                                                                                                                     country in the region, not only in terms of
      I only hope that those who support it                   Management Agency’s Disaster Relief                    war casualties but of criminal murders as
      today will reassess their positions in                  Fund, and dedicating it to rebuilding                  well.
      the weeks ahead as we consider other                    and repairing of the gulf coast. The
                                                                                                                        How did we come to this pass?
      reconciliation bills that will further                  President wants the authority to re-
                                                                                                                        Secretary Rumsfeld and his tight cir-
      add to our deficit and continue a path                  place critical infrastructure, facilities,
                                                                                                                     cle of Defense Department advisors—
      towards misguided priorities.                           and equipment damaged during this
        Mr. DURBIN. Mr. President, my                                                                                awash in unreality—failed to plan for
                                                              year’s hurricanes. These are important
      Amendment No. 2415 would inject a                                                                              occupation and reconstruction. Their
                                                              projects addressing important needs,
      dose of accountability and responsi-                                                                           plans for rebuilding postwar Iraq were,
                                                              and I fully support them. We must
      bility into America’s efforts to rebuild                                                                       according to the Inspector General,
                                                              move forward, but we have to do it
      the gulf coast and Iraq.                                                                                       ‘‘insufficient in both scope and imple-
                                                              right.
        It will bar from all reconstruction ef-                  These are big projects, including the               mentation.’’
      forts, both at home and in Iraq, all                    rebuilding of key stretches of Inter-                     The Coalition Provisional Authority
      firms found—over the last 5 years—to                    state 10, a main artery connecting                     managed Iraqi oil revenues placed in
      have overcharged or improperly billed                   Texas cities such as San Antonio to                    the Development Fund for Iraq. The
      the government by more than $10 mil-                    New Orleans and New Orleans to points                  Special Inspector General has found
      lion on one or more occasions.                          east. The proposed projects include two                that it did so erratically and irrespon-
        It will also bar from all reconstruc-                 Veterans Administration hospitals,                     sibly, often with no accountability, and
      tion efforts—both at home and in                        major military bases, and other high-                  no records.
      Iraq—all firms that have overcharged                    ways and bridges damaged by the                           The Special Inspector General found
      or defrauded the Government of more                     storms.                                                that in the town of Hillah, for example,
      than $10 million over the last 5 years.                    This work will help shape the gulf                  the CPA left 7 million dollars worth of
        It will also bar from all reconstruc-                 coast region for a generation or more.                 projects uncompleted. What’s more,
      tion efforts—both at home and in                        We cannot afford to get it wrong.                      the money allocated for these projects
      Iraq—all firms that have been sus-                         Sadly, this administration has gotten               is missing.
      pended or debarred from competing for                   it wrong before. On Sunday, the Spe-                      Indeed, the Special Inspector General
      federal contracts.                                      cial Inspector General for Iraqi Recon-                has found that the CPA burned through
        It includes a national security waiver                struction, Stuart Bowen, released his                  nearly $100 million in Development
      for those instances where dealing with                  latest report on reconstruction in Iraq.               Fund for Iraq money without keeping
      such firms may serve the national in-                   Bowen’s report makes for sobering                      adequate records, and in too many in-
      terest.                                                 reading.                                               stances, the money just vanished.
        These are serious penalties, but in                      It tells a cautionary tale as we look                  That is simply inexcusable, and there
      both Iraq and on the gulf coast we face                 forward to rebuilding our gulf coast                   may be no way now to trace and re-
      serious challenges, and we should not                   communities. It paints a grim picture                  cover those funds. But where we can
      do anything less than our very best to                  of conditions in Iraq and it tells a story             track fraud and overbilling to specific
      face those challenges.                                  of administration hubris, lack of fore-                companies, why should we keep giving
        We cannot move forward on the gulf                    sight, poor planning, poor execution,                  more money to the offenders? If they
      coast without looking at the adminis-                   and the squandering of millions and                    won’t protect the public trust, why
      tration’s weak oversight of funds in                    perhaps billions of U.S. taxpayer dol-                 should we trust them with new money?
      Iraq. The amendment I offer today                       lars.                                                     Where is the accountability? Do we
      seeks to do that by assuring the Amer-                     The Special Inspector General has                   want any of the firms involved in the
      ican people that the Government will                    warned us all that America’s ambitious                 most egregious of these abuses handed
      spend gulf coast reconstruction funds                   reconstruction effort in Iraq, an effort               new sums of money to rebuild New Or-
      wisely.                                                 managed by this administration, is,                    leans and the gulf coast?
        The bill we are debating is ulti-                     ‘‘likely to fall far short of its goals.’’                Many of our Republican colleagues
      mately about saving taxpayer dollars.                      We cannot let the same fate befall                  are demanding that we provide offsets
      Why not start by weeding out compa-                     our communities here at home. We                       for every penny we dedicate to Katrina
      nies that have overcharged the tax-                     need to ensure—here at home—the ac-                    reconstruction. In too many instances,
      payer in the past?                                      countability that the administration’s                 they seek to place the burden for re-
        We enjoy the privilege of living in a                 efforts in Iraq have sorely lacked. In                 building the gulf coast squarely on the
      vastly diverse country of vastly tal-                   both situations, the situation demands                 poor. Yet they failed to demand offsets,
      ented citizens. In the country with the                 that we act with speed. In neither case,               or even simple accountability, when
      world’s biggest economy, we don’t need                  though, should we ignore our oversight                 the administration came to Congress
      to rely on just a few privileged firms to               responsibilities.                                      looking for reconstruction funds for
      do America’s work.                                         Special Inspector General Bowen’s                   Iraq.
        We don’t need over-billers, underper-                 work assessing the administration’s                       By adopting this amendment, we
      formers, or those who have defrauded                    Iraq reconstruction efforts reveals the                would promote honesty, transparency,
      the American taxpayer to do America’s                   challenges we now face at home.                        and accountability in hurricane recon-
      work. We need to entrust America’s                         Since November 2003, Congress has                   struction and we would bar the door to
      work, and American taxpayer dollars,                    appropriated $21 billion for Iraq recon-               contractors that have abused the pub-
      to firms that embrace hard work, ac-                    struction and relief. The President                    lic trust. We need to learn from the
      countability, and a sense of responsi-                  came to us that fall, seeking support                  gross failings we have seen in Iraq,
      bility about the public trust into which                for his ambitious plans to build Iraq                  learn and do better.



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00045   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.082   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 47 of 91
      S12330                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
        Now we face a crisis at home. The                       I question the rationale of some of                    Now as I said earlier, the budget
      President has waited 2 months to cre-                   my colleagues in this body who propose                 process requires us to take responsi-
      ate his Gulf Coast Recovery and Re-                     providing tax breaks for multimillion-                 bility in balancing our books. But in
      building Council, which he announced                    aires and special interests, while cut-                the dense pages of the reconciliation
      yesterday, and 2 months to name Don-                    ting resources that are critical to the                package, we have lost sight of fiscal re-
      ald Powell to serve as Coordinator of                   families of Arkansas. For example, I                   sponsibility and are blithely ignoring
      Federal Support for the Gulf Coast’s                    am particularly disappointed that this                 several issues that will affect our budg-
      Recovery and Rebuilding. Let us hope                    package slashes: health care by $27 mil-               et for years to come.
      history is not repeating itself.                        lion for seniors and the poor; agri-                     After the Senate considers these
        Does the administration have a plan                   culture supports for farmers by $3 bil-                budget cuts we will then vote on a set
      to hold accountable those who have                      lion.                                                  of tax breaks totaling $70 billion. It is
      misused Iraq reconstruction funds, and                    Mr. President, I want to tell you                    no secret that the only reason we are
      to ensure that the same companies, or                   about Maya Romney of Arkansas. A                       looking at these budget cuts is to make
      similar firms, are not handed more tax-                 Down’s syndrome patient, Maya is able                  room for tax cuts—most of which could
      payer dollars in massive contracting                    to receive critical therapies through                  be argued will not make it in to the
      projects?                                               Easter Seals, allowing her to interact                 pockets of people that need it the
        All the major multinational firms                     in a classroom setting and live more                   most.
      working in Iraq have ‘‘cost plus’’ con-                 independently. Quite simply, Maya’s                      And oddly enough, some of the tax
      tracts. Under such contracts, the Gov-                  therapy services could be in jeopardy                  cuts that we will be voting on, such as
      ernment reimburses companies for all                    because Easter Seals is funded pri-                    the capital gains and dividends cuts do
      their costs, plus a percentage of those                 marily through Medicaid. And while                     not even expire for another 2 years.
      costs as a fee.                                         this saddens me greatly, it should also                  But even more baffling is the fact
        I don’t think that is the best way to                 sadden everyone in this body because                   that neither this budget bill or the tax
      protect the taxpayer, but that is what                  we all have Mayas in our State or oth-                 cut bill we will consider in the coming
      this administration has done. If we are                 ers who depend on Medicaid.                            weeks takes into account the billions
      going to give corporations cost-plus                      This program, that some of my col-                   of dollars we have spent and will con-
      contracts, is it too much to ask that                   leagues look to cut, provides vital re-                tinue to spend in Iraq. Neither bill
      they take care to charge us only for le-                sources for persons with disabilities                  takes into account the billions of dol-
      gitimate costs and not to take advan-                   and seniors. In my State, almost 50                    lars we have spent and will spend in
      tage of our trust, the public trust, to                 percent of our Medicaid recipients are                 the gulf coast.
      sneak in millions of dollars in illegit-                children. Additionally, 958 beneficiaries                I have voted for tax cuts in the past,
      imate expenses? Why should we give                      in Arkansas right now are Hurricane                    and I will vote for them in the future
      this important work to companies that                   Katrina evacuees.                                      but if we were truly being honest bro-
                                                                I know that in the long-term we can                  kers this body would have the courage
      will pad their expense sheets and hope
                                                              find ways to save money and improve                    to look at all of our fiscal issues in a
      that we don’t catch their overbillings?
        Writing big, no-bid deals was quick                   the efficiency of Medicaid—in fact the                 single package. Instead, we seem con-
                                                              Senate has supported measures to do                    tent to legislate in a vacuum where we
      and easy, but it wasn’t good for Amer-
                                                              just that. But, it is unacceptable to im-              refuse to recognize the reality of our
      ica, and it wasn’t good for our recon-
                                                              pose arbitrary cuts for a program that                 fiscal situation.
      struction efforts in Iraq. The adminis-
                                                              does so much to support families. By                     We separate tax cuts bill from the
      tration has shown itself unable or un-
                                                              taking away these services we are en-                  budget bill, and the budget bill from
      willing to manage these contracts.
                                                              dangering the health of too many                       emergency spending bill because deep
        America can do better than this. At
                                                              Americans.                                             down we know that we are wrong. We
      home on the gulf coast, it absolutely                     As an Arkansan, I am particularly
      must do so. It is time to cut off compa-                                                                       know that if we were to look at this
                                                              disappointed in proposed cuts to agri-
      nies that gorge themselves at the pub-                                                                         fiscal puzzle as a whole, there would be
                                                              culture. I know that the chairman of
      lic trough.                                                                                                    no way to justify our actions. We
                                                              the Agriculture Committee has worked
        General John Abizaid, the Com-                        hard to make sure these cuts are dis-                  would have to finally admit that we
      mander of U.S. Central Command, said                    tributed fairly, and he has done the                   are being fiscally irresponsible.
      recently that the key to military suc-                                                                           Overall, this measure shows America
                                                              best he can. I commend him for that.
      cess in Iraq, ‘‘is whether we can learn                   But now is not the time to be cutting                that their government is willing to
      from our mistakes.’’                                    our support of agriculture in this coun-               turn their backs on the families who
        The same holds true for our recon-                    try. Our farmers have gone through too                 need our help the most in order to pro-
      struction efforts, both at home and                     much in the past year—rising energy                    vide favors for special interest groups.
      abroad. Yet poor financial controls and                 costs, drought, and storm damage.                      I cast my vote in opposition to this
      questionable performance by contrac-                    They need us now more than ever.                       bill: it does not reflect my priorities,
      tors continues to squander an impor-                      But instead of reaching out to help                  and it certainly does not reflect Amer-
      tant part of the treasure we sink into                  the community that feeds America,                      ica’s priorities.
      this effort. We already have seen how                   some of my colleagues have proposed                      Mr. President, I would like to express
      FEMA and the Administration dropped                     slashing $3 billion from agricultural                  my serious concerns about efforts
      the ball in planning for disaster, and in               programs, and imposing further pay-                    today, and possibly during the con-
      responding to the crisis.                               ment limits that will dramatically                     ference committee, that could dramati-
        We must not fail. The reconstruction                  hurt family farms.                                     cally cut Medicaid funding through
      challenge now before us is here at                        Rural America is fed up. It seems as                 this bill. Medicaid provides vital serv-
      home.                                                   though every time this administration                  ices for millions of Americans, espe-
        Mr. PRYOR. Mr. President, the aver-                   has needed to find revenue, whether to                 cially persons with disabilities, chil-
      age American might not follow the in-                   pay for the war in Iraq, cut the deficit,              dren, and seniors. As we all know, ac-
      tricacies of our budget reconciliation                  or provide relief from Hurricane                       cess to health care is critically impor-
      process. However, they do know when                     Katrina, agriculture has been first on                 tant for improving the quality of life
      the government has misplaced its pri-                   the chopping block.                                    and promoting greater independence
      orities, shirked its responsibilities and                 Our farmers know they must do their                  for these individuals.
      shortchanged the families who need                      fair share, but they are currently doing                 In my State alone, 17 percent of Ar-
      help the most.                                          much more than that.                                   kansans depend on the Medicaid Pro-
        Given our record budget deficits, I                     For the government’s part, we should                 gram. An additional 1,000 Hurricane
      am prepared to make tough decisions                     be investing in rural America not tak-                 Katrina evacuees currently residing in
      to cut government spending, but what                    ing from it. There is enormous poten-                  Arkansas are receiving their health
      this bill represents is a misguided ef-                 tial in rural communities and we                       care through the State’s Medicaid Pro-
      fort to balance the budget on the backs                 should harness that potential to help                  gram. It is essential that State Med-
      of hard-working families.                               drive our economy.                                     icaid Programs and patients get the



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00046   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.066   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 48 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12331
      support they need, particularly at a                      I recommend the chairman of the                      production of energy, and ANWR is a
      time when States are facing budgetary                   Budget Committee for his efforts on                    good place to start. So I applaud the
      crises and struggling to deal with sky-                 reconciliation. He has been an out-                    work of the chairman of the Energy
      rocketing costs associated with pro-                    standing advocate for fiscal restraint,                Committee for including ANWR in this
      viding health care.                                     while trying to respond fairly to the                  budget.
        I understand that tough financial de-                 competing demands for increased                          I am also pleased with the provisions
      cisions have to be made in order keep                   spending. While I do have some con-                    to address digital television transition.
      this country’s fiscal house in order, but               cerns about certain cuts included in                   Setting a firm date of April 7, 2009, al-
      I do not believe it is fair that we re-                 this bill, on the whole I think it is a                lows the FCC to make critical spec-
      quire our seniors, our children, and the                balanced package that accomplishes                     trum available for the emergency
      disabled to shoulder this burden. It is                 meaningful restraints on Government                    workers who protect our communities.
      simply unacceptable to impose arbi-                     spending.                                              Our first responders need access to this
      trary cuts for a program that does so                     One of the positives of this bill is the             spectrum to ensure communications in
      much to support families in need. I be-                 provisions relating to energy produc-                  times of national emergencies.
      lieve we can find appropriate savings in                tion in the Arctic National Wildlife                     In a rural State like Montana, this
      Medicaid without jeopardizing the                       Refuge. It is time to open ANWR for oil                spectrum can also be used to expand
      health care of so many Americans, and                   production to increase our domestic                    broadband access, linking rural com-
      this body has supported measures to do                  supply of petroleum. We need to look                   munities not just for emergency needs,
      that in the past. For example, I sup-                   no further than the gas pump to see                    but for education, telehealth, and eco-
      ported a bill to charge the Institutes of               what happens when U.S. oil production                  nomic development.
      Medicine with evaluating Medicaid to                    lulls. High gas prices hurt Montanans                    The revenues generated by this spec-
      find appropriate cost savings and im-                   and dependence on foreign oil hurts our                trum auction generate billions toward
      prove efficiency within the program.                    national security.                                     paying down the national debt, but
      But the proposals many Members of                         The Energy Information Administra-                   also give us the flexibility to address
      the House of Representatives are pro-                   tion states that the coastal plain re-                 some other priorities, including essen-
      moting in their version of this legisla-                gion harboring the 1.5 million-acre 1002               tial air service. I was pleased to be able
      tion completely fail to consider the im-                Area is ‘‘the largest unexplored, poten-               to include language in this bill that
      plications for the health and well-being                tial productive onshore basin in the                   will provide an additional $75 million
      of Medicaid recipients. Rather, these                   United States.’’ Studies by the U.S. Ge-               for essential air.
      cuts would have more to do with pay-                    ological Survey, USGS, estimate that                     Thirty-seven States rely on essential
      ing for tax cuts targeted to benefit the                                                                       air, but skyrocketing fuel prices are
                                                              drilling in ANWR could yield up to 16
      wealthiest Americans.                                                                                          placing that service in jeopardy. The
                                                              billion barrels of oil—an amount
        I believe Senator GRASSLEY and some
                                                              roughly equal to 30 years of oil imports               provision I included will increase EAS
      members of the Finance Committee
                                                              from Saudi Arabia.                                     funding over the next 5 years, and en-
      tried hard to soften the blow of the
                                                                Most people don’t understand that                    sure that communities relying on es-
      cuts required by the budget resolution,
                                                              the 1002 Area is only 1.5 million acres                sential air will continue to have trans-
      but I recognize that a much worse bill
                                                              within the 19 million acre Arctic Na-                  portation options.
      will likely emerge from the conference
                                                              tional Wildlife Refuge. This budget al-                  Also important to Montana is ensur-
      committee with the House of Rep-
                                                              lows for development of only 2000 of                   ing that Federal incentives for higher
      resentatives, and we will likely regret
                                                              those 19 million acres in ANWR. That                   education remain intact. Though sig-
      starting down this slope toward drastic
                                                              means 99.99 percent of ANWR will be                    nificant cost savings have been
      cuts to an essential part of our Na-
                                                              untouched. If this tragedy-filled hurri-               achieved in the reconciliation package
      tion’s health care system.
        I have heard from many organiza-                      cane season has taught us anything, we                 adopted by the Senate’s Health, Edu-
      tions and constituents who have ex-                     should realize that by concentrating                   cation, Labor and Pensions Committee,
      pressed their concerns. Dana Plunkett                   our production and refinery capability                 many positive changes have been made
      and Angela Romney have both sent let-                   in the Gulf of Mexico, we are risking                  to benefit the students who most need
      ter expressing their concerns for their                 supply disruption.                                     assistance.
      children. Both of these mothers’ chil-                    We need to do more offshore, and                       The higher education reforms save
      dren participate in the Easter Seals                    more onshore across this country. Last                 $9.8 billion over 5 years, while still pre-
      program which relies heavily on Med-                    week, I held a hearing on onshore oil                  serving critical benefits for students
      icaid. Dana’s son Larry is able to live                 and gas development. The backlog we                    across the country. For first- and sec-
      in an independent living facility be-                   face in processing permits for reason-                 ond-year college students, the loan
      cause of Medicaid. Angela’s daughter                    able onshore production contributes to                 limits will be increased to $3,500 for the
      Maya who has Down’s syndrome has                        the energy crisis we are facing now. All               first year and $4,500 for the second
      been able to receive vital therapies to                 segments of the economy are directly                   year. This is especially important in a
      allow her to interact in a classroom                    impacted by the costs of fuel to                       State like Montana, which ranks third-
      setting and live more independently.                    produce and move our output. From                      from-last in retention of first-year col-
        I am aware of the challenges many                     keeping warm in our homes to moving                    lege students who continue on to their
      families, health care providers, States,                food to the market, the American tax-                  second year.
      and private payers for health care face                 payer faces a tighter budget as a result                 Not only are we increasing the over-
      under our burdened health care system.                  of skyrocketing energy costs. We sim-                  all aid available, but are also empha-
      I appeal to my colleagues on both sides                 ply must consider all options when it                  sizing the various types of education
      of the aisle to find a solution to ade-                 comes to increasing production, and                    needed from the current workforce.
      quately fund Medicaid and avoid gut-                    ANWR are an important part of that.                    This bill provides for additional fund-
      ting the program during conference ne-                    The United States has some of the                    ing for grants for Pell-eligible students
      gotiations.                                             strictest environmental laws in the en-                who major in math, science, tech-
        Mr. BURNS. Mr. President, this                        tire world. We can safely and carefully                nology, engineering, and some foreign
      week, the Senate is undertaking a sig-                  produce oil within our own shores, or                  languages. All too often, employers
      nificant effort to reduce Federal spend-                we can ignore our responsibility to do-                comment that they have skilled jobs
      ing and return fiscal responsibility to                 mestically produce this resource. Roy-                 available, but are unable to find the
      the Congress. Not since 1997 has Con-                   alty revenues from oil production in                   kind of specialization they need from
      gress attempted a budget reconcili-                     ANWR is expected to produce $2.5 bil-                  students, and by providing incentives
      ation bill. But the fiscal situation fac-               lion for the Federal Government over                   for students to study in these under-
      ing the American people today de-                       the next 5 years alone, plus provide                   utilized areas, they are able to obtain
      mands a serious commitment from the                     valuable jobs, and reduce our depend-                  an affordable education and fill a
      Federal Government to reduce deficit                    ence on foreign oil.                                   much-needed place in the workforce.
      spending. This reconciliation package                     It is time for this body to do the                     I am especially proud of the provision
      is an important part of that process.                   right thing and increase our domestic                  in this bill which provides for



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00047   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.089   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 49 of 91
      S12332                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      deferment on loan payment for bor-                      lives. I am glad to see that this bill                 those programs. And the effects will
      rowers serving in active duty or in the                 also establishes a new grant program                   certainly be felt by our neediest and
      National Guard. This provision sends a                  to finance innovative outreach and en-                 sickest citizens.
      strong message of support to our men                    rollment efforts designed to increase                    In a letter to the Congress, the Na-
      and women in uniform, and I am                          enrollment and promote an under-                       tional Council of Churches said of this
      pleased to support its inclusion.                       standing of the value of health insur-                 budget bill, ‘‘It violates all the funda-
        While there is plenty to praise in this               ance coverage. I expect this outreach                  mental Christian values of loving thy
      reconciliation package, I have very                     to be helpful in Montana, where reach-                 neighbor, caring for the poor, and
      strong concerns about the proposals to                  ing those in need is often difficult be-               showing mercy.’’ In fact, they said that
      cut $4 billion out of agriculture pro-                  cause of the vastness of our state.                    this proposed budget would be a ‘‘moral
      grams. When this Senate debated the                       This bill will also extend the Medi-                 disaster of monumental proportion.’’ I
      spending cuts and reconciliation in-                    care Dependent Hospital program,                       think it is a very sad day when the
      structions earlier this year, this body                 which provides financial protections to                Senate of the United States would vote
      agreed to $3 billion in agriculture cuts.               rural hospitals with less than 100 beds                for such legislation, especially in the
        While I would prefer no cuts to farm                  that have a greater than 60 percent                    context of a fiscal policy that is fo-
      bill programs, I understand that every-                 share of Medicare patients. Many of                    cused on giving additional tax cuts.
      one must do his or her part to reduce                   Montana’s hospitals fall into this cat-                  In a broader sense, I am very con-
      Government spending. The House of                       egory, as our Medicare population, es-                 cerned about what this bill says about
      Representatives wanted to cut more                      pecially in the most rural areas con-                  the state of Congress’ budget process. I
      out of farm programs, as did the Presi-                 tinues to grow rapidly.                                am afraid that the budget reconcili-
      dent. I think the Senate settled on a                     Medicaid     options    are    expanded              ation process that was originally in-
      fair amount, and I applaud the chair-                   through the Family Opportunity Act,                    tended to help Congress enact difficult
      man of the Budget Committee for re-                     so that parents of severely disabled                   policies to reduce deficits is being ut-
      taining that level in conference.                       children can go to work, without risk-                 terly abused by the majority to enact
        But we are not talking about $3 bil-                  ing Medicaid benefits. New incentives                  policies that not only cannot garner
      lion in cuts, the $3 billion that we all                are provided to purchase long-term                     broad support but also do nothing to
      agreed to. Instead, farm programs are                   care, and new resources are provided to                improve our nation’s fiscal situation.
      taking a massively disproportionate                     help states combat fraud and abuse                     The unique role of the Senate is under-
      cut. Commodity and conservation pro-                    that steal money away from low-in-                     mined when the reconciliation process
      grams are being reduced by nearly $4                    come families that need it the most.                   is used to enact policies that are not
      billion. The extra money is not being                   These are good reforms, and they will                  related to deficit reduction, most egre-
      returned to the Government to pay                       greatly benefit Montanans.                             giously in this bill drilling for oil in
      down the debt. It is going to a select                    Undertaking spending cuts on any                     the Arctic National Wildlife Refuge.
      group of interests, to subsidize small                  scale is a difficult task. But Congress                  Today, Federal Reserve Chairman
      dairies. These budget cuts pit one pro-                 must do its duty to rein in the growth                 Greenspan testified to the Joint Eco-
      ducer against another. My Montana                       of the Federal Government, provide in-                 nomic Committee that unless reversed
      wheat growers are being asked to pay                    centives to economic growth, and en-                   the nation’s ‘‘budget trends will cause
      for dairy subsidies. That is simply un-                 sure that the safety nets we have in                   severe economic disruptions.’’ I agree
      reasonable.                                             place are truly benefiting those who                   with Mr. Greenspan, and I stand ready
        In these times of high energy and fer-                need assistance most. Although there                   to work with my colleagues toward the
      tilizer costs, we are asking farmers to                 are certainly things I would change                    goal of deficit reduction. However, the
      bear much more than their fair share                    about this package, I urge my col-                     reconciliation process underway in
      of program cuts. I urge my colleagues                   leagues to support it. The American                    Congress today, in fact, will exacerbate
      to reconsider this proposal. Cuts to ag-                public must know that Congress is                      our runaway deficits.
      riculture spending need to be fair and                  willing to make difficult choices to re-                 I vehemently oppose this bill. I ask
      shared across the board. Giving one                     duce runaway Government spending                       my colleagues to join me in defeating
      sector of one industry a billion dollars                and use tax dollars wisely. This budget                it so that we can make real progress
      for 2 years, at the expense of farmers                  is a good start, and I look forward to                 toward improving our Nation’s budget
      all over the country sends a terrible                   supporting its passage.                                situation in a way that is consistent
      message to the hardworking families                       Mr. ROCKEFELLER. Mr. President, I                    with our American values, in a way
      that feed this Nation.                                  oppose the legislation the Senate is                   that is truly compassionate toward the
        Lastly, I want to turn to the issue of                considering today. This bill does not                  least fortunate of our fellow citizens.
      cuts to Medicare and Medicaid. While I                  reflect American values. Although pro-                   Mr. President, I also wanted to make
      believe the proposals to reform and                     ponents of the bill try to claim that                  a brief statement about the funda-
      strengthen Medicare and Medicaid in-                    this is a deficit reduction bill, it is                mental importance of providing help
      cluded in this reconciliation package                   transparently not so. This bill is only                and support to the families devastated
      are generally good, there are some                      the first half of their budget policy.                 by Hurricane Katrina. This is an un-
      issues I want to highlight.                             The second half, which we will see in a                precedented disaster. Many families
        I remain concerned about our com-                     couple of weeks, provides tax cuts al-                 lost every thing they own and they
      munity and independent pharmacists.                     most double the size of these spending                 have been displaced for months, and
      In Montana, they are small business                     cuts. In the end, the policy advanced                  that sadly will continue to be the case
      men and women, and, all too often,                      by this reconciliation process is to in-               for quite some time.
      they are the only place in small towns                  crease the deficit by more than $30 bil-                 For weeks, I joined Senators GRASS-
      where folks can get the medication                      lion in order to provide additional tax                LEY, BAUCUS and others to fight for leg-
      they need. I remain concerned about                     cuts while shortchanging valuable pro-                 islation to expand health care coverage
      how this package may affect them and                    grams.                                                 for these needy families. Today, I voted
      will do what I can to make sure they                      I am extremely concerned about how                   for Senator LINCOLN’s amendment to
      are not adversely affected by provi-                    this legislation will affect the people in             expand Medicaid coverage to help the
      sions in this bill.                                     my State of West Virginia. I believe                   evacuees of this disaster. I am dis-
        However, this bill also provides fund-                that the effect will be very painful in-               appointed that this amendment failed
      ing to states that face shortfalls in the               deed. This bill cuts $10 billion from                  by a vote of 52 to 47. These families
      State Children’s Health Insurance Pro-                  Medicaid, on which our most vulner-                    need and deserve health care. It is trag-
      gram. SCHIP, and expands outreach                       able members of society depend for                     ic that the Senate refused to help vul-
      and enrollment activities to cover                      basic health care. I have fought very                  nerable Americans.
      more children. The SCHIP program has                    hard to improve the provisions of this                   On the education front, the reconcili-
      been incredibly important in Montana,                   bill related to Medicare and Medicaid,                 ation package included by voice vote
      in ensuring children have the health                    but I am sorry to say that in the end,                 an Enzi-Kennedy amendment to pro-
      care they need to lead healthy, fruitful                this bill will deal a terrible blow to                 vide support to the schools that have



VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00048   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.069   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 50 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12333
      already accepted evacuee students. The                  in our medical culture. For years, phy-                  Mr. DODD. Mr. President, I rise
      children and all the schools that ac-                   sicians have been involved in peer re-                 today to express my opposition to the
      cepted such students, without knowing                   view, the development of clinical                      spending reconciliation bill, which has
      how or when they would get funding                      guidelines and best practices, and out-                been misleadingly titled the ‘‘Deficit
      deserve our support.                                    come measurement. The concept of                       Reduction Omnibus Reconciliation Act
        I voted against the Ensign-Santorum                   value-based purchasing is to turn these                of 2005.’’ As some of my colleagues have
      amendment that sought to change the                     practices into a payment system that                   mentioned, the spending bill before us
      Enzi-Kennedy bill into a direct voucher                 pays higher performers more and pays                   today is only one-third of the budget
      program. It would have removed the                      less to those who cannot make the                      reconciliation picture—the other two
      carefully negotiated provisions de-                     grade. In theory, this has great prom-                 pieces are a tax cut bill and a bill to in-
      signed to maintain the basic civil                      ise and I believe it will improve the                  crease the debt limit. Taken together,
      rights protections in the underlying                    quality of care provided to all Medicare               this package of reconciliation legisla-
      education package. This legislation, in                 beneficiaries while increasing effi-                   tion would increase the budget deficit
      my view, merely provides a one time                     ciency in the system.                                  and impose greater costs on some of
      emergency financial grant to the                          However, I am concerned that the                     the most vulnerable members of our so-
      schools and communities that opened                     language included in S. 1932, the ‘‘Def-               ciety. It would also allow for drilling in
      their doors and classrooms to evacuee                   icit Reduction Omnibus Reconciliation                  the Arctic National Wildlife Refuge,
      students following such an historic dis-                Act of 2005’’ will not achieve these                   which would be environmentally dam-
      aster.                                                  goals. While it does give physicians a 1               aging and do nothing to reduce our de-
        Mr. COBURN. Mr. President, I thank                    percent update for 2006, it does not ad-               pendence on foreign oil. The bill fails
      the leadership for giving me an oppor-                  dress the impending cuts scheduled for                 to reflect the priorities of the people of
      tunity to express some concerns with                    January 1, 2007. The proposed legisla-                 our nation and it fails to seriously ad-
      the version of ‘‘value-based pur-                       tion does not fix the SGR, it instead                  dress the major challenges we face as a
      chasing’’ for physicians in the Medi-                   places cuts on top of cuts, and infuses                Nation.
      care program, as presented in the Sen-                  a system that mandates greater vol-                      We are living today in an increas-
      ate reconciliation legislation. While I                 ume on top of one that penalizes physi-                ingly global society, one that presents
                                                              cians for volume increases. Value-                     tremendous opportunities. But with
      commend the committee’s efforts in
                                                              based purchasing and the SGR are not                   those opportunities come challenges.
      finding budget off-sets to stop the
                                                              compatible and cannot work together.                   Today, countries like China and India
      Medicare payment cuts facing physi-
                                                              In exchange for a one percent increase                 are becoming increasingly desirable for
      cians next year I believe the com-
                                                              in 2006, physicians could receive cuts of              venture capitalists interested in in-
      mittee, and Congress as a whole, has                    up to 7.5 percent in 2007, 2008, 2009, 2010
      accepted the idea of ‘‘value-based pur-                                                                        vestment, for students interested in
                                                              and 2011. If you think your physician                  higher education, and for companies in-
      chasing’’ with little discussion, vetting               constituents are frustrated now, wait                  terested in labor that is not only inex-
      and evidence that it will actually do                   until they understand this.                            pensive but well-educated and well-
      what people say it will do.                               Under the suggested program, some
        We have a big problem in the Medi-                                                                           trained, too. With economic develop-
                                                              physicians may have the opportunity                    ment and expansion have come greater
      care system. Our physicians, the bread                  to earn back that additional two per-
      and butter of the Medicare program                                                                             competitive pressures.
                                                              cent cut if they meet specific ‘‘quality’’               Our labor market is under strain—
      who provide millions of services each                   and/or ‘‘efficiency’’ measures. Many of                real wages are stagnating, health care
      year to Medicare beneficiaries, are fac-                these measures have not yet been de-                   is becoming increasingly unaffordable,
      ing unprecedented cuts in their reim-                   veloped, have not yet been vetted by                   and pension benefits are being eroded
      bursement at a time when their own                      consensus building groups like the Na-                 and cut. The science and math scores
      costs are skyrocketing. We have known                   tional Quality Forum and may or may                    of our high school seniors are at the
      about this problem for years, have                      not be evidenced-based. Before there is                bottom of the pack of industrialized
      taken action to prevent previously                      value-based purchasing, there must be                  nations. And we are the only nation in
      scheduled cuts and once again we must                   agreed upon, comprehensive quality                     the developed world where literacy lev-
      take action this year to prevent more                   and efficiency measures for each med-                  els of older adults are higher than
      cuts. I commend the Senate Finance                      ical specialty developed by the special-               those of young adults.
      Committee’s efforts for at least pre-                   ties themselves. In this proposed legis-                 Our Nation faces a choice. Are the
      venting these cuts for a year and rec-                  lation, bureaucrats in Baltimore would                 administration and Congress going to
      ommending that physicians receive a                     primarily develop the measures that                    respond to new challenges in a sensible
      modest one percent increase instead of                  physicians across the country—with                     and progressive way or will they con-
      a 4.4 percent cut. I know the physician                 limited input from the physician and                   tinue to ignore the facts and adhere to
      community is grateful for this effort in                specialist community. I can tell you as                policies that have brought Americans
      a time of budget deficits, hurricanes                   a doctor that I am not interested in                   higher deficits, higher unemployment,
      and other problems.                                     having some bureaucrat in Baltimore                    and lower incomes? Will they continue
        I am concerned about another provi-                   tell me how to deliver a baby in                       to hold to the primitive philosophy
      sion included in the bill—specifically,                 Muskogee, OK, and my patients are not                  that lower taxes on the most affluent,
      value-based purchasing, a.k.a. ‘‘pay-                   either. Physicians must be the ones to                 higher taxes on everyone else, and less
      for-performance.’’ My concern is that                   develop these measures if they are                     investment in education, research, and
      this concept is not ready to be codified                going to be held accountable and if it is              business growth will somehow magi-
      and be taken to prime-time. In the last                 really going to improve quality and not                cally restore us to our place of eco-
      decade, we have already declared two                    just be another layer of paperwork and                 nomic preeminence in the world?
      Medicare physician payment systems—                     bureaucratic administration.                             This view is naive and betrays a fun-
      the current sustainable growth rate                       I believe pay-for-performance is crit-               damental misunderstanding of our his-
      formula and the volume performance                      ical to improving quality in our                       tory. Our economic success has not
      standard—dysfunctional and unwork-                      healthcare system. But we must get it                  been achieved despite investments we
      able. I do not see the value of diving so               right. Our physicians are facing year                  made in our people, but because of
      quickly into adding a new, untested                     after year of cuts and beneficiaries are               them. The not-so-benign neglect that
      and unproven system on top of an al-                    facing a loss of access to the physicians              characterizes much of our current na-
      ready declared disaster—the sustain-                    they know and trust. I believe the cor-                tional economic policy is not a strat-
      able growth rate or ‘‘SGR.’’                            rect course is to deliberately and me-                 egy for success. It’s an excuse for com-
        As a physician, I can attest that                     thodically build up toward a new physi-                placency, and ultimately a recipe for
      most doctors are dedicated to improv-                   cian payment system that accurately                    mediocrity.
      ing the quality of care they provide                    accounts for the cost in providing care                  Regrettably,     this    reconciliation
      their patients. The concept of con-                     to beneficiaries while encouraging and                 package continues failed policies that
      tinuing medical education and contin-                   rewarding high quality and improve-                    will only continue to erode our Na-
      uous quality improvement is engrained                   ment.                                                  tion’s place in the world.



VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00049   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.060   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 51 of 91
      S12334                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
        First and foremost, the budget rec-                     As bad as the cuts are in the bill be-               for the most well-off in our society—
      onciliation package takes the worst                     fore this body, the companion legisla-                 who are, by the way, hardly clamoring
      fiscal record of any president in history               tion in the House of Representatives is                for the kind of tax largesse that this
      and makes it worse. It takes proce-                     much, much worse. It contains food                     Administration and its allies in the
      dural rules specifically designed to re-                stamp cuts for roughly 300,000 people,                 Congress insist on heaping upon them.
      duce the deficit and uses them to in-                   most of them in working families. It                     We should be investing in our soci-
      crease the deficit by $30 to 35 billion                 contains Medicaid cuts that would re-                  ety—in our education system and our
      over the next 5 years. Part one of this                 duce health care benefits and increase                 knowledge base. We should be investing
      reconciliation legislation may be cut-                  health care costs for roughly 6 million                in science and technology and research
      ting spending by $35 billion, but part                  children, as well as many low-income                   and development. This legislation is
      two will provide tax breaks costing                     parents, the elderly, and people with                  not about investing in America. It is
      even more—$70 billon.                                   disabilities. And it contains cuts in                  about fiscal irresponsibility in the
        This fiscal irresponsibility is not an                child support enforcement, child care                  name of tax breaks for those who need
      isolated case. Under President Bush,                    assistance, and Federal foster care as-                them least. Therefore, Mr. President, I
      the Federal budget has gone from a                      sistance.                                              cannot support this bill.
      surplus of $236 billion in 2000 to a def-                 So let us not be under any illusions:                  While I am unhappy with this rec-
      icit of $319 billion in 2005. The national              any conference agreement with the                      onciliation package overall, I am
      debt has risen by nearly two and a half                 other body is likely to be even more                   pleased that this bill does contain life-
      trillion dollars since 2000, totaling                   harmful to the well-being of Ameri-                    saving legislation that I have intro-
      roughly $8 trillion as of this morning.                 cans.                                                  duced the past two Congresses that will
      That amounts to $27,041.81 for every                      The reason for these cuts is to pay                  provide Medicare coverage for screen-
      man, woman, and child in the United                     for a small portion of President Bush’s                ing for a dangerous condition known as
      States. Every minute in 2005, Repub-                    tax breaks for those who need them                     abdominal aortic aneurysm—or AAA—
      lican budget policies have added                        least. More than 70 percent of the bene-               a silent killer that claims the lives of
      $1,048,952 to the national debt.                        fits of the Bush 2001 and 2003 tax break               15,000 Americans each year. AAAs
        As we have borrowed more, we have                     packages have gone to the 20 percent of                occur when there is a weakening of the
      been forced to rely increasingly heav-                  taxpayers with the highest incomes,                    walls of the aorta, the body’s largest
      ily on foreign lenders—particularly the                 according to the nonpartisan Tax Pol-                  blood vessel. This artery begins to
      central banks of countries like China                   icy Center of the Urban Institute and                  bulge, most often very slowly and with-
      and Japan—to fund our profligate                        the Brookings Institution. More than                   out symptoms, and can lead to rupture
      ways. Foreign holdings of U.S. Treas-                                                                          and severe internal bleeding. AAA is a
                                                              25 percent of the tax-cut benefits have
      ury debt have more than doubled under                                                                          devastating condition that is often
                                                              gone to the top one percent. I believe
      the Bush administration from $1.01
                                                              these priorities are seriously out of                  fatal without detection, with less than
      trillion in January 2001 to $2.06 trillion
                                                              step with the values of this Nation.                   15 percent of those afflicted with a rup-
      in August 2005. Japan now holds $684                      In addition to cutting assistance for                tured aorta surviving. Estimates indi-
      billion of that debt and China now                      the poor to pay for tax cuts for the                   cate that 2.7 million Americans suffer
      holds $248 billion. We are playing a                    wealthy, this legislation would open                   from AAA. Further, research indicates
      dangerous game here by relying so
                                                              the Arctic National Wildlife Refuge to                 that when detected before rupturing,
      heavily on borrowing from abroad.
                                                              drilling. Not only would such drilling                 AAAs are treatable and curable in 95
        Some in this administration have re-
      portedly argued that deficits don’t                     be incredibly damaging to the region’s                 percent of the cases. And while most
      matter. I strongly disagree. By blowing                 fragile ecosystem, it would do nothing                 AAAs are never diagnosed, nearly all
      a massive hole in our budget, this ad-                  to reduce our Nation’s dependence on                   can be detected through an inexpensive
      ministration and the Republican ma-                     foreign oil. Reasonable estimates                      and painless screening.
      jority in Congress have seriously jeop-                 project that drilling in the Refuge                      I want to thank my colleague Sen-
      ardized our ability to meet the needs of                would provide only enough oil to sat-                  ator JIM BUNNING for joining me in sup-
      our nation’s other critical priorities.                 isfy U.S. demand for 6 months. More-                   porting this important and lifesaving
        The cost of the Bush administra-                      over, this supply would not even come                  legislation. When we first introduced
      tion’s deficits is reflected right here in              on-line for 10 years. The belief that our              this legislation in the last Congress, we
      this spending reconciliation bill. In                   country can drill our way out of de-                   were joined by patients who had suf-
      order to pay for just a small piece of                  pendence on foreign energy sources is                  fered a ruptured aorta as result of an
      the Bush tax cuts for the most afflu-                   misguided.                                             AAA and their families. At this event
      ent, this legislation would impose                        As a nation, we face significant chal-               these patients shared with us their
      harmful cuts that would fall dispropor-                 lenges in both the short and long term.                harrowing and personal stories of bat-
      tionately on working Americans and                      Americans are concerned about finding                  tling this deadly condition. It is be-
      the most vulnerable in our society.                     and keeping good jobs, paying for soar-                cause of struggles like theirs that we
        For example, this bill cuts funding                   ing energy prices, and whether they                    are here today at the outset of an ef-
      for Medicare and Medicaid, which pro-                   will have good health care when they                   fort to prevent abdominal aortic aneu-
      vide health care to poor children,                      need it. They are concerned about hur-                 rysms from advancing to the point of
      working men and women, the disabled,                    ricane disaster relief and rebuilding as-              rupture by providing coverage for a
      and the elderly. It cuts funding to re-                 sistance, and preparedness for the                     simple yet lifesaving screening. Simply
      habilitate FHA-insured multi-family                     threat of an avian flu crisis. They are                put this legislation is about saving
      housing. It dramatically increases the                  concerned about the war in Iraq and                    lives and I am pleased that it is con-
      premiums paid by pension plans to the                   protecting the homeland from terrorist                 tained in the bill passed today.
      Pension Benefit Guarantee Corpora-                      attacks. They are concerned about our                    Finally, I would also like to say a
      tion, the Federal pension insurer, mak-                 education system and our competitive-                  brief word about the amendment being
      ing it more expensive for companies to                  ness in the global economy.                            offered by Senator BYRD that deals
      offer defined benefit pension plans for                   The budget resolution—and the rec-                   with the issue of H–1B and L–1 visas.
      their employees.                                        onciliation legislation that carries out               His amendment would strike the text
        While many of the health care cuts in                 its instructions—is a statement of pri-                in the underlying bill dealing with im-
      the Senate’s reconciliation bill are less               orities. Unfortunately, the bill before                migrant worker visas and replace it
      severe than what is contained in par-                   this body today fails to seriously ad-                 with a $1,500 fee for employers who file
      allel House reconciliation proposal, I                  dress the concerns of American fami-                   a petition to hire a foreign worker
      remain concerned that even under the                    lies and businesses.                                   under the L–1 visa program.
      Senate plan Medicare beneficiaries will                   We can do better than this legisla-                    Immigration reform is a critical
      have to pay more for critically needed                  tion. We can do better than harmful                    issue that this body must address. It is
      services and access to Medicaid serv-                   cuts for the poor and for children and                 a matter of national security, of over-
      ices could be limited for some bene-                    for seniors. We can do better than                     all economic well being, and of pro-
      ficiaries.                                              using these cuts to pay for tax breaks                 tecting American workers. Simply put,



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00050   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.100   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 52 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12335
      the underlying bill is not the appro-                   budget package. The House plan for                     of the principles on which reconcili-
      priate place to address such critical                   Medicaid cuts includes cutting pro-                    ation was based, I must oppose them.
      and complicated immigration issues as                   grams for children, pregnant mothers,                    Mrs. BOXER. Mr. President, I strong-
      the H–1B visa. So I thank Senator                       the disabled, and the elderly, while in-               ly oppose the reconciliation bill before
      BYRD for offering his amendment. I                      cluding stipulations to shift costs onto               the Senate.
      strongly support it and I hope that my                  already poor and vulnerable popu-                        The bill would cut vital programs for
      colleagues will as well when it comes                   lations. This bill will result in consid-              the middle class, elderly, and poor in
      to a vote.                                              erable changes to these programs that                  order to pave the way for yet another
        Mr. FEINGOLD. Mr. President, to-                      could negatively affect multiple gen-                  tax cut for the richest individuals in
      day’s vote is the first part of a three-                erations of American families, and I                   the county.
      step budget reconciliation package                      am deeply concerned about the possi-                     Hurricane Katrina focused the Na-
      that actually leaves this Nation’s                      bility of a final conference report that               tion’s attention on America’s poor and
      budget worse off than it is now, not by                 adopts the House approach on these                     displaced. In the wake of the storm,
      tens of millions of dollars, which itself               issues.                                                the people demanded that Congress act
      would have been a disservice to the                       In one of the few bright spots in this               to help Americans in need and were
      American public, but by tens of billions                package, the Agriculture Committee                     justifiably angry at the administra-
      of dollars.                                             overwhelmingly and in a bipartisan                     tion’s slow and inadequate response.
        Using reconciliation to push through                  manner proposed an extension of the                    Americans recognize that their govern-
      legislation that will worsen our budget                 Milk Income Loss Contract, MILC, pro-                  ment should aid those in distress in
      deficit and add billions more to the                    gram as part of its reconciliation pack-               order to make this a better country for
      mountain of debt our children and                       age. This committee action and the                     everyone.
      grandchildren will have to pay is a per-                lack of an attempt to remove the ex-                     That is why I cannot believe only 2
      version of a process designed to expe-                  tension on the floor show the strong                   months after Katrina, we have a bill
      dite measures to reduce the deficit.                    support for this vital dairy safety net.               that would cut Medicare and Medicaid
        Reconciliation was intended to help                   I renew my call to the administration                  by $27 billion, increase Medicare pre-
      facilitate the enactment of measures                    to fulfill the President’s campaign                    miums for seniors, cut the availability
      to reduce the deficit. It is ironic, to say             promise and actively work with mem-                    of affordable housing, and cut support
      the least, that it should be used to                    bers of the House to reaffirm the Sen-                 for our farmers by $3 billion.
      enact measures that only aggravate                      ate’s strong support for MILC.                           Even worse, the House of Representa-
      our budget deficits and increase our                      I close by cautioning my colleagues                  tives is looking to make even deeper
      massive debt.                                           in the majority party that the prece-                  cuts to Medicare and Medicaid and to
        No one who has served in this body                    dents set by previous reconciliation                   cut the food stamp program, child sup-
      for the past 10 years, and especially the               bills and being set in this one lay the                port enforcement, the foster care pro-
      past 41⁄2 years, should pretend to be                   groundwork for the leveraging through                  gram, and student loan programs.
      shocked, however. This is only the lat-                 of policies they may find troubling the                  These cuts will harm millions of
      est abuse of a reconciliation process                   day Democrats become the majority                      Americans.
      that in recent years has been the prin-                 party in the Senate. And that day will                   And why are the Republicans doing
      cipal tool used to enact some of the                    come.                                                  this? Not to reduce the deficit, which is
      most reckless fiscal policies in recent                   My friends across the aisle may be                   spinning out of control, but to provide
      history.                                                thinking, ‘‘We have nothing to lose.                   tax cuts for millionaires that will at
        But for even the most cynical, there                  When Democrats take control, there                     the end of the day actually increase
      are new lows in this bill, most notably                 will be enough of them who will object                 the deficit.
      the use of reconciliation to jam                        to the kinds of abuses of the reconcili-                 The tax portion of the reconciliation
      through a controversial policy measure                  ation process in which we engaged.’’                   package will provide $70 billion in tax
      to permit drilling for oil in the Arctic                  Well, if that is their thinking, they                breaks—$30 billion more than the pro-
      National Wildlife Refuge. At the very                   may be right. But I suggest that it is                 posed spending cuts. In a perversion of
      least, the Senate should be allowed to                  an unreliable strategy. The best pro-                  the budget reconciliation process, the
      conduct a full and open debate on this                  tection against possible Democratic                    Republicans will be adding to, not de-
      misguided decision to undermine the                     abuse of reconciliation in the future is               creasing, the Nation’s $8 trillion debt.
      crown jewel of our National Wildlife                    to ensure that the rules are enforced as                 The majority of those $70 billion in
      Refuge System. To say that the inclu-                   they were intended at all times, not                   tax breaks will go to the wealthy. Peo-
      sion of this provision in the reconcili-                just when they serve your immediate                    ple making over $1 million a year will
      ation package is based on dubious rev-                  policy objectives.                                     get an average tax cut of $35,491. In
      enue assumptions would be kind. By                        Using reconciliation to enact con-                   comparison, those making between
      perverting the budget process to push                   troversial energy and health policies is               $50,000 to $200,000 a year will get a
      through oil and drilling in the Arctic                  an abuse of that process. Using rec-                   break of $122. And those making less
      Refuge, the majority has successfully                   onciliation to enact legislation that                  than $50,000 a year will get an average
      squandered away the legacy of environ-                  will worsen budget deficits and in-                    tax cut of $6.
      mental stewardship initiated by Presi-                  crease the debt is an abuse of that                      That means that people who are most
      dent Eisenhower in 1960.                                process.                                               hurt by the spending cuts—the middle
        Also of concern are the significant                     And, please, let’s not waste the Sen-                class, seniors, and the poor—will get
      changes to the Medicare and Medicaid                    ate’s time with arguments that some-                   almost no benefit the tax cuts.
      programs, cutting programs that offer                   how this particular bill before us isn’t                 The reconciliation package also is a
      critical health care services to people                 an abuse because this bill, by itself,                 windfall for big oil. It would allow
      who most need it. The Senate package                    does not worsen the deficit. No matter                 them to drill in one of American’s most
      does adopt some positive changes, such                  how many pieces you slice it into, the                 pristine areas—Alaska’s Arctic Na-
      as cutting the Medicare Advantage                       reconciliation package will leave us                   tional Wildlife Refuge. Fragile wilder-
      slush fund, preventing Medicare cuts to                 with bigger deficits, not smaller ones.                ness will be opened, threatened, and ul-
      physician payments, and protecting in-                    When Congress and the White House                    timately ruined for the sake of 6
      patient rehabilitation hospitals. Unfor-                become serious about cleaning up the                   months’ worth of oil.
      tunately, the President has made it                     fiscal mess they created, and when                       What makes America the greatest
      clear that he does not support many of                  they are willing to spread the burden of               Nation in the world is our sense of
      the provisions that will protect bene-                  that clean up across all programs—de-                  community and compassion. Ameri-
      ficiaries, but instead would rather give                fense and nondefense discretionary pro-                cans look out for each other, and our
      money to insurance and pharma-                          grams, entitlements, and the spending                  government should do the same.
      ceutical companies.                                     done through the Tax Code—I am ready                     The budget reconciliation package
        The administration has stated that it                 to help. But so long as we see reconcili-              reflects none of the core American val-
      prefers provisions offered in the House                 ation measures that are contemptuous                   ues of compassion and equity. Instead,



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00051   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.101   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 53 of 91
      S12336                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      it harms those who are most vulner-                     at the end of the last fiscal year, pro-               aging conservation efforts, and taking
      able in order to benefit the rich and a                 vides counter-cyclical support for the                 a careful look at high oil company
      handful of special interests.                           nation’s dairy sector. It is targeted. It              profits. We do need to act to lower our
        For these reasons, I cannot support                   is fair. It is essential. Moreover, it en-             dependency on foreign oil, but we can-
      the budget reconciliation spending bill                 joys the President’s support. It makes                 not drill our way out of dependency.
      and will vote against it.                               sense as part of the balanced Agri-                      I’m also particularly disappointed
        Mr. BUNNING. Mr. President, Earlier                   culture package in this bill.                          that the bill we are considering today
      today, an amendment I have worked                         But my opposition to the entire                      contains harmful program cuts that
      closely with Senator DODD from Con-                     package is adamant because this bill is                would fall disproportionately on the
      necticut on was passed as part of the                   just one piece of a fiscally and morally               most vulnerable in our society. This
      budget reconciliation package. The                      bankrupt budget. Though this bill asks                 legislation cuts funding for health care
      amendment is based on legislation we                    for sacrifices from seniors, students,                 provided through the Medicaid pro-
      introduced which would provide a new,                   farmers and working families, the                      gram, which provides health insurance
      one-time screening benefit for abdom-                   budget of which it is part will add over               to poor children, pregnant women, and
      inal aortic aneurysms, AAAs, under                      $30 billion to the deficit over the next               elderly. My Republican colleagues
      Medicare for certain, eligible bene-                    5 years. Though this bill makes real                   argue that we must cut waste and
      ficiaries.                                              cuts in Medicaid, Medicare, aid to                     fraud in Medicaid and I am not opposed
        I am pleased this amendment was ac-                   farmers and funding for conservation                   to that. However, I do not agree with
      cepted, and I appreciate the hard work                  programs across the country, the budg-                 the arbitrary way they have gone
      from Senator DODD in helping get this                   et of which it is part will add $3 trillion            about cutting funding from this crit-
      amendment passed. I hope that we can                    to the national debt by 2010.                          ical safety net program—without
      continue working to ensure that this                      If this bill was what many on the                    which millions of Americans would be
      provision is included in the final rec-                 floor have argued—a carefully crafted                  uninsured—and using that money to
      onciliation package.                                    compromise to cut $39 billion from our                 pay for tax cuts for people with high
        AAAs occur when there is a weak-                      growing federal deficit, I would have to               incomes. I’m also concerned about the
      ening of the walls of the aorta, the                    think hard before opposing it. But the                 increased burden this bill places on
      body’s largest blood vessel. The artery                 budget calls for today’s bill to be fol-               seniors through additional cuts in the
      begins to bulge and can lead to a rup-                  lowed with $70 billion tax cut, the bulk               Medicare program and an increase in
      ture and often severe internal bleeding.                of which will go to those with more                    Medicare Part B premiums. I hope my
      In cases where an artery ruptures, the                  than $1 million in annual income.                      colleagues will support several of the
      survival rate is less than 15 percent,                    I am willing to make the hard                        amendments offered today to help min-
      and approximately 15,000 people die                     choices to bring our budget deficit                    imize the impact these cuts could have
      from ruptured abdominal aortic aneu-                    down. I am not willing to support tak-                 on our Nation’s elderly.
      rysms each year.                                        ing needed services away from those                      I urge my colleagues to reject this
        When detected before rupturing,                       that need them the most—and use                        bill—and the irresponsible and cruel
      AAAs are treatable and curable in 95                    those cuts as a fig leaf to hide tax                   budget of which it is part.
      percent of cases. Nearly all AAAs can                   breaks for those who need them the                       Mrs. FEINSTEIN. Mr. President, I
      be detected through an inexpensive                      least.                                                 rise today truly alarmed about the ad-
      ultrasound screening. Once detected, a                    Our budget is the most basic expres-                 ministration’s fiscal irresponsibility.
      physician can monitor small aortic an-                  sion of what we stand for as a govern-                 In the past 5 years, the President’s
                                                              ment. Is this budget really what we                    policies have turned record surpluses
      eurysms and begin treating the risk
                                                              want to vote to say? That we are the                   into record deficits. Just a few weeks
      factors, such as high blood pressure
                                                              sort of country that threatens our own                 ago, the Department of Treasury an-
      and smoking. Large or rapidly growing
                                                              economic stability by piling deficit                   nounced that this year’s budget deficit
      aneurysms are often treated using ei-
                                                              upon deficit? That we show our fiscal                  is the third largest in history at $319
      ther an open surgical procedure or a
                                                              toughness by chopping aid to those in                  billion.
      less invasive stent graft, both of which                                                                         But, that is not where the bad story
      serve to repair the artery.                             need? That we show our compassion
                                                                                                                     ends.
        It is estimated that between 5 to 7                   only to those whose biggest problem is                   By sleight of hand, the administra-
      percent of adults of the age of 60 have                 finding a really good tax shelter for                  tion continues to use other resources
      AAAs.                                                   their growing capital gains?                           to finance debt, including foreign lend-
        Our      amendment      targets   AAA                   Make no mistake, this bill is the first              ers and Social Security. The real def-
      screenings to Medicare beneficiaries                    piece of the budget that says just that,               icit is a staggering $551 billion, 4.5 per-
      with a family history and those who                     and for that reason alone, it deserves                 cent of GDP.
      exhibit risk factors recommended for                    our solid opposition. But beyond that,                   Administration officials are non-
      screening by the U.S. Preventative                      there are individual provisions in this                chalant about the fiscal disarray.
      Services Task Force, specifically men                   bill to which I take exception. One is                   I am deeply worried. We all should
      who smoke. The amendment also lim-                      the use of this bill’s extraordinary fast              be.
      its screening to those eligible bene-                   track procedures to accomplish what                      On October 18, the national debt
      ficiaries who participate in the Wel-                   big Oil’s proponents have not been able                passed the $8 trillion mark. Even more
      come to Medicare Physical.                              to get through the Senate in the past:                 disturbing, the national debt is being
        This amendment could save thou-                       opening the Arctic National Wildlife                   financed by Chinese, Japanese, and
      sands of lives each year, and I am                      Refuge to oil drilling.                                other overseas lenders. To put this into
      pleased we were able to include it in                     I have long supported protecting this                perspective, in absolute dollars, the
      this package.                                           valuable and fragile natural wonder,                   country is borrowing more than ever in
        Mr. KOHL. Mr. President, I am in re-                  and I think it is unfortunate that we                  its history, close to $2 trillion from for-
      luctant but adamant opposition to the                   are drilling in this wilderness for a rel-             eign nations. We owe over $680 billion
      reconciliation bill before us. I say re-                atively small payback. Those on the                    to Japan, $390 billion to the European
      luctant, because I am glad to see the                   other side of this issue who use the cur-              Union, $240 billion to China, and $57
      Senate using the reconciliation proce-                  rent high price of oil to justify the vio-             billion to OPEC nations, to name a few.
      dure for the purposes for which it was                  lation of this pristine area are short                   It is beyond me how this administra-
      intended: making difficult choices to                   sighted. According to the Department                   tion can turn a blind eye to these num-
      reduce spending. And reluctant because                  of Energy’s own analysis the oil from                  bers, or how Congress can approve leg-
      some of the policy changes incor-                       the refuge will only lower the price of                islation that exacerbates these fiscal
      porated in this bill are necessary and                  a barrel of oil by one penny. In addi-                 problems.
      worthy of the Senate’s support.                         tion, this oil will not come on line for                 Instead of facing up to the fiscal
        One such provision relates to exten-                  almost a decade. Instead of threatening                truth, President Bush ignores the
      sion of the Milk Income Lost Contract,                  our natural heritage, I believe we                     mountain of debt that will burden gen-
      MILC, program. MILC, which expired                      should be looking instead at encour-                   erations to come.



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                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 54 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12337
        First, this President shortened the                     To make matters worse, the tem-                      size of the average tax cut for middle-
      budget timeline from 10 years to 5                      porary relief for physicians in the bill               income families. That means million-
      years. Relying on this kind of gim-                     is borne on the back of Medicare bene-                 aires have received an average tax
      mickry covers up for the President’s                    ficiaries in the form of higher Part B                 break of $100,000 a year while middle-
      destructive fiscal decisions, especially                premiums. This provision will directly                 income families have received a mere
      as they relate to tax cuts for the rich.                increase the amount Medicare bene-                     $742.
        Second, this Republican Congress                      ficiaries pay each month in premiums                     Let me be frank, the President’s tax
      voted against a system to keep the                      by $2.90 in 2007. That is a 33-percent in-             cuts do not help working Americans. In
      budget in balance. I am referring to the                crease in monthly premiums. While it                   fact, the after-inflation wages of the
      pay-go rule endorsed by Federal Chair-                  is vital that Congress prevent future                  average     American     earners    have
      man Alan Greenspan and former Sec-                      cuts in Medicare reimbursement to                      dropped for the first time in a decade.
      retary of Treasury Robert Rubin. Pay-                   physicians, the provision in this bill                   Meanwhile, the President’s tax cuts
      go would have required an offset for                    amounts to a $1.4 billion tax on sen-                  account for 57 percent of the deficit in-
      any decrease in revenue. The method                     iors. That is unacceptable.                            crease. In fact, President Bush’s tax
      would have ensured a balanced ap-                         Further, it is no secret that in-                    cuts are more expensive than all spend-
      proach to tax cuts. Unfortunately, Re-                  creased debt puts pressure on inflation.               ing increases combined, including new
      publican congressional leaders opted                    In just this past year, the Federal Re-                spending for homeland security, the
      for shunting aside integrity in budg-                   serve enacted 11 consecutive interest                  war in Iraq, operations in Afghanistan,
      eting. They back pay-go in name, but                    rate increases.                                        expanded antiterrorism efforts, and all
      not in practice.                                          This means the American people will                  domestic spending increases. It is a fis-
        By any standard, the decisions to ig-                 have to make higher mortgage pay-                      cal record of excess and recklessness.
      nore a 10 year budget timeline and dis-                 ments, pay higher interest, and for                      And without batting an eye, this
      regard balancing methods have caused                    those who own debt, it will take even                  President goes right along, reiterating
      massive red ink and send the country                    longer to pay off their credit cards.                  his intention of making tax cuts per-
                                                                For some, this bill will put a college               manent—at a cost of $11 trillion over 75
      precisely in the wrong direction.
                                                              education out of reach. Middle-income
        In fact, Federal Reserve Chairman                                                                            years—making it clear that even in the
                                                              families, who have no choice but to
      Alan Greenspan put it this way:                                                                                wake of hurricanes, rising gas prices,
                                                              borrow money for college, will struggle
        The federal budget deficit is on an                                                                          increasing interest rates, and higher
                                                              even more to pay tuition bills.
      unsustainable path, in which large deficits
                                                                Due to increasing costs of basic                     health care costs, this administration
      result in rising interest rates and ever-grow-                                                                 will continue to push for lining the
      ing interest payments that augment deficits             needs, there are 1 million more Ameri-
                                                              cans living in poverty this year than                  pockets of the wealthy.
      in future years . . . Unless this trend is re-                                                                   I believe we can do better. I believe
      versed, at some point these deficits will               there were last year. Not only does this
                                                              budget reconciliation do nothing to re-                we can bring fiscal responsibility back
      cause the economy to stagnate or worse.
                                                              duce that number, it puts many more                    to the budget process and help middle-
        I fear this reconciliation package,                                                                          income families. We have done it in the
      coupled with the administration’s tax                   Americans at risk of poverty due to
                                                              higher health care costs and reduced                   past. We can do it now.
      cuts, will lead us to even worse times.                                                                          In 1982, Ronald Reagan agreed to
        Reconciliation is simply asking too                   access to social services and education.
                                                                As for the environment, this rec-                    undo a significant share of tax cuts to
      much of middle income families who                                                                             combat substantial budget deficits.
      are facing cost increases for basic                     onciliation blatantly undermines the
                                                              natural wonders of our country.                          Ten years later, President George
      needs.                                                                                                         H.W. Bush changed his position on
        For instance, energy costs to heat                    Shamefully, it opens the Arctic Na-
                                                              tional Wildlife Refuge for drilling to al-             taxes and signed a bipartisan deficit-
      one’s home have increased 20 percent                                                                           reduction package.
      from last year. Education costs for                     ready profit-soaked oil companies.
                                                                And, if that is not enough, this ad-                   More recently, in the late 1990s, after
      public universities have increased 7.1                                                                         inheriting a national deficit totaling
                                                              ministration’s fiscal policy forces our
      percent. Interest rates that impact col-                                                                       4.7 percent of GDP, the Clinton admin-
                                                              children to pay it all back—not only to
      lege loan payments have doubled over                                                                           istration turned deficits into our first
                                                              the Social Security Trust Fund, but to
      the last 10 months. And, gas prices                                                                            budget surpluses since 1969.
                                                              foreign nations.
      have increased 19 percent over the last                   At any point, foreign countries can                    Today, with the national deficit in-
      4 months.                                               stop investing in the dollar, and any                  cluding trust fund accounts reaching
        Instead of assisting families with                    small movement could have a signifi-                   4.5 percent of GDP, it is time to do the
      these increased costs, raising the                      cant and immediate impact on the fis-                  same.
      standard of living for the poor, or im-                 cal stability of our Nation’s currency.                  In the words of Former Secretary of
      proving the opportunities to attain a                     Does this Congress believe it is good                Treasury Robert Rubin:
      college education, this package adds to                 foreign policy to put our economic in-                   We are at a critical juncture with respect
      financial pressures.                                    terests and security in the hands of                   to the longer-term future of our economy,
        For health care alone, premiums                       China, Japan, and the European Union?                  and the outcome at this juncture will be
      have climbed higher than $10,000 for                      Let me be clear, this budget rec-                    enormously affected—for good or for ill—by
      families, and this bill will do nothing                 onciliation is asking Americans to: pay                the policy action we take in response to the
      to reduce out-of-pocket health care                                                                            great issues we face.
                                                              more in interest payments, pay more
      spending.                                               in health care premiums without im-                      It is time to have the courage to act
        More perniciously, what the bill does                 proving benefits, borrow more from for-                responsibly. This so called deficit re-
      do is cut $10 billion in health care                    eign lenders, further damage our habi-                 duction package is not what it claims
      spending for the poorest Americans.                     tat and environment, and leave an even                 to be. Yes, it will cut spending by more
        While the bill provides a 1-year tem-                 larger bill for future generations to                  than $30 billion, but in a few weeks
      porary relief to physicians, a 1 percent                pay.                                                   these savings will be spent on tax
      increase in Medicare reimbursements                       We should be talking about helping                   breaks for the rich. In the end, this rec-
      is not enough. This is a Band-Aid fix,                  American families, not punishing them                  onciliation package titled ‘‘Deficit Re-
      at best. When expenses to practice are                  with new financial burdens. And, for                   duction’’ will actually increase the def-
      increasing at a rate of 3 to 5 percent                  what good reason? None whatsoever.                     icit by $36 billion. This fiscal strategy
      annually, a 1-year 1 percent increase in                  The Bush administration’s Pavlovian                  edges us closer to fiscal insanity and
      reimbursements is insufficient. In my                   response to everything that ills the                   leaves our children and their children
      State, where the cost of living is be-                  economy is: tax cuts—not to middle-                    impoverished and riddled with debt.
      yond the reach of many Californians,                    and low-income families, who need it                   The first step to doing better is voting
      doctors are simply choosing not to see                  most, but, instead, to the wealthiest                  no on this reconciliation bill.
      any new Medicare patients or are retir-                 Americans.                                               Mr. JOHNSON. Mr. President, in
      ing early due to low reimbursement                        The wealthiest Americans have re-                    order to meet its reconciliation in-
      levels.                                                 ceived tax cuts that are 140 times the                 structions, the Banking Committee



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00053   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.036   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 55 of 91
      S12338                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      recommended that S. 1562, the Safe and                  to pay higher premiums for riskier be-                 of proposals moves America in exactly
      Fair Deposit Insurance Act of 2005 be                   havior, reducing any moral hazard. It                  the wrong direction.
      included in the banking title of the                    is important to note, however, that in                   This bill moves in the wrong direc-
      budget reconciliation bill.                             developing a new risk based premium                    tion when it comes to agriculture. Ag-
        Earlier this year, I joined with Sen-                 system, the FDIC should not nega-                      riculture program spending amounts to
      ators ENZI, HAGEL, and ALLARD in in-                    tively impact the cost of homeowner-                   about 1 percent of the spending in the
      troducing this important legislation                    ship or community credit by charging                   Federal budget, however, at a time
      which has garnered strong bipartisan                    higher premiums to institutions simply                 when fuel prices are at a record high
      support and was overwhelmingly ap-                      because they fund mortgages and other                  and many rural areas in Colorado
      proved by the Banking Committee last                    types of lending through advances from                 across the country continue to feel the
      month. Additionally, it has the strong                  Federal Home Loan Banks. Congress                      effects of weather-related natural dis-
      support of the administration, Treas-                   reaffirmed this relationship between                   asters, agriculture programs have been
      ury Department, the Federal Deposit                     community lenders and Home Loan                        forced to take $3 billion worth of cuts.
      Insurance Corporation, and the finan-                   Banks most recently in the Gramm-                      These cuts will come out of the pro-
      cial services industry.                                 Leach-Bliley Act, and deposit insur-                   grams that farmers, ranchers and rural
        Deposit insurance is one of the cor-                  ance reform is not intended to impose                  communities count on most, including
      nerstones of our country’s financial                    any financial cost on the relationship                 commodity program payments and
      system. It protects depositors against                  through direct or indirect premiums.                   conservation programs like the Con-
      risks they cannot control, ensures sta-                   Third, the FDIC will have the discre-                servation Reserve Program, CRP. Dur-
      bility, and allows deposits to remain in                tion to periodically index coverage lev-               ing my time in the Senate I have spo-
      our local communities. This important                   els for both general and retirement ac-                ken many times about my concern that
      legislation will ensure that deposit in-                counts to keep pace with inflation.                    too often Washington leaves our rural
      surance maintains its strength even                     This is a compromise made in order to                  communities to wither on the vine. I
                                                              secure the Bush administration’s sup-                  believe that this budget reconciliation
      during times of economic weakness.
        Borne out of the need to promote fi-                  port. Frankly, I feel some form of auto-               package only contributes to their de-
      nancial stability during the Great De-                  matic indexation would be far pref-                    cline.
                                                                                                                       This bill moves in the wrong direc-
      pression, deposit insurance has served                  erable, and I am disappointed that in-
                                                                                                                     tion when it comes to health care and
      depositors well by providing stability                  dexation is left as a discretionary mat-
                                                                                                                     education. The bill cuts college student
      to banks and to the economy, and it is                  ter. The real value of deposit insurance
                                                                                                                     aid by over $7 billion, creating less op-
      especially critical to our Nation’s                     coverage is now less than half of what
                                                                                                                     portunity for young Americans when
      smaller financial institutions and com-                 it was in 1980 when it was set at
                                                                                                                     we should be in the business of creating
      munity banks.                                           $100,000. By increasing the level of cov-
                                                                                                                     more. It makes deep Medicaid and
        While there have been differing opin-                 erage for retirement accounts, we are
                                                                                                                     Medicare cuts, hurting the poor, elder-
      ions as to how deposit insurance should                 adjusting for the real value of cov-
                                                                                                                     ly, and disabled who struggle with
      be reformed, there is general agree-                    erage. Insuring retirement accounts up
                                                                                                                     healthcare costs. Because of this bill,
      ment that the system needs to be re-                    to $250,000 will keep the coverage level               seniors will see a 33 percent increase in
      formed and modernized. The banking                      up with inflation and will promote fi-                 premiums for Medicare Part B. Be-
      industry is rapidly evolving and is be-                 nancial stability for individual retir-                cause of this bill, independent, commu-
      coming increasingly complex and so-                     ees. Retirement accounts are the only                  nity pharmacies, particularly in rural
      phisticated. Yet the last time any                      accounts under this bill that will get a               areas, will see a change in reimburse-
      change was made to our system of de-                    higher coverage level. I believe in the                ment formulas that could force them
      posit insurance was over 20 years ago.                  current environment, with the uncer-                   to close their doors, further eroding ac-
      Reform is long overdue. The time has                    tainty surrounding social security and                 cess to health care in this country.
      come for the system that was put in                     pension benefits, that it is critical that               This bill moves in the wrong direc-
      place to promote the stability of the                   we provide appropriate coverage for the                tion when it comes to the environment
      banking system be appropriately re-                     hard-working Americans who have                        and to energy policy. It would open the
      formed to keep pace with the evolution                  saved for their retirement and long-                   pristine Arctic National Wildlife Ref-
      of that system.                                         term care needs. This legislation                      uge to oil drilling. Ultimately, this
        Depositors must have confidence that                  strikes the appropriate balance in that                fight is not about barrels of oil, it’s
      their hard-earned money is protected,                   regard.                                                about the deeper moral decisions we
      including the funds that cover their                      Finally, I would be remiss if I did not              make as a nation about how best to ad-
      daily living expenses to the funds they                 recognize the banking community in                     dress our energy needs. Drilling for oil
      are saving for retirement and a rainy                   South Dakota for the invaluable and                    in the Arctic National Wildlife Refuge
      day. To that end, this legislation intro-               critical role they have played in this                 won’t do a thing for gas prices this
      duces some very key reforms.                            process over the past 5 years. I truly                 winter. It won’t do a thing for gas
        First, it merges the bank insurance                   appreciate the input and recommenda-                   prices in 10 years or even 15 years. In
      fund with the savings association in-                   tions that I have received from the in-                fact, it won’t do a thing for energy
      surance fund to create the deposit in-                  dustry overall. I would also like to                   prices ever, because even if this provi-
      surance fund. By doing so, we create a                  thank Chairman SHELBY, and Ranking                     sion passes and becomes law, the total
      stronger and more diversified fund, and                 Member SARBANES for their leadership,                  amount of ‘‘technically recoverable
      eliminate the possibility for disparities               Senators ENZI, HAGEL and ALLARD for                    oil,’’ according to the administration’s
      in premiums between banks and                           the many hours of hard work, and                       own estimates, would reduce gas prices
      thrifts.                                                FDIC Chairman Don Powell for his                       by only a penny—and then, not before
        Second, insurance premiums will be                    commitment to deposit insurance re-                    10 to 15 years from now.
      risk-based to ensure that banks pay                     form.                                                    This reconciliation bill does not re-
      based on the risk they pose to the sys-                   Mr. SALAZAR. Mr. President, I voice                  flect the right budget priorities. This
      tem, and the FDIC will be able to price                 my opposition to the reconciliation bill               bill tightens the squeeze already being
      insurance premiums accordingly. The                     before the Senate today. America can                   felt by so many hardworking Ameri-
      current system does not allow for pre-                  and should do better. This bill, which                 cans trying to make ends meet as oil
      mium assessments to be based on risk,                   masquerades as a vehicle to help                       and gas prices soar and winter ap-
      and therefore, safer banks are sub-                     shrink the deficit, is actually a part of              proaches. Adding insult to injury,
      sidizing riskier banks. This inflexi-                   a broader, fiscally irresponsible pack-                these irresponsible cuts will not even
      bility will be eliminated and the as-                   age of policy and legislation that will                help the country with the bottom line,
      sessment burden will be distributed                     actually increase the size of the deficit              because they are being combined with
      more evenly and fairly over time. When                  by over $30 billion in the next 5 years,               tax breaks for the wealthiest Ameri-
      deposit insurance is priced for risk,                   even as this bill cuts programs that are               cans that exceed, by tens of billions of
      whether the coverage limit is higher or                 important to the most vulnerable                       dollars, the value of the cuts them-
      lower is less relevant. Banks will have                 Americans. In other words, this series                 selves. The average benefit of these tax



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00054   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.034   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 56 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12339
      breaks for those with incomes more                      other countries with greater leverage                  Policy Act of 2005 for 2 weeks this past
      than $1 million would be $35,491. But                   during trade or other negotiations with                summer. Opening ANWR to oil and gas
      for those with incomes under $50,000,                   us.                                                    development was not considered on the
      the average benefit comes to $6. Amer-                    In addition to the fiscal irrespon-                  Energy bill because the votes were not
      ica can do better.                                      sibility in this reconciliation package,               there to pass it except by including it
        Mr. LEVIN. Mr. President, earlier                     it is unconscionable that this body                    in the budget reconciliation bills that
      this year I voted against the budget                    would once again decide to cut services                we are considering now.
      resolution that passed the Congress be-                 for the poor and the disabled and the                    On a positive note, I am pleased that
      cause it reflected the wrong priorities.                elderly and disadvantaged children and                 I was able to include language in this
      That budget resolution short changed                    then to turn around next week and pro-                 bill that recognizes the needs of border
      vital public needs such as education                    vide the mostly the wealthiest Ameri-                  States when awarding emergency and
      and health care for all Americans in                    cans with $70 billion of tax cuts. I will              interoperable communications grants.
      order to further cut taxes mainly for                   say at the outset, this bill contains                    First responders in border States like
      the wealthiest Americans. The bill be-                  some good provisions. This bill halts an               Michigan, New Mexico, and Minnesota
      fore us today is the first part of a                    unwise looming 4.4 percent decrease for                face unique challenges and must be
      three-part budget reconciliation proc-                  physicians treating Medicare patients                  able to communicate with a number of
      ess set up to help carry out that mis-                  and instead provides a 1 percent in-                   Federal, State, and local entities in-
      guided budget. Budget reconciliation is                 crease. This bill was amended and now                  cluding FEMA, Customs and Border
      a special process that gives privileged                 contains a provision that will prevent a               Protection, and the National Guard in
      short cuts under the rules of the Sen-                  reduction in Federal money for Michi-                  addition to police, firefighters and
      ate. For many of the same reasons that                  gan Medicaid. This bill also has several               emergency medical services personnel
      I opposed the original budget resolu-                   provisions to help victims of Hurricane                from other jurisdictions who may as-
      tion, I must also oppose this reconcili-                Katrina.                                               sist in the event of a large scale dis-
      ation bill. Instead of improving our fis-                 However, a large portion of the                      aster or terrorist attack. What is often
      cal situation, the reconciliation pack-                 spending cuts in this reconciliation bill              overlooked is that first responders near
      age worsens the problem.                                impacts the millions of Medicare and                   border crossings must also be able to
        This first of the three reconciliation                Medicaid beneficiaries as well as pro-                 maintain     seamless    communication
      bills is focused on spending cuts. It                   viders. This is not the first time Con-                with their Canadian or Mexican coun-
      cuts funding for Medicaid, Medicare,                    gress has attempted to balance the                     terparts across the border. My amend-
      low-income housing grants and other                     budget on the backs of people who rely                 ment would assist our first responders
      important programs. These cuts, along                   on Medicare and Medicaid. In 1997, Con-                by creating demonstration projects at
      with the revenue that could be gen-                     gress cuts payments to providers and                   our northern and southern borders. The
      erated as a result of a shortsighted de-                services to beneficiaries and the cuts                 amendment provides that the Sec-
      cision to drill in the Arctic National                  were overreaching. It is my fear the                   retary of Homeland Security shall es-
      Wildlife Refuge, ANWR, in Alaska, are                   same result will come from our actions                 tablish at least two International Bor-
      projected to reduce the deficit by $39.1                today. This bill before us cuts reim-                  der Community Interoperable Commu-
      billion over the next 5 years.                          bursement for several types of Medi-                   nications Demonstration Projects—
        However, at the same time, both                       care providers including nursing facili-               with at least one of these demonstra-
      Houses of Congress are working on sep-                  ties, hospitals and managed care. This                 tion projects on each of the northern
      arate versions of the second part of the                bill also places caps on payments for                  and southern borders. These interoper-
      reconciliation package—the tax bill.                    Medicare and Medicaid services. People                 able communications demonstrations
      That bill would extend $70 billion                      who rely on Medicare and Medicaid are                  will address the interoperable commu-
      worth of tax cuts benefiting largely the                going to be hurt by this bill. I hope                  nications needs of police officers, fire-
      wealthiest Americans. It simply does                    that my colleagues take a long look at                 fighters, emergency medical techni-
      not make sense to say we need to cut                    by how much the bad outweighs the                      cians, National Guard, and other emer-
      $39.1 billion out of vital programs to re-              good in this bill.                                     gency response providers at our bor-
      duce the deficit while at the same time                   In addition, I also regret that the                  ders.
      increasing the deficit with $70 billion                 majority decided to include in this                      In closing, I sincerely hope that fu-
      in tax cuts. These bills continue an ir-                budget reconciliation the opening of                   ture budgets coming from this body
      responsible and inequitable tax policy                  the Arctic National Wildlife Refuge,                   will be more responsible than this one.
      that recklessly adds to our deficit.                    ANWR, to oil and gas development.                      Furthermore, as imprudent as this bill
        The third part of this three-part rec-                  I have consistently opposed opening                  is, I hope it won’t be made worse in
      onciliation process will be a bill to                   ANWR to oil and gas development be-                    conference after merging with the even
      allow the national debt to increase by                  cause I believe it is the wrong approach               more misguided House bill. Major bi-
      another $781 billion. The need for that                 to addressing our Nation’s need for                    partisan efforts will be needed to make
      third bill shows how dreadful our budg-                 long-term energy security. The actual                  true progress on the long-term fiscal
      et situation has become. The U.S. na-                   reserves in the area that will be avail-               problems we face. I will continue to
      tional debt has already climbed above                   able for leasing under this provision                  fight for fair and fiscally responsible
      $8 trillion. In the fiscal year that just               are too small to have a significant im-                policies that help generate jobs and
      ended, we spent over $350 billion just to               pact on our Nation’s energy independ-                  economic security from which all
      pay the interest on that debt. That is                  ence and will not produce any oil for                  Americans can benefit.
      14 percent of the Federal Government’s                  more than a decade. I do not believe                     Mr. HATCH. Mr. President, this past
      spending last year. That is money that                  that this limited potential for oil and                March, I stood here to express my re-
      doesn’t go toward important infra-                      gas development in ANWR warrants                       luctant support for the fiscal year 2006
      structure improvements, homeland se-                    endangering what is one of the last re-                concurrent budget resolution. My sup-
      curity or other priorities like health                  maining pristine wilderness areas in                   port was reluctant for one reason only.
      care, education or environmental pro-                   the United States.                                     I believed the budget did not go far
      tection. We simply cannot afford to                       But, also, the process for consider-                 enough in slowing the growth of Fed-
      continue building up this massive debt.                 ation of ANWR on the budget reconcili-                 eral spending.
        Not only is it financially irrespon-                  ation bill has been flawed from the                      My colleagues will remember that
      sible to add to this already heavy debt,                start. Including this important issue in               passing that budget resolution was not
      but it adds risk to our national secu-                  the budget reconciliation bill has                     an easy thing. Both the original Senate
      rity. Forty-four percent of our national                short-circuited the normal legislative                 version and the conference report
      debt is held by foreign investors. If                   process and has eliminated the oppor-                  passed by very narrow margins. Not
      these investors ever decide, for eco-                   tunity for Congress to give the issue                  one Democrat voted in favor of the
      nomic or political reasons, to stop fi-                 the consideration it deserves. In fact,                budget resolution, so it was left up to
      nancing our debt, our markets could be                  this issue was not even considered                     those of us on this side of the aisle to
      severely impacted. This can provide                     when the Senate debated the Energy                     pass that resolution.



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00055   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.074   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 57 of 91
      S12340                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
         The major reason why the budget                      recognize is necessary, is one of the                    Since the MMA was enacted in 2003,
      was so difficult to pass was the inher-                 problems I have with the bill. In addi-                there has been a large increase in the
      ent problem in getting a majority to                    tion, a great deal of the deficit reduc-               availability of Medicare Advantage
      agree on legislation that cuts the                      tion in this bill is achieved by raising               health plans that provide additional
      growth in spending for entitlement                      fees or selling a portion of the broad-                benefits and corresponding reductions
      programs. Entitlement programs are                      cast spectrum. That being said, I will                 in total health care costs. For example,
      those that grow automatically without                   detail some of my specific objections                  in rural areas where there has histori-
      any action from Congress. While they                    about this in a little while.                          cally been minimal managed care
      are many of the most important pro-                       As to criticisms about so-called tax                 available, there are now three regional
      grams in the Government, they are                       cuts, there are not any in this bill. The              PPOs offering an integrated package of
      also the most expensive. Some Sen-                      tax reconciliation bill comes later,                   medical and prescription drug benefits
      ators wanted more cuts in spending                      after this bill has passed. And the tax                with extra coverage at lower prices,
      growth than did others, and it was hard                 provisions that will be in that bill are               one of these regional PPOs even offers
      to get a consensus, especially when                     generally in the nature of preventing                  a zero drug deductible.
      there was absolutely no support from                    tax increases on the middle class, not                   The stabilization fund will help make
      the other side.                                         tax cuts for the wealthy. Moreover,                    it possible to provide secure access to
         Nevertheless, we did manage to pass                  most of those provisions enjoy broad                   these new, lower-cost coverage options
      the budget resolution, which was the                    support on both sides of the aisle.                    in underserved areas. While more Medi-
      first step in the process we are trying                   Do I believe this reconciliation bill is             care beneficiaries than ever will have
      to complete here tonight with the                       perfect? Far from it.                                  regional Medicare Advantage options
      budget reconciliation bill. This bill                     Do I think we could have and should                  in 2006, further progress is needed for
      ‘‘reconciles’’ the spending in the budg-                have done more in trimming the spend-                  people with Medicare in 13 States, spe-
      et with the programmatic changes nec-                   ing growth of entitlement programs?                    cifically: my home state of Utah; Alas-
      essary to achieve the budget numbers.                   Absolutely.                                            ka; Colorado; Connecticut; Idaho;
      And while the projected spending                          As I mentioned before, the signifi-                  Maine; Massachusetts; New Hampshire;
      growth in this budget over the next few                 cance of this bill is not in the amount                New Mexico; Oregon; Rhode Island;
      years is still alarming, the cuts in that               of deficit reduction it delivers, but in               Vermont; and Washington.
                                                              the change in direction that it rep-                     When developing the MMA, the Con-
      growth included in this bill are very
                                                              resents. I hope we can pass it and then                gress recognized that some states
      much a good first step in the right di-
                                                              use it as a building block for more def-               might not be served by regional Medi-
      rection.
                                                              icit reduction next year.                              care Advantage plans in the initial
         What Senator GREGG, the chairman
                                                                We have only a few short years to                    years of the program and strategically
      of the Budget Committee, emphasized
                                                              make much larger changes in our enti-                  created the benefit stabilization fund,
      in his opening remarks is very signifi-
                                                              tlement spending programs. All of us                   which sunsets in 2013, to encourage
      cant. This is the first time since 1997
                                                              know that they are on an upward tra-                   plans to operate in all areas of the Na-
      that Congress has attempted to re-
                                                              jectory that is simply not sustainable.                tion. Utah is one of those States and
      strain the growth of entitlement spend-
                                                              Passing this reconciliation bill now be-               that is why I strongly supported the
      ing programs. I think we can conclude
                                                              gins to turn the tide. It sets the stage               creation of the stabilization fund dur-
      that although the magnitude of the
                                                              for more responsible spending. With a                  ing the MMA negotiations.
      change is not as large as many of us                                                                             The stabilization fund helps to make
      would like to see, the directional                      smart mix of pro-growth policies that
                                                                                                                     sure that, in future years, plans will
      change is very important.                               will help ensure continued economic
                                                                                                                     choose to serve the people with Medi-
         According to the Congressional Budg-                 growth and future spending restraint,
                                                                                                                     care who do not have Medicare Advan-
      et Office, this reconciliation bill would               we can begin to lower the deficit and                  tage options in 2006. And, conversely,
      reduce federal outlays by more than $39                 put our budget in a condition to with-                 repealing the fund, or cutting its reve-
      billion over the next 5 years and by al-                stand the storms ahead.                                nues, means reduced benefits and high-
      most $109 billion over the next 10 years.                 Now, I would like to take the time to
                                                                                                                     er costs for these seniors in future
      I realize that many of my colleagues on                 get into some of the details of the                    years.
      the other side of the aisle are scoffing                changes included in the bill by the                      Many Medicare Advantage plans are
      at the idea these numbers are not large                 three committees on which I serve.                     already serving Medicare beneficiaries
      enough in terms of reducing the deficit.                  As a senior member of the Senate Fi-                 with some very generous benefit offer-
      Why, then, are we not seeing any                        nance Committee, I worked hard with                    ings for 2006, with the expectation that
      spending reduction proposals from                       Chairman GRASSLEY to ensure that our                   there would be stability in the pro-
      them? It is because it is much easier to                Committee met the goal of finding $10                  gram. For the health plans that are in-
      throw rocks at our attempts to rein in                  billion in savings. Unfortunately, the                 terested in potentially providing this
      spending growth than it is to make the                  Finance package also spends a signifi-                 regional PPO coverage, it is essential
      hard choices themselves.                                cant amount of money when I believe                    for them to know that they will get
         Rather than having an honest debate                  that our national focus needs to be on                 some help with starting up if they need
      about how best to deal with out-of-con-                 saving money. Some of it is necessary.                 it in areas that had been underserved
      trol budgets, most of what we are hear-                 Some not.                                              before, and that the Medicare program
      ing from our friends on the other side                    And, I am very troubled by how we                    will keep their payments predictable.
      is the same old tiresome accusation                     are paying for this spending. Close to                   If Congress and the Centers for Medi-
      that we are reducing spending for                       $5 billion comes from eliminating the                  care and Medicaid Services, CMS, start
      lower-income Americans so that we                       MedicareAdvantage Regional Plan Sta-                   cutting promised funding and/or chang-
      can cut taxes, once again, for those                    bilization Fund, something I strongly                  ing program rules even before the first
      Americans who are wealthy and do not                    oppose. The stabilization fund is a crit-              benefit is administered, we send a very
      need a tax reduction. This, of course, is               ical component to facilitating regional                negative signal to plans, and that may
      a gross distortion of the truth.                        Preferred     Provider     Organizations,              mean worse coverage options and high-
         As Chairman GREGG has pointed out,                   PPOs, in the Medicare Advantage pro-                   er costs for Medicare beneficiaries in
      the spending growth reductions in this                  gram, thus providing these plans to                    the future.
      bill are not directed at low-income in-                 beneficiaries throughout the country,                    Cuts to or reductions in the stabiliza-
      dividuals. We worked very hard to                       particularly in rural areas.                           tion fund, and therefore, payments to
      make sure that was the case, especially                   The MMA has made Medicare Advan-                     regional plans amount to adding costs
      in the Finance Committee which has                      tage plans more widely available with                  for beneficiaries in the form of higher
      jurisdiction over such important safe-                  greater beneficiary savings than ever                  premiums, reduced benefits, or both.
      ty-net programs as Medicaid.                            before, including in rural areas and                   Without this fund, it will be difficult to
         Indeed, the bill includes a significant              many other areas that previously were                  convince plans to offer coverage to
      amount of new spending. The amount                      not served by Medicare Advantage                       beneficiaries who currently do not have
      of this new spending, some of which I                   plans.                                                 access to regional PPOs.



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00056   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.091   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 58 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12341
        Maintaining the current stabilization                 education, and the Higher Education                    applaud that accomplishment even
      fund will encourage more regional                       Act, HEA, we kept in mind the need to                  though I do not support the means by
      PPOs to enter the Medicare Advantage                    meet the reduction in spending goals.                  which it was achieved. Federal spend-
      program and make sure that signifi-                     Each of these reauthorization bills was                ing is out of control and, as my col-
      cantly more people, including my fel-                   unanimously approved in committee.                     leagues know, this has been a concern
      low Utahns, have access to Medicare                       While I recognize the tough choices                  of mine for a long time. I am gratified
      Advantage plans next year.                              we needed to make, I am pleased over-                  to see that so many others now share
        I do not understand why we would be                   all with the reconciliation bill as it re-             my concerns and, more importantly,
      eliminating this fund, especially before                lates to education provisions, account-                that we are finally doing something
      the Medicare drug plan program is even                  ing for a total savings of $9.8 billion.               about irresponsible spending despite
      operational. It just does not make good                 Spending increases in the bill include                 the efforts of a few members on the
      policy sense and that is why I oppose                   increases in Pell grants, along with                   other side of the aisle to scuttle this
      the elimination.                                        ProGAP, a new grant assistance to Pell                 reconciliation bill.
        This is especially vexing given that                  eligible students.                                       I am pleased that the Judiciary Com-
      there are a number of other sources for                   Another     new    program,    SMART                 mittee did not report a proposed tax on
      revenue. I will be fighting for more ex-                grants, would provide assistance to                    the explosives industry. It was just
      tensive restrictions on asset transfers                 students studying math, science, tech-                 plain wrong, and it would have hurt a
      and the inclusion of provisions which                   nology, engineering, or a foreign lan-                 lot of people in Utah. Naturally, I
      would     prohibit    intergovernmental                 guage. Subsidized borrowing levels                     fought tooth and nail to make sure it
      transfers. Including these provisions                   were increased, along with a perma-                    was off the table and I, along with oth-
      would have severely curtailed activi-                   nent extension of the Taxpayer-Teach-                  ers, succeeded in stopping it.
                                                              er Protection Act. Additional loan                       This brings us to the current Judici-
      ties where individuals and some State
                                                                                                                     ary title. I do not think we should have
      governments have intentionally de-                      deferments were made for members of
                                                                                                                     used a reconciliation measure to alter
      frauded the Medicaid program.                           the Armed Services or the reserves.
                                                                                                                     immigration policy, particularly in
        I have heard the arguments about                      These programs would give Utah stu-
                                                                                                                     light of the current debate on com-
      why we should not have included them                    dents, particularly those of low or
                                                                                                                     prehensive immigration reform. For
      in the proposal, but I do not buy those                 moderate income, greater access to                     this, and other reasons, I offered an
      arguments. More aggressive legislating                  college educations and will boast our                  amendment that would have imposed a
      in these areas would preclude some of                   local and national economy as we seek                  5 percent increase in all immigration
      the other reductions necessitated in                    to meet the demands of the 21st cen-                   related fees instead of simply allowing
      this bill, such as those for the sta-                   tury workforce.                                        more people into the country as a way
      bilization fund.                                          Significant savings were found in                    of reducing our Nation’s deficit. Unfor-
        The provisions on payment for pre-                    student loans, mostly from lending in-                 tunately, my amendment was defeated
      scription drugs under the Medicaid pro-                 stitutions, including a requirement for                in committee.
      gram are another deep concern of mine.                  guaranty agencies to deposit one per-                    That being said, I recognize that it is
      These have only been made worse by                      cent of their collections in the Federal               not easy to come up with savings. It
      adoption of amendments in the Cham-                     Reserve fund, a reduction in lender in-                means tough choices. But it is our job
      ber. Let me say that while I agree that                 surance and repeal of the provision                    to make the tough calls and the Judici-
      changes are warranted, I am very wor-                   that guarantees 100 percent of loans for               ary Committee did just that.
      ried about the approach included in the                 certain lenders. An additional fee is                    I strongly support moving this pack-
      bill. I am not sure that the new defini-                charged for lenders originating consoli-               age through the Senate. However, I
      tions created for Average Manufactur-                   dation loans, and permanent restric-                   want my colleagues to understand my
      er’s Price, AMP, Weighted Average                       tions are made on transfer or refunding                concerns and that I intend to continue
      Manufacturer’s Price, WAMP, and the                     of certain tax-exempt bonds that re-                   working with them on improving the
      new formula which were created for the                  ceive a 9.5 percent rate of return.                    package. I know this was an extremely
      Federal Upper Payment Limit, FUPL,                        I have concerns about last-minute                    difficult task, and I appreciate all the
      will address the criticisms of the cur-                 changes to include major spending in-                  hard work of many of my colleagues,
      rent policy. In fact, these new defini-                 creases, even though they appear to                    and particularly the chairmen of the
      tions could make the situation worse. I                 have been reconciled by savings. How-                  committees on which I serve.
      am also troubled that the genesis of                    ever, my colleagues should know that I                   Mr. GRASSLEY. Mr. President, the
      these changes was not a desire for good                 am paying particular attention to fix-                 Senate will vote shortly on final pas-
      policy, but rather an interest in seek-                 ing the interest rate for undergraduate                sage of S. 1932. We have had a good de-
      ing funding from a ‘‘deep pocket.’’ That                and graduate non-consolidation bor-                    bate on this bill. I commend the chair-
      trend was only exacerbated during Sen-                  rowing at 6.8 percent, preferring a                    man of the Budget Committee for his
      ate consideration of the Finance title,                 choice of a variable rate similar to the               effective and fair management of the
      as we added two rebate-related amend-                   House provision. I am also concerned                   consideration of this bill this week.
      ments with spending implications that                   about the way certain bills are struc-                   The Senate Finance Committee title
      totaled several billions of dollars more.               tured that are currently before the                    was carefully crafted to address a wide
        It is clear to me that, as consider-                  Senate that deal with the inclusion of                 range of member priorities. The Senate
      ation of the conference report begins,                  Katrina public and private school pay-                 Finance Committee title is a com-
      we must continue discussions with the                   ments.                                                 promise—one that was meticulously
      various stakeholders who have a vested                    The HELP Committee also included                     negotiated over many months. It rep-
      interest in making this policy work, in                 provisions increasing significantly the                resents clear-headed, commonsense re-
      particular, the pharmacists and the                     amounts of premiums employers that                     forms.
                                                                                                                       But here is something that should
      pharmaceutical companies.                               sponsor defined benefit pension plans
                                                                                                                     make a lot of people wonder what is
        The budget resolution contained a                     must pay to the Pension Benefit Guar-
                                                                                                                     going on around here. I noted with in-
      reconciliation instruction directing the                antee Corporation, PBGC. These in-
                                                                                                                     terest a recent Washington Post article
      Senate Health, Education, Labor, and                    creases were larger than they needed to
                                                                                                                     which notes:
      Pensions, HELP Committee, on which I                    be, and represent placeholders until we
                                                                                                                       The Senate package is gaining kudos from
      serve, to reduce spending by $13.7 bil-                 can pass the pension reform bill that                  some unlikely sources. Liberal budget and
      lion in 5 years. We on the HELP Com-                    was produced by the Finance and                        antipoverty groups say the Senate budget-
      mittee worked very hard to achieve                      HELP Committees. I hope we will soon                   cutting legislation largely avoids cuts that
      this goal, which required difficult                     be able to consider and pass that legis-               will hit low-income beneficiaries . . .
      spending vs. savings decisions.                         lation, partly for the reason of reduc-                  And here is another one. The Associ-
        Within the past months, as we wrote                   ing these premium increases to more                    ated Press reports:
      reauthorizing language for the Work-                    reasonable amounts.                                      As a result, the Senate’s Medicare and
      force Investment Act, WIA, Head Start,                    The Judiciary Committee greatly ex-                  Medicaid cuts largely won’t touch bene-
      the Perkins Act, career and technical                   ceeded its reconciliation targets, and I               ficiaries of the programs, instead tapping




VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00057   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.092   S03NOPT1
                                           Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 59 of 91
      S12342                                                CONGRESSIONAL RECORD — SENATE               November 3, 2005
      drug companies, pharmacies and insurance                                                                                             So that means that a ‘‘no’’ vote is a                                       anced approach to Medicaid reform and
      subsidies for much of the savings.                                                                                                 vote against the Family Opportunity                                           program improvements is opposition to
        I am therefore somewhat confused                                                                                                 Act’s expansion of Medicaid eligibility                                       protecting access for rural bene-
      why more of my friends and colleagues                                                                                              for severely disabled children. Opposi-                                       ficiaries.
      from the Democratic side are not going                                                                                             tion to this provision means forcing                                            So that means that a ‘‘no’’ vote is a
      to support final passage of this bill. I                                                                                           many working families to refuse better                                        vote against protecting small rural
      think I know partly what the answer                                                                                                jobs or promotions—keeping them poor                                          hospitals and sole community hospitals
      is—is it because the House version of                                                                                              in order to qualify for Medicaid or,                                          by extending the hold-harmless provi-
      this bill is much more far-reaching                                                                                                worse, relinquish custody of their dis-                                       sions that protect them from losses re-
      than the Senate proposal? Is it because                                                                                            abled child to the State so that their                                        sulting from implementation of the
      the same groups that praise the Senate                                                                                             child can continue to get the services
                                                                                                                                                                                                                       hospital outpatient prospective pay-
      bill oppose the process moving forward                                                                                             they need.
                                                                                                                                           A ‘‘no’’ vote is also a vote against the                                    ment system.
      on that basis?
        I would make the point that I think                                                                                              Family Opportunity Act’s protection                                             A ‘‘no’’ vote is also opposition to ex-
      the Senate’s position in going to con-                                                                                             for families whose newborn is diag-                                           tending the Medicare Dependent Hos-
      ference with the House would be                                                                                                    nosed with a severe disability from                                           pital Program, which provides finan-
      strengthened if S. 1932 passed with                                                                                                being liable for thousands of dollars of                                      cial protections to rural hospitals with
      strong bipartisan support. I do not un-                                                                                            medical costs.                                                                less than 100 beds that have a greater
      derstand why the liberal budget groups                                                                                               A ‘‘no’’ vote is a vote against ‘‘Money                                     than 60 percent share of Medicare pa-
      are not urging Democrats to unite in                                                                                               Follows the Person,’’ which provides                                          tients.
      support of the Senate bill.                                                                                                        grants to States to increase the use of
                                                                                                                                                                                                                         A ‘‘no’’ vote also means opposition to
        I believe that the American people                                                                                               home and community based services,
                                                                                                                                                                                                                       expanding coverage of additional pre-
      want us to join together to get things                                                                                             rather than institutional services.
                                                                                                                                                                                                                       ventive benefits under Federal Quali-
      done. They want us to get our fiscal                                                                                               ‘‘Money Follows the Person’’ also
                                                                                                                                         eliminates barriers so that individuals                                       fied Health Centers.
      house in order, but they also want us                                                                                                                                                                              Why would my Democratic col-
      to enact compassionate policies that                                                                                               can receive support for long-term serv-
                                                                                                                                         ices in the settings of their choice.                                         leagues oppose such commonsense,
      help honest-to-goodness working fami-                                                                                                Opposition to the Senate bill’s bal-                                        practical policies that save the States
      lies. The Senate bill meets both of                                                                                                anced approach to Medicaid reform and                                         money, expand access for low income
      those priorities. Here is the bottom                                                                                               program improvements is opposition to                                         and disabled children, help rural hos-
      line, and I want all my friends on the                                                                                             a down payment on Hurricane Katrina                                           pitals and make progress to rebal-
      other side of the aisle to hear this.                                                                                              disaster relief.                                                              ancing the institutional bias in the
      Here is what a vote against the Senate                                                                                               So that means that a ‘‘no’’ vote is a                                       Medicaid program?
      bill we have before us today means. Op-                                                                                            vote against providing $1.8 billion to
      position to the Senate bill’s balanced                                                                                                                                                                             I am saddened that it appears my col-
                                                                                                                                         protect Medicaid benefits in Alabama,
      approach to Medicaid reform and pro-                                                                                                                                                                             leagues cannot put partisan politics
                                                                                                                                         Louisiana, and Mississippi for people
      gram improvements is opposition to                                                                                                                                                                               aside and get behind a bill that saves
                                                                                                                                         affected by Hurricane Katrina.
      achieving savings, preserving services,                                                                                              Opposition to the Senate bill’s bal-                                        money for States, protects and expands
      and protecting beneficiaries.                                                                                                      anced approach to Medicaid reform and                                         access, and preserves benefits. I urge
        A ‘‘no’’ vote is a vote against cutting                                                                                          program improvements is opposition to                                         my colleagues to support the Senate
      wasteful spending in Medicaid and                                                                                                  protecting health coverage for thou-                                          bill. Let’s show the American people
      other changes that provide additional                                                                                              sands of children and improving the                                           that we can put politics aside and
      resources to State Medicaid programs.                                                                                              State Children’s Health Insurance Pro-                                        stand together and get things done for
        A ‘‘no’’ vote is a vote against having                                                                                           gram.                                                                         the good of the country.
      the State and Federal Government pay                                                                                                 A ‘‘no’’ vote is a vote against pre-                                          Mr. GREGG. Mr. President, pursuant
      less for drugs.                                                                                                                    venting funding shortfalls in the Chil-                                       to section 313(c) of the Congressional
        A ‘‘no’’ vote is a vote against tight-                                                                                           dren’s Health Insurance Program in 23                                         Budget Act of 1974, I ask unanimous
      ening up asset transfers, thereby pay-                                                                                             States.                                                                       consent to have printed in the RECORD
      ing less for nursing home care through                                                                                               A ‘‘no’’ vote is a vote against pro-                                        a list of material in S. 1932 considered
      Medicaid.                                                                                                                          viding new options for private coverage                                       to be extraneous under subsections
        A ‘‘no’’ vote is a vote against increas-                                                                                         of long-term care through Long-term                                           (b)(1)(A), (b)(1)(B), and (b)(1)(E) of sec-
      ing State and Federal payments from                                                                                                Care Partnerships.                                                            tion 313. The inclusion or exclusion of
      drug companies.                                                                                                                      A ‘‘no’’ vote also means opposition to
        A ‘‘no’’ vote is a vote against a $2 bil-                                                                                                                                                                      material on the following list does not
                                                                                                                                         closing loopholes that permit the un-
      lion windfall to the States.                                                                                                       scrupulous ‘‘gaming’’ of Medicaid eligi-                                      constitute a determination of extrane-
        Opposition to the Senate bill’s bal-                                                                                             bility rules to intentionally shelter as-                                     ousness by the Presiding Officer of the
      anced approach to Medicaid reform and                                                                                              sets to qualify for taxpayer-financed                                         Senate.
      program improvements is opposition to                                                                                              long-term care coverage in Medicaid.                                            There being no objection, the mate-
      the bipartisan Family Opportunity                                                                                                    Those who vote against this bill are                                        rial was ordered to be printed in the
      Act.                                                                                                                               also opposing the Senate bill’s bal-                                          RECORD, as follows:

                                                                                                                             EXTRANEOUS PROVISIONS—SENATE BILL
                                                                                                                         (Prepared by Senate Budget Committee Majority Staff)
                                                                                                                            TITLE I—AGRICULTURE, NUTRITION AND FORESTRY

                                                              Provision                                                                                                                                      Violation/comments

      N/A ............................................................................................................................    N/A.

                                                                                                                                  TITLE II—BANKING, HOUSING, AND URBAN AFFAIRS

                                                              Provision                                                                                                                                      Violation/comments

      Sec. 2014(b)(3)(F) ....................................................................................................             313(b)(1)(A)—Report to Congress.
      Sec. 2018(a) .............................................................................................................          313(b)(1)(A)—Studies of potential changes to the federal deposit insurance system—just a study.
      Sec. 2018(b) .............................................................................................................          313(b)(1)(A)—Studies of potential changes to the federal deposit insurance system—just a study.
      Sec. 2025 .................................................................................................................         313(b)(1)(A)—Authorization of Appropriations—no money involved.

                                                                                                                             TITLE III—COMMERCE, SCIENCE, AND TRANSPORTATION

                                                              Provision                                                                                                                                      Violation/comments

      3005(c)(2) .................................................................................................................        313(b)(1)(E)—Low-power TV and translator outlays occur after 2010, increasing the deficit.
      3005(c)(3) .................................................................................................................        313(b)(1)(E)—Interoperability grant outlays occur after 2010, increasing the deficit.
      3005(c)(4) .................................................................................................................        313(b)(1)(E)—E911 outlays occur after 2010, increasing the deficit.
      3005(c)(5) .................................................................................................................        313(b)(1)(E)—Coastal assistance outlays occur after 2010, increasing the deficit.
      3005(d) .....................................................................................................................       313(b)(1)(A)—Transferring offsetting receipts that federal government has already received does not produce a change in outlays.




VerDate Aug 31 2005                        04:33 Nov 04, 2005                            Jkt 049060                   PO 00000               Frm 00058        Fmt 0624        Sfmt 8634       E:\CR\FM\A03NO6.083                 S03NOPT1
                                           Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 60 of 91
      November 3, 2005                                      CONGRESSIONAL RECORD — SENATE                       S12343
                                                              Provision                                                                                                                                   Violation/comments

      3005(f) ......................................................................................................................     313(b)(1)(A)—Does not produce a change in outlays as additional receipts could not be spent and would be deposited in Treasury anyway.

                                                                                                                              TITLE IV—ENERGY AND NATURAL RESOURCES

                                                              Provision                                                                                                                                   Violation/comments

      N/A ............................................................................................................................   N/A.

                                                                                                                                TITLE V—ENVIRONMENT AND PUBLIC WORKS

                                                              Provision                                                                                                                                   Violation/comments

      N/A ............................................................................................................................   N/A.

                                                                                                                                                          TITLE VI—FINANCE

                                                              Provision                                                                                                                                   Violation/comments

      6012(a)(5)(F) ............................................................................................................         313(b)(1)(A)—Requirements on insurance sellers produce no change in outlays or revenues.
      6012(b)(4) ................................................................................................................        313(b)(1)(A)—State reporting requirement produces no change in outlays or revenues.
      6012(c) .....................................................................................................................      313(b)(1)(A)—Annual report to Congress produces no change in outlays or revenues.
      6022 .........................................................................................................................     313(b)(1)(A)—CBO score of zero
      6026(a), Sec. 1937(a) ..............................................................................................               313(b)(1 )(A)—Medicaid CFO produces no change in outlays or revenues.
      6026(a), Sec. 1937(b) ..............................................................................................               313(b)(1)(A)—Oversight Board produces no change in outlays or revenues.
      6026(a), Sec. 1937(e) ..............................................................................................               313(b)(1)(A)—Annual report produces no change in outlays or revenues.
      6036(e) .....................................................................................................................      313(b)(1)(A)—Reports produce no change in outlays or revenues.
      6043(c)(2) .................................................................................................................       313(b)(1)(A)—Budget neutrality language produces no change in outlays or revenues.
      6103(c) .....................................................................................................................      313(b)(l)(A)—Study and Report by HHS Inspector General produces no change in outlays or revenues.
      6103(d) .....................................................................................................................      313(b)(1)(A)—Rehabilitation Advisory Council produces no change in outlays or revenues.
      6110(a), 1860E–1(e) ................................................................................................               313(b)(1)(A)—Arrangement with an Entity to Provide Advice and Recommendations produces no change in outlays or revenues.
      611O(b)(3)(E) ............................................................................................................         313(b)(1)(A)—Report produces no change in outlays or revenues.
      6110(c)(1)(C) ............................................................................................................         313(b)(1)(A)—Sense of the Senate produces no change in outlays or revenues.
      6110(g)(1) ................................................................................................................        313(b)(i)(A)—Requirement for skilled nursing facilities to report functional capacity of Medicare residents upon admission and discharge produces no
                                                                                                                                           change in outlays or revenues.
      6113(d) .....................................................................................................................      313(b)(1)(A)—Evaluation of PACE providers serving rural service areas produces no change in outlays or revenues.
      6026(a), Sec. 1936(d) ..............................................................................................               313(b)(1)(A)—5–year plan produces no additional change in outlays or revenues.
      6026(a), Sec. 1936(3)(3) .........................................................................................                 313(b)(1)(A)—Annual report requirement produces no change in outlays or revenues.

                                                                                                                            TITLE VII—HEALTH, EDUCATION, LABOR AND PENSIONS

                                                              Provision                                                                                                                                   Violation/comments

      Sec. 7101(f) ..............................................................................................................        313(b)(1)(A)—Pro-GAP Sunset language/does not produce a change in outlays.
      Sec. 7101(b) .............................................................................................................         313(b)(1)(A)—Pro-GAP Sense of the Senate/does not produce a change in outlays.
      Sec. 7102(a), (b) and (d) ........................................................................................                 313(b)(1)(A)—SMART Grant findings/purpose/name, do not produce a change in outlays.
      Sec. 7102(i) ..............................................................................................................        313(b)(1)(A)—SMART Grant matching assistance/does not produce a change in outlays.
      Sec. 7109 .................................................................................................................        313(b)(1)(A)—Single Holder Rule/does not produce a change in outlays.
      Sec. 7122(b) .............................................................................................................         313(b)(1)(A)—Evaluation of Simplified Needs Test/does not produce a change in outlays.
      Sec. 7153(h), (i), (j), and Sec. 7155 .......................................................................                      313(b)(1)(A)—Authorizes waivers of provisions of discretionary and programs, and addresses certain reporting requirements/do not produce a change in
                                                                                                                                           outlays.
      Sec. 7201(d)(3) ........................................................................................................           313(b)(1)(A)—Pensions: (d)(3) special rule regarding future legislation/does not produce a change in outlays.
      Sec. 7301, Sec. 7302 and Sec. 7311 ......................................................................                          313(b)(1)(A)—HEA general provisions and definitions/do not produce a change in outlays.
      Sec. 7314 .................................................................................................................        313(b)(1)(A)—Protection of Student Speech and Assoc Rights/does not produce a change in outlays.
      Sec. 7315 .................................................................................................................        313(b)(1)(A)—Nat’l Advisory Comm. on Inst Quality/does not produce a change in outlays.
      Sec. 7316 .................................................................................................................        313(b)(1)(A)—Drug and Alcohol Abuse Prevention/does not produce a change in outlays.
      Sec. 7317 .................................................................................................................        313(b)(1)(A)—Prior Rights and Obligations—updates discretionary authorizations/does not produce a change in outlays.
      Sec. 7318 .................................................................................................................        313(b)(1)(A)—Cost of Higher ED Consumer Info/does not produce a change in outlays.
      Sec. 7319 .................................................................................................................        313(b)(1)(A)—Performance Based Org for Delivery of Fed Student Assist/does not produce a change in outlays.
      Sec. 7320 .................................................................................................................        313(b)(1)(A)—Procurement Flexibility/does not produce a change in outlays.
      Sec. 7331 .................................................................................................................        313(b)(1)(A)—Teacher Quality Enhancement /does not produce a change in outlays.
      Sec. 7341–7350 Sec. ...............................................................................................                313(b)(1)(A)—Institutional Aid/does not produce a change in outlays.
      Sec. 7351 .................................................................................................................        313(b)(1)(A)—Technical Corrections/does not produce a change in outlays.
      Sec. 7361 2(A) .........................................................................................................           313(b)(1)(A)—Pell—max authorized grant. Nothing in Pro-GAP is driven off of ‘‘max’’ Pell Grant/does not produce a change in outlays.
      Sec. 7362 .................................................................................................................        313(b)(1)(A)—TRIO Programs/does not produce a change in outlays.
      Sec. 7363 .................................................................................................................        313(b)(1)(A)—GEAR-UP/does not produce a change in outlays.
      Sec. 7364 .................................................................................................................        313(b)(1)(A)—Repeal of Academic Achievement Scholarships/does not produce a change in outlays.
      Sec. 7365 .................................................................................................................        313(b)(1)(A)—SEOG/does not produce a change in outlays.
      Sec. 7366 .................................................................................................................        313(b)(1)(A)—LEAP/does not produce a change in outlays.
      Sec. 7367 .................................................................................................................        313(b)(1)(A)—Migrant ED/does not produce a change in outlays.
      Sec. 7368 .................................................................................................................        313(b)(1)(A)—Robert C. Byrd Honors/does not produce a change in outlays.
      Sec. 7369 .................................................................................................................        313(b)(1)(A)—Child Care Access Means Parents in School/does not produce a change in outlays.
      Sec. 7370 .................................................................................................................        313(b)(1)(A)—Repeal of Learning Anytime Anywhere Partnerships/does not produce a change in outlays.
      Sec. 7386 .................................................................................................................        313(b)(1)(A)—Reports to Credit Bureaus & Institutions/does not produce a change in outlays.
      Sec. 7387 .................................................................................................................        313(b)(1)(A)—Common Forms and Formats/does not produce a change in outlays.
      Sec. 7388 .................................................................................................................        313(b)(1)(A)—Information to Borrower and Privacy/does not produce a change in outlays.
      Sec. 7389 .................................................................................................................        313(b)(1)(A)—Consumer Education Information/does not produce a change in outlays.
      Sec. 7391 .................................................................................................................        313(b)(1)(A)—Federal Work Study/does not produce a change in outlays.
      Sec. 7393 .................................................................................................................        313(b)(1)(A)—Grants for Work Study Programs/does not produce a change in outlays.
      Sec. 7394 .................................................................................................................        313(b)(1)(A)—Job Location and Development Programs/does not produce a change in outlays.
      Sec. 7395 .................................................................................................................        313(b)(1)(A)—Work Colleges—discretionary program/does not produce a change in outlays.
      Sec. 7412 .................................................................................................................        313(b)(1)(A)—Terms of Loans—technical change/does not produce a change in outlays.
      Sec. 7422 .................................................................................................................        313(b)(1)(A)—Discretion of Financial Aid Administrators/does not produce a change in outlays.
      Sec. 7432 .................................................................................................................        313(b)(1)(A)—Compliance Calendar/does not produce a change in outlays.
      Sec. 7437 .................................................................................................................        313(b)(1)(A)—Institutional and Financial Info/Assist to Students/does not produce a change in outlays.
      Sec. 7438 .................................................................................................................        313(b)(1)(A)—Nat’l Student Loan Data System/does not produce a change in outlays.
      Sec. 7439 .................................................................................................................        313(b)(1)(A)—Early Awareness of Financial Aid Eligibility/does not produce a change in outlays.
      Sec. 7442 .................................................................................................................        313(b)(1)(A)—Reg. Relief and Improvement/does not produce a change in outlays.
      Sec. 7443 .................................................................................................................        313(b)(1)(A)—Transfer of Allotments/does not produce a change in outlays.
      Sec. 7445 .................................................................................................................        313(b)(1)(A)—Purpose of Admin Payments/does not produce a change in outlays.
      Sec. 7446 .................................................................................................................        313(b)(1)(A)—Advisory Committee on Student Financial Assist/does not produce a change in outlays.
      Sec. 7447 .................................................................................................................        313(b)(1)(A)—Regional meetings/does not produce a change in outlays.
      Sec. 7448 .................................................................................................................        313(b)(1)(A)—Year 2000/does not produce a change in outlays.
      Sec. 7451 .................................................................................................................        313(b)(1)(A)—Recognition of Accrediting Agency or Assoc/does not produce a change in outlays.
      Sec. 7452 .................................................................................................................        313(b)(1)(A)—Administrative Capacity Standard/does not produce a change in outlays.
      Sec. 7453 .................................................................................................................        313(b)(1)(A)—Program Review and Data/does not produce a change in outlays.
      Sec. 7501 .................................................................................................................        313(b)(1)(A)—Developing Institutions Definitions/does not produce a change in outlays.
      Sec. 7502 .................................................................................................................        313(b)(1)(A)—Auth Activities/does not produce a change in outlays.
      Sec. 7503 .................................................................................................................        313(b)(1)(A)—Duration of Grant/does not produce a change in outlays.
      Sec. 7504 .................................................................................................................        313(b)(1)(A)—Hispanic American Post baccalaureate/does not produce a change in outlays.
      Sec. 7505 .................................................................................................................        313(b)(1)(A)—Applications/does not produce a change in outlays.
      Sec. 7506 .................................................................................................................        313(b)(1)(A)—Cooperative Arrangements/does not produce a change in outlays.
      Sec. 7507 .................................................................................................................        313(b)(1)(A)—Authorization of Appropriations/does not produce a change in outlays.
      Sec. 7601 .................................................................................................................        313(b)(1)(A)—International Education Programs/does not produce a change in outlays.
      Sec. 7602 .................................................................................................................        313(b)(1)(A)—Graduate and Undergraduate Language and Area Centers and Programs/does not produce a change in outlays.
      Sec. 7603 .................................................................................................................        313(b)(1)(A)—Undergrad International Studies and Foreign Languages/does not produce a change in outlays.
      Sec. 7604 .................................................................................................................        313(b)(1)(A)—Research Studies/does not produce a change in outlays.
      Sec. 7605 .................................................................................................................        313(b)(1)(A)—Tech Innovation and Cooperation for Foreign Info Access/does not produce a change in outlays.
      Sec. 7606 .................................................................................................................        313(b)(1)(A)—Selection of Certain Grant Recipients/does not produce a change in outlays.
      Sec. 7607 .................................................................................................................        313(b)(1)(A)—American Overseas Research Centers/does not produce a change in outlays.
      Sec. 7608 .................................................................................................................        313(b)(1)(A)—Auth of Appropriations/does not produce a change in outlays.




VerDate Aug 31 2005                        03:27 Nov 04, 2005                            Jkt 049060                   PO 00000              Frm 00059        Fmt 0624       Sfmt 8634       E:\CR\FM\A03NO6.111                S03NOPT1
                                         Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 61 of 91
      S12344                                              CONGRESSIONAL RECORD — SENATE               November 3, 2005
                                                            Provision                                                                                                                                    Violation/comments

      Sec. 7609 .................................................................................................................    313(b)(1)(A)—Centers for IntI Business Education/does not produce a change in outlays.
      Sec. 7610 .................................................................................................................    313(b)(1)(A)—Education and Training Programs/does not produce a change in outlays..
      Sec. 7611 .................................................................................................................    313(b)(1)(A)—Auth of Appropriations/does not produce a change in outlays.
      Sec. 7612 .................................................................................................................    313(b)(1)(A)—Minority Foreign Service ProfDev Program/does not produce a change in outlays.
      Sec. 7613 .................................................................................................................    313(b)(1)(A)—Institutional Development/does not produce a change in outlays.
      Sec. 7614 .................................................................................................................    313(b)(1)(A)—Study Abroad Program/does not produce a change in outlays.
      Sec. 7615 .................................................................................................................    313(b)(1)(A)—Advanced Degree in IntI Relations/does not produce a change in outlays.
      Sec. 7616 .................................................................................................................    313(b)(1)(A)—Internships/does not produce a change in outlays.
      Sec. 7617 .................................................................................................................    313(b)(1)(A)—Financial Assistance/does not produce a change in outlays.
      Sec. 7618 .................................................................................................................    313(b)(1)(A)—Report/does not produce a change in outlays.
      Sec. 7619 .................................................................................................................    313(b)(1)(A)—Gifts and Donations/does not produce a change in outlays.
      Sec. 7620 .................................................................................................................    313(b)(1)(A)—Auth. of Appropriations for Inst of Intl Public Policy/does not produce a change in outlays.
      Sec. 7621 .................................................................................................................    313(b)(1)(A)—Definitions/does not produce a change in outlays.
      Sec. 7622 .................................................................................................................    313(b)(1)(A)—Assessment and Enforcement/does not produce a change in outlays.
      Sec. 7701–Sec. 7716 ...............................................................................................            313(b)(1)(A)—Graduate and Postsecondary Improvement Programs/does not produce a change in outlays.
      Sec. 7801 .................................................................................................................    313(b)(1)(A)—Misc. Discretionary Programs/does not produce a change in outlays.
      Sec. 7901 .................................................................................................................    313(b)(1)(A)—Amendments to Other Laws/does not produce a change in outlays.
      Sec. 7902 .................................................................................................................    313(b)(1)(A)—Agreement with Gallaudet University/does not produce a change in outlays.
      Sec. 7903 .................................................................................................................    313(b)(1)(A)—Agreement with Nat’l Tech Inst for the Deaf/does not produce a change in outlays.
      Sec. 7904 .................................................................................................................    313(b)(1)(A)—Cultural Experiences Grants/does not produce a change in outlays.
      Sec. 7905 .................................................................................................................    313(b)(1)(A)—Audit/does not produce a change in outlays.



        Mr. GREGG. Mr. President, at this                                                                                             These policies are driving us deeper                                         cantly reduce the deficit. It will be a
      time, we have come to the end of the                                                                                          and deeper into debt to foreign nations.                                       veto to reduce the deficit by approxi-
      amendment process. I now ask, before                                                                                            In just the 4 years or 5 years of this                                       mately $35 billion.
      we go to final passage, we have 5 min-                                                                                        administration, we have seen the debt                                            If you oppose the next bill that
      utes equally divided between myself                                                                                           of the country multiplied by $3 trillion.                                      comes down the pike—the tax relief
      and Senator CONRAD, and then we will                                                                                            I urge my colleagues to say no. Let                                          bill—that is your choice. But that is
      go to final passage.                                                                                                          us not continue any further down this                                          not what you are voting on here. What
        The PRESIDING OFFICER. Without                                                                                              course of deficits and debt.                                                   you are voting on here is the oppor-
      objection, it is so ordered.                                                                                                    Mr. GREGG. Mr. President, let me                                             tunity to reduce the deficit, and it is
        Mr. CONRAD. Mr. President, first of                                                                                         begin by thanking all my colleagues                                            the only opportunity you are going to
      all, I thank the staffs, the very profes-                                                                                     for their very constructive efforts                                            have, and it is the first time, as I men-
      sional staffs on both sides. I especially                                                                                     today. The fact that we were able to                                           tioned, in 8 years that we will be pro-
      thank the chairman of the Budget                                                                                              complete the voting process today was                                          ceeding down this road. It is a step to-
      Committee for his professionalism and                                                                                         a reflection of the willingness of people                                      ward fiscal responsibility, and it is a
      his diligence in working on this bill. He                                                                                     in this Chamber, especially the staff                                          reflection of the Republican Congress’s
      has been such a pleasure to work with.                                                                                        who acted in an extraordinarily profes-                                        commitment to pursue a path of fiscal
      His word is gold.                                                                                                             sional way.                                                                    responsibility.
        I appreciate very much his staff, as                                                                                          Also, of course, I want to thank Sen-                                          I ask for the yeas and nays.
      well—Scott Gudes, Gail Millar, Jim                                                                                            ator CONRAD and his staff, Mary Naylor                                           The PRESIDING OFFICER. Is there a
      Hearn, Cheri Reidy, and the rest of the                                                                                       and her team.                                                                  sufficient second?
      majority staff.                                                                                                                 Senator CONRAD has been an incred-                                             There is a sufficient second.
        I want to also thank my staff—Mary                                                                                          ibly positive, constructive, and profes-                                         The yeas and nays were ordered.
      Naylor, John Righter, my counsel Lisa                                                                                         sional individual to work with on this                                           The PRESIDING OFFICER. The
      Konwinski, Jim Esquea, Sarah Kuehl,                                                                                           bill. This bill would not have been com-                                       question is on the engrossment and
      Mike Jones, Cliff Isenberg, Jim Miller,                                                                                       pleted—even though he may not agree                                            third reading of the bill.
      Kobye Noel, Shelley Amdur, Steve                                                                                              with the bill, which he doesn’t, obvi-                                           The bill was ordered to be engrossed
      Baily, Rock Cheung, Dana Halvorson,                                                                                           ously, and he has argued his position—                                         for a third reading and was read the
      Tyler Haskell, Jim Klumpner, Jamie                                                                                            he has been more than fair in allowing                                         third time.
      Morin, Stu Nagurka, Anne Page, Steve                                                                                          us to proceed through the bill. And it is                                        The PRESIDING OFFICER. The ma-
      Posner, and David Vandivier.
                                                                                                                                    a reflection of his extraordinary profes-                                      jority leader is recognized.
        Mr. President, you can’t judge a book
                                                                                                                                    sionalism.                                                                       Mr. FRIST. Mr. President, it has
      by its cover. The language being used
                                                                                                                                      I thank everyone on the staff, except                                        been a long day. The next vote on final
      here is that this is a package of deficit
                                                                                                                                    his chart maker.                                                               passage will be our last vote of the day.
      reduction. But this is the first chapter.                                                                                       (Laughter)                                                                   This will be our 22nd rollcall vote of
      The first chapter reduces spending by                                                                                           I also especially want to thank my
      $39 billion. But the next chapter will                                                                                                                                                                       the day.
                                                                                                                                    staff—led by the inimitable Scott                                                I thank the chairman and the rank-
      reduce taxes by $70 billion. The third                                                                                        Gudes—Gail Miller, Jim Hearn, Cheri
      chapter will increase the debt by $781                                                                                                                                                                       ing member for a tremendous job.
                                                                                                                                    Reidy, and the rest of the staff—Dave                                          About 4 or 5 days ago, we said it was
      billion. You have to read the whole
                                                                                                                                    Fisher and Denzel McGuire. We have                                             going to be done by 6 o’clock. We were
      book to know the conclusion. The con-
                                                                                                                                    had two staff members who have had                                             going to complete this bill. Indeed,
      clusion of their book is more deficits
                                                                                                                                    children just recently, Bill Lucia and                                         they have accomplished just that.
      and more debt.
        No one should believe this vote is                                                                                          Matt Howe. Matt’s child was born just                                            We will be in session tomorrow, but
      about deficit reduction while insisting                                                                                       as the debate started. I am sure he                                            there will be no rollcall votes. We will
      on another $70 billion of tax cuts as                                                                                         called him ‘‘deficit reduction.’’ We are                                       go to the DOD authorization bill.
      part of this package. In the second                                                                                           all very excited about that. We very                                           Again, there will be no rollcall votes
      chapter of the book, the deficit actu-                                                                                        much appreciate the extraordinary job                                          tomorrow. We will be on the DOD au-
      ally goes up. The majority’s proposal                                                                                         the staff has done here.                                                       thorization bill on Friday and Monday.
      to increase the debt limit by $781 bil-                                                                                         I think it is important for our mem-                                           We will have rollcall votes Monday
      lion, which is the third chapter of their                                                                                     bership to remember that this is the                                           night. We will not be voting before 5:30
      book. With passage of this, the debt of                                                                                       first time in 8 years that this Congress                                       on Monday.
      this country will have increased by $3                                                                                        has stepped forward to try to reduce                                             With that, congratulations. I yield
      trillion during just this President’s ad-                                                                                     spending by addressing the entitlement                                         the floor.
      ministration.                                                                                                                 and mandatory accounts of our Gov-                                               The PRESIDING OFFICER. The bill
        This package represents a continu-                                                                                          ernment. This is a major step forward                                          having been read the third time, the
      ation of the failed fiscal policies of this                                                                                   in the activity of fiscal responsibility.                                      question is, Shall the bill pass? The
      administration.                                                                                                                 The other side of the aisle has tried                                        clerk will call the roll.
        We can do better as a nation, and we                                                                                        to join this bill with other bills. The                                          The assistant legislative clerk called
      can do much better—and we must.                                                                                               simple fact is, the only vote you will                                         the roll.
        This budget, if approved, will in-                                                                                          cast—the only vote that will be cast in                                          Mr. DURBIN. I announce that the
      crease the debt of this country over the                                                                                      the next few minutes—will be the only                                          Senator from New Jersey (Mr. CORZINE)
      next 5 years by another $3 trillion.                                                                                          vote you are going to have to signifi-                                         is necessarily absent.



VerDate Aug 31 2005                      03:27 Nov 04, 2005                           Jkt 049060                 PO 00000               Frm 00060         Fmt 0624        Sfmt 0634       E:\CR\FM\A03NO6.113                 S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 62 of 91
      November 3, 2005                  CONGRESSIONAL RECORD — SENATE                       S12345
        The PRESIDING OFFICER. Are there                       did not have to get involved in the                    BUNNING pointed out, the Major League
      any other Senators in the Chamber de-                    issue of drug abuse in professional                    Baseball players said they would, by
      siring to vote?                                          sports. Unfortunately, this might be                   the World Series, come up with an
        The result was announced—yeas 52,                      the only way to get professional sports                agreement. That has not happened.
      nays 47, as follows:                                     to finally clean up its act.                             The legislation is an effort to set
                  [Rollcall Vote No. 303 Leg.]                   As a former major league baseball                    minimum standards that have proven
                           YEAS—52                             player and member of its Hall of Fame,                 effective in Olympic sports and would
      Alexander         Ensign             Murkowski
                                                               protecting the integrity of our national               also introduce independence—and this
      Allard            Enzi               Nelson (NE)         pastime is a matter near and dear to                   is crucial—into the drug testing pro-
      Allen             Frist              Roberts             my heart. I know it is near and dear to                grams of professional leagues.
      Bennett           Graham             Santorum            the hearts of so many across America.                    Without an independent entity, such
      Bond              Grassley           Sessions
      Brownback         Gregg                                  We have heard a lot of talk over the                   as the U.S. Anti-doping Agency that
                                           Shelby
      Bunning           Hagel              Smith
                                                               last year about the leagues working to                 establishes and manages a testing and
      Burns             Hatch              Specter             implement new, tougher drug-testing                    adjudication program, the fox will con-
      Burr              Hutchison
      Chambliss         Inhofe
                                           Stevens             standards. So far, that is all it has                  tinue to guard the henhouse. That is
                                           Sununu              been, a lot of talk. Major League Base-                exactly the problem that the U.S.
      Coburn            Isakson
                                           Talent
      Cochran           Kyl                                    ball and its baseball union told us over               Olympic movement faced several years
      Cornyn            Landrieu           Thomas
                                           Thune               a month ago they hoped to have a new                   ago, and they brought integrity back
      Craig             Lott
      Crapo             Lugar              Vitter              agreement in place by the end of the                   to American Olympic sports by putting
      DeMint            Martinez           Voinovich           World Series. The World Series is over                 the responsibility for testing in the
      Dole              McCain             Warner              and there is still no agreement. The                   hands of an independent entity.
      Domenici          McConnell                                                                                       There are some who argue that Sen-
                                                               time for talking is over. The leagues
                          NAYS—47                              have had their chance and have failed                  ator BUNNING and I have no business
      Akaka             Dodd               Lincoln             to lead. Now we are going to do it for                 legislating an issue which is basically a
      Baucus            Dorgan             Mikulski            them.                                                  labor-management issue. We agree. We
      Bayh              Durbin             Murray                We are, in a way, obligated to act                   agree. We do not want to have to legis-
      Biden             Feingold           Nelson (FL)
      Bingaman          Feinstein          Obama
                                                               since they cannot. We must not only                    late. We do not want to have to force
      Boxer             Harkin             Pryor               ensure that our Federal drug laws are                  both entities to do something they oth-
      Byrd              Inouye             Reed (RI)           not being circumvented, but we also                    erwise should have done, but we have
      Cantwell          Jeffords
      Carper            Johnson
                                           Reid (NV)           need to restore some integrity to the                  no choice. As the Senator from Ken-
                                           Rockefeller         games that tens of millions of Ameri-                  tucky has so eloquently pointed out,
      Chafee            Kennedy
                                           Salazar
      Clinton           Kerry
                                           Sarbanes
                                                               cans enjoy so much. We must act for                    our obligation is not to the people who
      Coleman           Kohl                                   the sake of our children who see these                 are making millions of dollars this
      Collins           Lautenberg         Schumer
      Conrad            Leahy              Snowe               players as heroes and want to emulate                  year. Our obligation is not even to
      Dayton            Levin              Stabenow            them. Like it or not, professional ath-                those who are members of professional
      DeWine            Lieberman          Wyden
                                                               letes are role models. They need to set                sports. Our obligations are to the fami-
                       NOT VOTING—1                            a better example to kids who see them                  lies of the young people who believe
                        Corzine                                smashing home runs or sacking the                      the only way they can make it in the
                                                               quarterback and want to be like them.                  major leagues is to inject these sub-
        The bill (S. 1932), as amended, was                    Unfortunately, too many professional                   stances into their bodies.
      passed.                                                  athletes are injecting themselves and                    Anybody who followed the hearing on
        Mr. GREGG. I move to reconsider the                    popping pills with false hopes and dan-                the House side, where there was testi-
      vote.                                                    gerous health effects. Now these acts                  mony from parents of young men who
        Mr. FRIST. I move to lay that mo-                      are being emulated by kids even in                     had committed suicide as a result of
      tion on the table.                                       high school because of the pressure                    the use of these substances, knows this
        The motion to lay on the table was                     they feel to perform at such a young                   issue has now transcended a labor-man-
      agreed to.                                               age. We have a duty to help bring this                 agement issue. Senator BUNNING and I
                        f                                      to an end.                                             come to this floor more in sorrow than
               MORNING BUSINESS                                  As Members of Congress, we can play                  in anger that we have had to take this
                                                               an important role in educating the                     extraordinary step. But we will take it;
        Mr. FRIST. Mr. President, I ask                        public on the terrible health effects                  we will take it for the benefit of young
      unanimous consent that there now be a                    from steroids. Illegal performance-en-                 Americans who believe the only way
      period of morning business with Sen-                     hancing drugs are a serious problem in                 they can make it in the major leagues
      ators permitted to speak for up to 10                    professional sports and they need to                   is by using these substances and to
      minutes each; further, that Senator                      stop now. I hope my colleagues will                    give hope to others who refuse to do it
      BUNNING be recognized now for 10 min-                    continue to join us in this bipartisan                 and want to make it on their own mer-
      utes, to be followed by Senator WYDEN                    cause. I look forward to working with                  its.
      for 10 minutes.                                          both sides of the aisle on moving this                   Mr. President, I again thank the Sen-
        The PRESIDING OFFICER. Without                         bill forward swiftly.                                  ator from Kentucky, who has been a
      objection, it is so ordered.                               I yield to my colleague from Arizona,                role model to so many millions of
        The Senator from Kentucky.                             Senator MCCAIN.                                        young Americans for so many years,
                        f                                        The PRESIDING OFFICER. The Sen-                      for his involvement in this effort.
                                                               ator from Arizona.                                       Mr. President, I yield the remainder
         INTEGRITY IN PROFESSIONAL                               Mr. MCCAIN. Mr. President, I am                      of my time.
                    SPORTS ACT                                 very proud to join Senator BUNNING,                      Mr. BUNNING. I thank the Senator.
        Mr. BUNNING. Mr. President, today I                    who many know is a Major League                          The PRESIDING OFFICER. The Sen-
      and some of my colleagues, in a bipar-                   Baseball Hall of Famer. Not many                       ator from North Dakota.
      tisan effort, introduced the Integrity in                know he was a founding member of                         Mr. CONRAD. Mr. President, might I
      Professional Sports Act. I especially                    Major     League    Baseball’s   Players               speak for a moment?
      thank my colleague from Arizona, Sen-                    Union. He brings to this issue impec-                    Mr. President, I wish to say, before
      ator JOHN MCCAIN, for working with                       cable credentials and an enormous                      Senator MCCAIN and Senator BUNNING
      me on this important legislation. I                      amount of passion. I am pleased to be                  leave the floor, I think my colleagues
      thank the chairman of the Commerce                       supportive of his leadership in this ef-               know I must recuse myself from all
      Committee, Senator STEVENS, and Sen-                     fort.                                                  matters on baseball because my wife
      ators GRASSLEY and ROCKEFELLER, for                        It is my hope this legislation would                 represents Major League Baseball. But
      cosponsoring our bill.                                   not be necessary. Senator BUNNING and                  as a personal matter, I wish to thank
        This is certainly not a bill any of us                 I both come to this legislation with                   Senator MCCAIN and Senator BUNNING
      wanted to introduce. We wish Congress                    great reluctance. But as Senator                       for their moral leadership. It is a



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060    PO 00000   Frm 00061   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.092   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 63 of 91
      S12346                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      scourge not only for professional sports                They will not abide it. Taxpayers will                 model of teachers teaching teachers
      but for amateur sports because, in-                     not abide it. And Senator SNOWE and I                  how to teach writing.
      creasingly, those who are competing on                  are going to stay at it until Medicare is                For more than 30 years, teachers of
      an amateur level believe they have to                   liberated and can act as a smart shop-                 all grades and nearly the entire spec-
      use steroids to compete. That is a trag-                per.                                                   trum of subject areas have benefitted
      edy.                                                      Fifty-one Senators—a majority of                     from the vision and dedication of Jim
        We are seeing usage of steroids at 20                 this body—said tonight it is time to                   Gray to finding better ways of raising
      to 40 percent in high school athletes                   get serious about holding down the                     a new generation of writers. Thousands
      because they read the stories, and they                 cost of medicine in the United States.                 of teachers have participated every
      see what others are doing who have                      Fifty-one votes is not the super-                      year in workshops, classes and retreats
      been at the very highest levels.                        majority we needed, but Senator                        to perfect their skills, and as a result,
        So I wish to give my profound thanks                  SNOWE and I are going to stay at it                    an exponential tens of thousands of
      to Senator MCCAIN and Senator                           until we get justice done for our older                students continue taking new steps to
      BUNNING.                                                people.                                                becoming skillful writers.
        I yield the floor.                                      Finally, I want to say a special                       It was his work that gave me the
        The PRESIDING OFFICER. The Sen-                       thanks to our bipartisan group of spon-                good fortune of meeting him, and my
      ator from Oregon.                                       sors and particularly thank Senator                    becoming a close friend to the Writing
                       f                                      STABENOW, Senator MCCAIN, and Sen-                     Project as the sponsor of legislation to
                                                              ator FEINSTEIN. They are all Senators                  make it a Federal program under the
        MEDICARE PRESCRIPTION DRUG
                                                              who got this from the get-go. They un-                 U.S. Department of Education.
                        COSTS                                                                                          Across the country, many teachers
                                                              derstood this was a question of making
        Mr. WYDEN. Mr. President, it has                      sure that, at a time when the Federal                  and students mourn him, but I hope
      been a long day in the Senate, espe-                    Government begins the biggest expan-                   they take his serious creativity in
      cially for our capable and dedicated                    sion of entitlement health care in                     teaching and live his legacy of the Na-
      staff. I wish to take a couple of min-                  years, we take steps to protect the in-                tional Writing Project. I extend to his
      utes to say thank you to the Senators                   terests of taxpayers and the interests                 family, and to all who knew him, my
      who, a bit ago, supported the Snowe-                    of older people who, right now, are be-                message of gratitude for his life’s work
      Wyden legislation to hold down the                      ginning to sign up for the program and                 and my deep sympathy.
      cost of prescription medicine.                          will, in fact, start participating for-                  I ask unanimous consent that a copy
        Tonight a majority of the Senate                      mally next year.                                       of the obituary of James Gray released
      voted to make the Federal Government                      We believed it was important tonight                 today by the National Writing Project
      a smart shopper when it comes to pre-                   to offer this amendment. We wish we                    be printed in the RECORD.
      scription drugs. For the first time, the                had more time to discuss it this                         There being no objection, the mate-
      Senate voted to remove an error of                      evening. I went into it at some length                 rial was ordered to be printed in the
      commission: the authorization of a pro-                 yesterday, but I am pleased we made                    Record, as follows:
      vision in the prescription drug law that                real progress. For the first time, a ma-                NATIONAL WRITING PROJECT FOUNDER JAMES
      bars the Federal Government from ne-                    jority of the Senate says that this pro-                              GRAY DEAD AT 78
      gotiating to hold down the cost of pre-                 vision that keeps the Federal Govern-                    James Gray, founder of the National Writ-
      scription drugs.                                                                                               ing Project, died November 1 in Danville,
                                                              ment from being a smart shopper sim-
        For the life of me, at a time when the                                                                       California, after a long illness.
                                                              ply does not add up. It does not make                    Gray, a former high school teacher and
      Federal budget is hemorrhaging, when                    sense. It defies logic. It is contrary to              then a senior lecturer at the University of
      the Government must pay for the costs                   what everybody else does in the mar-                   California, Berkeley’s Graduate School of
      of Katrina, I do not see how you can                    ketplace across the country. I wish we                 Education, founded the innovative Bay Area
      argue    against     the    Snowe-Wyden                 could have gotten the 60 votes needed                  Writing Project in 1974. Acting on his belief
      amendment that was offered tonight. It                  to prevail tonight, but for the first                  that successful classroom teachers were an
      prohibits price controls—that is cer-                                                                          untapped resource for providing their peers
                                                              time we got a majority, and we are
      tainly critical—so we can encourage in-                                                                        with professional development, Gray brought
                                                              going to come back again and again                     together 25 talented Bay Area teachers and
      novation and research in the pharma-                    and again. We are going to do it be-                   charged them with sharing their expertise
      ceutical area, but what the Snowe-                      cause the older people of this country                 about the teaching of writing.
      Wyden amendment does is ensure that                     deserve a fair shake. They are going to                  The Bay Area Writing Project became the
      the Federal Government is going to do                   insist we keep coming back.                            first site that offered a professional develop-
      what everybody does in the market-                        I close my comments tonight by                       ment model for teachers of writing. Now
      place—and that is use its bargaining                    thanking the Presiding Officer, as well,               known as the National Writing Project
      power to hold down the costs. That is                                                                          (NWP), the program has grown to 189 univer-
                                                              for his support in this effort.                        sity-based sites located in fifty states, Wash-
      what the Federal Emergency Manage-                        Mr. President, with that, I yield the                ington, DC, Puerto Rico, and the U.S. Virgin
      ment Agency does when it buys cots,                     floor and suggest the absence of a                     Islands.
      what every Federal agency does to                       quorum.                                                  Gray served as Executive Director of the
      make sure taxpayers and our citizens                      The PRESIDING OFFICER. The                           NWP until his retirement in 1994 and re-
      have their concerns addressed respon-                   clerk will call the roll.                              mained on the NWP Board of Directors until
      sibly.                                                    The legislative clerk proceeded to                   his death.
        Now, tonight, Senator SNOWE and I                                                                              Gray’s simple but highly successful model
                                                              call the roll.
      had to get a supermajority to prevail. I                                                                       has been responsible for transforming class-
                                                                Mr. FRIST. Mr. President, I ask                      room practices and improving student writ-
      want it understood that no matter how                   unanimous consent that the order for                   ing performance at schools in rural, urban,
      many procedural hurdles are put in                      the quorum call be rescinded.                          and suburban communities across the U.S.
      front of us, no matter how many road-                     The PRESIDING OFFICER. Without                         ‘‘Jim’s belief in teachers and their knowl-
      blocks are put up, we are going to keep                 objection, it is so ordered.                           edge, commitment, and creativity never
      coming back on this issue again and                                       f                                    wavered,’’ said NWP Executive Director
      again and again until the needs of sen-                                                                        Richard Sterling. ‘‘We are all the bene-
      iors and our taxpayers are met.                          JAMES GRAY, NATIONAL WRITING                          ficiaries of his vision and his tireless work
        The older people of this country are                           PROJECT FOUNDER                               on behalf of the National Writing Project.’’
                                                                                                                       For more information about Jim Gray and
      insisting that an offensive piece of spe-                 Mr. COCHRAN. Mr. President, I was                    the National Writing Project, visit the NWP
      cial interest legislation, one that defies              saddened to learn today that James                     website at www.writingproject.org.
      common sense, get changed. The AARP                     Gray passed away after a long illness                                  f
      made the case when they backed our                      on November 1, 2005. Mr. Gray was 78
      bipartisan bill. They pointed out that                  years old and lived in Danville, CA. I                   LAUNCHING OF JEWISH SOCIAL
      drugs seniors use, such as Lipitor, are                 knew him as the founder of the Na-                                ACTION MONTH
      going up more than twice the rate of                    tional Writing Project, which today is                   Mr. LIEBERMAN. Mr. President, I
      inflation. Seniors want that changed.                   credited with perfecting the training                  rise today to announce the launching



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00062   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.114   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 64 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12347
      of the first Jewish Social Action                       everyone around us including the needy of              Yael Andoran, fellow Kol Dor Members,
      Month—a month where Jews around                         the world who depend on our support. We                friends and others who care about the future
      the world will be encouraged to engage                  promise to do more for them in the coming              of the Jewish people and Jewish mission.
                                                              year. Just a few days later, we celebrate                It is a great privilege to introduce a global
      in good works and service to their com-                 Succot. This festival recalls Biblical times           Jewish idea to this important body, an idea
      munities.                                               when the Jewish people lived in temporary              that can: help unite Jews around the world;
        I am joined in this effort by my col-                 shelters as they journeyed through the                 strengthen the global integrity of the Jewish
      league in the House, Congressman                        desert. It also reminds us that in our own             people; highlight positive Jewish values;
      STEVE ISRAEL of New York, as well as                    times there are people across the world in             and, of course, catalyze the performance of
      members of the Israeli Knesset.                         need of food, shelter, warmth and love.                hopefully countless acts of hesed and tzedek,
        Throughout the month—and every                          As Succot ends, we enter the month of                of social action and social justice.
      year in the second month of the He-                     Cheshvan, the month that has no festivals, a             We at Kol Dor recognize that there are
                                                              time dedicated to putting into practice our            multiple points of entry into Jewish
      brew calendar, Heshvan, from here on                    pledges to be better people and to better the          peoplehood, especially for the under-affili-
      out—Jews from across the globe will be                  lives of those around us.                              ated of the next generation who are not join-
      encouraged to perform acts of loving                      The Government of Israel, through its Min-           ing through traditionally prescribed ways.
      kindness to their neighbors, regardless                 istry for Israeli Society and the World Jew-           The prophetic call to repair the world, which
      of faith.                                               ish Community has invited communities in               resonates clearly in Israel’s Declaration of
        The concept of Social Action can be                   Israel and across the globe to proclaim this           Independence, clearly speaks to young Jews
      interpreted broadly and there are end-                  Cheshvan a month of Chesed and Tzedek                  around the world, across the religious and
                                                              (loving kindness and social justice). Every-           political spectrum. We seek to harness this
      less possibilities for action.                          where, Jewish organisations will be launch-
        The Israeli Friends of the Earth, for                                                                        idealism, unfortunately often cast in a uni-
                                                              ing Chesed and Social action programmes.
      example, will be launching initiatives                                                                         versal rather than particularly Jewish
                                                                We are delighted to add our voices to this
      to clear up the debris which ruins our                                                                         frame. We seek to join a strong social justice
                                                              call which echoes the voice of our tradition.
                                                                                                                     stream found in Jewish teachings—as Rav
      countryside.                                            We invite our communities to seek ways to
                                                              help and support those in need wherever they           Gideon Sylvester just demonstrated—with
        In Boston, Jewish students are work-                                                                         the growing tide of alienated young Jews,
      ing to help students in inner city                      are, so that through our acts of loving kind-
                                                              ness, we may indeed ‘‘mend the world ac-               and create a powerful current of Peoplehood
      schools develop their reading and writ-                                                                        with Purpose.
                                                              cording to the Kingship of God’’.
      ing skills.                                               May our efforts bring peace and blessing               The idea is quite simple: The Jewish peo-
        In New York, Jewish groups are de-                    upon our communities, the whole House of               ple, who have contributed so much to the
      livering Thanksgiving meals to the el-                  Israel and the whole world.                            moral advancement of civilization, will focus
      derly who are housebound.                                 Rabbi Menachem HaCohen—Chief Rabbi of                our energies and attention on the month of
        These are just three quick examples                   Romania, Rabbi Warren Goldstein—Chief                  Heshvan and transforming it internationally
      of the kinds of service we hope people                  Rabbi of South Africa, and Sir Jonathan                into Jewish Social Action Month. Following
                                                              Sacks—Chief Rabbi of the United Kingdom.               the Yamim Noraim, when world Jewry is
      will be inspired to undertake in No-
                                                                                                                     mobilized to celebrate the High Holy Days,
      vember and continue year round—in-                           OFFICE OF THE PRIME MINISTER,                     Jews will be invited to express our people’s
      spiring people of all faiths to join in                        MINISTRY FOR ISRAELI SOCIETY &                  universal hopes for humanity and civiliza-
      service to their neighbors as well.                            THE WORLD JEWISH COMMUNITY,                     tion by actions—local, national, inter-
        The idea for Jewish Social Action                                        Jerusalem, November 3, 2005.        national—that express our values of aryevut,
      Month came from two young men—                            I am delighted to send my greetings to this          and tzedek.
      Josef Abramowitz of Boston and                          distinguished gathering at the Congress in               The idea is to open-source this idea in all
      Aryeah Green of Israel—during a re-                     Washington to launch the first ever Jewish             Jewish communities, from Hodu and Kush,
      treat in the Israeli desert.                            Social Action Month. I would like to thank             from Metula to Eilat, from San Francisco to
                                                              everyone who has come today and in par-                San Paulo, from Sydney to London, and ev-
        They wanted a way to motivate peo-
                                                              ticular my dear friend Senator Joe                     erywhere in between.
      ple of all ages to realize the words of                 Lieberman and Congressman Steve Israel                   As Jews, we know the power of symbols. In
      The Scriptures that tells us to help                    who are hosting this event. My thanks also             an era of Jewish history when we live with so
      those who have the least among us. For                  Yossi Abramovitch, Rebecca Lieberman and               many internal divisions, our communities
      instance, in Deuteronomy we are told                    all the members of Kol Dor who have worked             want to rally around positive ideas and ac-
      to love a poor stranger and give him                    so hard to make it such a success.                     tions that unite Jews worldwide.
      food and clothing because we too were                     At the heart of the Jewish religion lies the           We seek neither to dictate nor control, but
                                                              importance of caring for others. According             to provide leadership. We seek to link power-
      strangers in Egypt and God fed and                      to the rabbis, God made all of humanity in
      clothed us.                                                                                                    ful ideas with personal example, doogma
                                                              his image in order to show that all people of          Isheet, and to seed the great imagination
        The President of Israel, Moshe                        all faiths, colors and creeds are important to         and intellectual power of Jews worldwide, as
      Katsav, has been an enthusiastic sup-                   the Almighty. We are taught in the Jeru-               they seek ways to make a difference in the
      porter of Jewish Social Action Month                    salem Talmud that there is no limit to the             world.
      and is lending the prestige of his office               amount of loving kindness we should do or to             We, Kol Dor members from sixteen coun-
      in Israel to urge that people heed this                 the Divine reward we receive for these ac-             tries, respectfully offer this committee and
      call to community service.                              tions.                                                 the Knesset the opportunity to provide not
                                                                It is therefore gives me great pride as Dep-
        I want to thank all of those individ-                 uty Minister for Israeli Society and the
                                                                                                                     just leadership to Medinat Yisrael, but to
      uals, groups, synagogue and temple                                                                             Am Yisrael.
                                                              World Jewish Community in the Government
      leadership and membership who are                                                                                Thank you for your positive consideration
                                                              of Israel together with the Kol Dor Organiza-
                                                                                                                     of declaring Heshvan Global Jewish Social
      joining this effort.                                    tion to launch the very first ever Jewish So-
                                                                                                                     Action Month.
        Mr. President, I ask unanimous con-                   cial Action month whereby Jews from all
      sent to have printed in the RECORD a                    over the world and from every background
                                                              will take part in different activities to mend         RABBI MICHAEL MELCHIOR OP ED PIECE FOR
      number of statements and articles re-                                                                            THE JTA FOR THE JEWISH SOCIAL ACTION
      lating to Jewish Social Action Month.                   the world and make it a better place for us
                                                              all.                                                     MONTH
        There being no objection, the mate-                     I wish everyone here much success in their             As the member of the Government of Israel
      rial was ordered to be printed in the                   activities and I thank you all once again for          with responsibility for the world Jewish
      RECORD, as follows:                                     your support for this important project.               community, I have the privilege of meeting
        DECLARATION REGARDING CHODESH CHESED                                    Rabbi MICHAEL MELCHIOR,              Jews of all types, from all over the world.
           VETZEDEK, THE SOCIAL ACTION MONTH                                      Deputy Minister re-                There are huge cultural, historical and theo-
        It has been taught to you O man what is                                     sponsible for Israeli            logical variations amongst Jews and these
      good and what the Lord requires of you, only                                  Society   and    the             lend color and variety to our people. But the
      to do justice and loving kindness and to walk                                 World Jewish Com-                differences also create problems. The deep
      humbly with your G-d (Micah VI:8).                                            munity.                          rifts that occurred in Israel over the issue of
        At the foundation of our faith lies the im-                                                                  disengagement and the battles between dif-
      portance of acts of loving kindness. Through            TESTIMONY OF YOSEF I. ABRAMOWITZ IN SUP-               ferent groups demonstrated once again the
      its narratives and the laws of the Torah, God             PORT OF DECLARING THE HEBREW MONTH OF                profound divisions amongst us. The Jewish
      calls on us to make our world a holier, more              HESHVAN GLOBAL JEWISH SOCIAL ACTION                  people stand in danger of splitting into dif-
      just and caring place.                                    MONTH                                                ferent factions with different narratives.
        At Rosh Hashanah and Yom Kippur we                      Chairwoman Collette Avital, other Mem-               Amidst so much diversity, what can unite
      think about our responsibilities to God, and            bers of Knesset, Kol Dor conference chair              us?




VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00063   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.122   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 65 of 91
      S12348                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
         Wherever I travel in the Jewish world, I             Hashem and turn our world into a better                 REMEMBERING MRS. ROSA PARKS
      am struck by the way that Jewish people of              place. I look forward to hearing about your
      all types are determined to make a Kiddush              activities and reading about them on the
                                                                                                                       Mr. ALEXANDER. This week we
      Hashem (sanctification of God’s name) and               website of the Prime minister of Israel.               have honored the memory of Rosa
      to avoid a Hillul Hashem (desecration of                                                                       Parks, a woman whose quiet stand for
      God’s name). The concept of the Kiddush                     CHECK THE CALENDAR—CHESHVAN IS NOW                 her individual rights reverberated
      Hashem originates in the Biblical command                        JEWISH SOCIAL ACTION MONTH                    across this country.
      ‘‘I shall be sanctified amongst the people of                            (By Tzvi Kahn)                          We often discuss how far we have to
      Israel’’. One interpretation of this verse is                                                                  go as a country in terms of race rela-
                                                                 NEW YORK, June 30.—Aryeh Green and
      that Jews should display total dedication to                                                                   tions. Thinking of Rosa Parks reminds
      their faith and even be willing to lay down             Yosef Abramowitz were sipping tea in a Bed-
      their lives for it. This belief motivated mil-          ouin tent last year in Sde Boker, a kibbutz            me how far we have come. In 1955 when
      lions of Jewish martyrs throughout our his-             in Israel’s Negev desert, when they had an             she refused to give up her seat on the
      tory to give up their lives rather than aban-           idea.                                                  bus in Montgomery, African Americans
      don their Judaism. Today, it is rare for Jews              Participants at a conference of Kol Dor, an         in the South could not eat in the same
      to be faced with such a stark choice between            organization that seeks to revitalize Jewish
                                                              activism and unity across the globe, the two
                                                                                                                     restaurants, go to the same colleges,
      their faith and their lives, but Kiddush                                                                       sleep in the same motels, be cared for
      Hashem offers another powerful challenge                were discussing how the group could promote
                                                              Jewish identity and peoplehood.                        in the same hospitals or compete on
      which has particular resonance in our times.
      Each one of us has to ensure that the word                 ‘‘Most Jewish institutions and endeavors            the same sports teams as other Ameri-
      ‘‘Jewish’’ is always associated with the high-          are out of touch with the next generation of           cans.
      est levels of ethics and kindness, so that our          Jews because of a lack of relevance,’’                   Rosa Parks’ actions that day in
      behavior always brings credit to our heritage           Abramowitz, CEO of Jewish Family and Life,             Montgomery helped spark a movement
      and to our God.                                         which publishes several Jewish Web sites and           that changed our country forever for
         On a daily basis, we witness the disgrace            magazines, told JTA. ‘‘But we do know that
                                                                                                                     the better. Condoleezza Rice, one of the
      that is attached to religion when it is linked          the idealism and the desire to contribute to
                                                              the world’’ are predominant.                           bright minds leading our country
      with the horrors of priests engaging in child
      abuse and the fanaticism of ‘‘religious’’ sui-             It occurred to them that a month in the             today, rightly noted at the memorial
      cide bombers. Tragically, throughout our                Jewish calendar formally dedicated to social           service in Alabama, ‘‘. . . that without
      long history, our own faith has also spawned            action would be an ideal means of mobilizing           Mrs. Parks, I would not be standing
      instances of the desecration of God’s name.             and inspiring the Jewish community.                    here today as Secretary of State.’’
      The rabbis recognized these and declared                   Their initiative received a major boost this          Rosa Parks and those who took up
      that it was our failure to show care, compas-           week when the Knesset’s Committee on Im-               the call inspired me, too. As editor of
      sion, decency and loving kindness to one an-            migration, Absorption and Diaspora Affairs             the student paper at Vanderbilt Uni-
      other that caused so many of our sorrows in-            proclaimed the Jewish month of Cheshvan,
                                                              which falls in November this year, as Social
                                                                                                                     versity, I wrote editorials urging deseg-
      cluding the destruction of the Temple. In our
                                                              Action Month.                                          regation of that school in 1962.
      own times, the most famous desecration of
      God’s name was the massacre of Arabs at                    According to Green, who serves as an ad-              We made great progress in those
      prayer in the mosque in Hebron and the mur-             viser to former Israeli Cabinet minister               days, as we continue to do today. Our
      der of the Israeli Prime Minister Yitzhak               Natan Sharansky, ‘‘We agreed that if we                Nation has always been a work in
      Rabin. It was these outrages that drove me              wanted Kol Dor to succeed, we would have to            progress, ever since our Founders
      to put to aside my work as a Chief Rabbi of             focus on practical, tangible contributions.’’          signed the Declaration of Independence
      Norway and to enter Israeli politics. I felt               ‘‘What makes this initiative interesting            declaring that ‘‘all men are created
      that it was crucial for the government of               and unique is that it harnesses the power of
                                                                                                                     equal.’’ We’re still working to achieve
      Israel to work on a grand scale to restore the          different social action and Jewish organiza-
                                                              tions to get involved,’’ Green said. The goal          that noble goal of recognizing our
      image of Judaism from one of intolerance
      and fanaticism to one of ethics, tolerance              is not to spearhead specific projects, but to          equality. But thanks to Americans like
      and compassion. It was my duty as a rabbi to            ‘‘pull together the existing frameworks of so-         Rosa Parks, we’ve come a long way.
      play my part in that campaign. This is a cru-           cial action.’’                                           Rosa Parks’ courage has earned for
      cial message of Judaism. Holiness is not the               The effort has garnered the support of var-         her a noble place in the history of our
      exclusive possession of those who engage in             ious Jewish groups, including the Jewish               Nation’s struggle for equal oppor-
      detailed ritual observance nor is it the pre-           Agency for Israel and Hillel: The Foundation           tunity. We will miss her.
      serve of those who devote their energies to             for Jewish Campus Life, the Israel Defense
                                                              Forces’ education branch and the World                                   f
      the pursuit of spirituality; true holiness is
      found in the small actions that make a pro-             Union of Jewish Students.                                   LOCAL LAW ENFORCEMENT
      found difference to the lives of the people                Abramowitz said Labor Party legislator                   ENHANCEMENT ACT OF 2005
      around us and the world they live in.                   Colette Avital, who chairs the Knesset’s im-
         This is why I am so delighted that in part-          migration committee, has sent a letter to                Mr. SMITH. Mr. President, I rise
      nership with the Koldor organization, my of-            various Jewish organizations expressing sup-           today to speak about the need for hate
      fice is launching the Jewish Social Action              port.                                                  crimes legislation. Each Congress, Sen-
      Month this Cheshvan (November). It falls                   Jewish schools in Israel and the Diaspora           ator KENNEDY and I introduce hate
      one month after Rosh Hashanah and Yom                   will be a particular focus of the initiative.          crimes legislation that would add new
      Kippur so it is a time to draw on all of the            According to Abramowitz, Social Action                 categories to current hate crimes law,
      resolutions that we made over the High Holi-            Month will receive special attention in the
                                                                                                                     sending a signal that violence of any
      days. It’s also a month with no festivals in it         BabagaNewz, a monthly magazine on Jewish
                                                              values that JFL publishes for elementary               kind is unacceptable in our society.
      which enables us to dedicate time to Social
      Action activities.                                      school students. The magazine serves 1,400             Likewise, each Congress I have come to
         Throughout the month Jews from across                Jewish schools and has a circulation of more           the floor to highlight a separate hate
      the globe will be performing acts of loving             than 40,000.                                           crime that has occurred in our coun-
      kindness to their neighbors both Jewish and                The JFL journal Sh’ma and magazine                  try.
      Gentile. The concept of social action can be            JVibe also intend to publish features on the             On October 1, 2003, just east of West
      interpreted broadly and there are endless               subject, he said.                                      Hollywood, a gay man was attacked in
      possibilities for action. The Israeli Friends              Abramowitz said Cheshvan was selected for           his home with a bat by a pair of assail-
      of the Earth, for example, will be launching            the project because it immediately follows
                                                              the High Holidays, which usually spur higher
                                                                                                                     ants. The two assailants took the vic-
      initiatives to clear up the debris which ruins
      our countryside, the Israeli Police Force will          levels of Jewish observance.                           tims house key after he ran home and
      be engaging in projects to show care and con-              The Knesset decision also represents a vic-         left his keys in the door as he hurried
      cern in the community, one youth movement               tory for Kol Dor, whose philosophy formed              inside. The victim, who identified his
      will be organizing a sports event for the un-           the ideological foundation for Social Action           attackers as Evar Rivera and Selvan
      derprivileged, another arranging a national             Month.                                                 Campos in court, said he received 14
      blood donation drive. It is beautiful to see               ‘‘The paradigm that we are advocating in            stitches for his injuries. According to
      how in Israel, and spreading across South               Jewish life is that peoplehood is a central            police, anti-gay slurs were yelled dur-
      America, North America, Russia, and Eu-                 mobilizing force,’’ Abramowitz said, citing
                                                              the success of the movement to rescue So-
                                                                                                                     ing the bat attack, and police later
      rope, Jews ranging from Chief Rabbis to the
      most secular of our people will be engaged in           viet Jewry as one example.                             classified the attack as a hate crime.
      the Social Action Month.                                   The group seeks to use the Jewish concept             I believe that our Government’s first
         I very much hope that you will feel moved            of tikkun olam, or repairing the world, as a           duty is to defend its citizens, in all cir-
      to join in the project; to make a Kiddush               unifying theme.                                        cumstances, from threats to them at



VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00064   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.126   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 66 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12349
      home. The Local Law Enforcement En-                     and baggage compartments of commer-                    Love Canal and Times Beach. To this
      hancement Act is a major step forward                   cial aircraft and is also specifically                 end, Congress created the Superfund to
      in achieving that goal. I believe that                  adapted to fit the requirements of the                 tax building blocks, such as petro-
      by passing this legislation and chang-                  International Space Station.                           chemicals, inorganic raw materials and
      ing current law, we can change hearts                      The Center also has received recogni-               petroleum oil, used to make all haz-
      and minds as well.                                      tion for its work on a material known                  ardous products and waste. Animal ag-
                       f                                      as the Glenn Refractory Adhesive for                   riculture waste, or manure, is clearly
                                                              Bonding      and    Exterior     Repair,               not among these materials. In fact, if
       NASA GLENN RESEARCH AWARDS                             GRABER. This material, which was                       you would have tried to attach agri-
         Mr. DEWINE. Mr. President, I rise                    considered for use in the Space Shuttle                culture to either of these two acts,
      today to honor the dedicated team of                    Return to Flight program, was devel-                   they would not have passed. It was not
      scientists, engineers, and innovators of                oped and tested by Dr. Mrityunjay                      Congress’s intent to apply Superfund
      NASA’s Glenn Research Center in                         ‘‘Jay’’ Singh, now a four-time ‘‘R&D                   rules to manure which contains natu-
      Cleveland for their hard work and per-                  100’’ award winner, and Tarah Shpargel                 rally occurring organic compounds—
      severance. I have recognized in pre-                    of NASA Glenn’s Ceramics Branch.                       such as orthophosphate, ammonia and
      vious years the award-winning work of                   This dynamic material will allow in-                   hydrogen sulfide—which occur natu-
      researchers and engineers at NASA                       space repair of both large and small                   rally in the environment in the same
      Glenn and am proud to do so again                       cracks in the space shuttle thermal                    form as they appear in manure.
      today.                                                  protection system—a capability that is                   Recently, municipal and State gov-
         The Glenn Research Center has come                   absolutely essential for the safety and                ernments have filed suit against live-
      up with a wide range of products that                   success of future Space Shuttle mis-                   stock and poultry operations claiming
      not only contribute to further progress                 sions following the tragic loss of the                 Superfund liability in Texas and Okla-
      in our space exploration mission, but                   Columbia. In addition to its applica-                  homa.
      also provide for remarkable enhance-                    tions in space, GRABER has a number                      On April 24, 2004, the City of Waco,
      ments in the quality of life of citizens                of potential industrial applications due               TX, filed suit in Federal court against
      throughout the United States. Through                   to its low cost and excellent adhesive                 eight dairies in the North Bosque River
      NASA’s commercialization initiatives,                   properties.                                            Watershed and later amended the suit
      these products have enabled the cre-                       Finally, NASA Glenn’s Numerical                     to include six additional dairies, seek-
      ation of new jobs in the country, there-                Evaluation of Stochastic Structures                    ing $45 million in damages under
      by encouraging additional economic                      Under Stress, NESSUS, software pro-                    Superfund. The suit alleges that
      growth nationwide.                                      gram has been recognized as an award                   orthophosphate is discharged from the
         This year, four products introduced                  winner this year. The NESSUS pro-                      dairies and has affected the water qual-
      by NASA Glenn have been distin-                         gram combines state-of-the-art algo-                   ity of Lake Waco which is located ap-
      guished among the ‘‘Top 100 Most                        rithms with general-purpose numerical                  proximately 100 miles downstream
      Technologically Significant Products                    analysis methods to predict responses                  from the dairies.
      of the Year.’’ They have been recog-                    in hi-tech systems, such as aerospace                    On June 13, 2005, the attorney general
      nized by the editors of Research & De-                  and     automotive    structures,    bio-              of the State of Oklahoma filed suit in
      sign Magazine and awarded four of the                   mechanics, and gas turbine engines.                    Federal court against 14 major inte-
      ‘‘R&D 100’’ awards—awards known by                      Dr. Shantaram Pai, of Glenn’s Struc-                   grated poultry production firms claim-
      many as the ‘‘Oscars of Invention.’’                    tural Mechanics and Dynamics Branch,                   ing joint and several liability for dam-
      Their remarkable achievements clearly                   was responsible for developing the                     aged water quality in the Illinois River
      illustrate the high level of profes-                    probabilistic heat transfer module in-                 Watershed caused by poultry litter
      sionalism that distinguishes the Glenn                  tegrated in the system and managing                    runoff from agricultural lands to which
      Research Center, its employees, and                     the integration of nine other NASA-de-                 it has been applied as fertilizer. The
      the numerous organizations and indi-                    veloped modules into NESSUS, ena-                      suit seeks to recover past, present, and
      viduals who work in partnership with                    bling analysis of a diverse range of                   future response costs under Superfund,
      the Center.                                             problems.                                              as well as natural resource damages
         It is with great pride that I recognize                 I extend my most genuine congratu-                  that is expected to add up to several
      each of the award participants and con-                 lations to everyone who participated in                hundreds of millions of dollars. If these
      gratulate them for their outstanding                    each of NASA Glenn’s award-winning                     two cases are successful, other munici-
      work. In developing an award-winning                    projects.                                              palities and States could bring similar
      family of rod-coil block copolymers,                                      f                                    lawsuits and every animal feeding op-
      Dr. Mary Ann Meador and Dr. James                                                                              eration and farm could be held liable
      Kinder of Glenn’s Materials Division                           SUPERFUND LITIGATION                            under Superfund.
      have improved ionic conductivity in                       Mr. BROWNBACK. Mr. President, I                        This is another example of our judi-
      lithium polymer batteries. These new                    rise today to speak on the issue of                    cial system overstepping its bound-
      polymers will enable cost-saving ad-                    clarifying Congress’s intent regarding                 aries. Our judicial system is usurping
      vances in battery technologies, result-                 agricultural operations in respect to                  the will of Congress and creating laws
      ing in improvements to products rang-                   Superfund litigation. I, along with my                 Congress never meant to create.
      ing from mobile phones to fuel cells.                   colleague from Idaho, Senator CRAIG,                     Animal agriculture operations have
      Through this important innovation, it                   offered an amendment during the agri-                  been appropriately regulated and re-
      will be possible to offer lower manufac-                culture appropriations conference com-                 quired to have permits for years under
      turing costs, while increasing battery                  mittee that would have done that very                  the Clean Water Act, the Clean Air
      safety to meet future aerospace appli-                  thing. The amendment passed the Sen-                   Act, and various State laws to protect
      cation requirements.                                    ate, by a 9 to 8 vote, yet was stripped                the environment, but never under
         The NASA Glenn Sensors and Elec-                     from the final conference report. Need-                Superfund. My amendment would have
      tronics Branch team has been recog-                     less to say, I am disappointed with this               left these laws in place. My amend-
      nized for its development of a new sen-                 result. So much so, in fact, I decided                 ment would have only protected agri-
      sor-based fire detection system that ef-                not to sign the conference report.                     cultural producers from another exam-
      fectively recognizes the presence of fire                 When the Comprehensive Environ-                      ple of an activist judicial system. Agri-
      while screening out false alarms. Dr.                   mental Response, Compensation, and                     culture is already an over regulated in-
      Gary Hunter led the development effort                  Liability Act, or CERCLA, was passed                   dustry and adding the possibility of
      in collaboration with colleagues from                   in 1980 and the Emergency Planning                     Superfund litigation will be too much
      Case Western Reserve University, the                    and Community Right-To-Know Act, or                    to bear for farmers and ranchers.
      Ohio State University, Makel Engi-                      EPCLA, was passed in 1986, agriculture                   Further, Superfund was created with
      neering, and the Federal Aviation Ad-                   was never part of the deal. These acts                 a specific goal and mission in mind.
      ministration. This revolutionary de-                    were intended to provide for clean up of               The EPA is burdened to meet these
      vice will improve fire alarms in cargo                  toxic waste dumps and spills such as                   goals as it is. To now add the millions



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00065   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.061   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 67 of 91
      S12350                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      of acres of agriculture as possible                     the National Firearms Act, NFA, treat-                 never interested in seeing his name in
      Superfund sites would be too heavy a                    ing them the same as other high-pow-                   the headlines. His temperament and
      burden for the EPA to carry. Including                  ered or especially lethal firearms like                fair and nonpartisan nature won Art
      agriculture within Superfund takes                      several of those mentioned in the                      the respect and admiration of col-
      away from Superfund’s initial, worthy                   ABA’s report. Among other things, re-                  leagues on both sides of the aisle.
      mission.                                                classification of .50 caliber sniper rifles            Today, Art’s portrait hangs in the
        As I stated earlier, I am disappointed                under the NFA would subject them to                    State House, a rare honor and a fitting
      that the Superfund amendment was                        new registration requirements. Future                  tribute for a man who left such an im-
      stripped from this report after having                  transfers or sales of .50 caliber sniper               portant mark on Vermont, both as a
      passed the Senate. I fully intend to                    rifles would have to be conducted                      person and a policymaker.
      bring this item up next year and I am                   through a licensed dealer with an ac-                    When Art retired from the Vermont
      currently looking for ways to move                      companying background check. In ad-                    Senate in 1986 I noted, on the floor of
      this legislation. This needs to happen                  dition, the rifle being sold would have                the U.S. House of Representatives, ‘‘I
      for our farmers and ranchers.                           to be registered with Federal authori-                 am more than certain, however, that
                                                              ties.                                                  all of us in Vermont will continue to
                       f
                                                                We must take proactive steps to help                 benefit from his,—Art’s—wit, his intel-
          PROTECTING OUR HOMELAND                             prevent terrorists armed with military                 ligence, his commitment, and his grace
                     SECURITY                                 style firearms purchased in the U.S.                   for many, many years to come.’’ This
        Mr. LEVIN. Mr. President, despite                     from carrying out attacks on innocent                  statement proved to be true, as Art re-
      the potential threat from terrorists                    Americans. I urge the Senate to take                   mained an active member of the com-
      armed with easily accessible powerful                   up and pass commonsense gun safety                     munity and even served 12 years on the
      firearms, Congress still has taken no                   legislation, like the Fifty-Caliber Snip-              State Environmental Board after his
      action to require Federal registration                  er Weapon Regulation Act, to assist                    retirement. Today, as we remember
      of .50 caliber sniper rifles. We must do                our law enforcement officials in pro-                  Art, I take comfort in the certainty
      more to protect our families and com-                   tecting our homeland security.                         that generations of Vermonters will
                                                                                                                     continue to benefit for years to come
      munities.                                                                 f
                                                                                                                     from Art’s devotion to the preservation
        The .50 caliber sniper rifle is a favor-
                                                                     ADDITIONAL STATEMENTS                           and conservation of our great State.
      ite weapon of militaries around the                                                                              I extend my deepest condolences to
      world and is also among the most pow-                                                                          Art’s surviving children Barbara,
      erful weapons legally available to pri-                    TRIBUTE TO ARTHUR GIBB SR.                          Dwight, Lowrie, Arthur, Jr. and Henry,
      vate individuals in the United States.                                                                         as well as Art’s ten grandchildren and
      Published reports indicate that .50 cal-                ∑ Mr. JEFFORDS. Mr. President, this
                                                              week my home State lost a devoted                      seven     great   grandchildren.     All
      iber sniper rifles are capable of accu-                                                                        Vermonters mourn with you knowing
      rately hitting a target more than 1,500                 public servant, an environmental pio-
                                                              neer, a good friend, and a great                       that without Art, Vermont would not
      yards away with a bullet measuring a                                                                           be the beautiful and healthy place it is
      half inch in diameter. In addition,                     Vermonter: Art Gibb.
                                                                I first met Art when we served to-                   today.∑
      these thumb-size bullets come in
                                                              gether in the Vermont Legislature                                        f
      armor-piercing, incendiary, and explo-
      sive varieties that can easily punch                    where Art was known for his unassum-                    HONORING DR. BONNIE J. DUNBAR
      through aircraft fuselages, fuel tanks,                 ing and gracious temperament. Art
                                                                                                                     ∑ Mrs. MURRAY. Mr. President, today
      and engines. Currently, these highly                    also established a reputation as an in-
                                                                                                                     I would like to recognize the extraor-
      destructive sniper rifles, which have no                sightful legislator with an unusual
                                                                                                                     dinary achievements of a gifted Wash-
      sporting purpose, are subject to only                   ability to forge consensus. These skills
                                                                                                                     ingtonian named Dr. Bonnie J. Dunbar.
      minimal Federal regulation and are                      impressed me and, for over 30 years, I
                                                                                                                     Dr. Dunbar is widely acknowledged as
      treated the same as other long rifles,                  frequently sought Art’s wisdom and ad-
                                                                                                                     one of the world’s most experienced fe-
      including shotguns, hunting rifles, and                 vice when I found myself confronted
                                                                                                                     male astronauts as well as a pioneer in
      smaller target rifles.                                  with difficult decisions both in Wash-
                                                                                                                     biomedicl engineering. In tribute to
        In August, the House of Delegates of                  ington and Montpelier.
                                                                                                                     her accomplishments, Dr. Dunbar has
      the American Bar Association adopted                      Though Art was remarkably accom-
                                                                                                                     been selected to receive the distin-
      a resolution in support of ‘‘Federal,                   plished as a member of the Vermont
                                                                                                                     guished     Women     in    Engineering
      State, and territorial laws that would                  Legislature, he will undoubtedly be re-                Achievement Award for 2005.
      restrict the sale, distribution, transfer,              membered for his work on the Gov-                        Born and raised on a ranch in Sunny-
      and possession of .50 caliber sniper                    ernor’s Commission on Environmental                    side, WA, Dr. Dunbar took an early in-
      weapons except to the U.S. military,                    Control through which he helped save                   terest in space. As a child, she studied
      and the National Guard and law en-                      Vermont’s beauty and natural re-                       the exploits of astronauts like Alan
      forcement agencies.’’ The ABA report                    sources from reckless overdevelop-                     Shepherd and spent her nights study-
      that    accompanied      the   resolution               ment. Gov. Deane Davis appointed Art                   ing the sky for signs of passing sat-
      states:                                                 to lead the commission, which became                   ellites. By the third grade, she had al-
                                                              known as the ‘‘Gibb Commission,’’ in                   ready declared that she would one day
        Despite its destructive potential, the .50
      caliber weapon is sold like any other rifle.
                                                              1969 as developers began exploiting le-                be an astronaut. Encouraged by her
      Under current law, one needs only be 18                 nient building regulations in an effort                parents to follow her dreams, Bonnie
      years of age, have a driver’s license and pass          to turn a quick profit at the expense of               Dunbar attended the University of
      a minimal background check in order to buy              public health and the environment.                     Washington where she received her
      the gun.                                                The Gibb Commission traveled the                       bachelor and master degrees in engi-
        The U.S. Congress has acted to restrict               State, held public hearings, and worked                neering, an important precursor to her
      various weapons including specific firearms             tirelessly to draft recommendations to                 career at NASA. However, her journey
      and ammunition. Rockets, mortars and am-                address this pressing concern. The re-
      munition over .50 caliber size cannot be sold                                                                  to space was not without its hurdles.
      or legally possessed by civilians. Machine
                                                              sult of the Gibb Commission’s work                       Like a true pioneer, Dr. Dunbar
      guns, sawed-off shotguns, imported junk                 was the bold and pioneering Act 250,                   worked to break down barriers. At a
      handguns, silencers, guns made of plastic or            legislation    that     has    protected               time when women were generally dis-
      otherwise undetectable by metal screening               Vermont’s waterways, forests, and nat-                 couraged from pursuing science based
      devices and some armor-piercing ammuni-                 ural landscape ever since.                             careers, Dr. Dunbar both succeeded and
      tion are currently banned or restricted under             Art’s leadership of the Gibb Commis-                 prospered in her field, paving the way
      federal law.                                            sion and his work during his two dec-                  for countless women who shared her in-
        I am a cosponsor of the Fifty-Caliber                 ades in the legislature earned him well-               terest in science. After receiving her
      Sniper Weapon Regulation Act intro-                     deserved accolades. Still, Art never op-               doctorate in Mechanical and Bio-
      duced by Senator FEINSTEIN. This bill                   erated with any fanfare. Despite his                   medical Engineering from the Univer-
      would reclassify .50 caliber rifles under               newsworthy accomplishments, Art was                    sity of Houston, Dr. Dunbar went on to



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00066   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.088   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 68 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12351
      hold a number of esteemed research                        On May 16, 1981, I first had the oppor-              television. Along with his family,
      and engineering positions in the pri-                   tunity to participate in another great                 Danny launched a foundation to uplift
      vate sector. During this time, Dr. Dun-                 tradition at the Speedway when we                      the lives of children during their treat-
      bar assisted in the development and                     gathered to celebrate the annual                       ments associated with leukemia and
      manufacture of Space Shuttle Thermal                    Armed Forces Induction Ceremony.                       other life-threatening diseases.
      Protection Systems integral to NASA                     This event came about because recruit-                   Danny Bakewell’s success in the pri-
      flight operations.                                      ment was low and members of our com-                   vate sector have been important to
         In 1978, when NASA opened its astro-                 munity were looking for a creative way                 under-served communities throughout
      naut program to women for the first                     to celebrate the decision of Hoosier                   Los Angeles county as well. He is the
      time, Dr. Dunbar was one of the first                   men and women to serve our country                     publisher of the Los Angeles Sentinel,
      candidates to enroll. Although she was                  in the Armed Forces. To address this                   the largest and oldest African-Amer-
      not chosen in the final selection, NASA                 dilemma, the Hulman-George family                      ican owned newspaper west of the Mis-
      recognized her talents and hired her as                 offered the Indianapolis Motor Speed-                  sissippi River. Danny was the catalyst
      a payload officer and flight controller.                way as a backdrop for an enlistment                    behind two development projects—the
      This would mark the beginning of a                      ceremony. Anyone who enlisted during                   Compton Towne Center and Compton
      distinguished 27-year career at NASA.                   the month of May would be a part of                    Renaissance Plaza—which have helped
      In 1981, Dr. Dunbar earned her astro-                   the Tony Hulman Squadron and would                     to bring economic vitality into an area
      naut wings and was assigned to the 1985                 fly away from the infield to basic                     that had been written off by many. In
      Challenger Spacelab mission. Fol-                       training. While the ceremony has                       addition to creating much needed jobs
      lowing this successful mission, she was                 evolved over the ensuing years, it re-                 for community residents and addi-
      selected to participate in four more                    mains special to me because it offers                  tional tax revenues for the city, these
      missions in space. All told, Dr. Dunbar                 an excellent opportunity to celebrate                  projects are giving residents a deeper
      logged more than 1,208 hours or 50 days                 the patriotism of so many talented and                 sense of pride in their neighborhood.
      in space.                                               dedicated young Hoosiers.                                I invite my colleagues to join me and
         Dr. Dunbar’s exceptional perform-                      As race fans gather in Indianapolis to               the thousands of people touched by his
      ance during these missions garnered                     cheer their favorite drivers on to vic-                work in commending Danny J. Bake-
      more than six NASA Space Flight Med-                    tory, I am hopeful that they will take                 well, Sr. for his great leadership of the
      als, including the Superior Accom-                      a moment to reflect upon the years of                  Brotherhood Crusade and tireless advo-
      plishment Award in 1997, and the NASA                   dedicated leadership that the Hulman-                  cacy throughout his lifetime.∑
      Exceptional Achievement Award in                        George family has provided in the Indi-                                  f
      1996.                                                   anapolis community, leadership that
         Doctor Bonnie Dunbar’s meteoric                                                                             PAYING TRIBUTE TO THE DETROIT
                                                              has helped to make Indianapolis the
      rise from a small ranching community                                                                             WINDSOR TUNNEL ON ITS 75TH
                                                              motorsports capitol of world.
      in the State of Washington to a vet-                      Like so many of my fellow Hoosiers,                    ANNIVERSARY
      eran of five successful missions to                     I am grateful that the Hulman-George                   ∑ Ms. STABENOW. Mr. President, I
      space is both extraordinary and inspir-                 family continues to call Indiana its                   rise today to recognize the 75th anni-
      ing. Her courageous trailblazing took                   home.∑                                                 versary of the Detroit Windsor Tunnel.
      the world’s fascination for space to new                                  f                                    Over the past 75 years, the tunnel has
      plateaus and encouraged women to fol-                                                                          been an indispensable link between the
      low their dreams. She truly is a re-                          DANNY J. BAKEWELL, SR.                           United States and Canada.
      markable pioneer and a worthy recipi-                   ∑ Mrs. BOXER. Mr. President, I am                        In the years before the construction
      ent of the distinguished Women in En-                   very pleased to take a few moments to                  of the tunnel, cars and trucks crossed
      gineering Achievement Award for                         recognize the many important accom-                    the Detroit River on ferries. During the
      2005.∑                                                  plishments of Danny J. Bakewell, Sr.,                  winter, the river froze and made the
                       f                                      as he prepares to step down as CEO of                  ferry ride between Detroit and Windsor
                                                              the Brotherhood Crusade.                               dangerous. On November 3, 1930, Presi-
      CELEBRATING THE 60TH ANNIVER-                             Danny J. Bakewell, Sr. has spent the                 dent Herbert Hoover ushered in a new
        SARY OF HULMAN-GEORGE FAM-                            past 35 years building the Brotherhood                 era in U.S.-Canadian relations when he
        ILY OWNERSHIP OF THE INDIAN-                          Crusade into a nationally-recognized                   officially opened the Detroit Windsor
        APOLIS MOTOR SPEEDWAY                                 charitable organization in southern                    Tunnel.
      ∑ Mr. LUGAR. Mr. President, I am                        California. In that time, he has raised                  Not only has the tunnel been a vital
      pleased to rise today to recognize the                  over $60 million to support a host of                  commercial and cultural link between
      important leadership of the Hulman-                     programs. Nurturing nonprofit groups                   the United States and Canada, at the
      George family throughout their 60                       and local small businesses is first and                time of its construction it was an un-
      years of stewardship of the Indianap-                   foremost among the Brotherhood Cru-                    paralleled engineering feat. The tunnel
      olis Motor Speedway. I am honored to                    sade’s priorities. The venerable institu-              is approximately 1 mile long and
      have this opportunity to congratulate                   tion funds programs that provide serv-                 reaches depths of 75 feet below the
      them on reaching this signal milestone                  ices for adults seeking job training and               river. It is the only underwater inter-
      on November 14, 2005.                                   job placement, young people looking to                 national vehicular border crossing in
        The Hulman-George family members                      realize their academic potential, and                  the world. At full capacity, 2,400 vehi-
      have been remarkable champions of In-                   families seeking to improve their phys-                cles can pass between Detroit and
      dianapolis and the State of Indiana                     ical health.                                           Windsor each hour through the tunnel.
      through their hosting of what many                        The funding that Brotherhood Cru-                      During the tunnel’s construction,
      consider to be the greatest spectacle in                sade provides is the lifeblood for many                there were as many as 600 workers si-
      racing, the Indianapolis 500. In recent                 organizations, making it possible for                  multaneously building the structure.
      years, they have also hosted the Brick-                 them to be the catalyst in bringing                    One group of workers called the
      yard 400 and the United States Grand                    change to communities and change to                    ‘‘muckers’’ dug a 32-foot hole in tight
      Prix, remarkable events that bring                      individuals.                                           quarters through sand and clay deep
      people from around the world to Indi-                     Danny’s commitment to equality for                   below the Detroit River. As a tribute
      anapolis to experience true Hoosier                     all, fair representation in the media,                 to the workers who built the Detroit
      hospitality.                                            and strengthening communities has                      Windsor Tunnel a year ahead of sched-
        I have especially enjoyed a close rela-               been steadfast, as evidenced by his ac-                ule, the first person to drive the dis-
      tionship with the Hulman-George fam-                    tivist work. He was active in the strug-               tance of the tunnel and back was Jo-
      ily, which began when I was Mayor of                    gle to bring a peaceable end to apart-                 seph Zuccatto, a construction worker
      Indianapolis. My wife, Char, and I                      heid in South Africa. Danny galvanized                 who earned 35 cents an hour.
      would take our four boys to the track                   a coalition of community leaders to                      The Detroit Windsor Tunnel is one of
      for activities throughout the month of                  change the way entertainment compa-                    the cornerstones of the close economic
      May.                                                    nies represented slavery on prime time                 relationship between the United States



VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00067   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.089   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 69 of 91
      S12352                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      and Canada. The United States and                       the Counterproliferation Program Review                sonnel, Department of Defense, transmit-
      Canada trade $1.2 billion worth of                      Committee entitled ‘‘Report on Activities              ting, pursuant to law, the report of the des-
      goods and services each day that sup-                   and Programs for Countering Proliferation              ignation of an acting officer for the position
                                                              and NBC Terrorism’’ (revised to include ad-            of Director, Defense Research and Engineer-
      ports 5.2 million jobs. Trade between
                                                              ministrative corrections); to the Committee            ing, received on October 31, 2005; to the Com-
      the United States and Canada is valued                  on Armed Services.                                     mittee on Armed Services.
      over $400 billion per year. Michigan’s                    EC–4508. A communication from the Direc-               EC–4519. A communication from the Assist-
      trade with Canada represents 19 per-                    tor, Administration and Management, Office             ant Director, Executive and Political Per-
      cent of the United States land-based                    of the Secretary of Defense, transmitting,             sonnel, Department of Defense, transmit-
      trade and supports 174,000 Michigan                     pursuant to law, a report relative to the              ting, pursuant to law, the report of the con-
      jobs.                                                   total cost for the planning, design, construc-         firmation of a nominee for the position of
                                                              tion and installation of equipment for the             Assistant Secretary of Defense (Legislative
        The Detroit Windsor Tunnel is a cru-
                                                              renovation of Wedges 2 through 5 of the Pen-           Affairs), received on October 31, 2005; to the
      cial link between the U.S. and Cana-                    tagon; to the Committee on Armed Services.             Committee on Armed Services.
      dian economies. The tunnel is one of                      EC–4509. A communication from the Acting               EC–4520. A communication from the Assist-
      the 15 busiest border crossings nation-                 Deputy Secretary of Defense, transmitting,             ant Director, Executive and Political Per-
      ally, with more than 9 million vehicles                 pursuant to law, the Seventeenth Report of             sonnel, Department of Defense, transmit-
      passing through the tunnel each year.                   the Federal Voting Assistance Program; to              ting, pursuant to law, the report of a va-
      Additionally, at least 850 trucks and                   the Committee on Armed Services.                       cancy and designation of an acting officer for
                                                                EC–4510. A communication from the Direc-             the position of Inspector General, received
      5,000 commuters pass through the tun-
                                                              tor, Office of Personnel Management and the            on October 31, 2005; to the Committee on
      nel for business, entertainment, and                    Secretary of Defense, transmitting, pursuant           Armed Services.
      shopping each day.                                      to law, a report jointly submitted by the Of-            EC–4521. A communication from the Assist-
        In recent years, all U.S. ports of                    fice of Personnel Management and the De-               ant Director, Executive and Political Per-
      entry have balanced increased border                    partment of Defense relative to final regula-          sonnel, Department of Defense, transmit-
      security requirements with the needs                    tions for the National Security Personnel              ting, pursuant to law, the report of a va-
      of tourists and business travelers to                   System (NSPS); to the Committee on Armed               cancy in the position of Deputy Under Sec-
      quickly enter and leave the United                      Services.                                              retary of Defense (Personnel and Readiness),
                                                                EC–4511. A communication from the Acting             received on October 31, 2005; to the Com-
      States. The Detroit Windsor Tunnel                      Director, Defense Procurement and Acquisi-
      has enthusiastically responded to these                                                                        mittee on Armed Services.
                                                              tion Policy, Department of Defense, trans-               EC–4522. A communication from the Assist-
      challenges and worked with local,                       mitting, pursuant to law, the report of a rule         ant Director, Executive and Political Per-
      State and Federal officials to meet                     entitled ‘‘Payment and Billing Instructions’’          sonnel, Department of Defense, transmit-
      these urgent needs.                                     (DFARS Case 2003–D009) received on October             ting, pursuant to law, the report of a nomi-
        Mr. President, I commend the De-                      31, 2005; to the Committee on Armed Serv-              nation for the position of Deputy Under Sec-
      troit Windsor Tunnel on its 75th anni-                  ices.                                                  retary of Defense (Logistics and Materiel
                                                                EC–4512. A communication from the Assist-
      versary, for its service to the people of                                                                      Readiness), received on October 31, 2005; to
                                                              ant Director, Executive and Political Per-
      the United States and Canada, and for                                                                          the Committee on Armed Services.
                                                              sonnel, Department of Defense, transmit-
      its continuous innovation to serve                                                                               EC–4523. A communication from the Assist-
                                                              ting, pursuant to law, the report of a change
      those who rely on it.∑                                                                                         ant Director, Executive and Political Per-
                                                              in previously submitted reported informa-
                                                                                                                     sonnel, Department of Defense, transmit-
                       f                                      tion relative to the vacancy in the position
                                                                                                                     ting, pursuant to law, the report of a recess
                                                              of Assistant Secretary of Defense (Public Af-
                                                                                                                     appointment for the position of Under Sec-
           MESSAGE FROM THE HOUSE                             fairs), received on October 31, 2005; to the
                                                                                                                     retary of Defense (Policy), received on Octo-
                                                              Committee on Armed Services.
                                                                EC–4513. A communication from the Assist-            ber 31, 2005; to the Committee on Armed
                                                              ant Director, Executive and Political Per-             Services.
            ENROLLED BILL SIGNED                                                                                       EC–4524. A communication from the Assist-
                                                              sonnel, Department of Defense, transmit-
        At 9:20 a.m., a message from the                      ting, pursuant to law, the report of a change          ant Director, Executive and Political Per-
      House of Representatives, delivered by                  in previously submitted reported informa-              sonnel, Department of the Army, transmit-
                                                                                                                     ting, pursuant to law, the report of the dis-
      Ms. Niland, one of its reading clerks,                  tion relative to the vacancy in the position
                                                              of Deputy Secretary of Defense, received on            continuation of service in the acting role and
      announced that the Speaker has signed                                                                          the confirmation of a nominee for the posi-
      the following enrolled bill:                            October 31, 2005; to the Committee on Armed
                                                              Services.                                              tion of Assistant Secretary of the Army (In-
        H.R. 2967. An act to designate the Federal              EC–4514. A communication from the Assist-            stallations and Environment), received on
      building located at 333 Mt. Elliott Street in           ant Director, Executive and Political Per-             October 31, 2005; to the Committee on Armed
      Detroit, Michigan, as the ‘‘Rosa Parks Fed-             sonnel, Department of Defense, transmit-               Services.
      eral Building’’.                                        ting, pursuant to law, the report of a nomi-             EC–4525. A communication from the Assist-
        The enrolled bill was signed subse-                   nation and the designation of an acting offi-          ant Director, Executive and Political Per-
                                                              cer for the position of Assistant Secretary of         sonnel, Department of Defense, transmit-
      quently by the President pro tempore
                                                              Defense (Public Affairs), received on October          ting, pursuant to law, the report of a nomi-
      (Mr. STEVENS).                                                                                                 nation for the position of Director, Defense
                                                              31, 2005; to the Committee on Armed Serv-
                       f                                      ices.                                                  Research and Engineering, received on Octo-
                                                                EC–4515. A communication from the Assist-            ber 31, 2005; to the Committee on Armed
      MEASURES READ THE FIRST TIME                            ant Director, Executive and Political Per-             Services.
        The following bill was read the first                 sonnel, Department of Defense, transmit-                 EC–4526. A communication from the Assist-
      time:                                                   ting, pursuant to law, the report of a nomi-           ant Director, Executive and Political Per-
                                                              nation for the position of Assistant Sec-              sonnel, Department of Defense, transmit-
        S. 1960. A bill to protect the health and                                                                    ting, pursuant to law, the report of a va-
      safety of all athletes, to promote the integ-           retary of Defense (International Security
                                                              Policy), received on October 31, 2005; to the          cancy in the position of Director, Defense
      rity of professional sports by establishing                                                                    Research and Engineering, received on Octo-
      minimum standards for the testing of                    Committee on Armed Services.
                                                                EC–4516. A communication from the Assist-            ber 31, 2005; to the Committee on Armed
      steroids and other performance-enhancing                                                                       Services.
                                                              ant Director, Executive and Political Per-
      substances and methods by professional                                                                           EC–4527. A communication from the Assist-
                                                              sonnel, Department of Defense, transmit-
      sports leagues, and for other purposes.                                                                        ant Director, Executive and Political Per-
                                                              ting, pursuant to law, the report of a nomi-
                       f                                      nation for the position of Under Secretary of          sonnel, Department of Defense, transmit-
                                                              Defense (Policy), received on October 31,              ting, pursuant to law, the report of the dis-
            EXECUTIVE AND OTHER                               2005; to the Committee on Armed Services.              continuation of service in the acting role and
                COMMUNICATIONS                                  EC–4517. A communication from the Assist-            confirmation of a nominee for the position of
        The following communications were                     ant Director, Executive and Political Per-             Deputy Under Secretary of Defense (Logis-
                                                              sonnel, Department of Defense, transmit-               tics and Materiel Readiness), received on Oc-
      laid before the Senate, together with                                                                          tober 31, 2005; to the Committee on Armed
                                                              ting, pursuant to law, the report of the dis-
      accompanying papers, reports, and doc-                  continuation of service in the acting role for         Services.
      uments, and were referred as indicated:                 the position of Director, Operational Test               EC–4528. A communication from the Assist-
        EC–4507. A communication from the Assist-             and Evaluation, received on October 31, 2005;          ant Director, Executive and Political Per-
      ant to the Secretary of Defense, Nuclear and            to the Committee on Armed Services.                    sonnel, Department of Defense, transmit-
      Chemical and Biological Defense Programs,                 EC–4518. A communication from the Assist-            ting, pursuant to law, the report of the dis-
      transmitting, pursuant to law, a report from            ant Director, Executive and Political Per-             continuation of service in the acting role for




VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00068   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.090   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 70 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12353
      the position of Assistant Secretary of De-              ting, pursuant to law, the report of the dis-                By Mr. BROWNBACK (for himself and
      fense (Legislative Affairs), received on Octo-          continuation of service in the acting role for                 Mr. INHOFE):
      ber 31, 2005; to the Committee on Armed                 the position of Under Secretary of the Army,             S. 1956. A bill to amend the Federal Food,
      Services.                                               received on October 31, 2005; to the Com-              Drug, and Cosmetic Act to create a new
        EC–4529. A communication from the Assist-             mittee on Armed Services.                              three-tiered approval system for drugs, bio-
      ant Director, Executive and Political Per-                EC–4540. A communication from the Assist-            logical products, and devices that is respon-
      sonnel, Department of Defense, transmit-                ant Director, Executive and Political Per-             sive to the needs of seriously ill patients,
      ting, pursuant to law, the report of a dis-             sonnel, Department of the Army, transmit-              and for other purposes; to the Committee on
      continuation of service in the acting role and          ting, pursuant to law, the report of a nomi-           Health, Education, Labor, and Pensions.
      a recess appointment in the position of As-             nation and designation of an acting officer                  By Mr. HAGEL (for himself and Mr.
      sistant Secretary of Defense (International             for the position of Assistant Secretary of the                 NELSON of Nebraska):
      Security Policy), received on October 31,               Army (Installations and Environment), re-                S. 1957. A bill to authorize the Secretary of
      2005; to the Committee on Armed Services.               ceived on October 31, 2005; to the Committee           Interior to convey to The Missouri River
        EC–4530. A communication from the Assist-             on Armed Services.                                     Basin Lewis and Clark Interpretive Trail and
      ant Director, Executive and Political Per-                                                                     Visitor Center Foundation, Inc. certain Fed-
      sonnel, Department of the Navy, transmit-                                 f                                    eral land associated with the Lewis and
      ting, pursuant to law, the report of a nomi-                                                                   Clark National Historic Trail in Nebraska,
                                                                  REPORTS OF COMMITTEES                              to be used as an historical interpretive site
      nation for the position of Assistant Sec-
      retary of the Navy (Research, Development                The following reports of committees                   along the trail; to the Committee on Energy
      and Acquisition), received on October 31,               were submitted:                                        and Natural Resources.
      2005; to the Committee on Armed Services.                                                                            By Ms. CANTWELL (for herself, Mrs.
                                                                By Mr. SPECTER, from the Committee on                        MURRAY, Mr. CRAPO, Mr. SCHUMER,
        EC–4531. A communication from the Assist-             the Judiciary, with an amendment in the na-
      ant Director, Executive and Political Per-                                                                             Mr. LEAHY, Mr. CRAIG, Mr. LEVIN, Mr.
                                                              ture of a substitute:                                          DEWINE, Mr. DAYTON, Mr. BAUCUS,
      sonnel, Department of the Navy, transmit-                 S. 1095. A bill to amend chapter 113 of title
      ting, pursuant to law, the report of a nomi-                                                                           and Mrs. CLINTON):
                                                              18, United States Code, to clarify the prohi-            S. 1958. A bill to authorize the Attorney
      nation for the position of Secretary of the             bition on the trafficking in goods or services,
      Navy, received on October 31, 2005; to the                                                                     General to establish and carry out a pro-
                                                              and for other purposes.                                gram, known as the Northern Border Pros-
      Committee on Armed Services.                              By Mr. SPECTER, from the Committee on
        EC–4532. A communication from the Assist-                                                                    ecution Initiative, to provide funds to north-
                                                              the Judiciary, with an amendment:                      ern border States to reimburse county and
      ant Director, Executive and Political Per-                S. 1699. A bill to amend title 18, United
      sonnel, Department of the Air Force, trans-                                                                    municipal governments for costs associated
                                                              States Code, to provide criminal penalties             with certain criminal activities, and for
      mitting, pursuant to law, the report of a               for trafficking in counterfeit marks.
      nomination for the position of Secretary of                                                                    other purposes; to the Committee on the Ju-
      the Air Force, received on October 31, 2005;                              f                                    diciary.
      to the Committee on Armed Services.                                                                                  By Mr. KERRY (for himself, Mr.
        EC–4533. A communication from the Assist-                  EXECUTIVE REPORTS OF                                      OBAMA, Mr. LEVIN, Ms. STABENOW,
      ant Director, Executive and Political Per-                         COMMITTEES                                          Mr. KENNEDY, Mr. CORZINE, and Mr.
      sonnel, Department of the Air Force, trans-                                                                            SMITH):
                                                                The following executive reports of                     S. 1959. A bill to direct the Architect of the
      mitting, pursuant to law, the report of a
                                                              committees were submitted:                             Capitol to obtain a statue of Rosa Parks and
      nomination for the position of Under Sec-
                                                                By Mr. SHELBY for the Committee on                   to place the statue in the United States Cap-
      retary of the Air Force, received on October
                                                              Banking, Housing, and Urban Affairs.                   itol in National Statuary Hall; to the Com-
      31, 2005; to the Committee on Armed Serv-
                                                                *Orlando J. Cabrera, of Florida, to be an            mittee on Rules and Administration.
      ices.
        EC–4534. A communication from the Assist-             Assistant Secretaryof Housing and Urban                      By Mr. BUNNING (for himself, Mr.
      ant Director, Executive and Political Per-              Development.                                                   MCCAIN, Mr. STEVENS, Mr. ROCKE-
                                                                *Katherine Baicker, of New Hampshire, to                     FELLER, and Mr. GRASSLEY):
      sonnel, Department of the Air Force, trans-
                                                              be a Member of the Council of Economic Ad-               S. 1960. A bill to protect the health and
      mitting, pursuant to law, the report of the
                                                              visers.                                                safety of all athletes, to promote the integ-
      confirmation of a nominee for the position of
                                                                *Matthew Slaughter, of New Hampshire, to             rity of professional sports by establishing
      Under Secretary of the Air Force, received
                                                              be a Member of the Council of Economic Ad-             minimum standards for the testing of
      on October 31, 2005; to the Committee on                                                                       steroids and other performance-enhancing
      Armed Services.                                         visers.
                                                                *Rodney E. Hood, of North Carolina, to be            substances and methods by professional
        EC–4535. A communication from the Assist-
                                                              a Member of the National Credit Union Ad-              sports leagues, and for other purposes; read
      ant Director, Executive and Political Per-
                                                              ministration Board for a term expiring April           the first time.
      sonnel, Department of the Air Force, trans-
      mitting, pursuant to law, the report of a va-           10, 2009.                                                               f
      cancy and designation of an acting officer in             *Gigi Hyland, of Virginia, to be a Member            SUBMISSION OF CONCURRENT AND
      the position of Assistant Secretary of the              of the National Credit Union Administration
                                                              Board for a term expiring August 2, 2011.
                                                                                                                            SENATE RESOLUTIONS
      Air Force (Installations, Environment, and
      Logistics), received on October 31, 2005; to              By Mr. SPECTER for the Committee on                    The following concurrent resolutions
      the Committee on Armed Services.                        the Judiciary.                                         and Senate resolutions were read, and
        EC–4536. A communication from the Assist-               Wan J. Kim, of Maryland, to be an Assist-            referred (or acted upon), as indicated:
      ant Director, Executive and Political Per-              ant Attorney General.                                        By Mr. HATCH (for himself and Mr.
      sonnel, Department of the Air Force, trans-               Sue Ellen Wooldridge, of Virginia, to be an                  BENNETT):
      mitting, pursuant to law, the report of the             Assistant Attorney General.                              S. Res. 298. A resolution designating Thurs-
      discontinuation of service in the acting role             Steven G. Bradbury, of Maryland, to be an            day, November 17, 2005, as ‘‘Feed America
      for the position of Secretary of the Air                Assistant Attorney General.                            Thursday;’’ to the Committee on the Judici-
      Force, received on October 31, 2005; to the               Thomas O. Barnett, of Virginia, to be an             ary.
      Committee on Armed Services.                            Assistant Attorney General.                                  By Ms. LANDRIEU (for herself, Mr.
        EC–4537. A communication from the Assist-               *Nomination was reported with rec-                           DEMINT, Mrs. CLINTON, Mr. NELSON of
      ant Director, Executive and Political Per-                                                                             Nebraska,     Mr.   BROWNBACK,     Mr.
                                                              ommendation that it be confirmed sub-
      sonnel, Department of the Air Force, trans-                                                                            CRAIG, Mr. KERRY, Mr. COLEMAN, and
      mitting, pursuant to law, the report of the             ject to the nominee’s commitment to                            Mr. SALAZAR):
      designation of an acting officer in the posi-           respond to requests to appear and tes-                   S. Res. 299. A resolution to express support
      tion of Secretary of the Air Force, received            tify before any duly constituted com-                  for the goals of National Adoption Month by
      on October 31, 2005; to the Committee on                mittee of the Senate.                                  promoting national awareness of adoption,
      Armed Services.                                           (Nominations without an asterisk                     celebrating children and families involved in
        EC–4538. A communication from the Assist-             were reported with the recommenda-                     adoption, and encouraging Americans to se-
      ant Director, Executive and Political Per-                                                                     cure safety, permanency, and well-being for
                                                              tion that they be confirmed.)
      sonnel, Department of the Army, transmit-                                                                      all children; considered and agreed to.
      ting, pursuant to law, the report of the dis-                             f                                          By Mr. INOUYE (for himself, Mr.
      continuation of service in the acting role for                                                                         AKAKA, Mr. BYRD, Mr. FRIST, Mr.
      the position of Assistant Secretary of the                   INTRODUCTION OF BILLS AND                                 REID, Mr. ALEXANDER, Mr. ALLARD,
      Army (Manpower and Reserve Affairs), re-                         JOINT RESOLUTIONS                                     Mr. ALLEN, Mr. BAUCUS, Mr. BAYH,
      ceived on October 31, 2005; to the Committee                                                                           Mr. BENNETT, Mr. BIDEN, Mr. BINGA-
      on Armed Services.
                                                                The following bills and joint resolu-                        MAN, Mr. BOND, Mrs. BOXER, Mr.
        EC–4539. A communication from the Assist-             tions were introduced, read the first                          BROWNBACK, Mr. BUNNING, Mr. BURNS,
      ant Director, Executive and Political Per-              and second times by unanimous con-                             Mr. BURR, Ms. CANTWELL, Mr. CAR-
      sonnel, Department of the Army, transmit-               sent, and referred as indicated:                               PER, Mr. CHAFEE, Mr. CHAMBLISS,




VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00069   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.096   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 71 of 91
      S12354                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
              Mrs. CLINTON, Mr. COBURN, Mr. COCH-             criminal penalties for trafficking in                  sor of amendment No. 2350 proposed to
              RAN, Mr. COLEMAN, Ms. COLLINS, Mr.              counterfeit marks.                                     S. 1932, an original bill to provide for
              CONRAD, Mr. CORNYN, Mr. CORZINE,                                                                       reconciliation pursuant to section
                                                                                     S. 1767
              Mr. CRAIG, Mr. CRAPO, Mr. DAYTON,
                                                                At the request of Ms. SNOWE, the                     202(a) of the concurrent resolution on
              Mr. DEMINT, Mr. DEWINE, Mr. DODD,
              Mrs. DOLE, Mr. DOMENICI, Mr. DOR-               name of the Senator from North Da-                     the budget for fiscal year 2006 (H. Con.
              GAN, Mr. DURBIN, Mr. ENSIGN, Mr.                kota (Mr. DORGAN) was added as a co-                   Res. 95).
              ENZI, Mr. FEINGOLD, Mrs. FEINSTEIN,             sponsor of S. 1767, a bill to require the                           AMENDMENT NO. 2353
              Mr. GRAHAM, Mr. GRASSLEY, Mr.                   Federal Communications Commission                        At the request of Mrs. MURRAY, the
              GREGG, Mr. HAGEL, Mr. HARKIN, Mr.               to reevaluate the band plans for the                   name of the Senator from Illinois (Mr.
              HATCH, Mrs. HUTCHISON, Mr. INHOFE,
                                                              upper 700 megaHertz band and the un-                   OBAMA) was added as a cosponsor of
              Mr. ISAKSON, Mr. JEFFORDS, Mr.
              JOHNSON, Mr. KENNEDY, Mr. KERRY,                auctioned portions of the lower 700                    amendment No. 2353 intended to be pro-
              Mr. KOHL, Mr. KYL, Ms. LANDRIEU,                megaHertz band and reconfigure them                    posed to S. 1932, an original bill to pro-
              Mr. LAUTENBERG, Mr. LEAHY, Mr.                  to include spectrum to be licensed for                 vide for reconciliation pursuant to sec-
              LEVIN, Mr. LIEBERMAN, Mrs. LINCOLN,             small geographic areas.                                tion 202(a) of the concurrent resolution
              Mr. LOTT, Mr. LUGAR, Mr. MARTINEZ,                                     S. 1791                         on the budget for fiscal year 2006 (H.
              Mr. MCCAIN, Mr. MCCONNELL, Ms. MI-                At the request of Mr. SMITH, the                     Con. Res. 95).
              KULSKI, Ms. MURKOWSKI, Mrs. MUR-
              RAY, Mr. NELSON of Florida, Mr. NEL-
                                                              name of the Senator from Idaho (Mr.                                 AMENDMENT NO. 2356
              SON of Nebraska, Mr. OBAMA, Mr.                 CRAPO) was added as a cosponsor of S.                    At the request of Mrs. LINCOLN, the
              PRYOR, Mr. REED, Mr. ROBERTS, Mr.               1791, a bill to amend the Internal Rev-                names of the Senator from Wisconsin
              ROCKEFELLER, Mr. SALAZAR, Mr.                   enue Code of 1986 to allow a deduction                 (Mr. KOHL), the Senator from New Jer-
              SANTORUM, Mr. SARBANES, Mr. SCHU-               for qualified timber gains.                            sey (Mr. CORZINE) and the Senator from
              MER, Mr. SESSIONS, Mr. SHELBY, Mr.                                     S. 1848                         New York (Mrs. CLINTON) were added as
              SMITH, Ms. SNOWE, Mr. SPECTER, Ms.
                                                                At the request of Mr. SALAZAR, the                   cosponsors of amendment No. 2356 pro-
              STABENOW, Mr. STEVENS, Mr. SUNUNU,
              Mr. TALENT, Mr. THOMAS, Mr. THUNE,              name of the Senator from Nevada (Mr.                   posed to S. 1932, an original bill to pro-
              Mr. VITTER, Mr. VOINOVICH, Mr. WAR-             REID) was added as a cosponsor of S.                   vide for reconciliation pursuant to sec-
              NER, and Mr. WYDEN):                            1848, a bill to promote remediation of                 tion 202(a) of the concurrent resolution
        S. Res. 300. A resolution relative to the             inactive and abandoned mines, and for                  on the budget for fiscal year 2006 (H.
      death of Henry Ku′ualoha Giugni, former                 other purposes.                                        Con. Res. 95).
      Sergeant-at-Arms of the United States Sen-                                     S. 1947                                      AMENDMENT NO. 2357
      ate; considered and agreed to.
                                                                At the request of Mr. SUNUNU, the                      At the request of Mr. NELSON of Flor-
                     f
                                                              name of the Senator from Georgia (Mr.                  ida, the names of the Senator from Illi-
            ADDITIONAL COSPONSORS                             ISAKSON) was added as a cosponsor of S.                nois (Mr. OBAMA) and the Senator from
                             S. 331                           1947, a bill to amend chapter 21 of title              Wisconsin (Mr. FEINGOLD) were added
        At the request of Mr. JOHNSON, the                    38, United States Code, to enhance                     as cosponsors of amendment No. 2357
      name of the Senator from South Da-                      adaptive housing assistance for dis-                   proposed to S. 1932, an original bill to
      kota (Mr. THUNE) was added as a co-                     abled veterans.                                        provide for reconciliation pursuant to
      sponsor of S. 331, a bill to amend title                                     S. RES. 219                       section 202(a) of the concurrent resolu-
      38, United States Code, to provide for                    At the request of Mrs. FEINSTEIN, the                tion on the budget for fiscal year 2006
      an assured adequate level of funding                    name of the Senator from Massachu-                     (H. Con. Res. 95).
      for veterans health care.                               setts (Mr. KERRY) was added as a co-                                AMENDMENT NO. 2360
                             S. 333                           sponsor of S. Res. 219, a resolution des-                At the request of Mr. LOTT, the
        At the request of Mr. SANTORUM, the                   ignating March 8, 2006, as ‘‘Endangered                names of the Senator from Pennsyl-
      name of the Senator from California                     Species Day,’’ and encouraging the peo-                vania (Mr. SANTORUM), the Senator
      (Mrs. BOXER) was added as a cosponsor                   ple of the United States to become edu-                from Massachusetts (Mr. KENNEDY), the
      of S. 333, a bill to hold the current re-               cated about, and aware of, threats to                  Senator from Vermont (Mr. JEFFORDS),
      gime in Iran accountable for its threat-                species, success stories in species re-                the Senator from Illinois (Mr. DURBIN)
      ening behavior and to support a transi-                 covery, and the opportunity to pro-                    and the Senator from North Dakota
      tion to democracy in Iran.                              mote species conservation worldwide.                   (Mr. DORGAN) were added as cosponsors
                             S. 1496                                           AMENDMENT NO. 762                     of amendment No. 2360 proposed to S.
        At the request of Mr. CRAPO, the                        At the request of Mr. NELSON of Flor-                1932, an original bill to provide for rec-
      name of the Senator from Minnesota                      ida, the name of the Senator from Cali-                onciliation pursuant to section 202(a)
      (Mr. COLEMAN) was added as a cospon-                    fornia (Mrs. FEINSTEIN) was added as a                 of the concurrent resolution on the
      sor of S. 1496, a bill to direct the Sec-               cosponsor of amendment No. 762 pro-                    budget for fiscal year 2006 (H. Con. Res.
      retary of the Interior to conduct a                     posed to S. 1042, an original bill to au-              95).
      pilot program under which up to 15                      thorize appropriations for fiscal year                              AMENDMENT NO. 2363
      States may issue electronic Federal                     2006 for military activities of the De-                  At the request of Mr. HARKIN, the
      migratory bird hunting stamps.                          partment of Defense, for military con-                 name of the Senator from New York
                             S. 1516                          struction, and for defense activities of               (Mrs. CLINTON) was added as a cospon-
        At the request of Mr. LOTT, the                       the Department of Energy, to prescribe                 sor of amendment No. 2363 proposed to
      names of the Senator from Pennsyl-                      personnel strengths for such fiscal year               S. 1932, an original bill to provide for
      vania (Mr. SPECTER), the Senator from                   for the Armed Forces, and for other                    reconciliation pursuant to section
      Pennsylvania (Mr. SANTORUM), the Sen-                   purposes.                                              202(a) of the concurrent resolution on
      ator from Rhode Island (Mr. CHAFEE),                                     AMENDMENT NO. 2346                    the budget for fiscal year 2006 (H. Con.
      the Senator from Arkansas (Mr.                            At the request of Mr. INOUYE, the                    Res. 95).
      PRYOR), the Senator from Delaware                       name of the Senator from Hawaii (Mr.                                AMENDMENT NO. 2371
      (Mr. BIDEN) and the Senator from New                    AKAKA) was added as a cosponsor of                       At the request of Ms. SNOWE, the
      York (Mr. SCHUMER) were added as co-                    amendment No. 2346 intended to be pro-                 names of the Senator from New York
      sponsors of S. 1516, a bill to reauthorize              posed to S. 1932, an original bill to pro-             (Mrs. CLINTON), the Senator from Mas-
      Amtrak, and for other purposes.                         vide for reconciliation pursuant to sec-               sachusetts (Mr. KERRY) and the Sen-
                             S. 1699                          tion 202(a) of the concurrent resolution               ator from Connecticut (Mr. DODD) were
        At the request of Mr. SPECTER, the                    on the budget for fiscal year 2006 (H.                 added as cosponsors of amendment No.
      names of the Senator from Oklahoma                      Con. Res. 95).                                         2371 proposed to S. 1932, an original bill
      (Mr. COBURN) and the Senator from                                        AMENDMENT NO. 2350                    to provide for reconciliation pursuant
      California (Mrs. FEINSTEIN) were added                    At the request of Mrs. MURRAY, the                   to section 202(a) of the concurrent reso-
      as cosponsors of S. 1699, a bill to amend               name of the Senator from New York                      lution on the budget for fiscal year 2006
      title 18, United States Code, to provide                (Mrs. CLINTON) was added as a cospon-                  (H. Con. Res. 95).



VerDate Aug 31 2005   03:27 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00070   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.104   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 72 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12355
                      AMENDMENT NO. 2372                                           S. 1956                           threatening condition or disease, which evi-
        At the request of Mrs. MURRAY, the                      Be it enacted by the Senate and House of Rep-        dence may be based on uncontrolled data
      name of the Senator from New Jersey                     resentatives of the United States of America in        such as case histories, information about the
      (Mr. CORZINE) was added as a cosponsor                  Congress assembled,                                    pharmacological mechanism of action, data
                                                              SECTION 1. SHORT TITLE.                                from animal and computer models, compari-
      of amendment No. 2372 proposed to S.                                                                           son with historical data, or other prelimi-
      1932, an original bill to provide for rec-                This Act may be cited as the ‘‘Access,
                                                              Compassion, Care, and Ethics for Seriously             nary information, and may be based on a
      onciliation pursuant to section 202(a)                                                                         small number of patients; and
                                                              Ill Patients Act’’ or the ‘‘ACCESS Act’’.
      of the concurrent resolution on the                     SEC. 2. FINDINGS.
                                                                                                                       ‘‘(iii) an assurance that the sponsor will
      budget for fiscal year 2006 (H. Con. Res.                                                                      continue clinical investigation to obtain
                                                                Congress finds the following:
      95).                                                                                                           Tier III approval.
                                                                (1) The necessity of placebo controlled
                      AMENDMENT NO. 2373
                                                                                                                       ‘‘(B) LIMITATION.—Tier I approval shall be
                                                              studies has been questioned on both sci-
                                                                                                                     primarily based upon clinical evaluation, not
        At the request of Mr. REED, the name                  entific and ethical grounds for seriously ill
                                                                                                                     statistical analysis.
      of the Senator from Minnesota (Mr.                      patients.
                                                                                                                       ‘‘(2) DETERMINATION BY SECRETARY.—
      DAYTON) was added as a cosponsor of                       (2) The current standards of the Food and              ‘‘(A) IN GENERAL.—Not later than 30 days
                                                              Drug Administration for approval of drugs,
      amendment No. 2373 intended to be pro-                                                                         after the receipt of an application for Tier I
                                                              biological products, and devices deny the              approval, the Secretary shall either—
      posed to S. 1932, an original bill to pro-              benefits of medical progress to seriously ill
      vide for reconciliation pursuant to sec-                                                                         ‘‘(i) approve the application; or
                                                              patients who face morbidity or death from                ‘‘(ii) refer the application to the Acceler-
      tion 202(a) of the concurrent resolution                their disease.                                         ated Approval Advisory Committee.
      on the budget for fiscal year 2006 (H.                    (3) Promising therapies intended to treat              ‘‘(B) RECOMMENDATION.—Within 90 days
      Con. Res. 95).                                          serious or life threatening conditions or dis-         after receipt of an application for approval,
        At the request of Mr. CARPER, his                     eases and which address unmet medical                  the Accelerated Approval Advisory Com-
      name was added as a cosponsor of                        needs have received unjustified delays and             mittee shall issue a recommendation to the
      amendment No. 2373 intended to be pro-                  denials of approval.                                   Secretary on whether the Secretary should
                                                                (4) Seriously ill patients have a right to ac-       approve the application.
      posed to S. 1932, supra.
                                                              cess available investigational drugs, biologi-           ‘‘(C) FINAL DECISION.—Within 30 days after
                      AMENDMENT NO. 2380
                                                              cal products, and devices.                             receipt of the recommendation from the Ac-
        At the request of Mr. LIEBERMAN, the                    (5) The current Food and Drug Administra-            celerated Approval Advisory Committee, the
      name of the Senator from Illinois (Mr.                  tion and National Cancer Institute case-by-            Secretary shall either approve the applica-
      OBAMA) was added as a cosponsor of                      case exception for compassionate access                tion or shall issue an order setting forth a
      amendment No. 2380 proposed to S.                       must be required to permit all seriously ill           detailed explanation of the reasons why the
      1932, an original bill to provide for rec-              patients access to available experimental              application was not approved and the spe-
      onciliation pursuant to section 202(a)                  therapies as a treatment option.                       cific data that the sponsor must provide so
                                                                (6) The current emphasis on statistical              that the application may be approved.
      of the concurrent resolution on the                     analysis of clinical information needs to be             ‘‘(3) APPEAL.—If the Secretary does not ap-
      budget for fiscal year 2006 (H. Con. Res.               balanced by a greater reliance on clinical             prove an application for which the Acceler-
      95).                                                    evaluation of this information.                        ated Approval Advisory Committee rec-
                      AMENDMENT NO. 2390                        (7) Food and Drug Administration advisory            ommended approval, the sponsor of the ap-
        At the request of Mr. SMITH, the                      committees should have greater representa-             plication shall have the right to appeal the
      name of the Senator from Wisconsin                      tion of medical clinicians who represent the           decision to the Commissioner of Food and
      (Mr. FEINGOLD) was added as a cospon-                   interests of seriously ill patients in early ac-       Drugs. The Commissioner shall provide the
                                                              cess to promising investigational therapies.           sponsor with a hearing within 30 days fol-
      sor of amendment No. 2390 proposed to
                                                                (8) The use of available investigational             lowing the nonapproval of the application
      S. 1932, an original bill to provide for                products for treatment is the responsibility           and shall issue an order within 30 days fol-
      reconciliation pursuant to section                      of the physician and the patient.                      lowing the hearing either concurring in the
      202(a) of the concurrent resolution on                    (9) The use of combinations of available in-         nonapproval or approving the application.
      the budget for fiscal year 2006 (H. Con.                vestigational and approved products for                The Commissioner shall not delegate the re-
      Res. 95).                                               treatment is the responsibility of the physi-          sponsibility described in this paragraph to
        At the request of Mr. KERRY, his                      cian and the patient.                                  any other person.
      name was added as a cosponsor of                          (10) The development and approval of                   ‘‘(4) CRITERIA.—In making a determination
      amendment No. 2390 proposed to S.                       drugs, biological products, and devices in-            under paragraph (2), the Secretary shall con-
                                                              tended to address serious or life-threatening          sider whether the totality of the information
      1932, supra.                                                                                                   available to the Secretary regarding the
                                                              conditions or diseases is often delayed by the
                      AMENDMENT NO. 2400                                                                             safety and effectiveness of an investigational
                                                              inability of sponsors to obtain prompt meet-
        At the request of Ms. CANTWELL, the                   ings with the Food and Drug Administration             drug, biological product, or device, as com-
      name of the Senator from Minnesota                      and to obtain prompt resolution of scientific          pared to the risk of morbidity or death from
      (Mr. DAYTON) was added as a cosponsor                   and regulatory issues related to the inves-            a condition or disease, indicates that a pa-
      of amendment No. 2400 proposed to S.                    tigation and review of new technologies.               tient (who may be representative of a small
      1932, an original bill to provide for rec-              SEC. 3. TIERED APPROVAL SYSTEM FOR DRUGS,              patient subpopulation) may obtain more ben-
                                                                          BIOLOGICAL PRODUCTS, AND DE-               efit than risk if treated with the drug, bio-
      onciliation pursuant to section 202(a)                              VICES.                                     logical product, or device. If the potential
      of the concurrent resolution on the                       Section 506 of the Federal Food, Drug, and           risk to a patient of the condition or disease
      budget for fiscal year 2006 (H. Con. Res.               Cosmetic Act (21 U.S.C. 356) is amended to             outweighs the potential risk of the product,
      95).                                                    read as follows:                                       and the product may possibly provide benefit
                       f                                      ‘‘SEC. 506. TIERED APPROVAL SYSTEM.                    to the patient, the Secretary shall approve
                                                                 ‘‘(a) IN GENERAL.—Notwithstanding       any         the application.
         STATEMENTS ON INTRODUCED                             other provision of law, the sponsor of an in-            ‘‘(5) PRODUCT LABELING.—The labeling ap-
        BILLS AND JOINT RESOLUTIONS                           vestigational drug, biological product, or de-         proved by the Secretary for the drug, bio-
            By Mr. BROWNBACK (for himself                     vice may submit an application to the Sec-             logical product, or device—
                                                              retary for Tier I or Tier II approval in ac-             ‘‘(A) shall state that the product is in-
              and Mr. INHOFE):                                                                                       tended for use by a patient whose physician
                                                              cordance with this section.
        S. 1956. A bill to amend the Federal                    ‘‘(b) TIER I APPROVAL.—                              has documented in writing that the patient
      Food, Drug, and Cosmetic Act to create                    ‘‘(1) IN GENERAL.—                                   has—
      a new three-tiered approval system for                    ‘‘(A) APPLICATION CONTENT.—A sponsor of                ‘‘(i) exhausted all treatment options ap-
      drugs, biological products, and devices                 an investigational drug, biological product,           proved by Secretary for the condition or dis-
      that is responsive to the needs of seri-                or device applying for Tier I approval of the          ease for which the patient is a reasonable
      ously ill patients, and for other pur-                  product shall submit to the Secretary an ap-           candidate; and
      poses; to the Committee on Health,                      plication as described under section 505(b)(1)           ‘‘(ii) unsuccessfully sought treatment, or
      Education, Labor, and Pensions.                         or 505(b)(2), section 351(a) of the Public             obtained treatment that was not effective,
                                                              Health Service Act, or section 510(k) or               with an investigational drug, biological
        Mr. BROWNBACK. Mr. President, I
                                                              515(c)(1), as applicable, which shall contain—         product, or device for which such individual
      ask unanimous consent that the text of                    ‘‘(i) data and information from completed            is a reasonable candidate (which may include
      the bill be printed in the RECORD.                      Phase I clinical investigations and any other          consideration of the lack of a source of sup-
        There being no objection, the bill was                nonclinical or clinical investigations;                ply or geographic factors); and
      ordered to be printed in the RECORD, as                   ‘‘(ii) preliminary evidence that the product           ‘‘(B) shall state that every patient to
      follows:                                                may be effective against a serious or life-            whom the product is administered shall, as a




VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00071   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.106   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 73 of 91
      S12356                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      mandatory condition of receiving the prod-              the Secretary to condition Tier II approval               ‘‘(B) APPOINTMENTS.—The Secretary shall
      uct, provide—                                           on compliance with any other standards, in-            appoint to the Committee persons who are
        ‘‘(i) written informed consent, as described          cluding any standard necessary to meet Tier            qualified by training and experience to
      under part 50 of title 21, Code of Federal Reg-         III approval.                                          evaluate the safety and effectiveness of the
      ulations;                                                 ‘‘(d) TIER III APPROVAL.—For purposes of             types of products to be referred to the Com-
        ‘‘(ii) a written waiver of the right to sue           this Act, the term ‘Tier III approval’                 mittee and who, to the extent feasible, pos-
      the manufacturer or sponsor of the drug, bio-           means—                                                 sess skill in the use of, or experience in the
      logical product, or device, or the physicians             ‘‘(1) with respect to a new drug or new bio-         development, manufacture, or utilization of,
      who prescribed the product or the institution           logical product, approval of such drug or              such products. The Secretary shall make ap-
      where it was administered, for an adverse               product under section 505(b)(1) or 505(b)(2) or        pointments to the Committee so that the
      event caused by the product, which shall be             section 351 of the Public Health Service Act,          Committee shall consist of members with
      binding in every State and Federal court;               as the case may be; and                                adequately diversified expertise and prac-
      and                                                       ‘‘(2) with respect to a new device, clearance        tical experience in such fields as clinical
        ‘‘(iii) consent for the manufacturer of the           of such device under section 510(k) or ap-             medicine, biological and physical sciences,
      product to obtain data and information                  proval of such device under section 515(c)(1).         and other related professions. Scientific, in-
      about the patient and the patient’s use of the            ‘‘(e) PROMOTIONAL MATERIALS.—Approval                dustry, and consumer organizations and
      product that may be used to support an ap-              of a product under either Tier I or II may be          members of the public shall be afforded an
      plication for Tier II or Tier III approval.             subject to the requirements that—                      opportunity to nominate individuals for ap-
        ‘‘(6) LIMITATION ON CONDITIONS.—Tier I ap-              ‘‘(1) the sponsor submit copies of all adver-        pointment to the Committee. No individual
      proval may be subject to the requirement                tising and promotional materials related to            who is in the regular full-time employ of the
      that the sponsor conduct appropriate post-              the product during the preapproval review              United States and engaged in the adminis-
      approval studies.                                       period and, following approval and for such            tration of this chapter may be a member of
        ‘‘(c) TIER II APPROVAL.—                              period thereafter as the Secretary deter-              the Committee.
        ‘‘(1) IN GENERAL.—A sponsor of an inves-              mines to be appropriate, and at least 30 days             ‘‘(4) COMPENSATION.—Committee members,
      tigational drug, biological product, or device          prior to the dissemination of the materials;           while attending meetings or conferences of
      applying for Tier II approval shall submit to             ‘‘(2) all advertising and promotional mate-          the Committee or otherwise engaged in its
      the Secretary an application as described               rials prominently disclose the limited ap-             business, shall be entitled to receive com-
      under section 505(b)(1) or 505(b)(2), section           proval for the product and data available              pensation at rates to be fixed by the Sec-
      351(a) of the Public Health Service Act, or             supporting the safety and effectiveness of             retary, but not at rates exceeding the daily
      section 510(k) or 515(c)(1), as applicable,             the product; and                                       equivalent of the rate in effect for grade GS–
      which shall contain—                                      ‘‘(3) the sponsor shall not disseminate ad-          18 of the General Schedule, for each day so
        ‘‘(A) data and information that the drug,             vertising or promotional material prior to             engaged, including traveltime, and while so
      biological product, or device has an effect on          obtaining written notification from the Sec-           serving away from their homes or regular
      a clinical endpoint or on a surrogate end-              retary that the advertising or promotional             places of business each member may be al-
      point or biomarker that is reasonably likely            material complies with this subchapter.                lowed travel expenses (including per diem in
      to predict clinical benefit to a patient (who             ‘‘(f) EXPEDITED WITHDRAWAL OF AP-
                                                                                                                     lieu of subsistence) as authorized by section
      may be representative of a small patient sub-           PROVAL.—The Secretary may withdraw Tier I
                                                                                                                     5703 of title 5, for persons in the Government
      population) suffering from a serious or life-           or Tier II approval using expedited proce-
                                                              dures (as prescribed by the Secretary in reg-          service employed intermittently.
      threatening condition or disease; and
        ‘‘(B) an assurance that the sponsor will              ulations which shall include an opportunity               ‘‘(5) ASSISTANCE.—The Secretary shall fur-
      continue clinical investigation to obtain               for a hearing) if—                                     nish the Committee with adequate clerical
      Tier III approval.                                        ‘‘(1) the sponsor fails to conduct post-ap-          and other necessary assistance.
        ‘‘(2) DETERMINATION BY SECRETARY.—                    proval studies with due diligence, consid-                ‘‘(6) ANNUAL TRAINING.—The Secretary
        ‘‘(A) IN GENERAL.—Not later than 30 days              ering all of the circumstances involved;               shall employ nongovernmental experts to
      after the receipt of an application for Tier II           ‘‘(2) a post-approval study fails to verify          provide annual training to the Committee on
      approval, the Secretary shall either—                   clinical benefit of the product for even a             the statutory and regulatory standards for
        ‘‘(i) approve the application; or                     small patient subpopulation;                           product approval.
        ‘‘(ii) refer the application to the Acceler-            ‘‘(3) other evidence demonstrates that the              ‘‘(7) TIMELINE.—The Committee shall be
      ated Approval Advisory Committee.                       product is not safe or effective under the             scheduled to meet at such times as may be
        ‘‘(B) RECOMMENDATION.—Within 90 days                  conditions of use for even a small patient             appropriate for the Secretary to meet appli-
      after receipt of an application for approval,           subpopulation; or                                      cable statutory deadlines.
      the Accelerated Approval Advisory Com-                    ‘‘(4) the sponsor disseminates false or mis-            ‘‘(8) MEETINGS.—
      mittee shall issue a recommendation to the              leading promotional materials with respect                ‘‘(A) OPPORTUNITIES FOR INTERESTED PER-
      Secretary on whether the Secretary should                                                                      SONS.—Any person whose product is specifi-
                                                              to the product and fails to correct the mate-
      approve the application.                                rial promptly after written notice from the            cally the subject of review by the Committee
        ‘‘(C) FINAL DECISION.—Within 30 days after            Secretary.                                             shall have—
      receipt of the recommendation from the Ac-                ‘‘(g) ACCELERATED APPROVAL ADVISORY                     ‘‘(i) the same access to data and informa-
      celerated Approval Advisory Committee, the              COMMITTEE.—                                            tion submitted to the Committee as the Sec-
      Secretary shall either approve the applica-               ‘‘(1) IN GENERAL.—In order to facilitate the         retary;
      tion or issue an order setting forth a detailed         development and expedite the review of                    ‘‘(ii) the opportunity to submit, for review
      explanation of the reasons why the applica-             drugs, biological products, and devices in-            by the Committee, data or information,
      tion was not approved and the specific data             tended to treat serious or life threatening            which shall be submitted to the Secretary
      that the sponsor must provide so that the ap-           conditions, the Secretary shall establish the          for prompt transmittal to the Committee;
      plication may be approved.                              Accelerated Approval Advisory Committee.               and
        ‘‘(3) APPEAL.—If the Secretary does not ap-             ‘‘(2) DELEGATION.—The Secretary may dele-               ‘‘(iii) the same opportunity as the Sec-
      prove an application for which the Acceler-             gate authority for the Accelerated Approval            retary to participate in meetings of the Com-
      ated Approval Advisory Committee rec-                   Advisory Committee to the Commissioner of              mittee.
      ommended approval, the sponsor of the ap-               Food and Drugs. The Accelerated Approval                  ‘‘(B) ADEQUATE TIME; FREE AND OPEN PAR-
      plication shall have the right to appeal the            Advisory Committee shall be staffed and ad-            TICIPATION.—Any meetings of the Committee
      decision to the Commissioner of Food and                ministered in the Office of the Commis-                shall provide adequate time for initial pres-
      Drugs. The Commissioner shall provide the               sioner.                                                entations and for response to any differing
      sponsor with a hearing within 30 days fol-                ‘‘(3) COMPOSITION.—                                  views by persons whose products are specifi-
      lowing the nonapproval of the application                 ‘‘(A) IN GENERAL.—The Committee shall be             cally the subject of the Committee review,
      and shall issue an order within 30 days fol-            composed of 11 voting members, including 1             and shall encourage free and open participa-
      lowing the hearing either concurring in the             chairperson and 5 permanent members each               tion by all interested persons.
      nonapproval or approving the application.               of whom shall serve a term of 3 years and                 ‘‘(C) SUMMARIES.—At all meetings of the
      The Commissioner shall not delegate the re-             may be reappointed for a second 3-year term,           Committee, the Secretary shall provide a
      sponsibility described in this paragraph to             and 5 nonpermanent members who shall be                summary to the Committee of all Tier I and
      any other person.                                       appointed to the Committee for a specific              Tier II applications that the Committee did
        ‘‘(4) LIMITATION ON CONDITIONS.—                      meeting, or part of a meeting, in order to             not consider that were approved by the Sec-
        ‘‘(A) POST-APPROVAL STUDIES.—Tier II ap-              provide adequate expertise in the subject              retary since the last meeting of the Com-
      proval may be subject to the requirement                being reviewed. The Committee shall include            mittee.
      that the sponsor conduct appropriate post-              as voting members no less than 2 representa-              ‘‘(h) COMMENCEMENT OF REVIEW.—If the
      approval studies to validate the surrogate              tives of patient interests, of which 1 shall be        Secretary determines, after preliminary
      endpoint or biomarker or otherwise confirm              a permanent member of the Committee. The               evaluation of the data and information sub-
      the effect on the clinical endpoint.                    Committee shall include as nonvoting mem-              mitted by the sponsor, that the product may
        ‘‘(B) RULE OF CONSTRUCTION.—Nothing in                bers a representative of interests of the drug,        be effective, the Secretary shall evaluate for
      this subsection shall be construed to permit            biological product, and device industry.               filing, and may commence review of portions




VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00072   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.109   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 74 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12357
      of, an application for Tier I or Tier II ap-               ‘‘(h)    DEVELOPMENT       OF     SURROGATE         employees who are intended to actively par-
      proval before the sponsor submits a complete            ENDPOINTS AND BIOMARKERS.—The Secretary                ticipate in the discussion shall attend a
      application. The Secretary shall commence               shall—                                                 meeting. Minutes of a meeting shall be
      such review only if the applicant provides a               ‘‘(1) establish a program to encourage the          promptly prepared and exchanged by both
      schedule for submission of information nec-             development of surrogate endpoints and bio-            parties immediately following the meeting
      essary to make the application complete.                markers that are reasonably likely to pre-             and shall accurately summarize what oc-
        ‘‘(i) INAPPLICABILITY OF PROVISIONS.—The              dict clinical benefit for serious or life-threat-      curred at the meeting
      following provisions shall not apply to Tier I          ening conditions for which there exist sig-              ‘‘(c) RULE OF CONSTRUCTION.—The provi-
      or Tier II applications and approvals:                  nificant unmet medical needs;                          sions of chapter V and section 351 of the Pub-
        ‘‘(1) Chapter VII, subchapter C, parts 2 and             ‘‘(2) request the Institute of Medicine to          lic Health Service Act shall be construed to
      3 relating to fees for drugs, biological prod-          undertake a study to identify validated sur-           incorporate the policy established in this
      ucts, and devices.                                      rogate endpoints and biomarkers, and rec-              section.’’.
        ‘‘(2) The provisions of the Drug Price Com-           ommend research to validate surrogate                  SEC. 7. MEMBERSHIP OF ONCOLOGY DRUGS AD-
      petition and Patent Term Restoration Act of             endpoints and biomarkers, that may support                        VISORY COMMITTEE.
      1984 that authorize approval of abbreviated             approvals for products intended for the                  Membership of the Oncology Drugs Advi-
      new drug applications and applications sub-             treatment of serious or life-threatening con-          sory Committee of the Food and Drug Ad-
      mitted under section 505(b)(2). Market exclu-           ditions or diseases; and                               ministration shall consist of no less than 2
      sivity and patent term restoration of Tier I               ‘‘(3) make widely available to the public a         patient representatives who are voting mem-
      and Tier II approved drugs, biological prod-            list of drugs, biological products, and devices        bers of the committee.
      ucts, and devices shall be determined solely            that are being investigated for serious or                   By Mr. KERRY (for himself, Mr.
      at the time of Tier III approval without re-            life-threatening conditions or diseases and                    OBAMA,      Mr.     LEVIN,    Ms.
      gard to prior Tier I or Tier II approval. Prior         that have not yet received Tier I or Tier II
                                                                                                                             STABENOW, Mr. KENNEDY, Mr.
      to Tier III approval, the Secretary shall not           approval for marketing.’’.
                                                                 (b)    CONFORMING     AMENDMENT.—Section                    CORZINE, and Mr. SMITH):
      approve any application submitted under
      section 505(b)(2) or section 505(j) that ref-           561(c) of the Federal Food, Drug, and Cos-               S. 1959. A bill to direct the Architect
      erences a drug approved under subsections               metic Act is amended by striking the head-             of the Capitol to obtain a statue of
      (b) or (c) of this section.’’.                          ing and inserting ‘‘EXPANDED ACCESS TO IN-             Rosa Parks and to place the statue in
      SEC. 4. ETHICS IN HUMAN TESTING.
                                                              VESTIGATIONAL DRUGS AND DEVICES FOR SERI-              the United States Capitol in National
                                                              OUSLY ILL PATIENTS’’.                                  Statuary Hall; to the Committee on
        Chapter V of the Federal Food, Drug, and
      Cosmetic Act (21 U.S.C. 351 et seq.) is amend-
                                                              SEC. 6. MODERNIZATION OF THE FOOD AND                  Rules and Administration.
                                                                        DRUG ADMINISTRATION.                           Mr. KERRY. Mr. President, our Na-
      ed by adding at the end of section 505(i) the
                                                                Subchapter E of chapter V of the Federal             tion is mourning the recent loss of an
      following:
                                                              Food, Drug, and Cosmetic Act (21 U.S.C.                icon in this country’s civil rights
        ‘‘(5) Notwithstanding any other provision
                                                              360bbb et seq.) is amended by adding at the
      of law, the Secretary shall prohibit placebo-
                                                              end the following:
                                                                                                                     movement and a true national hero,
      only or no-treatment-only concurrent con-                                                                      Ms. Rosa Parks. Today, along with
                                                              ‘‘SEC. 565. POLICIES RELATED TO STUDY EVALUA-
      trols in any clinical investigation conducted                                                                  Senators OBAMA, LEVIN, STABENOW,
                                                                            TION INFORMATION.
      under this chapter or, in the use of the last-                                                                 KENNEDY, CORZINE and SMITH, I am in-
      observation-carried-forward convention, in                 ‘‘(a) IN GENERAL.—
      any clinical investigation conducted under                 ‘‘(1) NONSTATISTICAL MEASURES.—The Sec-             troducing legislation to honor the
      this chapter or section 351 of the Public               retary shall give equal weight to clinical             memory of Rosa Parks by placing her
      Health Service Act with respect to any life-            judgment and statistical analysis in the               statue in the United States Capitol.
      threatening condition or disease where rea-             evaluation of the safety and effectiveness of          This will help future generations un-
      sonably effective approved alternative thera-           drugs, biological products, and devices, and           derstand her efforts to increase equal-
      pies exist for the specific indication.’’.              shall not disapprove a product application
                                                              solely on the basis of a statistical analysis or
                                                                                                                     ity in the United States.
      SEC. 5. EXPANDED ACCESS TO INVESTIGATIONAL
                                                              the rigid use of the 95 percent confidence               When I met Rosa Parks, I was over-
                  DRUGS AND DEVICES.                                                                                 whelmed by this graceful, small wom-
                                                              level convention. This policy shall apply—
        (a) IN GENERAL.—Chapter V of the Federal                ‘‘(A) in evaluating clinical study designs           an’s quiet strength and humility—her
      Food, Drug, and Cosmetic Act (21 U.S.C. 351             and endpoints; and                                     conviction in taking on the army of
      et seq.) is amended by adding at the end of               ‘‘(B) in making decisions with respect to            power that was deployed before her—
      section 561 the following:                              product applications.                                  her courage to dig in, knowing full well
        ‘‘(f) EXPANDED ACCESS PROGRAM.—The                      ‘‘(2) TYPES OF NONSTATISTICAL MEASURES.—             the power of the courthouse, the power
      Food and Drug Administration shall estab-               The policy established under paragraph (1),
      lish a new program to expand access to in-                                                                     of the sheriff’s badge, the power of the
                                                              for the purposes described in such para-
      vestigational treatments for individuals                graph—                                                 vigilante, the power of the establish-
      with serious or life threatening conditions               ‘‘(A) shall include but not be limited to            ment—knowing that on dark country
      and diseases. In carrying out this expanded             such nonstatistical information as—                    roads or after a knock on the door in
      access program, the Secretary shall publish               ‘‘(i) clinical evaluation information, such          the middle of the night, people still
      and broadly disseminate written guidance                as case history reports;                               disappeared and died almost anony-
      that—                                                     ‘‘(ii) scientific and clinical studies designed      mous deaths. So many were killed just
        ‘‘(1) describes such expanded access pro-             to measure or define mechanisms of action              trying to be citizens in the land of the
      grams for investigational drugs, biological             or molecular targeting;
      products, and devices intended to treat seri-                                                                  free.
                                                                ‘‘(iii) data from animal and computer mod-
      ous or life-threatening conditions or dis-              els; and
                                                                                                                       Rosa Parks reminded many and
      eases;                                                    ‘‘(iv) comparison with historical data; and          taught even more how to speak the
        ‘‘(2) encourages and facilitates submission             ‘‘(B) shall incorporate the use of—                  truth to power. In an era when these
      of Tier I and Tier II applications and approv-            ‘‘(i) evaluations of the adverse effect of de-       words are thrown around too easily,
      als; and                                                laying the availability of an investigational          she lived the words ‘courage’ and ‘pa-
        ‘‘(3) facilitates the provision of investiga-         drug to even a small subpopulation of seri-            triot’—she loved the dream of our
      tional drugs and devices to seriously ill indi-         ously ill patients; and                                country more than herself, and she was
      viduals without unreasonable delay by recog-              ‘‘(ii) scientific, observational, or clinical
      nizing that the use of available investiga-
                                                                                                                     willing to risk it all to live the dream.
                                                              studies designed and conducted to collect
      tional products for treatment is the respon-                                                                     In the struggle for civil rights, some
                                                              well-documented information.
      sibility of the physician and the patient.                ‘‘(b) MEETINGS.—A meeting to address any             were called to stand up to Bull Con-
        ‘‘(g) IMPLEMENTATION OF EXPANDED ACCESS               pending scientific, medical, regulatory, or            nor’s fire hoses and police dogs—some
      PROGRAMS.—                                              other issue relating to the development, in-           to stand up to Klan terrorism—and
        ‘‘(1) TRAINING OF PERSONNEL.—Not later                vestigation, review, or other aspect of a              some to stand up to state sponsored
      than 90 days after the date of enactment of             drug, biological product, or device shall ordi-        acts of violence. But some were called
      this subsection, the Secretary shall imple-             narily be held within 15 days of the receipt of        simply to sit down—at lunch counters
      ment training programs at the Food and                  a written request for the meeting by the               in Greensboro and Nashville and At-
      Drug Administration with respect to the ex-             sponsor of the product, which may be ex-
                                                                                                                     lanta—or on a bus in Montgomery.
      panded access programs established under                tended to 30 days for good cause. Such meet-
                                                                                                                       Ms. Parks’ dedication to civil rights
      this section.                                           ings shall ordinarily be conducted in person,
        ‘‘(2) POLICIES, REGULATIONS, AND GUID-                but may be conducted by telephone or other             has had an impact on the lives of all
      ANCE.—The Secretary shall establish poli-               form of communication if both parties agree.           Americans. Her act of courage on De-
      cies, regulations, and guidance designed to             In order to reduce the burden of meetings,             cember 1, 1955 inspired a movement
      most directly benefit seriously ill patients.           only those Food and Drug Administration                that eventually brought about laws to



VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00073   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.109   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 75 of 91
      S12358                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      end segregation, ensure voting rights,                  Architect shall place the statue obtained              zens to sacrifice two meals on that day
      end discrimination in housing, and cre-                 under subsection (a) in the United States              and donate the money they would have
      ate a greater equality throughout this                  Capitol in a suitable permanent location in            spent on food to a religious or chari-
                                                              National Statuary Hall.
      Nation. Thanks to Rosa Parks, a path                                                                           table organization of their choice for
                                                              SEC. 2. AUTHORIZATION OF APPROPRIATIONS.
      was forged for future generations to en-                                                                       the purpose of feeding the hungry.
                                                                There are authorized to be appropriated
      courage freedom and social justice. Her                                                                                          f
                                                              such sums as may be necessary to carry out
      legacy of courage and commitment                        this Act, and any amounts so appropriated
      plays an important role each time our                                                                          SENATE RESOLUTION 299—TO EX-
                                                              shall remain available until expended.                  PRESS    SUPPORT       FOR    THE
      Nation acts for equality and justice,
                                                                             f                                        GOALS OF NATIONAL ADOPTION
      and most of all, in the hope for a better
      America.                                                       SUBMITTED RESOLUTIONS                            MONTH    BY    PROMOTING      NA-
        If just one woman was able to do all                                                                          TIONAL AWARENESS OF ADOP-
      this, then how much greater the re-                                                                             TION, CELEBRATING CHILDREN
      sponsibility is for those of us with                    SENATE RESOLUTION 298—DESIG-                            AND FAMILIES INVOLVED IN
      privilege and power who pay tribute to                    NATING THURSDAY, NOVEMBER                             ADOPTION, AND ENCOURAGING
      her today. The life of Rosa Parks de-                     17, 2005, AS ‘‘FEED AMERICA                           AMERICANS TO SECURE SAFETY,
      mands deeds, not epitaphs. Our final                      THURSDAY’’                                            PERMANENCY, AND WELL-BEING
      words cannot be spoken or written                         Mr. HATCH (for himself and Mr. BEN-                   FOR ALL CHILDREN
      while her cause is still unfinished. No                 NETT) submitted the following resolu-                      Ms. LANDRIEU (for herself, Mr.
      simple words can match what she did                     tion; which was referred to the Com-                        DEMINT, Mrs. CLINTON, Mr.
      in that sacred moment on a municipal                    mittee on the Judiciary:                                    NELSON    of   Nebraska,   Mr.
      bus in Montgomery, Alabama. What                                           S. RES. 298                              BROWNBACK, Mr. CRAIG, Mr.
      matters now is what we do after the                       Whereas Thanksgiving Day celebrates the                   KERRY, Mr. COLEMAN, and Mr.
      candles are quenched, the speeches                      spirit of selfless giving and an appreciation               SALAZAR) submitted the fol-
      have been exhausted, and the next bus                   for family and friends;                                     lowing resolution; which was
      comes by.                                                 Whereas the spirit of Thanksgiving Day is                 considered and agreed to:
        I am grateful for the opportunity to                  a virtue upon which our Nation was founded;                              S. RES. 299
      join my colleagues in this body, as well                  Whereas 33,000,000 Americans, including
                                                              13,000,000 children, continue to live in house-          Whereas there are approximately 532,000
      as those in the House of Representa-
                                                              holds that do not have an adequate supply of           children in the foster care system in the
      tives, to honor the legacy of this grace-                                                                      United States, approximately 129,000 of
      ful, humble, and courageous woman                       food;
                                                                Whereas almost 3,000,000 of those children           whom are waiting to be adopted;
      who embodies the American spirit. If                    experience hunger; and                                   Whereas the average length of time a child
      this legislation is adopted, when our                     Whereas selfless sacrifice breeds a genuine          in foster care remains in foster care is al-
      children and our grandchildren visit                    spirit of Thanksgiving, both affirming and             most 3 years;
      the United States Capitol, they will                    restoring fundamental principles in our soci-            Whereas for many foster children, the wait
      have the opportunity to learn more                      ety: Now, therefore, be it                             for a loving family in which they are nur-
                                                                Resolved, That the Senate—                           tured, comforted, and protected is endless;
      about the women who risked so much
                                                                (1) designates Thursday, November 17, 2005,            Whereas every year 25,000 children ‘‘age
      for their freedom. Ms. Parks belongs                                                                           out’’ of foster care by reaching adulthood
      among the other great leaders that                      as ‘‘Feed America Thursday’’; and
                                                                (2) requests that the President issue a              without being placed in a permanent home;
      have shaped this country and made the                   proclamation calling on the people of the                Whereas, since 1987, the number of annual
      world a better place.                                   United States to sacrifice 2 meals on Thurs-           adoptions has ranged from 118,000 to 127,000;
        Sometimes the days seem heavy and                     day, November 17, 2005, and to donate the                Whereas approximately 2,100,000 children
      the odds seem high, but that moment                     money that they would have spent on food to            in the United States live with adoptive par-
      on a bus in Montgomery always comes.                    a religious or charitable organization of              ents;
      Someone gets on that bus, refuses to                    their choice for the purpose of feeding the              Whereas approximately 6 of every 10 Amer-
                                                              hungry.                                                icans have been touched personally by adop-
      equivocate or yield and changes his-
                                                                                                                     tion in that they, a family member, or a
      tory. Today, that someone must be us,                     Mr. HATCH. Mr. President, I rise                     close friend was adopted, has adopted a child,
      for Rosa Parks and for our country.                     today to offer S. Res. 298, designating                or has placed a child for adoption;
        The bus still comes by again and                      Thursday, November 17, 2005, as Feed                     Whereas every day loving and nurturing
      again and each time we have to decide                   America Thursday. I appreciate my                      families are formed when committed and
      whether to go quietly to the back, or                   friend, Senator ROBERT BENNETT, join-                  dedicated individuals make an important dif-
      by simple acts of courage and convic-                   ing with me in this resolution.                        ference in the life of a child through adop-
      tion, change the direction of our own                                                                          tion; and
                                                                On Thanksgiving Day, we remember
      country’s journey. A statue of Rosa                                                                              Whereas on November 4, 2004, the President
                                                              with deep gratitude the many bounties                  proclaimed November 2004 as National Adop-
      Parks in the Capitol can help future                    of life, including an appreciation for                 tion Month: Now, therefore, be it
      Senators and Congressmen find the                       families and friends and the great                       Resolved, That the Senate recognizes No-
      courage necessary to make sure our                      country in which we live. Part of what                 vember 2005 as National Adoption Month.
      Nation takes the right course in the fu-                makes this country great is the spirit                                   f
      ture.                                                   of selfless giving and generosity of its
        I ask unanimous consent that the                      citizens. The great outpouring of sup-                 SENATE     RESOLUTION       300—REL-
      text of the bill be printed in the                      port and assistance for the victims of                   ATIVE TO THE DEATH OF HENRY
      RECORD.                                                 Hurricane Katrina is a most recent ex-                   KU‘UALOHA      GIUGNI,     FORMER
        There being no objection, the bill was                ample.                                                   SERGEANT-AT-ARMS         OF    THE
      ordered to be printed in the RECORD, as                   In this season of Thanksgiving, it is                  UNITED STATES SENATE
      follows:                                                important to also remember that over                     Mr. INOUYE (for himself, Mr. AKAKA,
                           S. 1959                            33 million Americans, including 13 mil-                Mr. BYRD, Mr. FRIST, Mr. REID, Mr. AL-
        Be it enacted by the Senate and House of Rep-         lion children, continue to live in house-              EXANDER, Mr. ALLARD, Mr. ALLEN, Mr.
      resentatives of the United States of America in
                                                              holds that do not have an adequate                     BAUCUS, Mr. BAYH, Mr. BENNETT, Mr.
      Congress assembled,
      SECTION 1. PLACEMENT OF STATUE OF ROSA
                                                              supply of food. These fellow citizens in               BIDEN, Mr. BINGAMAN, Mr. BOND, Mrs.
                 PARKS IN NATIONAL STATUARY                   need of food must not be forgotten.                    BOXER, Mr. BROWNBACK, Mr. BUNNING,
                 HALL.                                          On behalf of the Utah congressional                  Mr. BURNS, Mr. BURR, Ms. CANTWELL,
        (a) OBTAINING STATUE.—The Architect of                delegation, Congressman CHRIS CANNON                   Mr.    CARPER,   Mr.   CHAFEE,     Mr.
      the Capitol shall enter into an agreement to            has submitted a companion resolution                   CHAMBLISS, Mrs. CLINTON, Mr. COBURN,
      obtain a statue of Rosa Parks, under such               in the House of Representatives. We                    Mr. COCHRAN, Mr. COLEMAN, Ms. COL-
      terms and conditions as the Architect con-
      siders appropriate and consistent with appli-
                                                              urge our distinguished colleagues to                   LINS, Mr. CONRAD, Mr. CORNYN, Mr.
      cable law.                                              join us in designating Thursday, No-                   CORZINE, Mr. CRAIG, Mr. CRAPO, Mr.
        (b) PLACEMENT.—Not later than 2 years                 vember 17, 2005, as Feed America                       DAYTON, Mr. DEMINT, Mr. DEWINE, Mr.
      after the date of enactment of this Act, the            Thursday, to encourage our fellow citi-                DODD, Mrs. DOLE, Mr. DOMENICI, Mr.



VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00074   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.088   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 76 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12359
      DORGAN, Mr. DURBIN, Mr. ENSIGN, Mr.                          AMENDMENTS SUBMITTED &                            Mr. ISAKSON, Mr. NELSON of Nebraska, Mr.
      ENZI, Mr. FEINGOLD, Mrs. FEINSTEIN,                                PROPOSED                                    THUNE, Mr. KERRY, and Mr. CHAMBLISS)) pro-
      Mr. GRAHAM, Mr. GRASSLEY, Mr.                                                                                  posed an amendment to the bill S. 1932,
                                                                SA 2402. Ms. SNOWE (for herself, Ms. COL-            supra.
      GREGG, Mr. HAGEL, Mr. HARKIN, Mr.                       LINS, Mr. ROCKEFELLER, and Mr. DURBIN) sub-              SA 2419. Mr. SANTORUM (for himself, Mr.
      HATCH, Mrs. HUTCHISON, Mr. INHOFE,                      mitted an amendment intended to be pro-                BUNNING, Mr. THOMAS, Mr. VOINOVICH, Mr.
      Mr. ISAKSON, Mr. JEFFORDS, Mr. JOHN-                    posed by her to the bill S. 1932, to provide for       LIEBERMAN, Mr. DODD, Mr. ROCKEFELLER, Ms.
      SON, Mr. KENNEDY, Mr. KERRY, Mr.                        reconciliation pursuant to section 202(a) of           LANDRIEU, and Mr. CONRAD) proposed an
      KOHL, Mr. KYL, Ms. LANDRIEU, Mr. LAU-                   the concurrent resolution on the budget for            amendment to the bill S. 1932, supra.
                                                              fiscal year 2006 (H. Con. Res. 95); which was            SA 2420. Mr. GREGG (for Mr. SUNUNU) pro-
      TENBERG, Mr. LEAHY, Mr. LEVIN, Mr.
                                                              ordered to lie on the table.                           posed an amendment to the bill S. 1932,
      LIEBERMAN, Mrs. LINCOLN, Mr. LOTT,                        SA 2403. Mr. COBURN submitted an                     supra.
      Mr. LUGAR, Mr. MARTINEZ, Mr. MCCAIN,                    amendment intended to be proposed by him                 SA 2421. Mr. BURNS (for himself and Mr.
      Mr. MCCONNELL, Ms. MIKULSKI, Ms.                        to the bill S. 1932, supra; which was ordered          BROWNBACK) submitted an amendment in-
      MURKOWSKI, Mrs. MURRAY, Mr. NELSON                      to lie on the table.                                   tended to be proposed by him to the bill S.
      OF FLORIDA, Mr. NELSON OF NEBRASKA,                       SA 2404. Mr. ENSIGN (for himself, Mr.                1932, supra; which was ordered to lie on the
      Mr. OBAMA, Mr. PRYOR, Mr. REED, Mr.                     SANTORUM, and Mr. KYL) proposed an amend-              table.
                                                              ment to amendment SA 2352 proposed by Mr.                SA 2422. Mr. CONRAD (for himself and Mr.
      ROBERTS,    Mr.   ROCKEFELLER,     Mr.                  ENZI (for himself, Mr. KENNEDY, Mr. ALEX-
      SALAZAR, Mr. SANTORUM, Mr. SAR-                                                                                SALAZAR) proposed an amendment to the bill
                                                              ANDER, Mr. DODD, Ms. LANDRIEU, Mr. COCH-               S. 1932, supra.
      BANES, Mr. SCHUMER, Mr. SESSIONS, Mr.                   RAN, Mr. LOTT, and Mrs. HUTCHISON) to the
      SHELBY, Mr. SMITH, Ms. SNOWE, Mr.                       bill S. 1932, supra.                                                   f
      SPECTER, Ms. STABENOW, Mr. STEVENS,                       SA 2405. Mrs. CLINTON (for herself, Ms.                     TEXT OF AMENDMENTS
      Mr. SUNUNU, Mr. TALENT, Mr. THOMAS,                     MIKULSKI, Mr. HARKIN, Mr. LAUTENBERG, Mr.
                                                              JEFFORDS, Mr. REED, Mr. SALAZAR, Mr.                     SA 2402. Ms. SNOWE (for herself, Ms.
      Mr. THUNE, Mr. VITTER, Mr. VOINOVICH,                                                                          COLLINS, Mr. ROCKEFELLER, and Mr.
                                                              OBAMA, Mrs. BOXER, Ms. STABENOW, Mr.
      Mr. WARNER, and Mr. WYDEN) sub-                                                                                DURBIN) submitted an amendment in-
                                                              CORZINE, Mr. SCHUMER, Mr. DURBIN, Mrs.
      mitted the following resolution; which                  FEINSTEIN, Mr. FEINGOLD, Mr. CARPER, Mr.               tended to be proposed by her to the bill
      was considered and agreed to:                           JOHNSON, and Mr. LEAHY) submitted an                   S. 1932, to provide for reconciliation
                          S. RES. 300                         amendment intended to be proposed by her               pursuant to section 202(a) of the con-
                                                              to the bill S. 1932, supra; which was ordered
        Whereas Henry Ku‘ualoha Giugni was born                                                                      current resolution on the budget for
                                                              to lie on the table.
      on January 11, 1925, in Honolulu, Hawai‘i;                                                                     fiscal year 2006 (H. Con. Res. 95); which
                                                                SA 2406. Mr. DURBIN (for himself, Mr.
        Whereas Henry Giugni served with distinc-             DORGAN, Mr. LAUTENBERG, and Mr. JOHNSON)               was ordered to lie on the table; as fol-
      tion in the United States Army, after enlist-           submitted an amendment intended to be pro-             lows:
      ing at the age of 16 after the attacks on               posed by him to the bill S. 1932, supra; which           On page 368, between lines 5 and 6, insert
      Pearl Harbor, and served in combat at the               was ordered to lie on the table.                       the following:
      Battle of Guadalcanal during World War II;                SA 2407. Mr. LEVIN submitted an amend-               SEC. 6116. CLARIFICATION OF CONGRESSIONAL
        Whereas Henry Giugni began his service in             ment intended to be proposed by him to the                         INTENT REGARDING THE COUNTING
      the Senate in 1963 as Senior Executive As-              bill S. 1932, supra; which was ordered to lie                      OF RESIDENTS IN A NONHOSPITAL
      sistant and Chief of Staff to Senator Daniel            on the table.                                                      SETTING.
      K. Inouye;                                                SA 2408. Mr. CORNYN submitted an                       (a)    D–GME.—Section       1886(h)(4)(E)   (42
        Whereas Henry Giugni served as Sergeant-              amendment intended to be proposed by him               U.S.C. 1395ww(h)(4)(E)) is amended by adding
      at-Arms from 1987 until 1990;                           to the bill S. 1932, supra.                            at the end the following new sentences: ‘‘For
        Whereas Henry Giugni was the first person               SA 2409. Mr. REED (for himself, Mr. BAU-             purposes of the preceding sentence, the term
      of color and first Polynesian to be appointed           CUS, Mrs. MURRAY, Mr. KENNEDY, Mr. BINGA-              ‘all, or substantially all, of the costs for the
      to be the Sergeant-at-Arms;                             MAN, Mr. CORZINE, Mrs. CLINTON, and Mr.                training program’ means the stipends and
        Whereas Henry Giugni promoted minori-                 OBAMA) submitted an amendment intended                 benefits provided to the resident and other
      ties and women by appointing the first mi-              to be proposed by him to the bill S. 1932,             amounts, if any, as determined by the hos-
      nority, an African American, to lead the Ser-           supra.                                                 pital and the entity operating the nonhos-
                                                                SA 2410. Mr. BAUCUS (for himself, Mr.                pital setting. The hospital is not required to
      geant-at-Arms’ Service Department, and was
                                                              OBAMA, Ms. MIKULSKI, Mrs. MURRAY, Ms.                  pay the entity any amounts other than those
      the first to assign women to the Capitol Po-
                                                              STABENOW, Mr. FEINGOLD, Mr. REED, and Mr.              determined by the hospital and the entity in
      lice plainclothes unit;
                                                              SCHUMER) submitted an amendment intended               order for the hospital to be considered to
        Whereas Henry Giugni’s special interest in            to be proposed by him to the bill S. 1932,
      people with disabilities resulted in a major                                                                   have incurred all, or substantially all, of the
                                                              supra; which was ordered to lie on the table.          costs for the training program in that set-
      expansion of the Special Services Office,                 SA 2411. Mrs. FEINSTEIN (for herself, Mrs.
      which now conducts tours of the U.S. Capitol                                                                   ting.’’.
                                                              HUTCHISON, Mrs. BOXER, Mrs. MURRAY, Mr.                  (b)    IME.—Section     1886(d)(5)(B)(iv)   (42
      for the blind, deaf, and wheelchair-bound,              LAUTENBERG, Mr. SCHUMER, Mr. CORZINE, Ms.
      and publishes Senate maps and documents in                                                                     U.S.C. 1395ww(d)(5)(B)(iv)) is amended by
                                                              CANTWELL, and Ms. MIKULSKI) proposed an                adding at the end the following new sen-
      Braille;                                                amendment to the bill S. 1932, supra.
        Whereas in 2003, Henry Giugni received an                                                                    tences: ‘‘For purposes of the preceding sen-
                                                                SA 2412. Mr. VITTER (for Mr. STEVENS (for
      Honorary Doctorate of Humane Letters from                                                                      tence, the term ‘all, or substantially all, of
                                                              himself, Mr. VITTER, Ms. LANDRIEU, Mr.
      the University of Hawaii at Hilo in recogni-                                                                   the costs for the training program’ means
                                                              DOMENICI, Mr. CRAIG, Mr. LOTT, Mr. INOUYE,
      tion of his extraordinary contributions to                                                                     the stipends and benefits provided to the
                                                              and Mr. BINGAMAN)) proposed an amendment
      Hawaii and the nation;                                                                                         resident and other amounts, if any, as deter-
                                                              to the bill S. 1932, supra.
                                                                                                                     mined by the hospital and the entity oper-
        Whereas Henry Giugni carried Hawai’i’s                  SA 2413. Mr. WARNER (for himself, Mr.
                                                                                                                     ating the nonhospital setting. The hospital
      flag while marching with Dr. Martin Luther              LIEBERMAN, Mr. ROBERTS, Mr. DURBIN, Mr.
                                                                                                                     is not required to pay the entity any
      King for civil rights in Selma, Alabama;                ALLEN, and Mr. OBAMA) proposed an amend-
                                                                                                                     amounts other than those determined by the
        Whereas Henry Giugni presided over the                ment to the bill S. 1932, supra.
                                                                SA 2414. Mr. BYRD (for himself and Mr.               hospital and the entity in order for the hos-
      inauguration of President George H.W. Bush,                                                                    pital to be considered to have incurred all, or
      and escorted numerous foreign dignitaries,              HARKIN) proposed an amendment to the bill
                                                              S. 1932, supra.                                        substantially all, of the costs for the train-
      including Nelson Mandela, Margaret Thatch-                                                                     ing program in that setting.’’.
      er, and Vaclav Havel when they visited the                SA 2415. Mr. DURBIN (for himself, Mr.
                                                              DORGAN, Mr. LAUTENBERG, Mr. JOHNSON, and                 (c) EFFECTIVE DATE.—The amendments
      United States Capitol; and                                                                                     made by this section shall take effect on
                                                              Mr. LIEBERMAN) submitted an amendment
        Whereas on November 3, 2005, Henry Giugni                                                                    January 1, 2005.
                                                              intended to be proposed by him to the bill S.
      passed away at the age of 80; Now therefore
                                                              1932, supra; which was ordered to lie on the
      be it                                                                                                            SA 2403. Mr. COBURN submitted an
                                                              table.
        Resolved, That the Senate has heard with                SA 2416. Mr. SUNUNU (for himself and Mr.             amendment intended to be proposed by
      profound sorrow and deep regret the an-                 SANTORUM) submitted an amendment in-                   him to the bill S. 1932, to provide for
      nouncement of the death of Henry Giugni.                tended to be proposed by him to the bill S.            reconciliation pursuant to section
        Resolved, That the Secretary of the Senate            1932, supra; which was ordered to lie on the
      communicate these resolutions to the House
                                                                                                                     202(a) of the concurrent resolution on
                                                              table.                                                 the budget for fiscal year 2006 (H. Con.
      of Representatives and transmit an enrolled               SA 2417. Mr. GREGG (for Mr. LEVIN) pro-
      copy thereof to the family of the deceased.             posed an amendment to the bill S. 1932,                Res. 95); which was ordered to lie on
        Resolved, That when the Senate adjourns               supra.                                                 the table; as follows:
      today, it stand adjourned as a further mark               SA 2418. Mr. GREGG (for Mr. SUNUNU (for                On page 130, after line 25, insert the fol-
      of respect to the memory of Henry Giugni.               himself, Mr. DURBIN, Mr. CRAIG, Mr. PRYOR,             lowing:




VerDate Aug 31 2005   04:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00075   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.117   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 77 of 91
      S12360                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      SEC. 6005. IMPROVED REGULATION OF DRUGS                   (3) 372,000 students were displaced by Hur-          schools in restoring operations disrupted by
                  SOLD UNDER A NEW DRUG APPLICA-              ricane Katrina. Approximately 700 schools              Hurricane Katrina.
                  TION APPROVED UNDER SECTION                                                                          (b) GRANTS AUTHORIZED.—From amounts
                                                              have been damaged or destroyed. Nine States
                  505C OF THE FEDERAL FOOD, DRUG,
                                                              each have more than 1,000 of such displaced            appropriated to carry out this section, the
                  AND COSMETIC ACT.
                                                              students enrolled in their schools. In Texas           Secretary of Education is authorized to
        Section 1927 (42 U.S.C. 1396r–8) is amend-
                                                              alone, over 45,000 displaced students have en-         make competitive grants—
      ed—
                                                              rolled in schools.                                       (1) to institutions of higher education (as
        (1) in subsection (c)(1)(C), by adding at the
                                                                (4) In response to these extraordinary con-          defined in section 101 of the Higher Edu-
      end the following:
                                                              ditions, this subtitle creates a one-time only         cation Act of 1965 (20 U.S.C. 1001)), in Lou-
        ‘‘(iv) Notwithstanding any other provision
                                                              emergency grant for the 2005–2006 school               isiana, Mississippi, and Alabama, that serve
      of this section, in the case of a manufacturer
                                                              year tailored to the needs and particular cir-         an area in which a major disaster has been
      that approves, allows, or otherwise permits
                                                              cumstances of students displaced by Hurri-             declared in accordance with section 401 of
      any other drug of the manufacturer to be
                                                              cane Katrina.                                          the Robert T. Stafford Disaster Relief and
      sold under a new drug application approved
                                                              SEC. 7953. WAIVERS AND OTHER ACTIONS.                  Emergency Assistance Act (42 U.S.C. 5170),
      under section 505(c) of the Federal Food,
                                                                (a) IN GENERAL.—If the Secretary of Edu-             related to Hurricane Katrina; and
      Drug, and Cosmetic Act that has, as of Janu-
                                                              cation determines that it is necessary, in               (2) to State educational agencies (as de-
      ary 1, 2006, been marketed for at least 6
                                                              order to provide assistance as efficiently and         fined in section 9101 of the Elementary and
      months and where the product of the average
                                                              expeditiously as possible to students, local           Secondary Education Act of 1965 (20 U.S.C.
      manufacturer price of the manufacturer’s
                                                              educational agencies, institutions of higher           7801 et seq.)) in Louisiana, Mississippi, and
      authorized drugs and the total units of such
                                                              education, States, or other individuals or en-         Alabama to enable those agencies to award
      authorized drugs, if any, during the second
                                                              tities affected directly or indirectly by Hur-         subgrants, pursuant to subsection (d), to
      quarter of 2005 for which a rebate was paid
                                                              ricane Katrina, the Secretary may waive or             local educational agencies serving an area in
      under any State plan approved under this
                                                              modify, on a case-by-case basis, any require-          which a major disaster has been declared in
      title (and which was reported as required
                                                              ment of Federal law or regulation that the             accordance with section 401 of the Robert T.
      under subsection (b)(2)(A)), does not exceed
                                                              Secretary administers or enforces (other               Stafford Disaster Relief and Emergency As-
      $10,000,000, the term ‘best price’ shall not in-
                                                              than a law or regulation of Government-wide            sistance Act (42 U.S.C. 5170), related to Hur-
      clude any price for such authorized drug
      available for the innovator multiple source             applicability or regarding civil rights or             ricane Katrina.
                                                              safety). The waivers or modifications that               (c) AMOUNT OF GRANTS.—In determining
      drug of such manufacturer.’’; and
                                                              the Secretary of Education may issue in-               the amount of a grant under this section, the
        (2) in subsection (k)(1)(C), as amended by                                                                   Secretary of Education shall take into con-
      section 6003(b)(2)(A), by adding at the end the         clude extending program reporting deadlines
                                                              or allowing States, local educational agen-            sideration—
      following:                                                                                                       (1) the number of schools and institutions
        ‘‘(G) Notwithstanding subparagraph (C) or             cies, and institutions of higher education to
                                                              use funds more broadly to help displaced stu-          of higher education in the State affected by
      any other provision of this section, in the
                                                              dents.                                                 Hurricane Katrina;
      case of a manufacturer that approves, al-
                                                                (b) EFFECTIVE PERIOD.—No waiver or modi-               (2) the number of students in the State af-
      lows, or otherwise permits any other drug of
                                                              fication issued pursuant to subsection (a)             fected by Hurricane Katrina;
      the manufacturer to be sold under a new
                                                              shall be in effect after September 30, 2006.             (3) the severity of the damage inflicted
      drug application approved under section                   (c) REPORT ON WAIVERS.—                              upon the affected schools and affected insti-
      505(c) of the Federal Food, Drug, and Cos-                (1) INITIAL REPORT.—Not later than 1                 tutions; and
      metic Act that has, as of January 1, 2006,              month after the date of enactment of this                (4) the estimated length of time to restore
      been marketed for at least 6 months and                 Act, the Secretary of Education shall pre-             operations at the affected schools and af-
      where the product of the average manufac-               pare and submit a report on the States and             fected institutions.
      turer price of the manufacturer’s authorized            local educational agencies requesting a waiv-            (d) SUBGRANTS.—
      drugs and the total units of such authorized            er of any provision under the Elementary                 (1) APPLICATIONS.—Each local educational
      drugs, if any, during the second quarter of             and Secondary Education Act of 1965 (20                agency desiring a subgrant under this sec-
      2005 for which a rebate was paid under any              U.S.C. 6301 et seq.) and the Individuals with          tion shall submit an application to the State
      State plan approved under this title (and               Disabilities Education Act (20 U.S.C. 1400 et          educational agency at such time, in such
      which was reported as required under sub-               seq.) due to the impact of Hurricane Katrina           manner, and accompanied by such informa-
      section (b)(2)(A)), does not exceed $10,000,000,        to the Committee on Education and the                  tion as the State educational agency may
      the term ‘average manufacturer price’ shall             Workforce and the Committee on Appropria-              reasonably require to ensure expedited and
      not include any price paid for such author-             tions of the House of Representatives and              timely payment to the local educational
      ized drug by wholesalers for drugs distrib-             the Committee on Health, Education, Labor,             agency.
      uted to the retail pharmacy class of trade for          and Pensions and the Committee on Appro-                 (2) ELIGIBILITY AND CONSIDERATION.—In de-
      the innovator multiple source drugs of such             priations of the Senate.                               termining whether to award a subgrant
      manufacturer.’’.                                          (2) FOLLOW-UP REPORT.—Not later than 3               under this section, or the amount of the
        SA 2404. Mr. ENSIGN (for himself,                     months after September 30, 2006, the Sec-              subgrant, the State educational agency shall
                                                              retary of Education shall prepare and submit           consider the following:
      Mr. SANTORUM, and Mr. KYL) proposed                     a report describing the waivers that were                (A) The number of school-aged children
      an amendment to amendment SA 2352                       granted under this subtitle, and the impact            served by the local educational agency in the
      proposed by Mr. ENZI (for himself, Mr.                  of such waivers, to the Committee on Edu-              academic year preceding the academic year
      KENNEDY, Mr. ALEXANDER, Mr. DODD,                       cation and the Workforce and the Committee             for which the grant is awarded.
      Ms. LANDRIEU, Mr. COCHRAN, Mr. LOTT,                    on Appropriations of the House of Represent-             (B) The severity of the impact of Hurricane
      and Mrs. HUTCHISON) to the bill S. 1932,                atives and the Committee on Health, Edu-               Katrina on the local educational agency and
      to provide for reconciliation pursuant                  cation, Labor, and Pensions and the Com-               the extent of the needs in each local edu-
      to section 202(a) of the concurrent reso-               mittee on Appropriations of the Senate.                cational agency in the State that is in an
      lution on the budget for fiscal year 2006               SEC. 7954. IMMEDIATE AID TO RESTART SCHOOL             area in which a major disaster has been de-
                                                                           OPERATIONS.                               clared in accordance with section 401 of the
      (H. Con. Res. 95); as follows:                            (a) PURPOSE.—It is the purpose of this sec-          Robert T. Stafford Disaster Relief and Emer-
       Strike all after the first word of the                 tion—                                                  gency Assistance Act (42 U.S.C. 5170), related
      amendment and insert the following:                       (1) to provide immediate and direct assist-          to Hurricane Katrina.
        D—Hurricane Katrina Education Relief                  ance to institutions of higher education and             (e) USES OF FUNDS.—
      SEC. 7951. SHORT TITLE.                                 local educational agencies in Louisiana, Mis-            (1) IN GENERAL.—An institution of higher
        This subtitle may be cited as the ‘‘Hurri-            sissippi, and Alabama that serve an area in            education receiving a grant, or a local edu-
      cane Katrina Education Relief Act’’.                    which a major disaster has been declared in            cational agency receiving a subgrant, under
      SEC. 7952. FINDINGS.                                    accordance with section 401 of the Robert T.           this section shall use the subgrant funds
        Congress finds the following:                         Stafford Disaster Relief and Emergency As-             for—
        (1) Hurricane Katrina has had a dev-                  sistance Act (42 U.S.C. 5170), related to Hur-           (A) recovery of student and personnel data,
      astating and unprecedented impact on stu-               ricane Katrina;                                        and other electronic information;
      dents who attended schools in the disaster                (2) to assist administrators and personnel             (B) replacement of information systems,
      areas.                                                  of such institutions and agencies who are              including hardware and software;
        (2) Due to the devastating effects of Hurri-          working to restart operations;                           (C) financial operations;
      cane Katrina, a significant number of stu-                (3) to facilitate the reopening of, and the            (D) reasonable transportation costs for stu-
      dents have enrolled in schools outside of the           re-enrollment of students in, institutions of          dents;
      area in which they resided on August 22, 2005,          higher education and elementary schools and              (E) rental of mobile educational units and
      including a significant number of students              secondary schools served by local edu-                 leasing of neutral sites or spaces;
      who enrolled in nonpublic schools because               cational agencies; and                                   (F) initial replacement of instructional
      their parents chose to enroll them in such                (4) to assist institutions of higher edu-            materials and equipment, including text-
      schools.                                                cation, elementary schools, and secondary              books;




VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00076   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.119   S03NOPT1
                       Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 78 of 91
      November 3, 2005                  CONGRESSIONAL RECORD — SENATE                       S12361
        (G) redeveloping instructional plans, in-              SEC. 7956. TEACHER AND PARAPROFESSIONAL                (42 U.S.C. 11432(c), (d)(2), and (e)(1), 11433(b)
      cluding curriculum development;                                      RECIPROCITY; DELAY.                        and (c)) shall not apply.
        (H) initiating and maintaining education                 (a) TEACHER AND PARAPROFESSIONAL RECI-                 (2) DISBURSEMENT.—The Secretary of Edu-
      and support services; or                                 PROCITY.—                                              cation shall disburse funds under subsection
        (I) such other activities related to the pur-            (1) TEACHERS.—                                       (a) to State educational agencies based on
      pose of this section that are approved by the              (A) AFFECTED TEACHER.—In this sub-                   demonstrated need, as determined by the
      Secretary of Education.                                  section, the term ‘‘affected teacher’’ means a         Secretary, and those State educational agen-
        (2) USE WITH OTHER AVAILABLE FUNDS.—An                 teacher who is displaced due to Hurricane              cies shall distribute funds available under
      institution of higher education receiving a              Katrina and relocates to a State that is dif-          subsection (c) to local educational agencies
      grant, or a local educational agency receiv-             ferent from the State in which such teacher            based on demonstrated need, for the purposes
      ing a subgrant, under this section may use               resided on August 22, 2005.                            of carrying out section 723 of the McKinney-
      such funds in coordination with other Fed-                 (B) IN GENERAL.—A local educational agen-            Vento Homeless Assistance Act (42 U.S.C.
      eral, State, or local funds available for the            cy may consider an affected teacher hired by           11433).
      activities described in paragraph (1).                   that agency who is not highly qualified in               (3) AUTHORIZATION OF APPROPRIATIONS.—
        (3) PROHIBITIONS.—Grant funds or subgrant              the State in which the agency is located to            There is authorized to be appropriated, and
      funds received under this section shall not be           be highly qualified, for purposes of section           there is appropriated, out of any money in
      used for either of the following:                        1119 of the Elementary and Secondary Edu-              the Treasury not otherwise appropriated, to
        (A) Construction or major renovation of                cation Act of 1965 (20 U.S.C. 6319) and section        carry out this section $10,000,000.
      schools or institutions of higher education.             612(a)(14) of the Individuals with Disabilities
                                                                                                                      SEC. 7958. GENERAL PROVISION.
        (B) Payments to administrators, faculty,               Education Act (20 U.S.C. 1412(a)(14)), through
      or teachers who are not actively engaged                 the last day of the 2005–2006 school year if             Nothing in sections 7951 through 7957 of
      in—                                                      such teacher was highly qualified, consistent          this subtitle shall be construed to permit
        (i) restarting or re-opening schools or in-            with section 9101(23) of the Elementary and            discrimination on the basis of race, color, re-
      stitutions of higher education; or                       Secondary Education Act of 1965 (20 U.S.C.             ligion, sex (except as otherwise permitted
        (ii) restoring operations of schools or insti-         7801(23)) and section 602(10) of the Individuals       under title IX of the Education Amendments
      tutions of higher education.                             with Disabilities Education Act (20 U.S.C.             of 1972 (20 U.S.C. 1681 et seq.)), national ori-
                                                               1401(10)), on or before August 22, 2005, in the        gin, or disability in any program funded
        (f) SUPPLEMENT NOT SUPPLANT.—                                                                                 under sections 7951 through 7957 of this sub-
                                                               State in which such teacher resided on Au-
        (1) IN GENERAL.—Except as provided in                                                                         title.
                                                               gust 22, 2005.
      paragraph (2), funds made available under
                                                                 (2) PARAPROFESSIONALS.—                              SEC. 7959. TEMPORARY EMERGENCY IMPACT AID
      this section shall be used to supplement, not
                                                                 (A) AFFECTED PARAPROFESSIONAL.—In this                            FOR DISPLACED STUDENTS.
      supplant, any funds made available through
                                                               subsection, the term ‘‘affected paraprofes-              (a) TEMPORARY EMERGENCY IMPACT AID AU-
      the Federal Emergency Management Agency
                                                               sional’’ means a paraprofessional who is dis-          THORIZED.—
      or through a State.
                                                               placed due to Hurricane Katrina and relo-                (1) AID TO STATE EDUCATIONAL AGENCIES.—
        (2) EXCEPTION.—Paragraph (1) shall not
                                                               cates to a State that is different from the            From amounts appropriated under sub-
      prohibit the provision of Federal assistance
                                                               State in which such paraprofessional resided           section (o), the Secretary of Education shall
      under this section to an eligible educational
                                                               on August 22, 2005.                                    provide emergency impact aid to State edu-
      agency or institution of higher education
                                                                 (B) IN GENERAL.—A local educational agen-            cational agencies to enable the State edu-
      that is or may be entitled to receive, from
                                                               cy may consider an affected paraprofessional           cational agencies—
      another source, benefits for the same pur-
                                                               hired by such agency who does not satisfy                 (A) to make emergency impact aid pay-
      poses as under this section if such agency or
                                                               the requirements of section 1119(c) of the El-         ments to eligible local educational agencies
      institution—
                                                               ementary and Secondary Education Act of                and eligible BIA-funded schools to enable
        (A) has not received such other benefits by
                                                               1965 (20 U.S.C. 6319(c)) in the State in which         those eligible local educational agencies and
      the time of application for Federal assist-
                                                               such agency is located to satisfy such re-             schools to provide for the instruction of dis-
      ance under this section; and
                                                               quirements, for purposes of such section,              placed students served by the agencies and
        (B) agrees to repay all duplicative Federal
                                                               through the last day of the 2005–2006 school           schools; and
      assistance received to carry out the purposes
                                                               year if such paraprofessional satisfied such              (B) to make immediate impact aid pay-
      of this section.
                                                               requirements on or before August 22, 2005, in          ments to individual accounts established on
        (g) AUTHORIZATION OF APPROPRIATIONS.—                  the State in which such paraprofessional re-
      There is authorized to be appropriated, and                                                                     behalf of displaced students who are attend-
                                                               sided on August 22, 2005.                              ing eligible nonpublic schools located within
      there is appropriated, out of any money in                 (b) DELAY.—The Secretary of Education
      the Treasury not otherwise appropriated,                                                                        the State.
                                                               may delay, for a period not to exceed 1 year,             (2) AID TO LOCAL EDUCATIONAL AGENCIES
      $450,000,000 to carry out this section.                  applicability of the requirements of para-             AND BIA-FUNDED SCHOOLS.—A State edu-
      SEC.   7955.   HOLD HARMLESS FOR AGENCIES                graphs (2) and (3) of section 1119(a) of the El-
                                                                                                                      cational agency shall make emergency im-
                     SERVING MAJOR DISASTER AREAS.             ementary and Secondary Education Act of
                                                                                                                      pact aid payments to eligible local edu-
        (a) LOCAL EDUCATIONAL AGENCIES AND                     1965 (20 U.S.C. 6319(a)(2) and (3)) and section
                                                                                                                      cational agencies and eligible BIA-funded
      TITLE I OF ESEA FUNDS.—In the case of a                  612(a)(14)(C) of the Individuals with Disabil-
                                                                                                                      schools in accordance with subsection (d).
                                                               ities Education Act (20 U.S.C. 1412(a)(14)(C))
      local educational agency that serves an area                                                                       (3) STATE EDUCATIONAL AGENCIES IN CERTAIN
                                                               with respect to the States of Alabama, Lou-
      in which the President has declared that a                                                                      STATES.—In the case of the States of Lou-
                                                               isiana, and Mississippi (and local educational
      major disaster exists in accordance with sec-                                                                   isiana and Mississippi, the State educational
                                                               agencies within the jurisdiction of such
      tion 401 of the Robert T. Stafford Disaster                                                                     agency shall carry out the activities of eligi-
                                                               States), if any such State or local edu-
      Relief and Emergency Assistance Act (42                                                                         ble local educational agencies that are un-
                                                               cational agency demonstrates that a failure
      U.S.C. 5170), related to Hurricane Katrina,                                                                     able to carry out this section, including eli-
                                                               to comply with such requirements is due to
      the amount made available for such local                                                                        gible local educational agencies in those
                                                               exceptional or uncontrollable circumstances,
      educational agency under each of sections                                                                       States for which the State exercises the au-
                                                               such as a natural disaster or a precipitous
      1124, 1124A, 1125, and 1125A of the Elementary                                                                  thorities normally exercised by the local
                                                               and unforeseen decline in the financial re-
      and Secondary Education Act of 1965 (20                  sources of local educational agencies within           educational agencies.
      U.S.C. 6333, 6334, 6335, and 6337) for fiscal year       the State.                                                (b) DEFINITIONS.—In this section:
      2006 shall be not less than the amount made              SEC. 7957. ASSISTANCE FOR HOMELESS YOUTH.                 (1) CHILD WITH A DISABILITY.—The term
      available for such local educational agency                                                                     ‘‘child with a disability’’ has the meaning
                                                                 (a) IN GENERAL.—The Secretary of Edu-
      under each of such sections for fiscal year                                                                     given the term in section 602 of the Individ-
                                                               cation shall provide assistance to local edu-
      2005.                                                    cational agencies serving homeless children            uals with Disabilities Education Act (20
        (b) STATE EDUCATIONAL AGENCIES AND                     and youths displaced by Hurricane Katrina,             U.S.C. 1401).
      IDEA FUNDS.—In the case of a State edu-                  consistent with section 723 of the McKinney-              (2) DISPLACED STUDENT.—The term ‘‘dis-
      cational agency that serves an area in which             Vento Homeless Assistance Act (42 U.S.C.               placed student’’ means a student who enrolls
      the President has declared that a major dis-             11433), including identification, enrollment           in a school (other than the school that the
      aster exists in accordance with section 401 of           assistance, assessment and school placement            student was enrolled in, or was eligible to be
      the Robert T. Stafford Disaster Relief and               assistance, transportation, coordination of            enrolled in, on August 22, 2005), and who re-
      Emergency Assistance Act (42 U.S.C. 5170),               school services, supplies, referrals for health,       sided, on August 22, 2005, in an area for which
      related to Hurricane Katrina, the amount                 mental health, and other needs.                        a major disaster has been declared in accord-
      made available for such State educational                  (b) EXCEPTION AND DISTRIBUTION OF                    ance with section 401 of the Robert T. Staf-
      agency under the Individuals with Disabil-               FUNDS.—                                                ford Disaster Relief and Emergency Assist-
      ities Education Act (20 U.S.C. 1400 et seq.) for           (1) EXCEPTION.—For purposes of providing             ance Act (42 U.S.C. 5170), related to Hurri-
      fiscal year 2006 shall be not less than the              assistance under subsection (a), subsections           cane Katrina.
      amount made available for such State edu-                (c), (d)(2), and (e)(1) of section 722 and sub-           (3) ELIGIBLE LOCAL EDUCATIONAL AGEN-
      cational agency under such Act for fiscal                sections (b) and (c) of section 723 of the             CIES.—The term ‘‘eligible local educational
      year 2005.                                               McKinney-Vento Homeless Assistance Act                 agency’’ means a local educational agency




VerDate Aug 31 2005    03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00077   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.120   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 79 of 91
      S12362                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      that serves an elementary school or sec-                  (3) DETERMINATION OF NUMBER OF DIS-                    (II) the number of displaced students who
      ondary school (including a charter school) in           PLACED STUDENTS.—In determining the num-               are identified as children with disabilities
      which there is enrolled a displaced student.            ber of displaced students for a quarter under          and are served under part B of the Individ-
         (4) ELIGIBLE NONPUBLIC SCHOOL.—The term              paragraph (2), an eligible local educational           uals with Disabilities Education Act (20
      ‘‘eligible nonpublic school’’ means a non-              agency or eligible BIA-funded school shall             U.S.C. 1411 et seq.) reported by the eligible
      public school that—                                     include in such number the number of dis-              local educational agency or eligible BIA-
         (A) operates in accordance with State law            placed students served during such quarter             funded school for each quarter (as deter-
      or is accredited or licensed;                           prior to the date of enactment of this Act.            mined under subsection (c)(2)) times $7,500.
         (B) was in existence on August 22, 2005; and           (d) AMOUNT OF EMERGENCY IMPACT AID.—                   (iii) INSUFFICIENT FUNDS.—If the amount
         (C) serves a displaced student.                        (1) AID TO STATE EDUCATIONAL AGENCIES.—              available under this section to make pay-
         (5) ELIGIBLE BIA-FUNDED SCHOOL.—In this                (A) IN GENERAL.—The amount of emer-                  ments under this subsection is insufficient to
      section, the term ‘‘eligible BIA-funded                 gency impact aid received by a State edu-              pay the full amount that an eligible local
      school’’ means a school funded by the Bureau            cational agency for the 2005–2006 school year          educational agency or eligible BIA-funded
      of Indian Affairs in which there is enrolled a          shall equal the sum of—                                school is eligible to receive for any quarter
      displaced student.                                        (i) the number of displaced students (who            under this section, the State educational
         (c) APPLICATION.—                                    are not identified as children with disabil-           agency shall ratably reduce the amount of
         (1) STATE EDUCATIONAL AGENCY.—A State                ities and are not served under part B of the           the payments.
      educational agency that desires to receive              Individuals with Disabilities Education Act              (C) PAYMENTS TO INDIVIDUAL ACCOUNTS.—
      emergency impact aid under this section                 (20 U.S.C. 1411 et seq.)), as determined by the          (i) IN GENERAL.—A State educational agen-
      shall submit an application to the Secretary            eligible local educational agencies and eligi-         cy shall make payments to an individual ac-
      of Education at such time, in such manner,              ble BIA-funded schools in the State under              count on behalf of a displaced student for
      and accompanied by such information as the              subsection (c)(2), and the number of such dis-         each quarter for which the displaced student
      Secretary of Education may reasonably re-               placed students enrolled in eligible non-              is enrolled in an eligible nonpublic school in
      quire, which shall include—                             public schools in the State whose parents or           the amount determined under clause (ii).
         (A) information on the displaced student             guardians request payments pursuant to this              (ii) PAYMENT AMOUNT.—Each payment
      child count of the State provided by eligible           section, times $6,000; and                             under clause (i) shall equal 25 percent of the
      local educational agencies in the State and               (ii) the number of displaced students who            lesser of—
      eligible BIA-funded schools in the State                are identified as children with disabilities             (I) $6,000; or
      under paragraph (2);                                    and are served under part B of the Individ-              (II) the total amount of tuition, fees, and
         (B) information on the child count of the            uals with Disabilities Education Act, as de-           transportation costs, if any, of the displaced
      State of displaced students enrolled in eligi-          termined by the eligible local educational             student for the 2005–2006 school year.
      ble nonpublic schools;                                  agencies and eligible BIA-funded schools in              (iii) MAXIMUM AMOUNT.—In providing pay-
         (C) a description of how parents and guard-          the State under subsection (c)(2), and the             ments to an individual account for the 2005–
      ians will be notified of their options for en-          number of such displaced students enrolled             2006 school year on behalf of a displaced stu-
      rolling their children in public or nonpublic           in eligible nonpublic schools in the State             dent, a State educational agency may pro-
      schools in the State;                                   whose parents or guardians request pay-                vide not more than 4 quarterly payments to
         (D) a description of the process by which            ments pursuant to this section, times $7,500.          such account.
      parents and guardians may apply for pay-                  (B) INSUFFICIENT FUNDS.—If the amount
      ment through individual accounts, including             available under this section to provide emer-            (e) USE OF FUNDS.—
      the information such parents and guardians              gency impact aid under this subsection is in-            (1)   DISPLACED     STUDENTS     IN   PUBLIC
                                                                                                                     SCHOOLS.—An      eligible local educational
      will be required to provide such State edu-             sufficient to pay the full amount that a
      cational agency;                                        State educational agency is eligible to re-            agency or eligible BIA-funded school receiv-
         (E) a description of the procedure to be             ceive under this section, the Secretary of             ing emergency impact aid payments under
      used by such State educational agency to                Education shall ratably reduce the amount              this section shall use the payments to pro-
      provide payments to parents and guardians               of such emergency impact aid.                          vide instructional opportunities for dis-
      through individual accounts;                              (2) AID TO ELIGIBLE LOCAL EDUCATIONAL                placed students who enroll in elementary
         (F) a description of the process to be used          AGENCIES AND ELIGIBLE BIA-FUNDED SCHOOLS;              schools and secondary schools (including
      by such State educational agency to obtain              PAYMENTS TO INDIVIDUAL ACCOUNTS.—                      charter schools) served by such agency or in
      attestations of attendance of displaced stu-              (A) IN GENERAL.—A State educational                  such a school, and for other expenses in-
      dents from eligible nonpublic schools, in               agency that receives emergency impact aid              curred as a result of the agency or school
      order for such agency to provide payments to            under this subtitle shall provide payments             serving displaced students, which uses may
      parents and guardians through individual ac-            under this section to eligible local edu-              include–
      counts; and                                             cational agencies and eligible BIA-funded                (A) paying the compensation of personnel,
         (G) a description of how such State edu-             schools (as provided under subparagraph (B)),          including teacher aides, in schools enrolling
      cational agency will prioritize funding for             and to the individual accounts on behalf of            displaced students;
      displaced students attending eligible non-              displaced students enrolled in eligible non-             (B) identifying and acquiring curricular
      public schools, if necessary, including any             public schools (as provided under subpara-             material, including the costs of providing ad-
      criteria such as household income.                      graph (C)) whose parents or guardians have             ditional classroom supplies, and mobile edu-
         (2) LOCAL EDUCATIONAL AGENCIES AND BIA-              requested such funds in accordance with sub-           cational units and leasing sites or spaces;
      FUNDED SCHOOLS.—An eligible local edu-                  section (e)(2), for the 2005–2006 school year by         (C) basic instructional services for such
      cational agency or eligible BIA-funded                  such dates as determined by the Secretary of           students, including tutoring, mentoring, aca-
      school that desires an emergency impact aid             Education. The Secretary of Education shall            demic counseling, supplemental educational
      payment under this section shall submit an              establish a timeline for reporting on the              services, or after-school programs;
      application to the State educational agency             number of displaced students for each quar-              (D) reasonable transportation costs for stu-
      at such time, in such manner, and accom-                ter in order to make the appropriate dis-              dents;
      panied by such information as the State edu-            bursements in a timely manner.                           (E) health services (including counseling);
      cational agency may reasonably require, in-               (B) PAYMENTS TO ELIGIBLE LOCAL EDU-                  and
      cluding documentation submitted for each                CATIONAL AGENCIES AND ELIGIBLE BIA-FUNDED                (F) alternative education services.
      quarter of the 2005–2006 school year that indi-         SCHOOLS.—                                                (2) DISPLACED STUDENTS IN NONPUBLIC
      cates the following:                                      (i) IN GENERAL.—Payments to eligible local           SCHOOLS.—
         (A) In the case of an eligible local edu-            educational agencies and eligible BIA-funded             (A) IN GENERAL.—A State educational
      cational agency, the number of displaced                schools shall be based on the number of dis-           agency that receives emergency impact aid
      students enrolled in the elementary schools             placed students reported for each quarter              under this section shall, at the request of the
      and secondary schools (including charter                under subsection (c)(2) and in the amount de-          parent or guardian of a displaced student
      schools), including the number of displaced             termined under clause (ii).                            who enrolls in an eligible nonpublic school in
      students who are identified as children with              (ii) PAYMENT AMOUNT.—Each payment                    the State, use such emergency impact aid to
      disabilities and are served under part B of             under clause (i) shall equal 25 percent of the         provide payment on a quarterly basis, in ac-
      the Individuals with Disabilities Education             sum of—                                                cordance with subsection (d)(2)(C), to an in-
      Act (20 U.S.C. 1411 et seq.), served by such              (I) the number of displaced students (who            dividual account on behalf of such displaced
      agency.                                                 are not identified as children with disabil-           student. Payment shall be by individual
         (B) In the case of an eligible BIA-funded            ities and are not served under part B of the           check made payable to the displaced stu-
      school, the number of displaced students, in-           Individuals with Disabilities Education Act            dent’s parent or guardian and mailed by the
      cluding the number of displaced students                (20 U.S.C. 1411 et seq.)) reported by the eligi-       State educational agency to the eligible non-
      who are identified as children with disabil-            ble local educational agency or eligible BIA-          public school of the parent or guardian’s di-
      ities and are served under part B of the Indi-          funded school for each quarter (as deter-              rection and the parent or guardian shall re-
      viduals with Disabilities Education Act (20             mined under subsection (c)(2)) times $6,000;           strictively endorse the check to such eligible
      U.S.C. 1411 et seq.), enrolled in such school.          and                                                    nonpublic school.




VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00078   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.120   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 80 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12363
        (B) USE OF FUNDS.—An eligible nonpublic               students served by such agency for whom an             United States Constitution, necessitate any
      school that receives a check pursuant to sub-           emergency impact aid payment is received               change in the eligible nonpublic school’s
      paragraph (A) may use the funds for—                    under this section, nor shall such students be         teaching mission, require any eligible non-
        (i) paying the compensation of personnel,             counted for the purpose of calculating the             public school to remove religious art, icons,
      including teacher aides;                                total number of children in average daily at-          scriptures, or other symbols, or preclude any
        (ii) identifying and acquiring curricular             tendance at the schools served by such agen-           eligible nonpublic school from retaining reli-
      material, including the costs of providing ad-          cy as provided in section 8003(b)(3)(B)(i) of          gious terms in its name, selecting its board
      ditional classroom supplies, and mobile edu-            such Act (20 U.S.C. 7703(b)(3)(B)(i)).                 members on a religious basis, or including
      cational units and leasing sites or spaces;               (j) TERMINATION OF AUTHORITY.—The au-                religious references in its mission state-
        (iii) basic instructional services for the dis-       thority provided by this section shall termi-          ments and other chartering or governing
      placed students, including tutoring, men-               nate on August 1, 2006.                                documents.
      toring, academic counseling, or after-school              (k) BY-PASS.—If a State educational agen-              (C) RULE OF CONSTRUCTION.—For purposes
      programs;                                               cy is unable or unwilling to carry out this
                                                                                                                     of this section, the provisions of section 909
                                                              section, the Secretary of Education may
        (iv) reasonable transportation costs for the                                                                 of the Education Amendments of 1972 (20
                                                              make such arrangements with the State as
      displaced students;                                                                                            U.S.C. 1688) shall apply to this section as if
                                                              the Secretary determines appropriate to
        (v) health services (including counseling);                                                                  section 909 of the Education Amendments of
                                                              carry out this section on behalf of displaced
        (vi) education and support services; and                                                                     1972 (20 U.S.C. 1688) were part of this section.
                                                              students attending an eligible nonpublic
        (vii) alternative education services.                                                                          (m) TREATMENT OF STATE AID.—A State
                                                              school in the State. For a State in which              shall not take into consideration emergency
        (3) PROVISION OF SPECIAL EDUCATION AND
                                                              State law prohibits the State from using               impact aid payments received under this sec-
      RELATED SERVICES.—
                                                              Federal funds to directly provide services on          tion by a local educational agency in the
        (A) IN GENERAL.—In the case of a displaced            behalf of students attending nonpublic
      student who is identified as a child with a                                                                    State in determining the eligibility of such
                                                              schools and provides that another entity               local educational agency for State aid, or the
      disability and is served under part B of the            shall provide such services, the Secretary of
      Individuals with Disabilities Education Act                                                                    amount of State aid, with respect to free
                                                              Education shall make such arrangements                 public education of children.
      (20 U.S.C. 1411 et seq.), any payment made on           with that entity.
      behalf of such student to an eligible local                                                                      (n) RETURN OF UNEXPENDED FUNDS.—The
                                                                (l) NONDISCRIMINATION.—                              Secretary of Education shall return to the
      educational agency or any payment avail-                  (1) IN GENERAL.—A State educational agen-
      able in an account for such student, shall be                                                                  Treasury any funds appropriated under this
                                                              cy may provide payment under this section              section that are unexpended or unobligated
      used to pay the cost of providing the student           to the parent or guardian of a displaced stu-          by September 30, 2006.
      with special education and related services             dent who enrolls in an eligible nonpublic                (o) AUTHORIZATION OF APPROPRIATIONS.—
      consistent with the Individuals with Disabil-           school in the State only if the eligible non-          There is authorized to be appropriated, and
      ities Education Act (20 U.S.C. 1400 et seq.).           public school selected by the student pro-             there is appropriated, out of any money in
        (B) SPECIAL RULE.—Notwithstanding any                 vides assurances that it does not discrimi-            the Treasury not otherwise appropriated,
      other provision of this section, a State edu-           nate against participating displaced students          $1,200,000,000 to carry out this section.
      cational agency may provide payment to an               on the basis of race, color, national origin,          SEC. 7960. LIMITATION ON USE OF FUNDS.
      eligible local educational agency that pro-             religion, or sex.                                        Aid, payments, assistance, or other fund-
      vides services to a displaced student attend-             (2) APPLICABILITY AND SINGLE-SEX SCHOOLS,            ing provided under this subtitle shall be used
      ing an eligible nonpublic school under sec-             CLASSES, OR ACTIVITIES.—                               only for expenses incurred during the 2005–
      tion 612(a)(10) of the Individuals with Dis-              (A) IN GENERAL.—Notwithstanding any                  2006 school year.
      abilities Education Act (20 U.S.C. 1412(a)(10))         other provision of law, the prohibition of sex         SEC. 7961. SUNSET PROVISION.
      in an amount that is not more than $1,500 per           discrimination in paragraph (1) shall not                Except as otherwise provided in this sub-
      displaced student served.                               apply to a nonpublic school that is operated           title, the provisions of this subtitle shall be
        (C) SPECIAL EDUCATION; RELATED SERV-                  by, controlled by, or connected to a religious         effective for the period beginning on the date
      ICES.—In this paragraph, the terms ‘‘special            organization to the extent that the applica-           of enactment of this Act and ending on Au-
      education’’ and ‘‘related services’’ have the           tion of paragraph (1) is inconsistent with the         gust 30, 2006.
      meaning given such terms in section 602 of              religious tenets or beliefs of the school.
      the Individuals with Disabilities Education               (B) SINGLE-SEX SCHOOLS, CLASSES, OR AC-                SA 2405. Mrs. CLINTON (for herself,
      Act (20 U.S.C. 1401).                                   TIVITIES.—Notwithstanding paragraph (1) or             Ms. MIKULSKI, Mr. HARKIN, Mr. LAU-
        (f) RETURN OF AID.—                                   any other provision of law, a parent or                TENBERG, Mr. JEFFORDS, Mr. REED, Mr.
        (1) ELIGIBLE LOCAL EDUCATIONAL AGENCY OR              guardian may choose, and a nonpublic school
      ELIGIBLE BIA-FUNDED SCHOOL.—An eligible                                                                        SALAZAR, Mr. OBAMA, Mrs. BOXER, Ms.
                                                              may offer, a single-sex school, class, or ac-          STABENOW, Mr. CORZINE, Mr. SCHUMER,
      local educational agency or eligible BIA-               tivity.
      funded school that receives an emergency                  (3) GENERAL PROVISION.—Nothing in this
                                                                                                                     Mr. DURBIN, Mrs. FEINSTEIN, Mr. FEIN-
      impact aid payment under this section shall             section may be construed to alter or modify            GOLD, Mr. CARPER, Mr. JOHNSON, and
      return to the State educational agency any              the Individuals with Disabilities Education            Mr. LEAHY) submitted an amendment
      payment provided to the eligible local edu-             Act (20 U.S.C. 1400 et seq.).                          intended to be proposed by her to the
      cational agency or school under this section              (4) RULE OF CONSTRUCTION.—Payments                   bill S. 1932, to provide for reconcili-
      that the eligible local educational agency or           made to an individual account (or any other            ation pursuant to section 202(a) of the
      school has not obligated by the end of the              form of support provided to students under
      2005–2006 school year in accordance with this
                                                                                                                     concurrent resolution on the budget for
                                                              this section) under this section shall be con-         fiscal year 2006 (H. con. Res. 95); which
      section.                                                sidered assistance to the student and shall
        (2) STATE EDUCATIONAL AGENCY.—A State                                                                        was ordered to lie on the table; as fol-
                                                              not be considered assistance to the school
      educational agency that receives emergency              that enrolls the student. The amount of any
                                                                                                                     lows:
      impact aid under this section, shall return to          payment (or other form of support provided               At the appropriate place, insert the fol-
      the Secretary of Education—                             on behalf of a displaced student) under this           lowing:
        (A) any aid provided to the agency under              section shall not be treated as income of a                TITLE ll KATRINA COMMISSION
      this section that the agency has not obli-              parent or guardian of the student for pur-             SEC. ll01. ESTABLISHMENT OF COMMISSION.
      gated by the end of the 2005-2006 school year           poses of Federal tax laws or for determining             There is established in the legislative
      in accordance with this section; and                    eligibility for any other Federal program.             branch the Katrina Commission (in this title
        (B) any payment funds returned to the                   (5) RELIGIOUSLY AFFILIATED SCHOOLS.—                 referred to as the ‘‘Commission’’).
      State educational agency under paragraph                  (A) IN GENERAL.—Notwithstanding any                  SEC. ll02. COMPOSITION OF COMMISSION.
      (1).                                                    other provision of law, an eligible nonpublic            (a) MEMBERS.—The Commission shall be
        (g) LIMITATION ON USE OF AID AND PAY-
                                                              school participating in any program under              composed of 10 members, of whom—
      MENTS.—Aid and payments provided under
                                                              this subtitle that is operated by, supervised            (1) 1 member shall be appointed by the
      this section shall be used only for expenses
                                                              by, controlled by, or connected to, a reli-            President, who shall serve as chairman of
      incurred during the 2005–2006 school year.
        (h) ADMINISTRATIVE EXPENSES.—A State                  gious organization may exercise its rights in          the Commission;
      educational agency that receives emergency              matters of employment consistent with title              (2) 1 member shall be appointed by the
      impact aid under this section may use not               VII of the Civil Rights Act of 1964 (42 U.S.C.         leader of the Senate (majority or minority
      more than 1 percent of such aid for adminis-            2000e et seq.), including the exemptions pro-          leader, as the case may be) of the Demo-
      trative expenses.                                       vided under such title.                                cratic Party, in consultation with the leader
        (i) SPECIAL FUNDING RULE.—In calculating                (B) MAINTENANCE OF PURPOSE.—Notwith-                 of the House of Representatives (majority or
      funding under section 8003 of the Elementary            standing any other provision of law, funds             minority leader, as the case may be) of the
      and Secondary Education Act of 1965 (20                 made available under this section to dis-              Democratic Party, who shall serve as vice
      U.S.C. 7703) for an eligible local educational          placed students that are received by an eligi-         chairman of the Commission;
      agency that receives an emergency impact                ble nonpublic school, as a result of the stu-            (3) 2 members shall be appointed by the
      aid payment under this section, the Sec-                dent’s parent or guardian’s choice, shall not,         senior member of the Senate leadership of
      retary of Education shall not count displaced           consistent with the first amendment of the             the Democratic Party;




VerDate Aug 31 2005   04:44 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00079   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.120   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 81 of 91
      S12364                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
        (4) 2 members shall be appointed by the               problems with Federal response that oc-                  (I) by the agreement of the chairman and
      senior member of the leadership of the House            curred in the preparation for, and in the              the vice chairman; or
      of Representatives of the Republican Party;             aftermath of, Hurricane Katrina so that fu-              (II) by the affirmative vote of 6 members of
        (5) 2 members shall be appointed by the               ture cataclysmic events are responded to               the Commission.
      senior member of the Senate leadership of               adequately.                                              (ii) SIGNATURE.—Subject to clause (i), sub-
      the Republican Party; and                               SEC. ll04. FUNCTIONS OF COMMISSION.                    poenas issued under this subsection may be
        (6) 2 members shall be appointed by the                 (a) IN GENERAL.—The functions of the Com-            issued under the signature of the chairman
      senior member of the leadership of the House            mission are to—                                        or any member designated by a majority of
      of Representatives of the Democratic Party.               (1) conduct an investigation that—                   the Commission, and may be served by any
        (b) QUALIFICATIONS; INITIAL MEETING.—                   (A) investigates relevant facts and cir-             person designated by the chairman or by a
        (1) POLITICAL PARTY AFFILIATION.—Not                  cumstances relating to the catastrophic im-            member designated by a majority of the
      more than 5 members of the Commission                   pacts that Hurricane Katrina exacted upon              Commission.
      shall be from the same political party.                 the Gulf Region of the United States espe-               (B) ENFORCEMENT.—
        (2) NONGOVERNMENTAL APPOINTEES.—An in-                cially in New Orleans and surrounding par-               (i) IN GENERAL.—In the case of contumacy
      dividual appointed to the Commission may                ishes, and impacted areas of Mississippi and           or failure to obey a subpoena issued under
      not be an officer or employee of the Federal            Alabama; and                                           subsection (a), the United States district
      Government or any State or local govern-                  (B) shall include relevant facts and cir-            court for the judicial district in which the
      ment.                                                   cumstances relating to—                                subpoenaed person resides, is served, or may
        (3) OTHER QUALIFICATIONS.—It is the sense               (i) Federal emergency response planning              be found, or where the subpoena is return-
      of Congress that individuals appointed to the           and execution at the Federal Emergency                 able, may issue an order requiring such per-
      Commission should be prominent United                   Management Agency, the Department of                   son to appear at any designated place to tes-
      States citizens who represent a diverse range           Homeland Security, the White House, and all            tify or to produce documentary or other evi-
      of citizens and enjoy national recognition              other Federal entities with responsibility for         dence. Any failure to obey the order of the
      and significant depth of experience in such             assisting during, and responding to, natural           court may be punished by the court as a con-
      professions as governmental service, emer-              disasters;                                             tempt of that court.
      gency preparedness, mitigation planning,                  (ii) military and law enforcement response             (ii) ADDITIONAL ENFORCEMENT.—In the case
      cataclysmic planning and response, intergov-            planning and execution;                                of any failure of any witness to comply with
      ernmental management, resource planning,                  (iii) Federal mitigation plans, programs,            any subpoena or to testify when summoned
      recovery operations and planning, Federal               and policies including prior assessments of            under authority of this section, the Commis-
      coordination, military coordination, and                existing vulnerabilities and exercises de-             sion may, by majority vote, certify a state-
      other extensive natural disaster and emer-              signed to test those vulnerabilities;                  ment of fact constituting such failure to the
      gency response experience.                                (iv) Federal, State, and local communica-            appropriate United States attorney, who
        (4) DEADLINE FOR APPOINTMENT.—All mem-                tion interoperability successes and failures;          may bring the matter before the grand jury
      bers of the Commission shall be appointed on              (v) past, present, and future Federal budg-          for its action, under the same statutory au-
      or before October 1, 2005.                              etary provisions for preparedness, mitiga-             thority and procedures as if the United
        (5) INITIAL MEETING.—The Commission                   tion, response, and recovery;                          States attorney had received a certification
      shall meet and begin the operations of the                (vi) the Federal Emergency Management                under sections 102 through 104 of the Revised
      Commission as soon as practicable.                      Agency’s response capabilities as an inde-             Statutes of the United States (2 U.S.C. 192
        (c) QUORUM; VACANCIES.—After its initial              pendent agency and as part of the Depart-              through 194).
      meeting, the Commission shall meet upon                 ment of Homeland Security;
                                                                                                                       (b) CONTRACTING.—The Commission may,
      the call of the chairman or a majority of its             (vii) the role of congressional oversight
                                                                                                                     to such extent and in such amounts as are
                                                              and resource allocation;
      members. Six members of the Commission                                                                         provided in appropriation Acts, enter into
                                                                (viii) other areas of the public and private
      shall constitute a quorum. Any vacancy in                                                                      contracts to enable the Commission to dis-
                                                              sectors determined relevant by the Commis-
      the Commission shall not affect its powers,                                                                    charge its duties under this title.
                                                              sion for its inquiry; and
      but shall be filled in the same manner in                                                                        (c) INFORMATION FROM FEDERAL AGEN-
                                                                (ix) long-term needs for people impacted by
      which the original appointment was made.                                                                       CIES.—
                                                              Hurricane Katrina and other forms of Fed-
      SEC. ll03. DUTIES.                                      eral assistance necessary for large-scale re-            (1) IN GENERAL.—The Commission is au-
        The duties of the Commission are to—                  covery;                                                thorized to secure directly from any execu-
        (1) examine and report upon the Federal,                (2) identify, review, and evaluate the les-          tive department, bureau, agency, board,
      State, and local response to the devastation            sons learned from Hurricane Katrina includ-            commission, office, independent establish-
      wrought by Hurricane Katrina in the Gulf                ing coordination, management policies, and             ment, or instrumentality of the Government,
      Region of the United States of America espe-            procedures of the Federal Government, State            information, suggestions, estimates, and sta-
      cially in the States of Louisiana, Mississippi,         and local governments, and nongovern-                  tistics for the purposes of this title. Each de-
      Alabama, and other areas impacted in the                mental entities, relative to detection, plan-          partment, bureau, agency, board, commis-
      aftermath;                                              ning, mitigation, asset prepositioning, and            sion, office, independent establishment, or
        (2) ascertain, evaluate, and report on the            responding to cataclysmic natural disasters            instrumentality shall, to the extent author-
      information developed by all relevant gov-              such as Hurricane Katrina; and                         ized by law, furnish such information, sug-
      ernmental agencies regarding the facts and                (3) submit to the President and Congress             gestions, estimates, and statistics directly to
      circumstances related to Hurricane Katrina              such reports as are required by this title con-        the Commission, upon request made by the
      prior to striking the United States and in              taining such findings, conclusions, and rec-           chairman, the chairman of any sub-
      the days and weeks following;                           ommendations as the Commission shall de-               committee created by a majority of the
        (3) build upon concurrent and prior inves-            termine, including proposing organization,             Commission, or any member designated by a
      tigations of other entities, and avoid unnec-           coordination, planning, management ar-                 majority of the Commission.
      essary duplication concerning information               rangements, procedures, rules, and regula-               (2) RECEIPT, HANDLING, STORAGE, AND DIS-
      related to existing vulnerabilities;                    tions.                                                 SEMINATION.—Information shall only be re-
        (4) make a full and complete accounting of            SEC. ll05. POWERS OF COMMISSION.                       ceived, handled, stored, and disseminated by
      the circumstances surrounding the approach                (a) IN GENERAL.—                                     members of the Commission and its staff
      of Hurricane Katrina to the Gulf States, and              (1) HEARINGS AND EVIDENCE.—The Commis-               consistent with all applicable statutes, regu-
      the extent of the United States government’s            sion or, on the authority of the Commission,           lations, and Executive orders.
      preparedness for, and response to, the hurri-           any subcommittee or member thereof, may,                 (d) ASSISTANCE FROM FEDERAL AGENCIES.—
      cane;                                                   for the purpose of carrying out this Act—                (1) GENERAL SERVICES ADMINISTRATION.—
        (5) planning necessary for future cata-                 (A) hold such hearings and sit and act at            The Administrator of General Services shall
      clysmic events requiring a significant mar-             such times and places, take such testimony,            provide to the Commission on a reimburs-
      shaling of Federal resources, mitigation, re-           receive such evidence, administer such                 able basis administrative support and other
      sponse, and recovery to avoid significant loss          oaths; and                                             services for the performance of the Commis-
      of life;                                                  (B) subject to paragraph (2)(A), require, by         sion’s functions.
        (6) an analysis as to whether any decisions           subpoena or otherwise, the attendance and                (2) OTHER DEPARTMENTS AND AGENCIES.—In
      differed with respect to response and recov-            testimony of such witnesses and the produc-            addition to the assistance prescribed in para-
      ery for different communities, neighbor-                tion of such books, records, correspondence,           graph (1), departments and agencies of the
      hoods, parishes, and locations and what                 memoranda, papers, and documents, as the               United States may provide to the Commis-
      problems occurred as a result of a lack of a            Commission     or    such   designated    sub-         sion such services, funds, facilities, staff, and
      common plan, communication structure, and               committee or designated member may deter-              other support services as they may deter-
      centralized command structure; and                      mine advisable.                                        mine advisable and as may be authorized by
        (7) investigate and report to the President             (2) SUBPOENAS.—                                      law.
      and Congress on its findings, conclusions,                (A) ISSUANCE.—                                         (e) GIFTS.—The Commission may accept,
      and recommendations for immediate correc-                 (i) IN GENERAL.—A subpoena may be issued             use, and dispose of gifts or donations of serv-
      tive measures that can be taken to prevent              under this subsection only—                            ices or property.




VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00080   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.121   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 82 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12365
        (f) POSTAL SERVICES.—The Commission                   SEC. ll09. SECURITY CLEARANCES FOR COM-                cane Katrina and Hurricane Rita reconstruc-
      may use the United States mails in the same                        MISSION MEMBERS AND STAFF.                  tion contracts to have overcharged or im-
      manner and under the same conditions as de-               The appropriate Federal agencies or de-              properly billed the Federal Government by a
      partments and agencies of the United States.            partments shall cooperate with the Commis-             total of at least $10,000,000 through one or
      SEC. ll06. NONAPPLICABILITY OF FEDERAL AD-              sion in expeditiously providing to the Com-            more overcharges;
                 VISORY COMMITTEE ACT.                        mission members and staff appropriate secu-              (2) has been found by an executive agency,
                                                              rity clearances to the extent possible pursu-          the Special Inspector General for Iraq Recon-
        (a) IN GENERAL.—The Federal Advisory
                                                              ant to existing procedures and requirements,           struction, or any Inspector General having
      Committee Act (5 U.S.C. App.) shall not
                                                              except that no person shall be provided with           oversight authority with respect to Hurri-
      apply to the Commission.
                                                              access to classified information under this            cane Katrina and Hurricane Rita reconstruc-
        (b) PUBLIC MEETINGS AND RELEASE OF PUB-
                                                              title without the appropriate security clear-          tion contracts to have committed one or
      LIC VERSIONS OF REPORTS.—The Commission
                                                              ances.                                                 more fraudulent acts resulting in total costs
      shall—
                                                              SEC. ll10. REPORTS OF COMMISSION; TERMI-               or losses to the Federal Government of at
        (1) hold public hearings and meetings to                         NATION.
      the extent appropriate; and                                                                                    least $10,000,000; or
                                                                (a) INTERIM REPORTS.—The Commission                    (3) has had rendered against it a judgment
        (2) release public versions of the reports re-
                                                              may submit to the President and Congress               or conviction for an offense constituting a
      quired under section ll10.
                                                              interim reports containing such findings,              cause for suspension or debarment under the
        (c) PUBLIC HEARINGS.—Any public hearings              conclusions, and recommendations for cor-
      of the Commission shall be conducted in a                                                                      Federal suspension and debarment regula-
                                                              rective measures as have been agreed to by a           tions.
      manner consistent with the protection of in-            majority of Commission members.                          (b) NATIONAL SECURITY WAIVER.—The
      formation provided to or developed for or by              (b) FINAL REPORT.—Not later than 6                   President may waive the restrictions under
      the Commission as required by any applica-              months after the date of the enactment of              subsection (a) on a case-by-case basis if the
      ble statute, regulation, or Executive order.            this title, the Commission shall submit to             President determines that such waiver is in
      SEC. ll07. STAFF OF COMMISSION.                         the President and Congress a final report              the national security interest of the United
        (a) IN GENERAL.—                                      containing such findings, conclusions, and             States and submits to the appropriate con-
        (1) APPOINTMENT AND COMPENSATION.—The                 recommendations for corrective measures as             gressional authorities a report describing the
      chairman, in consultation with the vice                 have been agreed to by a majority of Com-              reasons for such determination.
      chairman, in accordance with rules agreed               mission members.                                         (c) DEFINITIONS.—In this section:
      upon by the Commission, may appoint and                   (c) TERMINATION.—                                      (1) APPROPRIATE CONGRESSIONAL AUTHORI-
      fix the compensation of a staff director and              (1) IN GENERAL.—The Commission, and all              TIES.—The term ‘‘appropriate congressional
      such other personnel as may be necessary to             the authorities of this Act, shall terminate           authorities’’ means—
      enable the Commission to carry out its func-            60 days after the date on which the final re-            (A) the Majority Leader and the Minority
      tions, without regard to the provisions of              port is submitted under subsection (b).                Leader of the Senate;
      title 5, United States Code, governing ap-                (2) ADMINISTRATIVE ACTIVITIES BEFORE TER-              (B) the Speaker of the House of Represent-
      pointments in the competitive service, and              MINATION.—The Commission may use the 60-               atives and the Minority Leader of the House
      without regard to the provisions of chapter             day period referred to in paragraph (1) for            of Representatives; and
      51 and subchapter III of chapter 53 of such             the purpose of concluding its activities, in-            (C) the Committees on Appropriations of
      title relating to classification and General            cluding providing testimony to committees              the Senate and the House of Representatives.
      Schedule pay rates, except that no rate of              of Congress concerning its reports and dis-              (2) EXECUTIVE AGENCIES.—The term ‘‘execu-
      pay fixed under this subsection may exceed              seminating the final report.                           tive agency’’ has the meaning given that
      the equivalent of that payable for a position           SEC. ll11. FUNDING.                                    term in section 4 of the Office of Federal
      at level V of the Executive Schedule under                (a) EMERGENCY APPROPRIATION OF FUNDS.—               Procurement Policy Act (41 U.S.C. 403).
      section 5316 of title 5, United States Code.            There are authorized to be appropriated
        (2) PERSONNEL AS FEDERAL EMPLOYEES.—                  $3,000,000 for purposes of the activities of the         SA 2407. Mr. LEVIN submitted an
        (A) IN GENERAL.—The executive director                Commission under this title and such fund-             amendment intended to be proposed by
      and any personnel of the Commission who                 ing is designated as emergency spending                him to the bill S. 1932, to provide for
      are employees shall be employees under sec-             under section 402 of H. Con. Res. 95 (109th
      tion 2105 of title 5, United States Code, for
                                                                                                                     reconciliation pursuant to section
                                                              Congress).
      purposes of chapters 63, 81, 83, 84, 85, 87, 89,          (b) DURATION OF AVAILABILITY.—Amounts
                                                                                                                     202(a) of the concurrent resolution on
      and 90 of that title.                                   made available to the Commission under                 the budget for fiscal year 2006 (H. Con.
        (B) MEMBERS OF COMMISSION.—Subpara-                   subsection (a) shall remain available until            Res. 95); which was ordered to lie on
      graph (A) shall not be construed to apply to            the termination of the Commission.                     the table; as follows:
      members of the Commission.                                                                                       On page 95, after line 21, insert the fol-
        (b) DETAILEES.—Any Federal Government                   SA 2406. Mr. DURBIN (for himself,                    lowing:
      employee may be detailed to the Commission              Mr. DORGAN, Mr. LAUTENBERG, and Mr.                    SEC. 3005A. COMMUNICATION SYSTEM GRANTS.
      without reimbursement from the Commis-                  JOHNSON) submitted an amendment in-                      (a) DEFINITIONS.—In this section—
      sion, and such detailee shall retain the                tended to be proposed by him to the                      (1) the term ‘‘demonstration project’’
      rights, status, and privileges of his or her
                                                              bill S. 1932, to provide for reconcili-                means the demonstration project established
      regular employment without interruption.                                                                       under subsection (b)(1);
        (c) CONSULTANT SERVICES.—The Commis-
                                                              ation pursuant to section 202(a) of the
                                                              concurrent resolution on the budget for                  (2) the term ‘‘Department’’ means the De-
      sion is authorized to procure the services of                                                                  partment of Homeland Security;
      experts and consultants in accordance with              fiscal year 2006 (H. Con. Res. 95); which
                                                                                                                       (3) the term ‘‘emergency response pro-
      section 3109 of title 5, United States Code,            was ordered to lie on the table; as fol-               vider’’ has the meaning given that term in
      but at rates not to exceed the daily rate paid          lows:                                                  section 2(6) the Homeland Security Act of
      a person occupying a position at level IV of              At the appropriate place, insert the fol-            2002 (6 U.S.C. 101(6)); and
      the Executive Schedule under section 5315 of            lowing:                                                  (4) the term ‘‘Secretary’’ means the Sec-
      title 5, United States Code.                            SEC. ll. ACCOUNTABILITY IN FEDERAL CON-                retary of Homeland Security.
      SEC. ll08. COMPENSATION AND TRAVEL EX-                            TRACTING.                                      (b) IN GENERAL.—
                PENSES.                                         (a) IN GENERAL.—Except as provided in                  (1) ESTABLISHMENT.—There is established
        (a) COMPENSATION.—Each member of the                  subsection (b), none of the funds appro-               in the Department an ‘‘International Border
      Commission may be compensated at not to                 priated or otherwise made available by the             Community Interoperable Communications
      exceed the daily equivalent of the annual               Emergency Supplemental Appropriations                  Demonstration Project’’.
      rate of basic pay in effect for a position at           Act to Meet Immediate Needs Arising From                 (2) MINIMUM NUMBER OF COMMUNITIES.—The
      level IV of the Executive Schedule under sec-           the Consequences of Hurricane Katrina, 2005            Secretary shall select not fewer than 2 com-
      tion 5315 of title 5, United States Code, for           (Public Law 109–61), by the Second Emer-               munities to participate in a demonstration
      each day during which that member is en-                gency Supplemental Appropriations Act to               project.
      gaged in the actual performance of the du-              Meet Immediate Needs Arising From the                    (3) LOCATION OF COMMUNITIES.—Not fewer
      ties of the Commission.                                 Consequences of Hurricane Katrina, 2005                than 1 of the communities selected under
        (b) TRAVEL EXPENSES.—While away from                  (Public Law 109–62), or through the Iraq Re-           paragraph (2) shall be located on the north-
      their homes or regular places of business in            lief and Reconstruction Fund may be obli-              ern border of the United States and not
      the performance of services for the Commis-             gated or expended in connection with a con-            fewer than 1 of the communities selected
      sion, members of the Commission shall be al-            tract with a contractor that, during the pre-          under paragraph (2) shall be located on the
      lowed travel expenses, including per diem in            vious 5 years—                                         southern border of the United States.
      lieu of subsistence, in the same manner as                (1) has been found by an executive agency,             (c) PROJECT REQUIREMENTS.—The dem-
      persons employed intermittently in the Gov-             the Special Inspector General for Iraq Recon-          onstration projects shall—
      ernment service are allowed expenses under              struction, or any Inspector General having               (1) address the interoperable communica-
      section 5703(b) of title 5, United States Code.         oversight authority with respect to Hurri-             tions needs of police officers, firefighters,




VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00081   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.121   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 83 of 91
      S12366                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      emergency medical technicians, National                 him to the bill S. 1932, to provide for                dren with special needs. Much of this care is
      Guard, and other emergency response pro-                reconciliation pursuant to section                     either not covered by private insurance or is
      viders;                                                 202(a) of the concurrent resolution on                 limited in scope or duration. The Medicaid
        (2) foster interoperable communications—                                                                     program is also a critical source of funding
                                                              the budget for fiscal year 2006 (H. Con.
        (A) among Federal, State, local, and tribal                                                                  for health care for children in foster care and
      government agencies in the United States in-
                                                              Res. 95); which was ordered to lie on                  for health care services provided in schools.
      volved in preventing or responding to ter-              the table; as follows:                                   (8) Funds under the Medicaid program help
      rorist attacks or other catastrophic events;              On page 256, between lines 5 and 6, insert           to ensure access to care for all Americans.
      and                                                     the following:                                         The Medicaid program is the single largest
        (B) with similar agencies in Canada and                     Subchapter D—Sense of the Senate                 source of revenue for the Nation’s safety net
      Mexico;                                                 SEC. 6065. TO EXPRESS THE SENSE OF THE SEN-            hospitals, health centers, and nursing homes,
        (3) identify common international cross-                          ATE REGARDING MEDICAID REC-                and is critical to the ability of these pro-
      border frequencies for communications                               ONCILIATION LEGISLATION TO BE              viders to adequately serve all Americans.
      equipment, including radio or computer mes-                         REPORTED BY A CONFERENCE COM-                (9) The Medicaid program serves a major
                                                                          MITTEE.                                    role in ensuring that the number of Ameri-
      saging equipment;
                                                                (a) FINDINGS.—The Senate makes the fol-              cans without health insurance, approxi-
        (4) foster the standardization of interoper-
                                                              lowing findings:                                       mately 45,000,000 in 2003, is not substantially
      able communications equipment;
                                                                (1) The Medicaid program provides essen-             higher. The system of Federal matching for
        (5) identify solutions that will facilitate
                                                              tial health care and long-term care services           State Medicaid expenditures ensures that
      communications interoperability across na-
                                                              to more than 50,000,000 low-income children,           Federal funds will grow as State spending in-
      tional borders expeditiously;
                                                              pregnant women, parents, individuals with              creases in response to unmet needs, enabling
        (6) ensure that emergency response pro-               disabilities, and senior citizens. It is a Fed-
      viders can communicate with each another                                                                       the Medicaid program to help buffer the drop
                                                              eral guarantee that ensures that the most              in private coverage during recessions. More
      and the public at disaster sites or in the              vulnerable will have access to needed med-
      event of a terrorist attack or other cata-                                                                     than 4,800,000 Americans lost employer-spon-
                                                              ical services.                                         sored health care coverage between 2000 and
      strophic event;                                           (2) The Medicaid program provides critical
        (7) provide training and equipment to en-                                                                    2003, during which time the Medicaid pro-
                                                              access to long-term care and other services            gram enrolled an additional 8,400,000 Ameri-
      able emergency response providers to deal               for the elderly and individuals living with
      with threats and contingencies in a variety                                                                    cans.
                                                              disabilities, and is the single largest provider         (10) Many individuals living below the Fed-
      of environments; and                                    of long-term care services. The Medicaid pro-
        (8) identify and secure appropriate joint-                                                                   eral poverty level are ineligible for Medicaid
                                                              gram also pays for personal care and other             because of stringent income eligibility rules.
      use equipment to ensure communications ac-              supportive services that are typically not
      cess.                                                                                                          For parents, eligibility levels are often very
                                                              provided by private health insurance or                far below the Federal poverty level. On aver-
        (d) DISTRIBUTION OF FUNDS.—                           under the Medicare program, but are nec-
        (1) IN GENERAL.—The Secretary shall dis-                                                                     age, a working parent in a family of three
                                                              essary to enable individuals with spinal cord          would have to make less than $224 per week
      tribute funds under this section to each com-           injuries, developmental disabilities, neuro-
      munity participating in a demonstration                                                                        and a non-working parent in a family of
                                                              logical degenerative diseases, serious and             three would have to make less than $150 per
      project through the State, or States, in                persistent mental illnesses, HIV/AIDS, and
      which each community is located.                                                                               week to qualify. Single individuals with dis-
                                                              other chronic conditions to remain in the              abilities would be ineligible if they have
        (2) OTHER PARTICIPANTS.—Not later than 60             community, to work, and to maintain inde-
      days after receiving funds under paragraph                                                                     more than $147 per week in income.
                                                              pendence.                                                (11) Eligibility levels for pregnant women
      (1), a State receiving funds under this sec-              (3) The Medicaid program supplements the
      tion shall make the funds available to the                                                                     and children are generally at or just above
                                                              Medicare program for more than 6,000,000               the Federal poverty level, but a family with
      local governments and emergency response                low-income elderly or disabled Medicare                income just over minimum wage can be dis-
      providers participating in a demonstration              beneficiaries, assisting those beneficiaries           qualified for Medicaid. At the minimum eli-
      project selected by the Secretary.                      with their Medicare premiums and co-insur-
        (e) FUNDING.—Amounts made available                                                                          gibility levels for pregnant women, earning
                                                              ance, wrap-around benefits, and the costs of           as little as $8.80 per hour at a full-time job
      from the interoperability fund under section            nursing home care that the Medicare pro-
      3005(c)(3) shall be available to carry out this                                                                could disqualify a pregnant woman from
                                                              gram does not cover. The Medicaid program              Medicaid eligibility. A working parent in a
      section without appropriation.                          spent nearly $40,000,000,000 in 2002 on services
        (f) REPORTING.—Not later than December                                                                       family of three earning less than $8.40 per
                                                              not covered under the Medicare program.                hour at a full-time job could make their
      31, 2005, and each year thereafter in which
                                                                (4) The Medicaid program provides health             child 6 years-old or older ineligible for Med-
      funds are appropriated for a demonstration
                                                              insurance for more than 1⁄4 of America’s chil-         icaid.
      project, the Secretary shall provide to the
                                                              dren and is the largest purchaser of mater-              (12) Title III of the budget reconciliation
      Committee on Homeland Security and Gov-
                                                              nity care, paying for more than 1⁄3 of all the         bill of the House of Representatives, as re-
      ernmental Affairs of the Senate and the
                                                              births in the United States each year. The             ported out by the Committee on Energy and
      Committee on Homeland Security of the
                                                              Medicaid program also provides vital access            Commerce, would adversely affect these low-
      House of Representatives a report on the
                                                              to care for children with disabilities, cov-           income beneficiaries, many of whom are
      demonstration projects under this section.
                                                              ering more than 70 percent of the poor chil-           children or have special health care needs,
        SA 2408. Mr. CORNYN submitted an                      dren with disabilities in the United States.           by increasing beneficiary cost-sharing, lim-
                                                                (5) Medicaid’s benefits for children are             iting access to benefits, and restricting eligi-
      amendment intended to be proposed by                    comprehensive, including mandatory cov-                bility for long-term care services that the
      him to the bill S. 1932, to provide for                 erage for Early and Periodic Screening Diag-           Medicaid program covers. These new limits
      reconciliation pursuant to section                      nosis and Treatment benefits covering all              make up 2⁄3 of the House of Representative’s
      202(a) of the concurrent resolution on                  medically necessary care. Medicaid ensures             projected Medicaid spending reductions, ac-
      the budget for fiscal year 2006 (H. Con.                that children have the benefits, health serv-          counting for $30,100,000,000 of the total
      Res. 95); as follows:                                   ices and health care support they need to be           $45,300,000,000 in Medicaid reductions over 10
        On page 94, strike line 7 through 12.                 fully immunized and that children can se-              years.
                                                              cure eyeglasses, dental care, and hearing                (13) Making beneficiaries pay more for
        SA 2409. Mr. REED (for himself, Mr.                   aids when necessary, and that children have            more limited benefits under Medicaid may
      BAUCUS, Mrs. MURRAY, Mr. KENNEDY,                       access to comprehensive, regularly sched-              put a significant financial burden on these
                                                              uled, and as-needed health examinations, as            very low-income individuals. Research also
      Mr. BINGAMAN, Mr. CORZINE, Mrs. CLIN-                   well as preventive interventions, to correct           demonstrates that increasing beneficiary
      TON, and Mr. OBAMA) submitted an                        physical and mental conditions that threat-            cost-sharing can make prescription drugs
      amendment intended to be proposed by                    en to delay proper growth and development.             and     other     essential   health   services
      him to the bill S. 1932, to provide for                   (6) More than 16,000,000 American women              unaffordable for beneficiaries, can cause the
      reconciliation pursuant to section                      depend on the Medicaid program for their               health of children and adults to deteriorate,
      202(a) of the concurrent resolution on                  health care. Women comprise the majority               and can lead to higher emergency room and
      the budget for fiscal year 2006 (H. Con.                of seniors (71 percent) on Medicaid. Half of           hospital costs.
      Res. 95); as follows:                                   nonelderly women with permanent mental or                (14) By contrast, while this title includes
                                                              physical disabilities have health care cov-            substantial cuts to the Medicaid program, it
        Strike section 6031 of the bill.                      erage under the Medicaid program. The Med-             does not include direct limits on beneficiary
                                                              icaid program also provides critical access to         access to Medicaid services. Even so, enact-
        SA 2410. Mr. BAUCUS (for himself,
                                                              treatment for low-income women diagnosed               ment of this title would result in a net Med-
      Mr. OBAMA, Ms. MIKULSKI, Mrs. MUR-                      with breast or cervical cancer.                        icaid cut of $14,200,000,000 over 10 years, less
      RAY, Ms. STABENOW, Mr. FEINGOLD, Mr.                      (7) The Medicaid program is the Nation’s             than 1⁄3 of the projected Medicaid reductions
      REED, and Mr. SCHUMER) submitted an                     largest source of payment for mental health            contained in the House of Representative’s
      amendment intended to be proposed by                    services, HIV/AIDS care, and care for chil-            budget reconciliation bill.




VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00082   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.128   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 84 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12367
        (b) SENSE OF THE SENATE.—It is the sense              be transferred to the interoperability fund            mitted an amendment intended to be
      of the Senate that the conferees for any                described in subsection (c)(3).                        proposed by him to the bill S. 1932, to
      budget reconciliation bill of the 109th Con-              (3) After the transfers under paragraphs (1)         provide for reconciliation pursuant to
      gress shall not report a reconciliation bill            and (2), the next $1,200,000,000 of exceess pro-
                                                                                                                     section 202(a) of the concurrent resolu-
      that would—                                             ceeds shall be transfered to the assistance
        (1) with respect to low-income children,              program described in subsection (c)(5).                tion on the budget for fiscal year 2006
      pregnant women, disabled individuals, elder-              (4) After the transfers under paragraphs (1)         (H. Con. Res. 95); which was ordered to
      ly individuals, individuals with chronic ill-           through (3), any remaining excess proceeds             lie on the table; as follows:
      nesses like HIV/AIDS, cancer, and diabetes,             shall be transferred to and deposited in the             At the appropriate place, insert the fol-
      individuals with mental illnesses, and other            general fund of the Treasury as miscella-              lowing:
      Medicaid beneficiaries—                                 neous receipts.
        (A) impair access to Medicaid services;                                                                      SEC. ll. ACCOUNTABILITY IN FEDERAL CON-
                                                                                                                               TRACTING.
        (B) undermine eligibility for such Medicaid             SA 2413. Mr. WARNER (for himself,
      beneficiaries;                                          Mr. LIEBERMAN, Mr. ROBERTS, Mr. DUR-                     (a) IN GENERAL.—Except as provided in
        (C) make Medicaid services unavailable by             BIN, Mr. ALLEN, and Mr. OBAMA) pro-                    subsection (b), none of the funds appro-
      making them unaffordable to such Medicaid                                                                      priated or otherwise made available by the
                                                              posed an amendment to the bill S. 1932,                Emergency Supplemental Appropriations
      beneficiaries; or
        (D) cut health care services for such Med-
                                                              to provide for reconciliation pursuant                 Act to Meet Immediate Needs Arising From
      icaid beneficiaries; or                                 to section 202(a) of the concurrent reso-              the Consequences of Hurricane Katrina, 2005
        (2) undermine the Federal guarantee of                lution on the budget for fiscal year 2006              (Public Law 109–61), by the Second Emer-
      health insurance coverage that the Medicaid             (H. Con. Res. 95); as follows:                         gency Supplemental Appropriations Act to
      program provides, which would threaten not                On page 369, between lines 11 and 12, insert         Meet Immediate Needs Arising From the
      only the health care safety net of the United           the following:                                         Consequences of Hurricane Katrina, 2005
      States, but the entire health care system of              ‘‘(D) the Secretary—                                 (Public Law 109–62), or through the Iraq Re-
      the United States.                                        ‘‘(i) shall determine if an increase in the          lief and Reconstruction Fund may be obli-
                                                              amount of a grant under this section is need-          gated or expended in connection with a con-
        SA 2411. Mrs. FEINSTEIN (for her-                     ed to help encourage students to pursue                tract entered into after the date of the en-
      self, Mrs. HUTCHISON, Mrs. BOXER, Mrs.                  courses of study that are important to the             actment of this Act with a contractor that,
      MURRAY, Mr. LAUTENBERG, Mr. SCHU-                       current and future national, homeland, and             during the previous 5 years—
      MER, Mr. CORZINE, Ms. CANTWELL, and                     economic security needs of the United                    (1) has been found by an executive agency,
                                                              States; and                                            the Special Inspector General for Iraq Recon-
      Ms. MIKULSKI) proposed an amendment                                                                            struction, or any Inspector General having
      to the bill S. 1932, to provide for rec-                  ‘‘(ii) after making the determination de-
                                                              scribed in clause (i), may increase the max-           oversight authority with respect to Hurri-
      onciliation pursuant to section 202(a)                  imum and minimum award level established               cane Katrina and Hurricane Rita reconstruc-
      of the concurrent resolution on the                     under subparagraph (A) by not more than 25             tion contracts to have overcharged or im-
      budget for fiscal year 2006 (H. Con. Res.               percent, for students eligible for a grant             properly billed the Federal Government by a
      95); as follows:                                        under this section who are pursuing a degree           total of at least $10,000,000 through one or
        On page 188, after line 24, add the fol-              with a major in mathematics, science, tech-            more overcharges;
      lowing:                                                 nology, engineering, or a foreign language               (2) has been found by an executive agency,
      SEC. 6037. AUTHORITY TO CONTINUE PROVIDING              that is critical to the national security of           the Special Inspector General for Iraq Recon-
                  CERTAIN ADULT DAY HEALTH CARE               the United States; and                                 struction, or any Inspector General having
                  SERVICES OR MEDICAL ADULT DAY                 ‘‘(E) not later than September 30 of each            oversight authority with respect to Hurri-
                  CARE SERVICES.                              fiscal year, the Secretary shall notify Con-           cane Katrina and Hurricane Rita reconstruc-
        The Secretary shall not—                              gress, in writing, of the Secretary’s deter-           tion contracts to have committed one or
        (1) withhold, suspend, disallow, or other-            mination with respect to subparagraph (D)(i)           more fraudulent acts resulting in total costs
      wise deny Federal financial participation               and of any increase in award levels under              or losses to the Federal Government of at
      under section 1903(a) of the Social Security            subparagraph (D)(ii).                                  least $10,000,000; or
      Act (42 U.S.C. 1396b(a)) for adult day health                                                                    (3) has been suspended or debarred under
      care services or medical adult day care serv-             SA 2414. Mr. BYRD (for himself and                   the Federal suspension and debarment regu-
      ices, as defined under a State medicaid plan            Mr. HARKIN) proposed an amendment to                   lations.
      approved on or before 1982, if such services            the bill S. 1932, to provide for reconcili-              (b) NATIONAL SECURITY WAIVER.—The
      are provided consistent with such definition                                                                   President may waive the restrictions under
      and the requirements of such plan; or
                                                              ation pursuant to section 202(a) of the
                                                                                                                     subsection (a) on a case-by-case basis if the
        (2) withdraw Federal approval of any such             concurrent resolution on the budget for                President determines that such waiver is in
      State plan or part thereof regarding the pro-           fiscal year 2006 (H. Con. Res. 95); as fol-            the national security interest of the United
      vision of such services.                                lows:                                                  States and submits to the appropriate con-
                                                                At the appropriate place, insert the fol-            gressional authorities a report describing the
        SA 2412. Mr. VITTER (for Mr. STE-                     lowing:                                                reasons for such determination.
      VENS (for himself, Mr. VITTER, Ms.                      SEC. ll. SUSPENSION OF DEBATE LIMITATION                 (c) DEFINITIONS.—In this section:
      LANDRIEU, Mr. DOMENICI, Mr. CRAIG,                                 ON RECONCILIATION LEGISLATION                 (1) APPROPRIATE CONGRESSIONAL AUTHORI-
      Mr. LOTT, Mr. INOUYE, and Mr. BINGA-                               THAT CAUSES A DEFICIT OR IN-                TIES.—The term ‘‘appropriate congressional
                                                                         CREASES THE DEFICIT.
      MAN)) proposed an amendment to the                                                                             authorities’’ means—
                                                                (a) IN GENERAL.—For purposes of consider-              (A) the Majority Leader and the Minority
      bill S. 1932, to provide for reconcili-                 ation in the Senate of any reconciliation bill
      ation pursuant to section 202(a) of the                                                                        Leader of the Senate;
                                                              or resolution, or amendments thereto or de-              (B) the Speaker of the House of Represent-
      concurrent resolution on the budget for                 batable motions and appeals in connection              atives and the Minority Leader of the House
      fiscal year 2006 (H. Con. Res. 95); as fol-             therewith, under section 310(e) of the Con-            of Representatives; and
      lows:                                                   gressional Budget Act of 1974, section 305(b)            (C) the Committees on Appropriations of
         On page 95, strike lines 13 through 21, and          (1), (2), and (5), section 305(c), and the limita-     the Senate and the House of Representatives.
      insert the following:                                   tion on debate in section 310(e)(2) of that              (2) EXECUTIVE AGENCIES.—The term ‘‘execu-
         (f) USE OF EXCESS PROCEEDS.—Any pro-                 Act, shall not apply to any reconciliation             tive agency’’ has the meaning given that
      ceeds of the auction authorized by section              bill or resolution, amendment thereto, or              term in section 4 of the Office of Federal
      309(j)(15)(C)(v) of the Communications Act of           motion thereon that includes reductions in             Procurement Policy Act (41 U.S.C. 403).
      1934, as added by section 3003 of this Act,             revenue or increases in spending that would
      that exceed the sum of the payments made                cause an on-budget deficit to occur or in-
      from the Fund under subsection (c), the                 crease the deficit for any fiscal year covered           SA 2416. Mr. SUNUNU (for himself
      transfer from the Fund under subsection (d),            by such bill or resolution.                            and Mr. SANTORUM) submitted an
      and any amount made available under sec-                  (b)     GERMANENESS       REQUIRED.—Notwith-         amendment intended to be proposed by
      tion 3006 (referred to in this subsection as            standing subsection (a), no amendment that             him to the bill S. 1932, to provide for
      ‘‘excess proceeds’’), shall be distributed as           is not germane to the provisions of such rec-          reconciliation pursuant to section
      follows:                                                onciliation bill or resolution shall be re-            202(a) of the concurrent resolution on
         (1) The first $1,000,000,000 of excess proceeds      ceived.
                                                                                                                     the budget for fiscal year 2006 (H. Con.
      shall be transferred to and deposited in the                                                                   Res. 95); which was ordered to lie on
      general fund of the Treasury as miscella-
      neous receipts.                                           SA 2415 Mr. DURBIN (for himself,                     the table; as follows:
         (2) After the transfer under paragraph (1),          Mr. DORGAN, Mr. LAUTENBERG, Mr.                          On page 130, after line 25, add the fol-
      the next $500,000,000 of excess proceeds shall          JOHNSON, and Mr. LIEBERMAN) sub-                       lowing:




VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00083   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.128   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 85 of 91
      S12368                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      SEC. 6005. ELECTRONIC PRESCRIPTION INCEN-               rent resolution on the budget for fiscal               funds are appropriated for a demonstration
                  TIVES FOR MEDICAID MANAGED                                                                         project, the Secretary shall provide to the
                  CARE ORGANIZATIONS.
                                                              year 2006 (H. Con. Res. 95); as follows:
                                                                On page 95, after line 21, insert the fol-           Committee on Homeland Security and Gov-
        (a) IN GENERAL.—Section 1903(m)(2)(A) (42                                                                    ernmental Affairs of the Senate and the
      U.S.C. 1396b(m)(2)(A)) is amended—                      lowing:
                                                              SEC. 3005A. COMMUNICATION SYSTEM GRANTS.               Committee on Homeland Security of the
        (1) in clause (xi), by striking ‘‘and’’ at the                                                               House of Representatives a report on the
      end;                                                      (a) DEFINITIONS.—In this section—
                                                                (1) the term ‘‘demonstration project’’               demonstration projects under this section.
        (2) in clause (xii), by striking the period at
      the end and inserting ‘‘; and’’; and                    means the demonstration project established
                                                              under subsection (b)(1);                                 SA 2418. Mr. GREGG (for Mr. SUNUNU
        (3) by adding at the end the following:                                                                      (for himself, Mr. DURBIN, Mr. CRAIG,
        ‘‘(xiii) notwithstanding clause (x), such               (2) the term ‘‘Department’’ means the De-
                                                              partment of Homeland Security;                         Mr. PRYOR, Mr. ISAKSON, Mr. NELSON of
      contract provides that—
        ‘‘(I) for each electronic prescription writ-
                                                                (3) the term ‘‘emergency response pro-               Nebraska, Mr. THUNE, Mr. KERRY, and
                                                              vider’’ has the meaning given that term in             Mr. CHAMBLISS)) proposed an amend-
      ten by a physician during the period begin-
                                                              section 2(6) the Homeland Security Act of              ment to the bill S. 1932, to provide for
      ning on January 1, 2006, and ending on De-
                                                              2002 (6 U.S.C. 101(6)); and
      cember 31, 2009, the entity shall make a pay-                                                                  reconciliation pursuant to section
                                                                (4) the term ‘‘Secretary’’ means the Sec-
      ment of an amount equal to—                                                                                    202(a) of the concurrent resolution on
                                                              retary of Homeland Security.
        ‘‘(aa) $1.00, minus                                     (b) IN GENERAL.—                                     the budget for fiscal year 2006 (H. Con.
        ‘‘(bb) an amount equal to the percentage of             (1) ESTABLISHMENT.—There is established              Res. 95); as follows:
      total claims that consist of electronic pre-            in the Department an ‘‘International Border
      scription drug claims under this title by                                                                        On page 90, between lines 19 and 20, insert
                                                              Community Interoperable Communications                 the following:
      medicaid managed care organizations (as de-             Demonstration Project’’.
      termined under section 6005(b) of the Deficit                                                                    Subtitle D—Adaptive Housing Assistance
                                                                (2) MINIMUM NUMBER OF COMMUNITIES.—The
      Reduction Omnibus Reconciliation Act of                 Secretary shall select not fewer than 2 com-           SEC. 2031. SHORT TITLE.
      2005, expressed in cents);                              munities to participate in a demonstration               This subtitle may be cited as the ‘‘Spe-
        ‘‘(II) for each non-electronic prescription           project.                                               cially Adapted Housing Grants Improve-
      written by a physician during the period de-              (3) LOCATION OF COMMUNITIES.—Not fewer               ments Act of 2005’’.
      scribed in subclause (I), the entity shall re-          than 1 of the communities selected under               SEC. 2032. ADAPTIVE HOUSING ASSISTANCE FOR
      duce the dispensing fee otherwise applicable            paragraph (2) shall be located on the north-                       DISABLED    VETERANS  RESIDING
      by an amount equal to—                                  ern border of the United States and not                            TEMPORARILY IN HOUSING OWNED
        ‘‘(aa) $1.00, minus                                   fewer than 1 of the communities selected                           BY A FAMILY MEMBER.
        ‘‘(bb) an amount equal to the percentage of           under paragraph (2) shall be located on the              (a) ASSISTANCE AUTHORIZED.—Chapter 21 of
      total claims under this title by medicaid               southern border of the United States.                  title 38, United States Code, is amended by
      managed care organizations that consist of                (c) PROJECT REQUIREMENTS.—The dem-                   inserting after section 2102 the following new
      non-electronic claims (as so determined and             onstration projects shall—                             section:
      expressed in cents).’’.                                   (1) address the interoperable communica-             ‘‘§ 2102A. Assistance for veterans residing
        (b) DATA FOR DETERMINING ELECTRONIC                   tions needs of police officers, firefighters,             temporarily in housing owned by a family
      CLAIMS.—                                                emergency medical technicians, National                   member
        (1) IN GENERAL.—For purposes of section               Guard, and other emergency response pro-
                                                                                                                        ‘‘(a) ASSISTANCE AUTHORIZED.—If a disabled
      1903(m)(2)(A)(xiii) of the Social Security Act          viders;
                                                                                                                     veteran described in subsection (a)(2) or
      (as added by subsection (a)), subject to the              (2) foster interoperable communications—
                                                                                                                     (b)(2) of section 2101 of this title resides, but
      update required under paragraph (2), in de-               (A) among Federal, State, local, and tribal
                                                                                                                     does not intend to permanently reside, in a
      termining the percentage of total claims                government agencies in the United States in-
                                                                                                                     residence owned by a member of such vet-
      that consist of electronic prescription drug            volved in preventing or responding to ter-
                                                              rorist attacks or other catastrophic events;           eran’s family, the Secretary may assist the
      claims by medicaid managed care organiza-
                                                              and                                                    veteran in acquiring such adaptations to
      tions under title XIX of the Social Security
                                                                (B) with similar agencies in Canada and              such residence as are determined by the Sec-
      Act and the percentage of total claims that
                                                              Mexico;                                                retary to be reasonably necessary because of
      consist of non-electronic prescription drug
                                                                (3) identify common international cross-             the veteran’s disability.
      claims, the Secretary shall use an estimate
                                                              border frequencies for communications                     ‘‘(b) LIMITATION ON AMOUNT OF ASSIST-
      of the number of electronic claims and non-
                                                                                                                     ANCE.—Subject to section 2102(d) of this title,
      electronic claims that will be submitted as             equipment, including radio or computer mes-
                                                              saging equipment;                                      the assistance authorized under subsection
      of January 1, 2006.
                                                                (4) foster the standardization of interoper-         (a) may not exceed—
        (2) UPDATE.—For each 6 month period be-
                                                              able communications equipment;                            ‘‘(1) $10,000, in the case of a veteran de-
      ginning after January 1, 2006, the Secretary
                                                                (5) identify solutions that will facilitate          scribed in section 2101(a)(2) of this title; or
      shall update the estimate of the number of
                                                              communications interoperability across na-                ‘‘(2) $2,000, in the case of a veteran de-
      electronic prescription drug claims and non-
                                                              tional borders expeditiously;                          scribed in section 2101(b)(2) of this title.
      electronic prescription drug claims used to
                                                                (6) ensure that emergency response pro-                 ‘‘(c) LIMITATION ON NUMBER OF RESIDENCES
      determine the percentage of total claims
                                                              viders can communicate with each another               SUBJECT TO ASSISTANCE.—A veteran eligible
      that consist of such electronic claims and
                                                              and the public at disaster sites or in the             for assistance authorized under subsection
      the percentage of total claims that consist of
                                                              event of a terrorist attack or other cata-             (a) may only be provided such assistance
      such non-electronic claims.
                                                              strophic event;                                        with respect to 1 residence.
        (3) MOST RECENT DATA.—To the extent fea-
                                                                (7) provide training and equipment to en-               ‘‘(d) REGULATIONS.—Assistance under this
      sible, the Secretary shall use the most re-
                                                              able emergency response providers to deal              section shall be provided in accordance with
      cent data available, including real-time data
                                                              with threats and contingencies in a variety            such regulations as the Secretary may pre-
      on drug claims submitted under title XIX pf
                                                              of environments; and                                   scribe.
      the Social Security Act with respect to med-
                                                                (8) identify and secure appropriate joint-              ‘‘(e) TERMINATION OF AUTHORITY.—The au-
      icaid managed care organizations, to deter-
                                                              use equipment to ensure communications ac-             thority to provide assistance under sub-
      mine the percentage of total claims that
                                                              cess.                                                  section (a) shall expire at the end of the 5-
      consist of electronic claims and the percent-
                                                                (d) DISTRIBUTION OF FUNDS.—                          year period beginning on the date of enact-
      age of total claims that consist of non-elec-
                                                                (1) IN GENERAL.—The Secretary shall dis-             ment of the Specially Adapted Housing
      tronic claims.
                                                              tribute funds under this section to each com-          Grants Improvements Act of 2005.’’.
        (c) STUDY AND REPORT.—The Comptroller
                                                              munity participating in a demonstration                   (b) LIMITATIONS ON ADAPTIVE HOUSING AS-
      General of the United States shall conduct a
                                                              project through the State, or States, in               SISTANCE.—Section 2102 of such title is
      study regarding the feasibility of applying
                                                              which each community is located.                       amended—
      electronic prescription incentives similar to
                                                                (2) OTHER PARTICIPANTS.—Not later than 60               (1) in subsection (a), by striking ‘‘The as-
      the incentives required under section
                                                              days after receiving funds under paragraph             sistance authorized by section 2101(a)’’ and
      1903(m)(2)(A)(xiii) of the Social Security Act
                                                              (1), a State receiving funds under this sec-           all that follows through ‘‘any one case—’’
      (as added by subsection (a)) to fee-for-service
                                                              tion shall make the funds available to the             and inserting ‘‘Subject to subsection (d), the
      Medicaid. Not later than January 1, 2007, the
                                                              local governments and emergency response               assistance authorized under section 2101(a) of
      Comptroller General shall submit a report to
                                                              providers participating in a demonstration             this title shall be afforded under 1 of
      Congress on the results of the study con-
                                                              project selected by the Secretary.                     the following plans, at the election of the
      ducted under this subsection.
                                                                (e) FUNDING.—Amounts made available                  veteran—’’;
                                                              from the interoperability fund under section              (2) by amending subsection (b) to read as
        SA 2417. Mr. GREGG (for Mr. LEVIN)                                                                           follows:
                                                              3005(c)(3) shall be available to carry out this
      proposed an amendment to the bill S.                    section without appropriation.                            ‘‘(b) Subject to subsection (d), and except
      1932, to provide for reconciliation pur-                  (f) REPORTING.—Not later than December               as provided in section 2104(b) of this title,
      suant to section 202(a) of the concur-                  31, 2005, and each year thereafter in which            the assistance authorized by section 2101(b)




VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00084   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.129   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 86 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12369
      of this title may not exceed the actual cost,             ‘‘(II) MAINTENANCE AND SERVICING.—In the                 ‘‘(i) which is performed more frequently
      or in the case of a veteran acquiring a resi-           case of a power-driven wheelchair for which             than       is  provided   for   under    section
      dence already adapted with special features,            a purchase agreement has been entered into              1861(s)(2)(AA); or
      the fair market value, of the adaptations de-           under subclause (I), maintenance and serv-                 ‘‘(ii) which is performed by an individual or
      termined by the Secretary under such sec-               icing payments shall, if the Secretary deter-           diagnostic laboratory that does not meet
      tion 2101(b) to be reasonably necessary.’’; and         mines such payments are reasonable and                  quality assurance standards that the Sec-
         (3) by adding at the end the following new           necessary, be made (for parts and labor not             retary, in consultation with national med-
      subsection:                                             covered by the supplier’s or manufacturer’s             ical, vascular technologist and sonographer
         ‘‘(d)(1) The aggregate amount of assistance          warranty, as determined by the Secretary to             societies, shall establish, including with re-
      available to a veteran under sections 2101(a)           be appropriate), and such payments shall be             spect to individuals performing ultrasound
      and 2102A of this title shall be limited to             in an amount determined to be appropriate               screening for abdominal aortic aneurysm
      $50,000.                                                by the Secretary.’’.                                    (other than physicians) and diagnostic lab-
         ‘‘(2) The aggregate amount of assistance               (b) EFFECTIVE DATE.—The amendments                    oratories, that the individual or laboratory
      available to a veteran under sections 2101(b)           made by subsection (a) shall apply to items             is certified by the appropriate State licens-
      and 2102A of this title shall be limited to the         furnished on or after October 1, 2006.                  ing or certification agency or, in the case of
      lesser of—                                              SEC.       6117.   MEDICARE   COVERAGE    OF            a service performed in a State that does not
         ‘‘(A) the sum of the cost or fair market                            ULTRASOUND SCREENING FOR AB-             license or certify such individuals or labora-
      value described in section 2102(b) of this title                       DOMINAL AORTIC ANEURYSMS; NA-            tories, by a national certification or accredi-
      and the actual cost of acquiring the adapta-                           TIONAL EDUCATIONAL AND INFOR-
                                                                             MATION CAMPAIGN.
                                                                                                                      tation organization recognized by the Sec-
      tions described in subsection (a); and                                                                          retary;’’.
         ‘‘(B) $10,000.                                            (a) IN GENERAL.—Section 1861 (42 U.S.C.
                                                                                                                         (e) NON-APPLICATION OF PART B DEDUCT-
         ‘‘(3) No veteran may receive more than 3             1395x) is amended—                                      IBLE.—Section 1833(b) (42 U.S.C. 1395l(b)) is
      grants of assistance under this chapter.’’.               (1) in subsection (s)(2)—                             amended in the first sentence—
         (c) CLERICAL AMENDMENT.—The table of                   (A) by striking ‘‘and’’ at the end of sub-               (1) by striking ‘‘and (6)’’ and inserting
      sections at the beginning of such chapter of            paragraph (Y);                                          ‘‘(6)’’; and
      such title is amended by inserting after the              (B) by adding ‘‘and’’ at the end of subpara-             (2) by inserting ‘‘, and (7) such deductible
      item relating to section 2102 the following:            graph (Z); and                                          shall not apply with respect to ultrasound
      ‘‘2102A. Assistance for veterans residing tem-            (C) by adding at the end the following new            screening for abdominal aortic aneurysm (as
                      porarily in housing owned by            subparagraph:                                           defined in section 1861(bbb))’’ before the pe-
                      family member.’’.                         ‘‘(AA) ultrasound screening for abdominal             riod at the end.
      SEC. 2033. GAO REPORTS.                                 aortic aneurysm (as defined in subsection                  (f) NATIONAL EDUCATIONAL AND INFORMA-
        (a) INTERIM REPORT.—Not           later than 3        (bbb)) for an individual—                               TION CAMPAIGN.—
      years after the date of enactment of this                 ‘‘(i) who receives a referral for such an                (1) IN GENERAL.—After consultation with
      Act, the Comptroller General of the United              ultrasound screening as a result of an initial          national medical, vascular technologist, and
      States shall submit to Congress an interim              preventive physical examination (as defined             sonographer societies, the Secretary of
      report on the implementation of section                 in section 1861(ww)(1));                                Health and Human Services shall carry out a
      2102A of title 38, United States Code (as                 ‘‘(ii) who has not been previously furnished          national education and information cam-
      added by section 2(a)), by the Department of            such an ultrasound screening under this                 paign to promote awareness among health
      Veterans Affairs.                                       title; and                                              care practitioners and the general public
        (b) FINAL REPORT.—Not later than 5 years                ‘‘(iii) who—                                          with respect to the importance of early de-
      after the date of enactment of this Act, the              ‘‘(I) has a family history of abdominal aor-          tection and treatment of abdominal aortic
      Comptroller General of the United States                tic aneurysm; or                                        aneurysms.
      shall submit to Congress a final report on                ‘‘(II) manifests risk factors included in a              (2) USE OF FUNDS.—The Secretary may use
      the implementation of such section 2102A by             beneficiary category (not including cat-                amounts appropriated pursuant to this sub-
      the Department of Veterans Affairs.                     egories related to age) recommended for                 section to make grants to national medical,
        On page 166, strike lines 12 through 15 and           screening by the United States Preventive               vascular technologist, and sonographer soci-
      insert the following:                                   Services Task Force regarding abdominal                 eties (in accordance with procedures and cri-
        ‘‘(A) for fiscal year 2006, $50,000,000;              aortic aneurysms;’’; and                                teria specified by the Secretary) to enable
        ‘‘(B) for each of fiscal years 2007 and 2008,           (2) by adding at the end the following new            them to educate practitioners and providers
      $49,000,000;                                            subsection:                                             about matters relating to such aneurysms.
        ‘‘(C) for each of fiscal years 2009 and 2010,         ‘‘Ultrasound Screening for Abdominal Aortic                (3) AUTHORIZATION OF APPROPRIATIONS.—
      $74,000,000; and                                                           Aneurysm                             There is authorized to be appropriated for
        ‘‘(D) for fiscal year 2011 and each fiscal              ‘‘(bbb) The term ‘ultrasound screening for            fiscal year 2006 and each fiscal year there-
      year thereafter, $75,000,000.                           abdominal aortic aneurysm’ means—                       after such sums as may be necessary to carry
                                                                ‘‘(1) a procedure using sound waves (or               out this subsection.
        SA 2419. Mr. SANTORUM (for him-                                                                                  (g) EFFECTIVE DATE.—The amendments
                                                              such other procedures using alternative
      self, Mr. BUNNING, Mr. THOMAS, Mr.                      technologies, of commensurate accuracy and              made by this section shall apply to
      VOINOVICH, Mr. LIEBERMAN, Mr. DODD,                     cost, that the Secretary may specify) pro-              ultrasound screenings for abdominal aortic
      Mr. ROCKEFELLER, Ms. LANDRIEU, and                      vided for the early detection of abdominal              aneurysm performed on or after January 1,
      Mr. CONRAD) proposed an amendment                       aortic aneurysm; and                                    2007.
      to the bill S. 1932, to provide for rec-                  ‘‘(2) includes a physician’s interpretation           SEC. 6118. IMPROVING PATIENT ACCESS TO, AND
                                                              of the results of the procedure.’’.                                  UTILIZATION OF, COLORECTAL CAN-
      onciliation pursuant to section 202(a)                                                                                       CER SCREENING UNDER MEDICARE.
                                                                (b) INCLUSION OF ULTRASOUND SCREENING
      of the concurrent resolution on the                                                                               (a) INCREASE IN PART B REIMBURSEMENT FOR
                                                              FOR ABDOMINAL AORTIC ANEURYSM IN SCREEN-
      budget for fiscal year 2006 (H. Con. Res.               ING SERVICES FOR WHICH EDUCATION, COUN-                 COLORECTAL CANCER SCREENING AND DIAG-
      95); as follows:                                        SELING, AND REFERRAL IS PROVIDED FOR                    NOSTIC TESTS.—
        On page 368, between lines 5 and 6, insert            UNDER BENEFITS FOR INITIAL PREVENTIVE                     (1) IN GENERAL.—Section 1834(d) (42 U.S.C.
      the following:                                          PHYSICAL EXAMINATION.—Section 1861(ww)(2)               1395m(d)) is amended by adding at the end
      SEC. 6116. TECHNICAL CORRECTION REGARDING               (42 U.S.C. 1395x(ww)(2)) is amended by adding           the following new paragraph:
                  PURCHASE    AGREEMENTS     FOR              at the end the following new subparagraph:                ‘‘(4) ENHANCED PART B PAYMENT FOR
                  POWER-DRIVEN WHEELCHAIRS.                     ‘‘(L) Ultrasound screening for abdominal              COLORECTAL CANCER SCREENING AND DIAG-
        (a) IN GENERAL.—Section 1834(a)(7)(A) (42             aortic aneurysm as defined in section                   NOSTIC TESTS.—
      U.S.C. 1395m(a)(7)(A)), as amended by section           1861(bbb).’’.                                             ‘‘(A) NONFACILITY RATES.—Notwithstanding
      6109 of this Act, is amended—                             (c) PAYMENT FOR ULTRASOUND SCREENING                  paragraphs (2)(A) and (3)(A), the Secretary
         (1) in clause (i)(I), by striking ‘‘Payment’’        FOR ABDOMINAL AORTIC ANEURYSM.—Section                  shall establish national minimum payment
      and inserting ‘‘Except as provided in clause            1848(j)(3) (42 U.S.C. 1395w–4(j)(3)) is amended         amounts for CPT codes 45378, 45380, and 45385,
      (iii), payment’’; and                                   by inserting ‘‘(2)(AA),’’ after ‘‘(2)(W),’’.            and HCPCS codes G0105 and GO121 for items
         (2) by adding at the end the following new             (d) FREQUENCY AND QUALITY STANDARDS.—                 and services furnished on or after January 1,
      clause:                                                 Section 1862(a)(1) (42 U.S.C. 1395y(a)(1)) is           2007, which reflect a 5-percent increase above
         ‘‘(iii) PURCHASE AGREEMENT OPTION FOR                amended—                                                the relative value units in effect as the non-
      POWER-DRIVEN WHEELCHAIRS.—                                (1) by striking ‘‘and’’ at the end of subpara-        facility rates for such codes on December 31,
         ‘‘(I) IN GENERAL.—In the case of a power-            graph (L);                                              2006, with such revised payment level to
      driven wheelchair, at the time the supplier               (2) by striking the semicolon at the end of           apply to items and services performed in a
      furnishes the item, the supplier shall offer            subparagraph (M) and inserting ‘‘, and’’; and           nonfacility setting.
      the individual the option to purchase the                 (3) by adding at the end the following new              ‘‘(B) FACILITY RATES.—Notwithstanding
      item, and payment for such item shall be                subparagraph:                                           paragraphs (2)(A) and (3)(A), the Secretary
      made on a lump-sum basis if the individual                ‘‘(N) in the case of ultrasound screening for         shall establish national minimum payment
      exercises such option.                                  abdominal aortic aneurysm—                              amounts for CPT codes 45378, 45380, and 45385,




VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000    Frm 00085   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.130   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 87 of 91
      S12370                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      and HCPCS codes G0105 and GO121 for items                 (B) by inserting before the period at the            amounts with respect to the furnishing of
      and services furnished on or after January 1,           end the following: ‘‘, and (8) such deductible         such services.
      2007, which reflect a 5-percent increase above          shall not apply with respect to colorectal                ‘‘(4) The term ‘mental health counselor’
      the relative value units in effect as the facil-        cancer screening tests (as described in sec-           means an individual who—
      ity rates for such codes on December 31, 2006,          tion 1861(pp)(1))’’.                                      ‘‘(A) possesses a master’s or doctor’s de-
      with such revised payment level to apply to               (2) CONFORMING AMENDMENTS.—Paragraphs                gree in mental health counseling or a related
      items and services performed in a facility              (2)(C)(ii) and (3)(C)(ii) of section 1834(d) (42       field;
      setting.                                                U.S.C. 1395m(d)) are each amended—                        ‘‘(B) after obtaining such a degree has per-
         ‘‘(C) ANNUAL ADJUSTMENTS.—In the case of               (A) by striking ‘‘DEDUCTIBLE AND’’ in the            formed at least 2 years of supervised mental
      items and services furnished on or after Jan-           heading; and                                           health counselor practice; and
      uary 1, 2007, the payment rates described in              (B) in subclause (I), by striking ‘‘deduct-             ‘‘(C) in the case of an individual per-
      subparagraphs (A) and (B) shall, subject to             ible or’’ each place it appears.                       forming services in a State that provides for
      the minimum payment amounts established                   (3) EFFECTIVE DATE.—The amendments                   licensure or certification of mental health
      in such subparagraphs, be adjusted annually             made by this subsection shall apply to items           counselors or professional counselors, is li-
      as provided in section 1848.’’.                         and services furnished on or after January 1,          censed or certified as a mental health coun-
         (2) NO EFFECT ON HOPD PAYMENTS.—The                  2007.                                                  selor or professional counselor in such
      Secretary shall not take into account the               SEC. 6119. COVERAGE OF MARRIAGE AND FAMILY
                                                                                                                     State.’’.
      provisions of section 1834(d)(4) of the Social                       THERAPIST SERVICES AND MENTAL                (3) PROVISION FOR PAYMENT UNDER PART
      Security Act, as added by subsection (a), in                         HEALTH   COUNSELOR    SERVICES            B.—Section        1832(a)(2)(B)   (42    U.S.C.
      determining the amount of payment for any                            UNDER PART B OF THE MEDICARE              1395k(a)(2)(B)) is amended by adding at the
      covered OPD service under the prospective                            PROGRAM.                                  end the following new clause:
      payment system for hospitals outpatient de-               (a) COVERAGE OF SERVICES.—                              ‘‘(v) marriage and family therapist services
      partment services under section 1833(t) of                (1) IN GENERAL.—Section 1861(s)(2) (42               and mental health counselor services;’’.
      such Act (42 U.S.C. 1395l(t)).                          U.S.C. 1395x(s)(2)), as amended by section                (4) AMOUNT OF PAYMENT.—Section 1833(a)(1)
         (b) MEDICARE COVERAGE OF OFFICE VISIT OR             6118(b), is amended—                                   (42 U.S.C. 1395l(a)(1)), as amended by section
      CONSULTATION PRIOR TO A SCREENING                          (A) in subparagraph (AA), by striking               6118, is amended—
      COLONOSCOPY OR IN CONJUNCTION WITH A                    ‘‘and’’ after the semicolon at the end;                   (A) by striking ‘‘and (W)’’ and inserting
      BENEFICIARY’S DECISION TO OBTAIN SUCH A                    (B) in subparagraph (BB), by inserting              ‘‘(W)’’; and
      SCREENING.—                                             ‘‘and’’ after the semicolon at the end; and               (B) by inserting before the semicolon at
         (1) COVERAGE.—Section 1861(s)(2) (42 U.S.C.             (C) by adding at the end the following new          the end the following: ‘‘, and (X) with respect
      1395x(s)(2)), as amended by section 6117, is            subparagraph:                                          to marriage and family therapist services
      amended—                                                   ‘‘(CC) marriage and family therapist serv-          and mental health counselor services under
         (A) in subparagraph (Z), by striking ‘‘and’’         ices (as defined in subsection (ccc)(1)) and           section 1861(s)(2)(CC), the amounts paid shall
      at the end;                                             mental health counselor services (as defined           be 80 percent of the lesser of the actual
         (B) in subparagraph (AA), by inserting               in subsection (ccc)(3));’’.                            charge for the services or 75 percent of the
      ‘‘and’’ at the end; and                                    (2) DEFINITIONS.—Section 1861 (42 U.S.C.            amount determined for payment of a psy-
         (C) by adding at the end the following new           1395x), as amended by section 6117, is amend-          chologist under subparagraph (L)’’.
      subparagraph:                                           ed by adding at the end the following new                 (5) EXCLUSION OF MARRIAGE AND FAMILY
         ‘‘(BB) an outpatient office visit or con-            subsection:                                            THERAPIST SERVICES AND MENTAL HEALTH
      sultation for the purpose of beneficiary edu-                                                                  COUNSELOR SERVICES FROM SKILLED NURSING
      cation, assuring selection of the proper                ‘‘Marriage and Family Therapist Services;              FACILITY PROSPECTIVE PAYMENT SYSTEM.—
      screening test, and securing information re-               Marriage and Family Therapist; Mental               Section       1888(e)(2)(A)(ii)   (42    U.S.C.
      lating to the procedure and sedation of the                Health Counselor Services; Mental Health            1395yy(e)(2)(A)(ii)) is amended by inserting
      beneficiary, prior to a colorectal cancer                  Counselor                                           ‘‘marriage and family therapist services (as
      screening test consisting of a screening                   ‘‘(ccc)(1) The term ‘marriage and family            defined in section 1861(ccc)(1)), mental health
      colonoscopy or in conjunction with the bene-            therapist services’ means services performed           counselor services (as defined in section
      ficiary’s decision to obtain such a screening,          by a marriage and family therapist (as de-             1861(ccc)(3)),’’ after ‘‘qualified psychologist
      regardless of whether such screening is medi-           fined in paragraph (2)) for the diagnosis and          services,’’.
      cally indicated with respect to the bene-               treatment of mental illnesses, which the                 (6) INCLUSION OF MARRIAGE AND FAMILY
      ficiary;’’.                                             marriage and family therapist is legally au-           THERAPISTS AND MENTAL HEALTH COUNSELORS
         (2) PAYMENT.—                                        thorized to perform under State law (or the            AS   PRACTITIONERS FOR    ASSIGNMENT  OF
         (A) IN GENERAL.—Section 1833(a)(1) (42               State regulatory mechanism provided by                 CLAIMS.—Section 1842(b)(18)(C) (42 U.S.C.
      U.S.C. 1395l(a)(1)) is amended—                         State law) of the State in which such serv-            1395u(b)(18)(C)) is amended by adding at the
         (i) by striking ‘‘and’’ before ‘‘(V)’’; and          ices are performed, as would otherwise be              end the following new clauses:
         (ii) by inserting before the semicolon at            covered if furnished by a physician or as an             ‘‘(vii) A marriage and family therapist (as
      the end the following: ‘‘, and (W) with re-             incident to a physician’s professional serv-           defined in section 1861(ccc)(2)).
      spect to an outpatient office visit or con-             ice, but only if no facility or other provider           ‘‘(viii) A mental health counselor (as de-
      sultation under section 1861(s)(2)(BB), the             charges or is paid any amounts with respect            fined in section 1861(ccc)(4)).’’.
      amounts paid shall be 80 percent of the lesser          to the furnishing of such services.                      (b) COVERAGE OF CERTAIN MENTAL HEALTH
      of the actual charge or the amount estab-                  ‘‘(2) The term ‘marriage and family thera-          SERVICES PROVIDED IN CERTAIN SETTINGS.—
      lished under section 1848’’.                            pist’ means an individual who—                           (1) RURAL HEALTH CLINICS AND FEDERALLY
         (B) PAYMENT UNDER PHYSICIAN FEE SCHED-                  ‘‘(A) possesses a master’s or doctoral de-          QUALIFIED       HEALTH       CENTERS.—Section
      ULE.—Section 1848(j)(3) (42 U.S.C. 1395w–               gree which qualifies for licensure or certifi-         1861(aa)(1)(B) (42 U.S.C. 1395x(aa)(1)(B)) is
      4(j)(3)), as amended by section 6117, is amend-         cation as a marriage and family therapist              amended by striking ‘‘or by a clinical social
      ed by inserting ‘‘(2)(BB),’’ after ‘‘(2)(AA),’’.        pursuant to State law;                                 worker (as defined in subsection (hh)(1)),’’
         (C) REQUIREMENT FOR ESTABLISHMENT OF                    ‘‘(B) after obtaining such degree has per-          and inserting ‘‘, by a clinical social worker
      PAYMENT   AMOUNT  UNDER     PHYSICIAN  FEE              formed at least 2 years of clinical supervised         (as defined in subsection (hh)(1)), by a mar-
      SCHEDULE.—Section   1834(d)    (42   U.S.C.             experience in marriage and family therapy;             riage and family therapist (as defined in sub-
      1395m(d)), as amended by subsection (a), is             and                                                    section (ccc)(2)), or by a mental health coun-
      amended by adding at the end the following                 ‘‘(C) in the case of an individual per-             selor (as defined in subsection (ccc)(4)),’’.
      new paragraph:                                          forming services in a State that provides for            (2)       HOSPICE         PROGRAMS.—Section
        ‘‘(5) PAYMENT FOR OUTPATIENT OFFICE VISIT             licensure or certification of marriage and             1861(dd)(2)(B)(i)(III)        (42         U.S.C.
      OR  CONSULTATION   PRIOR   TO   SCREENING               family therapists, is licensed or certified as         1395x(dd)(2)(B)(i)(III)) is amended by insert-
      COLONOSCOPY.—With respect to an outpatient              a marriage and family therapist in such                ing ‘‘or one marriage and family therapist
      office visit or consultation under section              State.                                                 (as defined in subsection (bbb)(2))’’ after ‘‘so-
      1861(s)(2)(BB), payment under section 1848                 ‘‘(3) The term ‘mental health counselor             cial worker’’.
                                                              services’ means services performed by a men-             (c) EFFECTIVE DATE.—The amendments
      shall be consistent with the payment
                                                              tal health counselor (as defined in paragraph          made by this section shall apply with respect
      amounts for CPT codes 99203 and 99243.’’.
                                                              (4)) for the diagnosis and treatment of men-           to services furnished on or after January 1,
        (3) EFFECTIVE DATE.—The amendments                                                                           2007.
      made by this subsection shall apply to items            tal illnesses which the mental health coun-
      and services provided on or after January 1,            selor is legally authorized to perform under             SA 2420. Mr. GREGG (for Mr.
      2007.                                                   State law (or the State regulatory mecha-
                                                                                                                     SUNUNU) proposed an amendment to
        (c) WAIVER OF DEDUCTIBLE FOR COLORECTAL               nism provided by the State law) of the State
      CANCER SCREENING TESTS.—                                in which such services are performed, as               the bill S. 1932, to provide for reconcili-
        (1) IN GENERAL.—Section 1833(b) (42 U.S.C.            would otherwise be covered if furnished by a           ation pursuant to section 202(a) of the
      1395l(b)), as amended by section 6117, is               physician or as incident to a physician’s pro-         concurrent resolution on the budget for
      amended in the first sentence—                          fessional service, but only if no facility or          fiscal year 2006 (H. Con. Res. 95); as fol-
        (A) by striking ‘‘and’’ before ‘‘(7)’’; and           other provider charges or is paid any                  lows:



VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00086   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.130   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 88 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12371
        On page 94, line 7, after ‘‘(1)’’ insert ‘‘not to     Federal upper payment limits that apply                mined, to conduct a vote on the nomi-
      exceed’’.                                               under section 447.332 of title 42, Code of Fed-        nation of Mr. Matthew Slaughter, of
        On page 94, line 13, after ‘‘(2)’’ insert ‘‘not       eral Regulations, use average wholesale                New Hampshire, to be a member of the
      to exceed’’.                                            prices, direct prices, and wholesale acquisi-
        On page 94, line 19, after ‘‘(3)’’ insert ‘‘not
                                                                                                                     Council of Economic Advisers; Ms.
                                                              tion costs for such drugs that do not exceed
      to exceed’’.                                            such prices and costs as of such date to de-           Katherine Baicker, of New Hampshire,
        On page 95, line 1, after ‘‘(4)’’ insert ‘‘not to     termine the Federal upper payment limits               to be a member of the Council of Eco-
      exceed’’.                                               that apply under section 447.332 of title 42,          nomic Advisers; Mr. Orlando J.
        On page 95, line 4, after ‘‘(5)’’ insert ‘‘not to     Code of Federal Regulations to such drugs              Cabrera, of Florida, to be an Assistant
      exceed’’.                                               during such period.                                    Secretary of Housing and Urban Devel-
        On page 95, beginning in line 10, strike                (2) APPLICATION TO NEW DRUGS.—Paragraph              opment; Ms. Gigi Hyland, of Virginia,
      ‘‘The amounts payable’’ and insert ‘‘Any                (1)(A) shall apply to a covered outpatient             to be a member of the National Credit
      amounts that are to be paid’’.                          drug under title XIX of the Social Security
        On page 95, line 12, after the period insert          Act that is first marketed after July 1, 2005,
                                                                                                                     Union Administration Board; and Mr.
      ‘‘Any amount in the Fund that is not obli-              but before the date on which a positive cer-           Rodney E. Hood, of North Carolina, to
      gated under subsection (c) by that date shall           tification is made by the Secretary under              be a member of the National Credit
      be transferred to the general fund of the               subsection (b)(4)(B)(ii), and is subject to the        Union Administration Board.
      Treasury.’’.                                            Federal upper payment limit established                  The PRESIDING OFFICER. Without
                                                              under section 447.332(b) of title 42, Code of          objection, it is so ordered.
        SA 2421. Mr. BURNS (for himself and                   Federal Regulations.                                            COMMITTEE ON THE JUDICIARY
      Mr. BROWNBACK) submitted an amend-                                                                               Mr. GREGG. Mr. President, I ask
      ment intended to be proposed by him                       SA 2422. Mr. CONRAD (for himself
                                                              and Mr. SALAZAR) proposed an amend-                    unanimous consent that the Com-
      to the bill S. 1932, to provide for rec-                                                                       mittee on the Judiciary be authorized
      onciliation pursuant to section 202(a)                  ment to the bill S. 1932, to provide for
                                                              reconciliation pursuant to section                     to meet to conduct a markup on Thurs-
      of the concurrent resolution on the                                                                            day, November 3, 2005 at 12:15 p.m. in
      budget for fiscal year 2006 (H. Con. Res.               202(a) of the concurrent resolution on
                                                              the budget for fiscal year 2006 (H. Con.               Senate Dirksen Office Building Room
      95); which was ordered to lie on the                                                                           226.
      table; as follows:                                      Res. 95); as follows:
         On page 122, strike line 23 and all that fol-          On page 121, after line 25, add the fol-                               Agenda
      lows through page 124, line 10, and insert the          lowing:                                                  I. Nominations: Wan Kim, to be an
      following:                                                ‘‘(5) RULES APPLICABLE TO CRITICAL ACCESS
                                                                                                                     Assistant Attorney General, Civil
         (3) EFFECTIVE DATE.—The amendments                   RETAIL PHARMACIES.—
                                                                ‘‘(A) REIMBURSEMENT LIMITS.—Notwith-                 Rights Division; Steven G. Bradbury,
      made by this subsection take effect with re-                                                                   to be an Assistant Attorney General
      spect to a State on the date on which a posi-           standing paragraph (2)(A), in the case of a
      tive certification is made by the Secretary             critical access retail pharmacy (as defined in         for the Office of Legal Counsel; Sue
      under paragraph (4)(B)(ii).                             subparagraph (C)), the upper payment                   Ellen Wooldridge, to be an Assistant
         (4) PHARMACY REIMBURSEMENT STUDY.—                   limit—                                                 Attorney General, Environment and
         (A) STUDY AND REPORT.—                                 ‘‘(i) for the ingredient cost of a single            Natural Resources Division; Thomas O.
         (i) STUDY.—The Secretary shall conduct a             source drug, is the lesser of—                         Barnett, to be an Assistant Attorney
      pharmacy reimbursement study comparing                    ‘‘(I) 108 percent of the average manufac-
                                                                                                                     General, Antitrust Division; James
      weighted AMP (as determined under section               turer price for the drug; or
                                                                ‘‘(II) the wholesale acquisition cost for the        O’Gara, to be Deputy Director for Sup-
      1927(k)(1)(C) of the Social Security Act, as                                                                   ply Reduction, Office of National Drug
      added by subsection (a)) to actual retail               drug; and
      pharmacy acquisition costs and the cost of                ‘‘(ii) for the ingredient cost of a multiple         Control Policy; Emilio Gonzalez, to be
      dispensing a prescription. The study shall in-          source drug, is the lesser of—                         Director of the Bureau of Citizenship
      clude an analysis of the range in variation               ‘‘(II) 140 percent of the weighted average           and Immigration Services, Department
      that can occur related to acquisition and dis-          manufacturer price for the drug; or                    of Homeland Security; Julie L. Myers,
      pensing costs with respect to chain and inde-             ‘‘(II) the wholesale acquisition cost for the        to be an Assistant Secretary of Home-
      pendent rural and urban pharmacies.                     drug.
                                                                                                                     land Security.
         (ii) REPORT.—Not later than October 1,                 ‘‘(B) APPLICATION OF OTHER PROVISIONS.—
                                                              The preceding provisions of this subsection
                                                                                                                       II. Bills: S. 1088, Streamline Proce-
      2006, the Secretary shall submit a report to                                                                   dures Act of 2005; Kyl, Cornyn, Grass-
      Congress on the results of the study con-               shall apply with respect to reimbursement to
                                                              a critical access retail pharmacy in the same          ley, Hatch; S. 1789, Personal Data Pri-
      ducted under this subparagraph that in-
      cludes recommendations on dispensing fee                manner as such provisions apply to reim-               vacy and Security Act of 2005; Specter,
      levels that would adequately reimburse phar-            bursement to other retail pharmacies except            Leahy, Feinstein, Feingold; S. 751, No-
      macies and encourage the use of cost-effec-             that, in establishing the dispensing fee for a         tification of Risk to Personal Data
      tive generic drugs when appropriate.                    critical access pharmacy the Secretary, in             Act, Feinstein, Kyl; S. 1699, Stop Coun-
         (B) CERTIFICATION.—                                  addition to the factors required under para-           terfeiting in Manufactured Goods Act,
         (i) DETERMINATION.—Upon review of the                graph (4), shall include consideration of the
                                                              costs associated with operating a critical ac-
                                                                                                                     Specter,     Leahy,    Hatch,    DeWine,
      findings of the study conducted under sub-                                                                     Cornyn, Brownback, Feingold, Durbin,
      paragraph (A), the Secretary shall make a               cess retail pharmacy.
                                                                ‘‘(C) CRITICAL ACCESS RETAIL PHARMACY DE-            Kyl; S. 1095, Protecting American
      determination as to whether the amend-
      ments made by this subsection would have a              FINED.—For purposes of subparagraph (A),               Goods and Services Act of 2005, Cornyn,
      negative impact on access to healthcare.                the term ‘critical access retail pharmacy’             Leahy; H.R. 683, Trademark Dilution
         (ii) POSITIVE CERTIFICATION.—If the Sec-             means an retail pharmacy that is not within            Revision Act of 2005, Smith—TX; S.
      retary makes a determination under clause               a 20-mile radius of another retail phar-               1787, Relief to Victims of Hurricane
      (i) that the amendments made by this sub-               macy.’’.                                               Katrina and Other Natural Disaster
      section will not have such negative impact,               (2) INCREASE IN BASIC REBATE FOR SINGLE
                                                              SOURCE    DRUGS AND INNOVATOR MULTIPLE
                                                                                                                     Act of 2005, Vitter, Grassley, Cornyn,
      the Secretary shall submit a positive certifi-                                                                 DeWine; S. 1647, Hurricane Katrina
      cation to that effect.                                  SOURCE    DRUGS.—Section 1927(c)(1)(B)(i)(VI)
                                                              (42 U.S.C. 1396r–8(c)(1)(B)(i)(VI), as added by        Bankruptcy Relief and Community
         (c) INTERIM UPPER PAYMENT LIMIT.—
         (1) IN GENERAL.—With respect to a State              section 6002(a)(3), is amended by striking             Protection Act of 2005, Feingold,
      program under title XIX of the Social Secu-             ‘‘17’’ and inserting ‘‘18.1’’.                         Leahy, Durbin, Kennedy, Feinstein.
      rity Act, during the period that begins on                               f                                       The PRESIDING OFFICER. Without
      January 1, 2006, and ends on the date on                                                                       objection, it is so ordered.
      which a positive certification is made by the
                                                               AUTHORITY FOR COMMITTEES TO
                                                                          MEET                                                         f
      Secretary under subsection (b)(4)(B)(ii), the
      Secretary shall—                                         COMMITTEE ON BANKING, HOUSING, AND URBAN                  PRIVILEGES OF THE FLOOR
         (A) apply the Federal upper payment limit                             AFFAIRS                                 Mr. LEAHY. Mr. President, I ask
      established under section 447.332(b) of title             Mr. GREGG. Mr. President, I ask                      unanimous consent that Molly Barrett
      42, Code of Federal Regulations to the State
                                                              unanimous consent that the Com-                        of my staff be given the privilege of the
      by substituting ‘‘125 percent’’ for ‘‘150 per-
      cent’’; and                                             mittee on Banking, Housing, and                        floor throughout the day and the votes
         (B) in the case of covered outpatient drugs          Urban Affairs be authorized to meet                    that occur today.
      under title XIX of such Act that are mar-               during the session of the Senate on No-                  The PRESIDENT pro tempore. With-
      keted as of July 1, 2005, and are subject to            vember 3, 2005, at a time to be deter-                 out objection, it is so ordered.



VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00087   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.131   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 89 of 91
      S12372                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
           MEASURE READ THE FIRST                             close friend was adopted, has adopted a child,           From January 6, 1987, to December
                     TIME—S. 1960                             or has placed a child for adoption;                    31, 1990, Henry served as the Senate’s
                                                                Whereas every day loving and nurturing               Sergeant at Arms, ably managing a
        Mr. FRIST. Mr. President, I under-                    families are formed when committed and
      stand there is a bill at the desk. I ask                                                                       budget of nearly $120 million, over-
                                                              dedicated individuals make an important dif-
      for its first reading.                                  ference in the life of a child through adop-           seeing a staff of more than 2,000, and
        The PRESIDING OFFICER. The                            tion; and                                              supervising support services, which in-
      clerk will report.                                        Whereas on November 4, 2004, the President           cluded law enforcement and tele-
        The assistant legislative clerk read                  proclaimed November 2004 as National Adop-             communications.
                                                              tion Month: Now, therefore, be it                        More importantly, as the first person
      as follows:
                                                                Resolved, That the Senate recognizes No-             of color and the first person of Polyne-
        A bill (S. 1960) to protect the health and            vember 2005 as National Adoption Month.                sian ancestry to serve in this position,
      safety of all athletes, to promote the integ-
      rity of professional sports by establishing                             f                                      he left an indelible mark during his
      minimum standards for the testing of                         HENRY KU’UALOHA GIUGNI,                           tenure by promoting minorities and
      steroids and other performance-enhancing                                                                       women. He appointed the first minor-
                                                                  FORMER SERGEANT-AT-ARMS
      substances and methods by professional                                                                         ity, an African-American man, to lead
      sports leagues, and for other purposes.                   Mr. FRIST. Mr. President, I ask                      the Sergeant at Arms’ Service Depart-
                                                              unanimous consent that the Senate                      ment, and he was the first to assign
        Mr. FRIST. I ask for its second read-
                                                              proceed to the immediate consider-                     women to the Capitol Police plain-
      ing and, in order to place the bill on
                                                              ation of S. Res. 300 submitted earlier                 clothes unit.
      the calendar under the provisions of
                                                              today.                                                   His special interest in people with
      rule XIV, I object to my own request.
                                                                The PRESIDING OFFICER. The                           disabilities resulted in a major expan-
        The PRESIDING OFFICER. Objec-
                                                              clerk will report the resolution by                    sion of the Special Services Office,
      tion is heard.
                                                              title.                                                 which now conducts tours of the U.S.
        The bill will be read a second time on
                                                                The assistant legislative clerk read                 Capitol for the blind, deaf, and wheel-
      the next legislative day.
                                                              as follows:                                            chair-bound, and publishes Senate
                       f
                                                                A resolution (S. Res. 300) relative to the           maps and documents in Braille.
          NATIONAL ADOPTION MONTH                             death of Henry Ku’ualoha Giugni, former                  In 1991, Henry joined Cassidy & Asso-
        Mr. FRIST. Mr. President, I ask                       Sergeant-at-Arms of the United States Sen-             ciates, one of Washington’s leading
                                                              ate.                                                   public policy consulting firms. With
      unanimous consent the Senate proceed
                                                                 There being no objection, the Senate                his intimate knowledge of Hawaii and
      to the immediate consideration of S.
                                                              proceeded to consider the resolution.                  Washington, and with a vast network
      Res. 299 submitted earlier today.
                                                                 Mr. INOUYE. Mr. President, I am                     of contacts that spanned the entire
        The PRESIDING OFFICER. The
                                                              deeply saddened to inform my col-                      country and crossed party lines, Henry
      clerk will report the resolution by
                                                              leagues that at 3:30 this morning, my                  was able to continue his support for
      title.
                                                              friend and colleague, Henry Giugni,                    policies that he believed best served
        The assistant legislative clerk read
                                                              passed away at Shady Grove Adventist                   the Nation.
      as follows:                                                                                                      Even as a high-powered vice chair-
                                                              Hospital in Rockville, MD. His passing
        A resolution (S. Res. 299) to express the                                                                    man of Cassidy & Associates, Henry
      support for the goals of National Adoption              is a great loss for the people of Hawaii,
                                                              the United States, and the Senate, an                  continued to describe himself as ‘‘just
      Month by promoting national awareness of
      adoption, celebrating children and families             institution he loved dearly, and in                    a poor Hawaiian boy.’’ Henry’s soul was
      involved in adoption, and encouraging Amer-             which he served as its 30th Sergeant at                very much Hawaiian, but he was never
      icans to secure safety, permanency, and well-           Arms for 4 years, beginning on January                 poor in experience, generosity of the
      being for all children.                                 6, 1987.                                               heart, or patriotism.
        There being no objection, the Senate                     I had the privilege of knowing Henry                  After the attack on Pearl Harbor, he
      proceeded to consider the resolution.                   for nearly 50 years, beginning in 1956                 enlisted in the Army at the age of 16,
        Mr. FRIST. I ask unanimous consent                    when he joined my re-election cam-                     and saw combat at Guadalcanal. He
                                                                                                                     was part of the Hawaii delegation that
      that the resolution be agreed to, the                   paign to the Hawaii Territorial House
                                                                                                                     greeted then-Vice President Lyndon
      preamble be agreed to, the motion to                    of Representatives. We quickly forged
                                                                                                                     Baines Johnson in the islands just be-
      reconsider be laid upon the table, and                  an unbreakable bond.
                                                                                                                     fore the start of the Cuban missile cri-
      any statements relating thereto be                         With his tireless work, dedication,
                                                                                                                     sis. As a staunch support of civil
      printed in the RECORD.                                  and loyalty, he proved invaluable as
                                                                                                                     rights, he carried the Hawaii flag and
        The PRESIDING OFFICER. Without                        the top aide on my staff when I served
                                                                                                                     marched with Dr. Martin Luther King
      objection, it is so ordered.                            as a Hawaii legislator, U.S. Represent-
                                                                                                                     in Selma, AL.
        The resolution (S. Res. 299) was                      ative, and U.S. Senator.                                 He volunteered to drive Senator ED-
      agreed to.                                                 His keen political instincts also                   WARD KENNEDY following the assassina-
        The preamble was agreed to.                           made him invaluable on campaigns,                      tion of his brother, President John F.
        The resolution, with its preamble,                    and beginning with my first congres-                   Kennedy. Henry was also a member of
      reads as follows:                                       sional race in 1959, when I successfully               one of the first official delegations that
                       S. RES. 299                            ran to be the State of Hawaii’s first                  traveled to the People’s Republic of
        Whereas there are approximately 532,000               U.S. Representative, he coordinated                    China following President Nixon’s his-
      children in the foster care system in the               my campaign activities on all of Ha-                   toric visit.
      United States, approximately 129,000 of                 waii’s islands.                                          As Senate Sergeant at Arms, he pre-
      whom are waiting to be adopted;                            And, I am proud to say, I once                      sided over the inauguration of Presi-
        Whereas the average length of time a child            anointed Henry as ‘‘the supreme com-                   dent George H.W. Bush, and escorted
      in foster care remains in foster care is al-            mander of Hawaiian politics’’ in rec-
      most 3 years;                                                                                                  numerous foreign dignitaries, includ-
                                                              ognition of his political acumen and                   ing Nelson Mandela, Margaret Thatch-
        Whereas for many foster children, the wait
      for a loving family in which they are nur-              skill as a political strategist. It was an             er, and Vaclav Havel, when they visited
      tured, comforted, and protected is endless;             unofficial title that Henry relished.                  the U.S. Capitol.
        Whereas every year 25,000 children ‘‘age                 Henry also enjoyed being called ‘‘Dr.                 Indeed, for a ‘‘poor Hawaiian boy’’
      out’’ of foster care by reaching adulthood              Giugni.’’ Circumstances prevented him                  who was born in Hawaii in 1925 to Al-
      without being placed in a permanent home;               from receiving his undergraduate de-                   fred Giugni and Kealoha Hookano,
        Whereas, since 1987, the number of annual             gree, but 2 years ago, the University of               Henry has done much on the national
      adoptions has ranged from 118,000 to 127,000;           Hawaii at Hilo conferred upon him an                   stage since his days when he studied at
        Whereas approximately 2,100,000 children
                                                              honorary doctorate of humane letters                   Hanahauoli School, Iolani School, and
      in the United States live with adoptive par-
      ents;                                                   for his exemplary service to the State                 the University of Hawaii at Manoa, and
        Whereas approximately 6 of every 10 Amer-             of Hawaii and the Nation, and for serv-                when he worked as a Honolulu fire-
      icans have been touched personally by adop-             ing as a role model for Native Hawai-                  fighter, police officer, and liquor in-
      tion in that they, a family member, or a                ians. It was an honor he truly deserved.               spector.



VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00088   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.116   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 90 of 91
      November 3, 2005                 CONGRESSIONAL RECORD — SENATE                       S12373
        However, while he was an acquaint-                    inated him to this most important po-                  Pearl Harbor, and served in combat at the
      ance of Presidents and kings, his heart                 sition, and I was even more pleased and                Battle of Guadalcanal during World War II;
      was always with the native people of                    proud of the work he had performed                       Whereas Henry Giugni began his service in
                                                                                                                     the Senate in 1963 as Senior Executive As-
      Hawaii, who are still struggling for                    while there.
                                                                                                                     sistant and Chief of Staff to Senator Daniel
      their moment in the sun.                                  I close my remarks with a poem that                  K. Inouye;
        I ask my colleagues to join me and                    I have always cherished. It is a poem                    Whereas Henry Giugni served as Sergeant-
      all who have known and loved Henry in                   that evokes the triumph of a life well                 at-Arms from 1987 until 1990;
      expressing our heartfelt condolences to                 lived over the sorrow of death. It is a                  Whereas Henry Giugni was the first person
      his wife, Muriel Roselani; his four                     poem that addresses the life and career                of color and first Polynesian to be appointed
      daughters, H. Kealoha Giugni, Deborah                   of my good friend, Henry K. Giugni.                    to be the Sergeant-at-Arms;
      Roselani McMillan, Heather Haunani                                                                               Whereas Henry Giugni promoted minori-
                                                              Let fate do her worst, there are relics of joy,
                                                                                                                     ties and women by appointing the first mi-
      Giugni, and Gina Pilialoha Giugni-                      Bright dreams of the past, which she cannot
                                                                                                                     nority, an African American, to lead the Ser-
      Halbach; 11 grandchildren; and 12                             destroy;
                                                                                                                     geant-at-Arms’ Service Department, and was
      great-grandchildren.                                    that come, in the nighttime of sorrow and
                                                                                                                     the first to assign women to the Capitol Po-
        I look forward to submitting a reso-                        care,
                                                                                                                     lice plainclothes unit;
                                                              And bring back the features that joy used to
      lution expressing our condolences to                                                                             Whereas Henry Giugni’s special interest in
                                                                    wear.
      the Giugni family.                                      Long, long be my heart with such memories
                                                                                                                     people with disabilities resulted in a major
        The PRESIDING OFFICER. The Sen-                                                                              expansion of the Special Services Office,
                                                                    filled,
      ator from West Virginia.                                                                                       which now conducts tours of the U.S. Capitol
                                                              Like the vase in which roses have once been
        Mr. BYRD. Mr. President, it is with                                                                          for the blind, deaf, and wheelchair-bound,
                                                                    distilled,
      deep sadness that I learned of the death                                                                       and publishes Senate maps and documents in
                                                              You may break, you may shatter the vase, if
                                                                                                                     Braille;
      of Henry K. Giugni, who passed away                           you will,
                                                                                                                       Whereas in 2003, Henry Giugni received an
      this morning. He was a former Ser-                      But the scent of the roses will hang around
                                                                                                                     Honorary Doctorate of Humane Letters for
      geant at Arms.                                                it still.
                                                                                                                     the University of Hawaii at Hilo in recogni-
        In January 1987, it was my pleasure,                    Mr. AKAKA. Mr. President, I would                    tion of his extraordinary contributions to
      as the Senate majority leader, to nomi-                 like to take a moment to say a few                     Hawaii and the nation;
      nate Mr. Giugni to be the Sergeant at                   words of a dear friend, Henry Giugni,                    Whereas Henry Giugni carried Hawai‘i’s
      Arms of the Senate. When the Senate                     who passed away this morning. Henry                    flag while marching with Dr. Martin Luther
      elected him to the position, Mr. Giugni                 enjoyed an illustrious career both on                  King for civil rights in Selma, Alabama;
                                                              and off Capitol Hill. He began his ca-                   Whereas Henry Giugni presided over the
      became not only the thirtieth Sergeant
                                                              reer in Washington as Senator INOUYE’s                 inauguration of President George H.W. Bush,
      at Arms of the Senate, he became the                                                                           and escorted numerous foreign dignitaries,
      first Polynesian-American to serve in                   Chief of Staff and continued until he
                                                                                                                     including Nelson Mandela, Margaret Thatch-
      this capacity.                                          was appointed Sergeant at Arms of the                  er, and Vaclav Havel when they visited the
        Mr. Giugni brought a wealth of expe-                  United States Senate. In both posi-                    United States Capitol; and
      rience to this most important Senate                    tions, he enjoyed the confidence and re-                 Whereas on November 3, 2005, Henry Giugni
      position. Born in Hawaii in 1925, he en-                spect of all and he served them well. He               passed away at the age of 80; Now therefore
      listed in the U.S. Army during World                    was a well-recognized presence on the                  be it
                                                              Hill, particularly in the Senate. After                  Resolved, That the Senate has heard with
      War II. After the war, he joined the
                                                              leaving the Hill, Henry joined one of                  profound sorrow and deep regret the an-
      Honolulu Police Force. From 1963 to                                                                            nouncement of the death of Henry Giugni.
      1987, he had served as the administra-                  the largest consulting firms in Wash-
                                                                                                                       Resolved, That the Secretary of the Senate
      tive assistant in the office of my dear                 ington where he was serving his clients                communicate these resolutions to the House
      friend and colleague, my hero—Senator                   effectively.                                           of Representatives and transmit an enrolled
      DANIEL K. INOUYE.                                         I will remember Henry as one of the                  copy thereof to the family of the deceased.
        As the second ranking officer in the                  first friends who welcomed me and my                     Resolved, That when the Senate adjourns
      United States Senate, Mr. Giugni per-                   family to Washington when I was elect-                 today, it stand adjourned as a further mark
      formed the duties of the office of Ser-                 ed to Congress nearly 30 years ago. His                of respect to the memory of Henry Giugni.
      geant at Arms of the Senate proudly                     kindness continued over many years                                       f
      and with distinction. In his 4 years as                 and we knew him to be a loving hus-
                                                              band and father. Millie and I always                    ORDERS FOR FRIDAY, NOVEMBER
      head of the largest office in the Senate,                                                                                        4, 2005
      Mr. Giugni supervised a number of                       appreciated his visits whether for busi-
      major changes and improvements. This                    ness or a social call.                                   Mr. FRIST. I ask unanimous consent
      included the purchase and installation                    It was only a few weeks ago that                     that when the Senate completes its
      of millions of dollars of new computer                  Millie and I chatted with him and we                   business today, it stand in adjourn-
      and telecommunications equipment for                    were extremely saddened to hear of his                 ment until 9:30 a.m. on Friday, Novem-
      Senators and their offices.                             passing. Millie and I express our warm-                ber 4. I further ask that following the
        Mr. Giugni took special pride in hav-                 est aloha to his wife Lani and their                   prayer and pledge, the morning hour be
      ing helped to make the U.S. Capitol ac-                 family. Henry was our dear and cher-                   deemed expired, the Journal of pro-
      cessible to the disabled by expanding                   ished friend and we will miss him                      ceedings be approved to date, the time
      the Special Services Office. Under his                  greatly. God bless Henry and his fam-                  for the two leaders be reserved, and the
      direction, the office implemented tours                 ily. May he rest in peace.                             Senate then proceed to the consider-
      and other programs for the disabled,                      Mr. FRIST. Mr. President, I ask                      ation of S. 1042, the Defense authoriza-
      and published a braille version of Sen-                 unanimous consent that the resolution                  tion bill, as under the previous order. I
      ate documents.                                          be agreed to, the preamble be agreed                   further ask unanimous consent that
        Sergeant at Arms Giugni worked                        to, the motion to reconsider be laid                   during Friday and Monday’s sessions,
      with the House Sergeant at Arms to                      upon the table, and any statements re-                 amendments may be debated and then
      improve the operation of the Capitol                    lating thereto be printed in the                       set aside with the time reserved for use
      Police Force. And, his office instituted                RECORD.                                                at a later time.
      cost-effective measures of hiring civil-                  The PRESIDING OFFICER. Without                         The PRESIDING OFFICER. Without
      ian guards to perform duties which he                   objection, it is so ordered.                           objection, it is so ordered.
      did not believe required uniformed offi-                  The resolution (S. Res. 300) was
                                                                                                                                       f
      cers.                                                   agreed to.
        Mr. Giugni left his work at the Sen-                    The preamble was agreed to.                                        PROGRAM
      ate in 1990 to become vice president of                   The resolution, with its preamble,                     Mr. FRIST. Mr. President, we are
      corporate development for Washington,                   reads as follows:                                      going to be in session tomorrow to re-
                                                                Whereas Henry Ku‘ualoha Giugni was born
      DC, firm, Cassidy Associates. His pres-                 on January 11, 1925, in Honolulu, Hawai‘i;             sume consideration of the Defense au-
      ence in the Senate, and his devotion to                   Whereas Henry Giugni served with distinc-            thorization bill. Chairman WARNER and
      it, were quickly and sorely missed. But                 tion in the United States Army, after enlist-          Senator LEVIN expect to have amend-
      I was pleased and proud of having nom-                  ing at the age of 16 after the attacks on              ments offered on Friday, but we will



VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00089   Fmt 0624   Sfmt 0634   E:\CR\FM\A03NO6.110   S03NOPT1
                      Case 1:01-cv-12257-PBS Document 6528-55 Filed 09/22/09 Page 91 of 91
      S12374                           CONGRESSIONAL RECORD — SENATE               November 3, 2005
      not have votes on those amendments                      rectly to the bottom line when it                      aisle, a truly remarkable accomplish-
      on Friday. We will return to the bill on                comes to deficit reduction. As we trav-                ment.
      Monday and, as announced earlier, we                    el around the country, people will say:                                  f
      will begin voting Monday evening at                     Get serious, Congress, on fiscal dis-
      approximately 5:30.                                     cipline, on spending.                                    ADJOURNMENT UNTIL 9:30 A.M.
        Again, I appreciate everyone’s pa-                      Well, this is the first time in 8 years                           TOMORROW
      tience over the last 9 hours. Vote-                     that this body has gone after manda-                     Mr. FRIST. If there is no further
      aramas are not a pretty part of the                     tory spending in a responsible way to                  business to come before the Senate, I
      budget process, but under the direction                 the tune of $35 billion.                               ask unanimous consent that the Sen-
      of our able, our outstanding chairman                     I also wish to thank my colleague,                   ate stand in adjournment as a further
      and ranking member, it was made a lot                   the assistant Republican leader, MITCH                 mark of respect to the late Henry K.
      less painful than it could have been.                   MCCONNELL, who did a tremendous job.                   Giugni.
      They give tremendous success to the                     We had, I guess, 22 rollcall votes today,                There being no objection, the Senate,
      American people—35, or just right at                    and he did a terrific job in terms of                  at 6:40 p.m., adjourned until Friday,
      $35 billion in savings, and that goes di-               whipping those votes on our side of the                November 4, 2005, at 9:30 a.m.




VerDate Aug 31 2005   03:33 Nov 04, 2005   Jkt 049060   PO 00000   Frm 00090   Fmt 0624   Sfmt 0634   E:\CR\FM\G03NO6.121   S03NOPT1
